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          EXHIBIT GGG
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anuary 2 - February 1, 2015                            Page 1 of 10
itigold Account         42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi!)old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                         Website: www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA        91301-1601
onsidering a fresh start in a new home? Call 1-877-707-1799 to learn about the closing
ost and rate discounts available to you. Offer Code: 13337-5. NMLS# 412915
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
  Value of Accounts                                    LastPerlod             This Period    I     I Earnln9s Summary                                      This Period   This Vear   I
iti f)an k Accounts                                                                               Citibank Accounts
     -- -·                                                            --                - --      ---              .   ··- -   --              -- -----   --- -
  __:_ _..::-:_ ~                                                 - - -·- - - - - - -                 ~:1-~,·.-ir!S___ _________ __ _____ -----
-           ·-   -·-·-   · -·- -
hecking                                              2,946.25               5,793.80              Checking                                                        0.25    0.25
avin s                                                                                            Savings
nsured Monet Market Accounts                             0.39             23,080.39               Insured Monet Market Accounts                              1.00        1.00
itigold Relationship Total                           $2,946.64            $28,874.19              Citigold Relationship Total                                $1.25       $1.25
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
ax Statements are now available online if you earned more than $10 in interest. Look for the new Tax Documents tab at www.citibank.com.
                                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account     42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of December in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on
ther statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                                       Your Combined Balance Range
100 000-$249 999
ates                                                                             Preferred
 i:.                Monthly Service Charge   .       ,.:   ~                                              None                -
   .                               ~.
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate           Descrip_tion                                                                                               Amount Subtracted   Amount Added      Balance
1/02/15         Opening Balance                                                                                                                             2,946.25
1/02/15         Debit PIN Purchase 01/01 01 :39a #3367                 THOMAS PRICE       GOLETA        CAUS00155                   38.00                   2,908.25
1/02/15         Debit Card Purchase 12/29 04:53p #3367                                                                             196.09                   2,712.16
179 ORANGETHEORY THOK THOUSAND OAKS CA 14365
ecreational Services
1/02/15       Debit Card Purchase 12/30 #3367       0179 ORANGETHEORY THOK THOUSAND OAKS CA 14365                                 196.09                    2,516.07
ecreational Services
1 /02/15      Debit Card Purchase 12/29 07:33p #3367                   SWEET XO        AGOURA HILLS CA 14365                      184.40                    2,331 .67
ood & BeveraQes
1/02/15       Debit Card Purchase 12/29 08:12p #3367                   STONEHAUS         WESTLAKEVILLCA 14365                     109.10                    2,222.57
estauranVBar
1/02/15       Debit Card Purchase 12/30 02:36p #3367                   ANDREW J MIKAELIAN MD WESTLAKE VLG CA 14365                  40.00                   2,182.57
edical Services
1 /02/15      Debit Card Purchase 12/29 10:43p #3367                   EXOTIC THAI AGOURA INC AGOURA HILLS CA 14365                 32.70                   2,149.87
estauranVBar
1 /02/15      Debit Card Purchase 12/29 06:56p #3367                   POSTAL ANNEX #170         AGOURA HILLS CA 14365              18.98                   2,130.89
pecialty Retail stores
1/02/15       Debit Card Purchase 12/30 06:43p #3367                   CENTURY THEATRES 42QPS VENTURA           CA 14365            13.45                   2,117.44
ecreational Services
1/02/15       Debit PIN Purchase 06:26p_ #3367      LASSENS HEALTH FOODS THOUSAND OAKSCAUS00154                                   196.94                    1,920.50
1/02/15       Debit PIN Purchase 05:54p #3367       BEDBATH&BEYOND# BEDBATHTHOUSAND OAKSCAUS00157                                 196.65                    1,723.85
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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itigold Account    42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                          Amount Subtracted   Amount Added       Balance
1/02/15    Debit PIN Purchase 05:15_1)_ #3367 PETSMART INC 103     WESTLAKE VILLCAUS02159                   43.01                        1,680.84
1/05/15    Dep_osit Teller                                                                                             26,600.00        28,280.84
1/05/15    Cash Withdrawal 02:59_1)_ #3367 Teller                                                      10,100.00                        18,180.84
1/05/15    Cash Withdrawal 03:05_1)_ #3367 Teller                                                       3,000.00                        15,180.84
1/05/15    Cash Withdrawal 02:58_1)_ #3367 Teller                                                         200.00                        14,980.84
1/05/15    Debit Card Purchase 12/31 01 :20a #3367 DAN TANA            WEST HOLLYWOO CA 15001             151.00                        14,829.84
estaurant/Bar
1/05/15    Debit Card Purchase 12/31 06:48p #3367 NESPRESSO USA            888-637-7737 NY 15002          121.95                        14,707.89
ood & BeveraQes
1/05/15    Debit Card Purchase 12/31 05:52p #3367 AGOURA BEAUTY SUPPL AGOURA HILLS CA 15002                54.45                        14,653.44
pecialty Retail stores
1/05/15    Debit PIN Purchase 01/04 05:05p #3367                                                          219.77                        14,433.67
EDBATH&BEYOND# BEDBATHTHOUSAND OAKSCAUS00157
1/05/15    Debit   PIN Purchase 01/04 06:40p #3367 BRISTOL FARMS# 05 WESTLAKE VIL CAUS00154                98.80                        14,334.87
1/05/15    Debit   PIN Purchase 01/04 06:07_1)_ #3367 BARNESNOBLE 160 S. Wes!Thousand OaksCAUS00159        49.40                        14,285.47
1/05/15    Debit   PIN Purchase 01/04 07:12_1)_ #3367 TJ TJ MAXX         WESTLAKE CAUS00156                42.46                        14,243.01
1/05/15    Debit   PIN Purchase 01 /04 06:20_1)_ #3367 COST PLUS WLD #77 WESTLAKE VILLCAUS00152            30.42                        14,212.59
1/05/15    Debit   PIN Purchase 01 /04 12:16a #3367 ARCO PAYPOINT            WOODLAND HILLCAUS00155         4.87                        14,207.72
1/05/15    Debit   PIN Purchase 04:00_1)_ #3367 RITE AID CORP .      AGOURA HILLS CAUS00159                 1.60                        14,206.12
1/06/15    Debit   PIN Purchase 04:12_1)_ #3367 SHELL Service Station AGOURA     CAUS00155                 34.01                        14,172.11
1/06/15    Debit   Card Purchase 01/02 10:16p #3367 LAL MIRCH             AGOURA HILLS CA 15003            64.31                        14,107.80
estaurant/Bar
1/06/15    Debit Card Purchase 01 /04 07:29p #3367 DIY HOME CENTER #13 AG AGOURA            CA 15005        40.83                       14,066.97
pecialty Retail stores
1/06/15    Debit Card Purchase 12/31 08:36p #3367 HANAMI SUSHI           CALABASAS     CA 15003            37.06                        14,029.91
estaurant/Bar
1 /06/15   Debit Card Purchase 01 /04 12:03a #3367 FAT BURGER #116        WOODLAND HILL CA 15005            12.54                       14,017.37
estaurant/Bar
1/06/15    Debit Card Purchase 01/03 09:13p #3367 LUCYS EL ADOBE CAFE LOS ANGELES CA 15005                  12.00                       14,005.37
estaurant/Bar
1/06/15    Debit Card Purchase 01 /03 02:05p #3367 STARBUCKS #00561 MALIS Malibu         CA 15005            4.30                       14,001.07
estaurant/Bar
1/06/15    Debit PIN Purchase 07:55_1)_ #3367 EREWHON NATURAL FOODS MCALABASAS CAUS00154                  112.63                        13,888.44
1/06/15    Debit PIN Purchase 05:47_1)_ #3367 BEDBATH&BEYOND# BEDBATHTHOUSAND OAKSCAUS00157                94.21                        13,794.23
1/06/15    Debit PIN Purchase 03:35_1)_ #3367 AJ WINE & SPIRITS INC CALABASAS CAUS02159                    28.59                        13,765.64
1/06/15    Debit PIN Purchase 05:12_1)_ #3367 RITE AID CORP.      AGOURA HILLS CAUS00159                    21 .03                      13,744.61
1/06/15    Debit PIN Purchase 04:1Op_ #3367 SHELL Service Station AGOURA CAUS00155                           1.69                       13,742.92
1 /07/15   Debit Card Purchase 01/06 12:01 a #3367 WINNERS NY PIZZAAGOUR AGOURA HILLS CA 15006             35.27                        13,707.65
estaurant/Bar
1/07/15    Debit Pl N Purchase 07:25_1)_ #3367 #06335 ALBERTSON$     CALABASAS    CAUS00154                34.62                        13,673.03
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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ontinued   Date         Descrip_tion                                                                                Amount Subtracted     Amount Added       Balance
1/08/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD                                                      2,403.73                          11,269.30
1/08/15    Debit Card Purchase 01/05 06:39p #3367 GCl*GUITAR CENTER SPO          866-498-7882 CA 15007           933.94                          10,335.36
pecialty Retail stores
1/08/15    Debit Card Purchase 01/06 07:42p #3367         HOME CNSGNMNT CTR# 17 CALABASAS           CA 15007     391.31                          9,944.05
pecialty Retail stores
1 /08/15   Debit Card Purchase 01 /06 05:53p #3367                                                               124.67                           9,819.38
ROMENADE BEAUTY SEGRE WESTLAKE VLG CA 15007
isc Personal Services
1 /08/15   Debit Card Purchase 01 /06 04:53p #3367        SUBWAY      00515866 AGOURA HILLS CA 15007               30.45                          9,788.93
estauranVBar
1/08/15   Debit PIN Purchase 08:13p_ #3367 EREWHON NATURAL FOODS MCALABASAS CAUS00154                           131.73                           9,657.20
1/08/15   Debit PIN Purchase 01/07 10:32p_ #3367 RITE AID CORP.      AGOURA HILLS CAUS00159                      25.12                           9,632.08
01/09/15   Debit Card Purchase 01 /07 #3367 WALMART.COM          08009666546 AR 15008                            200.08                           9,132.00
etail stores                       ·           - -- - --=
 ~ - - --- - -- -- -                                                              -     ·- -··
1/09/15    Debit Card Purchase 01/06 07:14p #3367         MY PILLOW        952-826-8530 MN 15008                   59.97                          9,372.03
isc Mail & Phone orders
1/09/15    Debit Card Purchase 01/07 03:11 p #3367        STARBUCKS #00635 AGOUR Agoura      CA 15008               8.65                          9,363.38
estauranVBar
1/09/15    Debit Card Purchase 01/07 01 :59p #3367        STARBUCKS #00635 AGOUR Agoura      CA 15008               6.80                          9,356.58
estauranVBar
1/09/15    Debit Card Purchase 01/07 03:15p #3367         STARBUCKS #00635 AGOUR Agoura      CA 15008               5.85                          9,350.73
estauranVBar
1/09/15    Cash Withdrawal 10:21 p_ #3367 ATM 7950 SANTA MONICA BLVD WEST HOLLYWOOCAUS                           400.00                          8,950.73
1/12/15    Transfer                                                                                                            5,000.00         13,950.73
1/12/15    ACH Electronic Debit AMERICAN EXPRESS ACH PMT W9714                                                  1,757.04                        12,193.69
1/12/15    Debit PIN Purchase 01 /11 09:39p_ #3367 USA GASOLINE #68     AGOURA HILLS CAUS00155                     37.00                        12,156.69
1/12/15    Debit PIN Purchase 01/10 04:48p #3367                                                                   29.00                        12,127.69
HOUSAND OAKS VALERO THOUSAND OAKSCAUS00155
1/12/15    Cash Withdrawal 01 :11 p_ #3367      Teller                                                          2,000.00                        10,127.69
1/12/15    Cash Withdrawal 01/10 03:14p_ #3367 Teller                                                           1,000.00                         9,127.69
1/12/15    Cash Withdrawal 01/10 03:13p_ #3367 Teller                                                            300.00                          8,827.69
1/12/15    Debit PIN Purchase 01/10 05:09p #3367                                                                 159.57                          8,668.12
EDBATH&BEYOND# BEDBATHTHOUSAND OAKSCAUS00157
1/12/15    Debit   PIN Purchase 02:33p_ #3367 AJ WINE & SPIRITS INC CALABASAS CAUS02159                            59.53                          8,608.59
1/12/15    Debit   PIN Purchase 01/10 08:29p_ #3367 TJ TJ MAXX          WESTLAKE CAUS00156                         43.56                          8,565.03
1/12/15    Debit   PIN Purchase 01/11 02:31 a #3367 #06335 ALBERTSON$ CALABASAS CAUS00154                           2.61                          8,562.42
1/13/15    Debit   Card Purchase 01/09 11 :48p #3367                                                               90.30                          8,472.12
AUREL HARDWARE INC         WEST HOLLYWOO CA 15012
estauranVBar
1/13/15    Debit Card Purchase 01/10 11 :59p #3367        THE SUNSET RESTAURANT MALIBU         CA 15012            87.58                          8,384.54
estauranVBar
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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ontinued   Date         Descrip_tion                                                                                     Amount Subtracted    Amount Added       Balance
1/13/15    Debit Card Purchase 01/10 06:07p #3367      DIY HOME CENTER #13 AG AGOURA               CA 15012             69.56                         8,314.98
pecialty Retail stores
1/13/15    Debit Card Purchase 01/11 02:27a #3367      CHEVRON 0094240          CALABASAS        CA 15012               61 .00                       8,253.98
utos (rental , service, gas)
1/13/15    Debit Card Purchase 01/09 08:50p #3367      WINNERS NY PIZZA AGOUR AGOURA HILLS CA 1501 O                    25.99                        8,227.99
estauranVBar
1/13/15    Debit PIN Purchase 05:42p_ #3367   RITE AID CORP.           AGOURA HILLS CAUS00159                         488.29                         7,739.70
1/13/15    Debit PIN Purchase 07:04p_ #3367   EREWHON NATURAL FOODS MCALABASAS                 CAUS00154              191.73                         7,547.97
1/13/15    Debit PIN Purchase 05:58p_ #3367 POSTAL ANNEX #170 AGOURA HILLS CAUS00194                                   77.60                         7,470.37
1/13/15    Debit PIN Purchase 06:32p_ #3367 RITE AID CORP.   AGOURA HILLS CAUS00159                                    33.08                         7,437.29
1 /14/15   Debit Card Purchase 01 /12 03:09a #3367                                                                    356.82                         7,080.47
MAZON MKTPLACE PMTS AMZN.COM/BILL WA 15013
pecialty Retail stores
1 /14/15   Debit Card Purchase 01 /12 #3367   FOUR SEASONS HOTEL F&B WESTLAKE VLLG CA 15013                           253.64                         6,826.83
estauranVBar
1/14/15    Debit Card Purchase 01/11 09:33p #3367      EXOTIC THAI AGOURA INC AGOURA HILLS CA 15013                     43.60                        6,783.23
estauranVBar
1 /14/15   Debit Card Purchase 01 /12 01 :20p #3367    STARBUCKS #00635 AG OUR Agoura              CA 15013             15.40                        6,767.83
estauranVBar
1/14/15    Debi.t PIN Purchase 04:30p #3367 URBAN OUTFITTER URBAN           OSANTA BARBARACAUS00156           -   ~     25.92                        6,741.91
1/15/15    Debit Card Purchase Return 01/13 #3367 ALIEXPRESS                 4087481 200     DE 15014                                  9.88          6,751.79
isc Mail & Phone orders
1/15/15    Debit Card Purchase Return 01/13 #3367     ALIEXPRESS             4087481200      DE 15014                                 20.68          6,772.47
isc Mail & Phone orders
1 /15/15   Debit Card Purchase 01 /12 03:13a #3367     WALMART.COM             08009666546 AR 15014                   114.30                         6,658.17
etail stores
1 /15/15   Debit Card Purchase 01 /12 03:09a #3367                                                                      92.54                        6,565.63
MAZON MKTPLACE PMTS AMZN .COM/BILL WA 15014
pecialty Retail stores
1/15/15    Debit Card Purchase 01/13 06:11 p #3367     SUBWAY           00515866 AGOURA HILLS CA 15014                  28.61                        6,537.02
estauranVBar
1/16/15    Debit Card Purchase 01/14 06:47p #3367      VENTURA ANITA'S SPIRIT VENTURA              CA 15015             31 .00                       6,506.02
utos _(rental, service, gas)
1/16/15    Debit Card Purchase 01/14 01 :38p #3367     STARBUCKS #00635 AGOUR Agoura               CA 15015              4.50                        6,501.52
estauranVBar
1 /16/15   Debit PIN Purchase 04:25p_ #3367 POSTAL ANNEX #170            AGOURA HILLS CAUS00194                         40.00                        6,461.52
1 /20/15   Debit PIN Purchase 01 /17 06:35p #3367                                                                       47.00                        6,414.52
HOUSAND OAKS VALERO THOUSAND OAKSCAUS00155
1 /20/15   Debit Card Purchase 01 /13 10:37p #3367     Little Dom's        Los Angeles CA 15016                         49.24                        6,365.28
estauranVBar
1/20/15    Debit PIN Purchase 02:16p #3367 INTERSTATE VAPE/21050 VWOODLAND              HILLCAUS02159                 310.98                         6,054.30
1/20/15    Cash Withdrawal 01/17 03:57p_ #3367 Non Ctti ATM 30245 CANWOOD ST                AGOURA HILLS GAUS         202.50                         5,851 .80
1/20/15    Debit PIN Purchase 01/17 05:36p_ #3367     PETSMART INC 103         WESTLAKE VILLCAUS02159                   46.80                        5,805.00
                                                                                                                                                                                                    Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                             Amount Subtracted   Amount Added       Balance
1/20/15    Cash Withdrawal 09:50a #3367 Non Citi ATM 181 THIRD STREET            SAN FRANCISCOCAUS             24.00                        5,781.00
1/21/15    Debit Card Purchase 01/16 03:44p #3367 CANYON CLEANERS                   AGOURA HILLS CA 15019      73.50                        5,707.50
isc Personal Services
1/21/15    Debit Card Purchase 01/17 05:13p #3367                                                              56.86                       5,650.64
OUR SEASONS HOTEL F&B WESTLAKE: VLLG CA 15020
estaurant/Bar
1/21/15    Debit Card Purchase 01/17 04:25p #3367                                                              52.32                       5,598.32
OUR SEASONS HOTEL SPA WESTLAKE: VLGE CA 15020
isc Personal Services
1/21/15    Debit Card Purchase 01 /16 01 :23p #3367       REMEDY SKIN & BODY        THOUSAND OAKS CA 15019     36.55                        5,561.77
isc Personal Services
1/21/15    Debit Card Purchase 01 /19 09:51 p #3367       CHEVYS 2505         SAN FRANCISCO CA 15020           32.48                        5,529.29
estaurant/Bar
1/21/15    Debit Card Purchase 01/17 03:55p _#3367        DELKIND INC        i}GOURA HILLS CA )5019            23.99                        5,505.30
utos (rental, service, gas)       ·
1/21/15    Debit Card Purchase 01/18 01 :03p #3367        T1 CPK LAX    32573206 LOS ANGELES CA 15020          23.40                        5,481.90
estaurant/Bar
1/21/15    Debit Card Purchase 01/16 03:48p #3367         THE RABBIT HOLE CAFE AGOURA HILLS CA 15019           20.98                        5,460.92
estaurant/Bar
1/21/15    Debit Card Purchase 01/17 07:06p #3367         DAYNES CHICAGO BEE         THOSAND OAKS CA 15019     12.09                        5,448.83
estaurant/Bar
1/21/15    Debit Card Purchase 01/19 09:05p #3367         STARBUCKS #10347 SAN F San Francisco CA 15020        11.10                        5,437.73
estaurant/Bar
1/21/15    Debit Card Purchase 01/16 02:26p #3367         COFFEE BEAN STORE         THOUSAND OAKS CA 15017     10.15                        5,427.58
ood & Beverages
1/21/15    Debit Card Purchase 01/17 07:14p #3367         DAYNES CHICAGO BEE         THOSAND OAKS CA 15019      8.49                        5,419.09
estaurant/Bar
1/21/15    Check# 221                                                                                        200.00                         5,219.09
1/22/15    Debit PIN Purchase 07:55p_ #3367 SUPER SVC CENTER INC CANOGA PARK CAUS00155                        26.30                         5,192.79
1/22/15    Debit Card Purchase 01/20 10:57a #3367 MELTING POT WEB     07753229445 NV 15021                    89.00                         5,103.79
pecialty Retail stores
1 /22/15   Debit Card Purchase 01 /20 01 :29p #3367       LAX AIRPORT LOT P 1    LOS ANGELES CA 15021          63.00                        5,040.79
utos (rental , service, gas)
1 /22/15   Debit Card Purchase 01 /20 10:14a #3367        ROYAL TAXI         LONG ISLAND C NY 15021            49.70                        4,991.09
isc Transportation
1 /22/15   Cash Withdrawal 04:03p_ #3367 Non Citi ATM 5695 KANAN RD AGOURA HILLS GAUS                        403.00                         4,588.09
1 /22/15   Debit PIN Purchase 01 :23a #3367 RALPHS 4754 COMMONS WAYCALABASAS CAUS00154                        12.55                         4,575.54
1/23/15    Debit Card Purchase 01/20 09:47a #3367         W SAN FRANCISCO        SAN FRANCISCO CA 15022      688.07                         3,887.47
1 /23/15   Debit Card Purchase 01 /20 10:30p #3367        TICKETSATWORK.COM          800-331-6483 FL 15022   295.71                         3,591.76
ecreational Services
1 /23/15   Debit Card Purchase 01 /20 10:42p #3367        TICKETSATWORK.COM          800-331-6483 FL 15022     58.65                        3,533.11
ecreational Services
1 /23/15   Debit Card Purchase 01 /21 #3367        HANAMI SUSHI        CALABASAS      CA 15022                 42.51                        3,490.60
estaurant/Bar
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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ontinued   Date          Descrigtion                                                                                   Amount Subtracted   Amount Added       Balance
1/23/15     Debit Card Purchase 01/21 01 :31 p #3367    DIV HOME CENTER #13 AG AGOURA             CA 15022            14.16                        3,476.44
pecialty Retail stores
1/23/15     Debit Card Purchase 01/22 01 :47a #3367     EDWARDS CALABASAS STDM CALABASAS                 CA 15022     10.00                       3,466.44
ecreational Services
1 /23/15    Debit PIN Purchase 08:041)_ #3367   CVS 09751 09751--5623 KAgoura       CAUS00159                        48.11                        3,418.33
1 /23/15    ACH Electronic Debit SOCALGAS       ARC PYM T 0000000223                                                133.14                        3,285 .19
1 /26/15    Debit PIN Purchase 01 /24 08:02_e. #3367   SHELL Service Station AGOURA         CAUS00155                30.00                        3,255.19
1/26/15     Debit PIN Purchase 01 /25 04:58_e. #3367   SHELL Service Station AGOURA         CAUS00155                14.50                        3,240.69
1/26/15     Debit Card Purchase 01/22 01 :10a #3367     SIX RESTAURANT           CALABASAS      CA 15023            114.47                        3,1 26.22
estaurant/Bar
1 /26/15    Debit Card Purchase 01 /22 02:29p #3367     ATT*BILL PAYMENT         800-288-2020 TX 15023              110.28                        3,015.94
hones, Cable & Utilities
1/26/15     Debit Card Purchase 01/22 04:42p #3367      ITALIA DELI & BAKE    AGOURA HILLS CA 15023                   30.95                       2,984.99
estaurant/Bar
1 /26/15    Debit Card Purchase 01/22 12:28p #3367      COFFEE BEAN STORE           CALABASAS     CA 15023            12.15                       2,972.84
ood & BeveraQes
1 /26/15    Debit Card Purchase 01/22 10:13p #3367      EDWARDS CALABASAS STDM CALABASAS                 CA 15023      9.25                       2,963.59
ecreational Services
1 /26/15    Debit Card Purchase 01 /21 10:19p #3367     CARL'S JR 1100287 OPS AGOURA            CA 15023               5.05                       2,958.54
estaurant/Bar
1 /26/.15   Debit Card Purchase 01 /22 06:00p #3367     CARE FIRST RX         WEST HILLS      CA 15023                 4.99                       2,953.55
ood & BeveraQes
1/26/15     Debit PIN Purchase 01/24 09:34p #3367                                                                   103.75                        2,849.80
REWHON NATURAL FOODS MCALABASAS       CAUS00154
1/27/15     Debit Card Purchase 01/23 03:19p #3367      THEANZA           CALABASAS         CA 15026                275.72                        2,574.08
otels & Motels
1/27/15     Debit Card Purchase 01 /23 03:02p #3367     T-MOBILE IVR PAYM ENT 800-937-8997 WA 15024                 210.22                        2,363.86
hones, Cable & Utilities
1 /27/15    Debit Card Purchase 01/2310:17p #3367                                                                   203.07                        2,160.79
OAR DOUGH TASTING ROO AGOURA HILLS CA 15026
estaurant/Bar
1/27/15     Debit Card Purchase 01/22 09:41p #3367                                                                  175.00                         1,985.79
MAZON MKTPLACE PMTS AMZN .COM/BILL WA 15024
pecialty Retail stores
1/27/15     Debit Card Purchase 01/25 05:09p #3367      ITALIA DELI & BAKE    AGOURA HILLS CA 15026                   88.92                        1,896.87
estaurant/Bar

1 /27/15    Debit Card Purchase 01/24 09:25p #3367       SHARKYS WOODFIRED MEX CALABASAS                CA 15026      50.89                        1,845.98
estauran t/Bar
1 /27/15    Debit Card Purchase 01/24 06:30p #3367       MARRIOTT 33764 ANAHEIM ANAHEIM          CA 15026             50 .00                       1,795.98
otels & Motels
1/27/15     Debit Card Purchase 01/22 10:04p #3367       JOHNNY ROC KET          CALABASAS     CA 15026               45.19                        1,750.79
estaurant/Bar
1 /27/15    Debit Card Purchase 01/23 05:34p #3367       TICKETSATWORK.COM         800-331-6483 FL 15026              29.83                        1,720.96
ecreational Services
1/27/15     Debit Card Purchase 01/23 08:11 p #3367      AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15026                 28.50                        1,692.46
ecreatio nal Services
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account    42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrip_tion                                                                         Amount Subtracted     Amount Added        Balance
1/27/15    Debit Card Purchase 01/23 01 :46p #3367      COFFEE BEAN STORE       CALABASAS      CA 15024     20.50                           1,671.96
ood & BeveraQes
1/27/15    Debit Card Purchase 01/24 10:51 p #3367      BREAKDOWN SERVICES       03102769166 CA 15026       20.00                          1,651.96
isc Business Services
1/27/15    Debit Card Purchase 01/24 11 :10p #3367      BREAKDOWN SERVICES       03102769166 CA 15026       20.00                          1,631.96
isc Business Services
1 /27/15   Debit Card Purchase 01 /23 10:41 p #3367     AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15026        17.67                          1,614.29
ecreational Services
1/27/15    Debit Card Purchase 01/22 08:15p #3367       GRAZE BISTRO & BAR     CALABASAS       CA 15024     15.08                          1,599.21
estauranVBar
1/27/15    Debit Card Purchase 01/24 06:20p #3367       HILTON STARBUCKS       ANAHEIM       CA 15026       14.23                          1,584.98
estauranVBar
1 /27/15   Debit Card Purchase 01 /24 03:06p #3367      TRAVEL TRADERS 0776     ANAHEIM       CA 15026      10.38                          1,574.60
pecialty Retail stores
1/27/15    Debit Card Purchase 01/24 03:14p #3367       TRAVEL TRADERS 0776     ANAHEIM       CA 15026       7.98                          1,566.62
pecialty Retail stores
1/27/15    Debit Card Purchase 01/23 07:07p #3367       BEANSCENE CAFE WINE BA OAK PARK          CA 15024    4.75                          1,561 .87
estauranVBar
1/28/15    Debit Card Purchase Return 01/27 #3367       ALI EXPRESS      4087481200       DE 15027                         20.87           1,582.74
isc Mail & Phone orders
1 /28/15   Debit Card Purchase 01 /26 05:58p #3367      JACK IN THE BOX #31 OPS CALABASAS       CA 15027    19.03                          1,563.71
estauranVBar
1/29/15    ACH Electronic Credit CITICARDS   PAYMENT                                                                    3,376.63           4,940.34
1/29/15    Debit Card Purchase 01/26 10:00p #3367 HANAMI       SUSHI         CALABASAS      CA 15028        17.44                          4,922.90
estauranVBar
1 /29/15   Debit Card Purchase 01 /26 01: 18p #3367     THE RABBIT HOLE CAFE AGOURA HILLS CA 15028          13.62                          4,909.28
estauranVBar
1/29/15    Debit Card Purchase 01/26 06:18p #3367       KRAMER'S PHARMACY       AGOURA HILLS CA 15028        5.43                          4,903.85
ood & BeveraQes
1 /29/15   Debit Card Purchase 01 /26 01 :52p #3367     CARL'S JR 1100287 QPS AGOURA          CA 15028       4.99                          4,898.86
estauranVBar
1 /29/15   Debit Card Purchase 01 /26 01 :51 p #3367    CARL'S JR 1100287 QPS AGOURA          CA 15028       3.47                          4,895.39
estauranVBar
1/29/15    Debit Card Purchase 01/26 10:02p #3367       MCDONALD'S F11331      CALABASAS       CA 15028      3.26                          4,892.13
estauranVBar
1/29/15    Cash Withdrawal 10:13_e_ #3367 Citibank ATM 4809COMMONS WY, CALABASAS, CA                        320.00                         4,572.13
1/29/15    Debit PIN Purchase 04:16p_ #3367 RITE AID CORP .        AGOURA HILLS CAUS00159                    36.36                         4,535.77
1 /30/15   Transfer from Savin_g_s Plus 0_5:15£ #3367 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                        2,000.00           6,535.77
1/30/15    Debit Card Purchase 01/28 07:43p #3367 DOMINO'S 8405             818-991-5971 CA 15029           24.83                          6,510.94
estauranVBar
1/30/15    Debit Card Purchase 01/27 06:39p #3367       CARL'S JR 1100287 QPS AGOURA          CA 15029      17.39                          6,493.55
estauranVBar
1 /30/15   Cash Withdrawal 05:16p_ #3367    Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                      500.00                         5,993.55
1/30/15    Cash Withdrawal 05:16_e_ #3367   Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                      200.00                         5,793.55
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued           Date         Descrip_tion                                                                                   Amount Subtracted      Amount Added   Balance
1/30/15     Interest for 31 days,      Average Daily Balance $5,842.94                                                                    0.25         5,793.80
verage Rate 0.05% , Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                               34,180.76           37,028.31
2/01/15 Closing Balance                                                                                                                               5,793.80
ll transaction times and dates reflected are based on Eastern Time.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                         600
otal Points forwarded to Citi® ThankYou® Rewards                                                    600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details .
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avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date         Descrip_tion                                                                                      Amount Subtracted   Amount Added   Balance
-
1/01/15     O~Balance                                                                                                                                      0.39
1/05/15     Dep_osit Teller                                                                                                                79.00          79.39
1/05/15     Deposit Teller                                                                                                             30,000.00      30,079.39
1/12/15     Transfer                                                                                                  5,000.00                        25,079.39
1/30/15     Transfer to Checking 05:15p #3367 Citibank ATM 5837        KNAN RD, AGOURA HLLS, CA                       2,000.00                        23,079.39
1/30/15     Interest for 31 days, Average Daily Balance $23,587.87                                                                          1.00      23,080.39
verage Rate 0.05%, Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                                   7,000.00         30,080.00
1/31/15      Closing Balance                                                                                                                          23,080.39
ll transaction times and dates reflected are based on Eastern Time.
                                                                                                                                                                                                        Case 1:17-ap-01099-VK




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itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
 Value of Accounts                                       LastPerlod        This Period   I    I Earnings Summary                This Period   This Year   I
itibank Accounts                                                                              Citibank Accounts
 Checking                                 '                                                     Checking
hecking                                                5,793.80          1,882.16             Checking                            0.12        0.37
avings                                                                                        Savings
nsured Mone1 Market Accounts                          23,080.39        10,380.98              Insured Mone1 Market Accounts      0.59         1.59
itigold Relationship Total                            $28,874.19       $12,263.14             Citigold Relationship Total        $0.71        $1.96
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
ake the move to your next home with rate and closing cost discounts from Citibank.
all 1-877-707-1799 for details. Offer Code: 13337-5. NMLS# 412915                                                                                                                      Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of January in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                             Your Combined Balance Range
100 000-$249.999
ates                                                                 Preferred
   t.                  Monthly Service Charg_e .,~ ., .                                           None

ll fees assessed for this statement period will appear 'as charges to your checking account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate             Descrip_tion                                                                                     Amount Subtracted   Amount Added    Balance
2/02/15         O~Balance                                                                                                                           5,793.80
2/02/15         Dep_osit on 01/31 1 Teller                                                                                              1,000.00    6,793.80
2/02/15         ACH Electronic Debit BARCLAYCARD us CREDITCARD                                                          2,325.35                    4,468.45
2/02/15         Debit PIN Purchase 01 /31 02:27_1)_ #3367 SHELL Service Station      SHERMAN OAKS CAUS00155                52.18                    4,416.27
2/02/15         Cash Withdrawal on 01/31 1 04:591)_ #3367 Teller                                                          700.15                    3,716.12
2/02/15         Cash Withdrawal on 01/31 1 05:02_1)_ #3367         Teller                                                 300.00                    3,416.12
2/02/15         Debit Card Purchase 01/29 05:27p #3367             JOHN VARVATOS MALIBU MALIBU        CA 15030            325.04                    3,091.08
pecialty Retail stores
2/02/15         Debit Card Purchase 01/29 05:31 p #3367            JOHNS GARDEN FRESH HEA MALIBU       CA 15030              26.31                  3,064.77
ood & Beverages
2/02/15         Debit Card Purchase 01/29 04:18p #3367             KS JEWELERS       AGOURA HILLS CA 15030                   20.00                  3,044.77
pecialty Retail stores
2/02/15         Debit Card Purchase 01/29 05:49p #3367             JOHNS GARDEN FRESH HEA MALIBU       CA 15030               4.38                  3,040.39
ood & BeveraQes
2/02/15         Debit PIN Purchase 01/31 10:55p #3367                                                                        70.96                  2,969.43
REWHON NATURAL FOODS MCALABASAS             CAUS00154
2/02/15         Debit PIN Purchase 04:47_1)_ #3367       RITE AID CORP.      AGOURA HILLS CAUS00159                          24.95                  2,944.48
2/02/15         Debit PIN Purchase 01 /31 02:26_1)_ #3367         SHELL Service Station SHERMAN OAKS CAUS00155               11.57                  2,932.91
2/02/15         Check# 222                                                                                                   25.84                  2,907.07
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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itigold Account    42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                           Amount Subtracted   Amount Added           Balance
2/02/15    Check# 251                                                                                      100.00                             2,807.07
2/03/15    Debit Card Purchase 01/30 05:26p #3367     CONEJO LOS ROBLES A        805-578-8300 CA 15033     687.50                             2,119.57
edical Services
2/03/15    Debit Card Purchase 02/01 09:23p #3367     LAL MIRCH         AGOURA HILLS CA 15033                57.77                           2,061.80
estauranVBar
2/03/15    Debit Card Purchase 01 /29 10:57p #3367    CATALINA$ BAR & GRILL LOS ANGELES CA 15031             39 .16                          2,022.64
estauranVBar
2/03/15    Debit Card Purchase 01 /31 11 :06p #3367   EXOTIC THAI AGOURA INC AGOURA HILLS CA 15033           25 .62                          1,997.02
estauranVBar
2/03/15    Debit Card Purchase 01 /30 06:47p #3367    STARBUCKS #05775 HOLLY Hollywood        CA 15031       21 .65                          1,975.37
estauranVBar
2/03/15    Debit Card Purchase 01/29 04:10p #3367     POSTAL ANNEX #170        AGOURA HILLS CA 15031         20.00                           1,955.37
pecialty Retail stores
2/03/15    Debit Card Purchase 01/31 10:11 p #3367    LAX AIRPORT LOT p 4      LOS ANGELES CA 15033           3.00                           1,952.37
utos (rental, service, gas)
2/03/15    Debit Card Purchase 01/29 03:13a #3367                                                             1.00                           1,951.37
179 ORANGETHEORY THOK THOUSAND OAKS CA 15031
ecreational Services
2/03/15    Debit Card Purchase 01 /30 #3367   0179 ORANGETHEORY THOK THOUSAND OAKS CA 15031                   1.00                           1,950.37
ecreational Services
2/04/15    Debit Card Purchase 02/02 05:36p #3367     IPHON EFIX1           AGOURA HILLS CA 15034          211.69                            1,738.68
isc Business Services
2/04/15    Debit Card Purchase 02/02 05:14p #3367     !TALIA DELI & BAKE      AGOURA HILLS CA 15034          72.75                           1,665.93
estauranVBar
2/04/15    Debit Card Purchase 02/02 05:46p #3367     RADIOSHACK COR00135582 AGOURA             CA 15034     57.74                           1,608.19
pecialty Retail stores
2/04/15    Debit PIN Purchase 07:13p_ #3367 LASSENS HEALTH FOODS THOUSAND OAKSCAUS00154                    128.79                            1,479.40
2/04/15    Debit PIN Purchase 09:24p_ #3367 #06335 ALBERTSON$ CALABASAS CAUS00154                           80.21                            1,399.19
2/05/15    Debit Card Purchase 02/02 05:53p #3367 SWEET XO        AGOURA HILLS CA 15035                     75.76                            1,323.43
ood & Beverages
2/05/15    Debit Card Purchase 02/02 04:37p #3367     POSTAL ANNEX #170        AGOURA HILLS CA 15035         23.93                           1,299.50
pecialty Retail stores
2/05/15    Cash Withdrawal 06:13p_ #3367 Non Citi ATM 560 WILSHIRE BLVD        BEVERLY HILLSCAUS             22.95                           1,276.55
2/06/15    Debit PIN Purchase 07:05p_ #3367 SHELL Service Station AGOURA         CAUS00155                   33.00                           1,243.55
2/06/15    Debit Card Purchase 02/03 04:39p #3367 HUGOS AGOURA HILLS             AGOURA HILLS CA 15036       29.07                           1,214.48
estauranVBar
2/06/15    Debit Card Purchase 02/03 04:46p #3367     CARRARA PASTRIES          AGUARA HILLS CA 15036        28.27                           1,186.21
estauranVBar
2/06/15    Debit Card Purchase 02/04 1O:OOa #3367     STARBUCKS #00635 AGOUR Ag oura          CA 15036        8.05                           1,178.16
estauranVBar
2/06/15    Debit Card Purchase 02/04 11 :13a #3367    STARBUCKS #00635 AGOUR Agoura           CA 15036        3.35                           1,174.81
estauranVBar
2/06/15    Debit Card Purchase 01 /30 #3367   LA CITY METERED PARKIN LOS ANGELES CA 15036                     2.00                           1,172.81
utos {rental , service, gas

2/06/15    Debit PIN Purchase 07:48p_ #3367   TRADER JOE'S #247      AGOURA HILLS CAUS00154                171.60                            1,001.21
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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itigold Account    42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                                Amount Subtracted     Amount Added             Balance
2/06/15    Debit PIN Purchase 06:53p #3367 TOBACCO ROYALE     CALABASAS CAUS00159                                 67.68                                 933.53
2/09/15    Debit PIN Purchase 05:30e #3367 7-ELEVEN       CALABASAS CAUS00155                                     30.00                                 903 .53
2/09/15    Debit Card Purchase 02/04 05:17p #3367 CANYON CLEANERS    AGOURA HILLS CA 15037                        38.50                                 865.03
isc Personal Services
2/09/15    Debit Card Purchase 02/05 10:18p #3367      EDWARDS CALABASAS STDM CALABASAS              CA 15037     25.50                                 839.53
ecreational Services
2/09/15    Debit Card Purchase 02/04 06:13p #3367                                                                 13.61                                 825.92
OUR SEASONS HOTEL SPA WESTLAK~ VLGE CA 15037
isc Personal Services
2/09/15    Debit PIN Purchase 08:16e #3367 RITE AID CORP .      AGOURA HILLS CAUS00159                              4.35                              821.57
2/10/15    Transfer from Savings Plus 07:35p #3367 Citibank ATM 4809COMMONS WY, CALABASAS,             CA                     3,000.00              3,821.57
2/10/15    Debit Card Purchase 02/08 #3367 FOREVER 21.COM         08009661355 CA 15040                           219.59                             3,601.98
pecialty Retail stores
2/10/15    Debit Card Purchase 02/07 09:22p #3367      MICROSOFT     *      866MSBILL1    WA 15040                79.99                             3,521.99
isc Business Services
2/10/15    Debit Card Purchase 02/06 08:51 p #3367     AGOURA HILLS STADIUM 8 818-224-3825 CA 15040               44.00                             3,477.99
ecreational Services
2/10/15    Debit Card Purchase 02/06 08:00p #3367      GRAPHAIDS AGOURA          AGOURA HILLS CA 15038            36.56                             3,441.43
eecialtv Retail stores
2/10/15    Debit Card Purchase 02/05 05:29p #3367      FOUR SEASONS VALET         LOS ANGELES CA 15038              9.00                            3,432.43
utos (rental, service, gas)
2/10/15    Debit Card Purchase 02/06 10:27p #3367      AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15040                 5.67                            3,426.76
ecreational Services
2/10/15    Debit PIN Purchase 08:07p #3367      #06335 ALBERTSON$        CALABASAS    CAUS00154                   87.01                             3,339.75
2/11/15    Deeosit Teller                                                                                                     3,500.00              6,839.75
2/11/15    ACH Electronic Debit AMERICAN EXPRESS ACH PMT          1                                               853.50                            5,986.25
2/12/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 280151908                                             1,481.58                            4,504.67
2/12/15    Debit Card Purchase 02/09 05:37p #3367 SHARKYS WOODFIRED MEX               CALABASAS      CA 15042      57.64                            4,447.03
estaurant/Bar
2/13/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 280151522                                               358.13                            4,088.90
2/13/15    Debit PIN Purchase 09:45e #3365 CVS 09751 09751--5623 KAgoura      CAUS00159                           288.99                            3,799.91
2/13/15    Debit PIN Purchase 07:40e #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                  163.58                            3,636.33
2/17/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 280559302                                                13.23                            3,623.10
2/17/15    Debit PIN Purchase 02/15 05:41 p #3365 SHELL Service Station AGOURA     CAUS00155                       51.01                            3,572.09
2/17/15    Debit PIN Purchase 02/15 05:44e #3365 SHELL Service Station AGOURA      CAUS00155                       37.51                            3,534.58
2/17/15    Debit PIN Purchase 02/15 06:57e #3365 SHELL Service Station AGOURA      CAUS00155                       31.50                            3,503.08
2/17/15    Cash Withdrawal on 02/15 1 05:40p #3365                                                                202.50                            3,300.58
on Citi ATM 5134 KANAN RD     AGOURA HILLS GAUS
2/17/15    Debit PIN Purchase 02/16 06:06e #3365 RITE AID CORP.     AGOURA HILLS CAUS00159                        75.94                             3,224.64
2/17/15    Debit PIN Purchase 04:33e #3365 WAL-MART #5152 Wal-MartWEST HILLS CAUS00153                            27.21                             3,197.43
                                                                                                                                                                                                     Case 1:17-ap-01099-VK




             EX. GGG - 013
                                                                                                                                                                            Exhibit GGG pt. 1 Page 14 of 200
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ebruary 2 - March 1, 2015                     Page 5 of 9
OBIN C DIMAGGIO
itigold Account    42002622498
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igh Interest Checking 42002622498
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ontinued   Date        Descrip_tion                                                                                 Amount Subtracted     Amount Added           Balance
2/17/15    ACH Electronic Debit CITICARD PAYMENT CHECK PYMT 0000000611                                           100.25                               3,097.18
2/18/15    Debit Card Purchase 02/14 10:19p #3365 SIX RESTAURANT              CALABASAS       CA 15047           187.15                               2,910.03
estauranVBar
2/18/15    Debit Card Purchase 02/13 05:05p #3365         PAYPAL *GAZELLE       4029357733    MA 15045           175.37                              2,734.66
pecialty Retail stores
2/18/15    Debit Card Purchase 02/16 01 :25a #3365        SIX RESTAURANT      CALABASAS       CA 15048           102.84                              2,631 .82
estauranVBar
2/18/15    Debit Card Purchase 02/13 08:17p #3365         SO CAL GAS COMPANY      800-427-2200 CA 15047           91 .50                             2,540.32
hones, Cable & Utilities
2/18/15    Debit Card Purchase 02/15 07:11 p #3365        EXOTIC THAI AGOURA INC AGOURA HILLS CA 15048             26.16                             2,514.16
estauranVBar
2/18/15    Debit Card Purchase 02/14 06:54p #3365         EDWARDS CALABASAS STDM CALABASAS            CA 15047     26.00                             2,488.16
ecreational Services
2/18/15    Debit Card Purchase 02/13 09:48p #3365         AGOURA MEADOWS HEALTH AGOURA             CA 15047        20.92                             2,467.24
ood & Beverages
2/18/15    Debit Card Purchase 02/16 12:1 Oa #3365                                                                 14.00                             2,453.24
OLLYWOOD AND HIGHLAND LOS ANGELES CA 15047
utos (rental, service, gas)
2/18/15    Debit Card Purchase 02/15 06:56p #3365         SHELL OIL 57444585103 AGOURA         CA 15048             3.18                             2,450.06
utos (rental , service, gas)
2/19/15    Debit Card Purchase 02/17 04:56p #3365         SUBWAY     00203786 WEST HILLS      CA 15049             10.43                             2,439.63
estauranVBar                            ·
2/19/15    Debit PIN Purchase 08:20_1)_ #3365 CVS 09751 09751 --5623 KAgoura CAUS00159                             40.58                             2,399.05
2/19/15    Debit PIN Purchase 04:37_1)_ #3365 #06335 ALBERTSON$ CALABASAS CAUS00154                                14.00                             2,385.05
2/19/15    Debit PIN Purchase 07:32_1)_ #3365 PARK WEST PHARMACY INC WEST HILLS CAUS02159                           3.00                             2,382.05
2/20/15    Transfer on 02/191 from Savinqs Plus 10:56p #3365                                                                   4,000.00              6,382.05
itibank ATM 5837 KNAN RD , AGOUFfA HLLS, CA
2/20/15    Debit Card Purchase 02/18 01 :16p #3365        STARBUCKS #05734 STUDI Studio City CA 15050              19.27                             6,362.78
estauranVBar
2/20/15    Debit Card Purchase 02/18 11 :40a #3365        WEST HILLS HOSPITAL    8003078016    TN 15050            15.00                             6,347.78
edical Services
2/23/15    Debit Card Purchase 02/19 04:42p #3365         STARBUCKS #05858 CALAB Calabasas       CA 15051         52.50                              6,295.28
estauranVBar
2/23/15    Debit Card Purchase 02/19 08:22p #3365         AGOURA MEADOWS HEALTH AGOURA             CA 15051        47.00                             6,248.28
ood & Beverages
2/23/15    Cash Withdrawal on 02/21 1 06:54_1)_ #3365 ATM 22821 SATICOY ST CANOGA PARK GAUS                      400.00                              5,848.28
2/23/15    Cash Withdrawal on 02/21 1 06:55_1)_ #3365 ATM 22821 SATICOY ST CANOGA PARK CAUS                      400.00                              5,448.28
2/23/15    Cash Withdrawal 06:37_1)_ #3365 Non Citi ATM 26500 AGOURA ROAD CALABASAS CAUS                         102.50                              5,345.78
2/23/15    Debit PIN Purchase 06:37~ #3365 TOBACCO ROYALE/2160 S NNEWBURY PARK CAUS02159                          63.16                              5,282.62
2/23/15    Debit PIN Purchase 06:29_1)_ #3365 #06335 ALBERTSON$ CALABASAS CAUS00154                               34.34                              5,248.28
2/23/15    Debit PIN Purchase 06:10_1)_ #3365 TRADER JOE'S #247 AGOURA HILLS CAUS00154                            27.78                              5,220.50
2/24/15    Debit Card Purchase 02/20 06:17p #3365 MILLENNIUM UN PLAZA NEW YORK NY 15054                          151.53                              5,068.97
otels & Motels
                                                                                                                                                                                                    Case 1:17-ap-01099-VK




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                                                                                                                                                                           Exhibit GGG pt. 1 Page 15 of 200
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ebruary 2 - March 1, 2015                     Page 6 of 9
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itigold Account         42002622498
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igh Interest Checking 42002622498
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ontinued   Date        Descrip_tion                                                                               Amount Subtracted   Amount Added           Balance
2/24/15    Debit Card Purchase 02/20 08:11 p #3365      JFK PALM STEAKHOUSE        JAMAICA     NY 15052        138.27                             4,930.70
estauranVBar
2/24/15    Debit Card Purchase 02/20 03:27p #3365       HUDSON NEWS 03 UN         NEW YORK     NY 15052        117.47                            4,813.23
pecialty Retail stores
2/24/15    Debit Card Purchase 02/20 05:55p #3365       KEATS BAR AND REST AURA NEW YORK            NY 15054   102.35                            4,710.88
estauranVBar
2/24/15    Debit Card Purchase 02/20 06:36a #3365       NYC-TAXI          ASTORIA      NY 15054                  69.76                           4,641.12
isc Transportation
2/24/15    Debit Card Purchase 02/19 09:00p #3365       EXOTIC THAI AGOURA INC AGOURA HILLS CA 15052             68.32                           4,572.80
estauranVBar
2/24/15    Debit Card Purchase 02/21 05:52a #3365       LAX AIRPORT LOT P 7     LOS ANGELES CA 15054             53.00                           4,519 .80
utos (rental, service, gas}
2/24/15    Debit Card Purchase 02/21 07:26p #3365       CANYON CLEANERS         AGOURA HILLS CA 15054            19.00                           4,500.80
isc Personal Services
2/24/1 5   · Debit PIN Purchase 07:44p #3365 cvs 09751 09751--5623 KAgouia      CAUS00159                       18.30                            4,482.50
2/24/15      Debit PIN Purchase 06:52_1)_ #3365 GUSS LIQUOR           WOODLAND HILLCAUS02154                    10.93                            4,471.57
2/25/15      ACH Electronic Debit BARCLAYCARD us CREDITCARD 282691709                                          582.22                            3,889.35
2/25/15      Debit PIN Purchase 02:49_1)_ #3365 SHELL Service Station CALABASAS CAUS00155                       74.71                            3,814.64
2/25/15      Cash Withdrawal 04:11 _I)_ #3365 Teller                                                           725.00                            3,089.64
2/25/15      Debit Card Purchase 02/23 04:23p #3365 T-MOBILE TEL PAYMENT 800-937-8997 WA 15055                 196.96                            2,892.68
hones , Cable & Utilities
2/25/15    Debit Card Purchase 02/23 04:43p #3365       AGl*TMO INS DEDUCTIBLE 8668666285         PA 15055     175.00                            2,717.68
isc Business Services
2/25/15    Debit Card Purchase 02/23 03:32p #3365       DS SERVICES STANDARD C 800-4928377 GA 15055              21 .76                          2,695.92
pecialty Retail stores
2/25/15    Debit PIN Purchase 07:21 _I)_ #3365 RITE AID CORP.    AGOURA HILLS CAUS00159                         35.91                            2,660.01
2/25/15    Debit PIN Purchase 02:48p #3365 SHELL Service Station CALABASAS CAUS00155                             4.97                            2,655.04
2/26/15    Debit Card Purchase 02/23 08:05p #3365 FRIGIDAIRE CONSUMER SE 08663865286               NC 15056    121 .58                           2,533.46
isc Business Services
2/26/15    Debit Card Purchase 02/24 07:32p #3365       IPHONEFIX1          AGOURA HILLS CA 15056                68.59                           2,464.87
isc Business Services
2/26/15    Debit Card Purchase 02/24 04:11 p #3365      PARK WEST PHARMACY INC WEST HILLS           CA 15056      5.50                           2,459.37
ood & BeveraQes
2/27/15    Debit PIN Purchase 09:12_1)_ #3365 SHELL Service Station    AGOURA     CAUS00155                      31 .02                          2,428.35
2/27/15    Debit Card Purchase 02/25 01 :38p #3365 SUBWAY              00203786 WEST HILLS    CA 15057           16.72                           2,411 .63
estauranVBar
2/27/15    Cash Withdrawal 07:51 _I)_ #3365 Non Ctti ATM 26521 AGOURA RD CALABASAS CAUS                        203.00                            2,208.63
2/27/15    Debit PIN Purchase 08:10p #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                99.64                            2,108.99
2/27/15    Debit PIN Purchase 02/26 10:37[> #3365      Staples, Inc     WESTLAKE VILLCAUS02159                   94.80                           2,014.19
2/27/15    Debit PIN Purchase 02/26 10:56_1)_ #3365 #06388 ALBERTSONS WESTLAKE VILLCAUS00154                     77.29                           1,936.90
2/27/15    Debit PIN Purchase 09:27_1)_ #3365 RITE AID CORP.     AGOURA HILLS CAUS00159                          21 .80                          1,915.10
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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                                                                                                                                                                       Exhibit GGG pt. 1 Page 16 of 200
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ebruary 2 - March 1, 2015                    Page 7 of 9
OBIN C DIMAGGIO
itigold Account    42002622498
hecking           Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued          Date         Descrigtion                                                                                   Amount Subtracted     Amount Added    Balance
2/27/15    Debit PIN Purchase 09:31 _e #3365 RITE AID         CORP.   AGOURA HILLS CAUS001 59                       18.07                               1,897.03
2/27/15    Debit PIN Purchase 02/26 11 :18p #3365                                                                   12.00                               1,885.03
OBACCO ROYALE/2160 S NNEWBURY PARK CAUS02159
2/27/15    Debit PIN Purchase 02/26 11 :03p_ #3365 ?-ELEVEN               AGOURA HILLS CAUS02155                     2.99                              1,882.04
2/27/15    Interest for 28 days, Average Daily Balance $3 ,032.69                                                                       0.12           1,882.16
verage Rate 0.05%, Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                           15,411.76        11,500.12
3/01 /15 Closing Balance                                                                                                                              1,882.16
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                         600
otal Points forwarded to Citi® ThankYou® Rewards                                                    600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrigtion                                                                                     Amount Subtracted    Amount Added   Balance
2/01 /15    Opening Balance                                                                                                                        23,080.39
2/03/15     Cash Withdrawal 05:07p_ #3367 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                  800.00                       22,280.39
2/10/15     Transfer to Checking 07:35p #3367 Citibank ATM 4809COMMONS WY, CALABASAS , CA                          3,000.00                        19,280.39
2/11/15     Cash Withdrawal 07:27p_ Teller                                                                         4,000.00                        15,280.39
2/13/15     Cash Withdrawal 03:18p_ #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                                 500.00                       14,780.39
2/20/15     Transfer on 02/19 1 to Checking_ 1O:~_§_p #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA            4,000.00                        10,780.39
2/20/15     Transfer on 02/19 1 to Checking 10:57p #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                  200.00                       10,580.39
2/20/15     Cash Withdrawal on 02/1 9 1 10:57p #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                      200.00                       10,380.39
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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ebruary 2 - March 1, 2015                                   Page 8 of 9
OBIN C DIMAGGIO
itigold Account     42002622498
avings             Continued
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity
ontinued           Date         Description                                                                                 Amount Subtracted    Amount Added               Balance
2/27/15     Interest for 28 days,     Average Daily Balance $15,419.67                                                                          0.59            10,380.98
verage Rate 0.05% , Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                           12,700.00               0.59
2/28/15       Closing Balance                                                                                                                                   10,380.98
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
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itigold Account       42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call : Citi9old Services at (888} 248-4465*
or speech and hearing impaired customers only: TTY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibankonline.com
737 KANAN RD. Suite 117
GOURA HILLS CA        91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     LastPerlod           This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checkin_g
hecking                                                1,882.16             892.49             Checking                             0.04        0.41
avin s                                                                                         Savings
nsured Mone}'. Market Accounts                     10,380.98             3,068.27             Insured Mone}'. Market Accounts     0.29        1.88
itigold Relationship Total                          $12,263.14            $3,960.76            Citigold Relationship Total         $0.33       $2.29
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
ove into your dream home with special rate and closing cost discounts from Citibank.
all 1-877-707-1799 today for details. Offer Code: 13337-5. NMLS# 412915
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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10/R1 /04F013
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OBIN C DIMAGGIO
itigold Account      42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period ,
nd the transaction limits and fee waivers that apply during the next statement period , Citibank considers your average balance during the
onth of February in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                          Your Combined Balance Range
100 000-$249 999
ates                                                            Preferred
onthly Service Charge                            -                   None
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking       High Interest Checking 42002622498
ctivity
ate        Descri_E>_tion                                                                                 Amount Subtracted   Amount Added     Balance
3/02/15    Opening Balance                                                                                                                    1,882.16
3/02/15    Debit Card Purchase 02/25 06:24D #3365                                                                    78.48                    1,803.68
OUR SEASONS HOTEL SPA WESTLAKI:: VLGE CA 15058
isc Personal Services
3/02/15    Debit Card Purchase 02/25 05:07p #3365        AGOURA'$ FAMOUS DELI & AGOURA HILLS CA 15058                75.11                    1,728.57
estauranVBar
3/02/15    Debit Card Purchase 02/26 02:1 Op #3365       BOBBY'S COFFEE SHOP      WOODLAND HILL CA 15058             48.56                    1,680.01
estauranVBar
3/02/15    Debit Card Purchase 02/25 10:1Op #3365        LA PAZ RESTAURANT       CALABASAS    CA 15058               32.83                    1,647.18
estauranVBar
3/02/15    Debit PIN Purchase 02/28 11 :05p_ #3365      PETSMART INC 103     WESTLAKE VILLCAUS02159                135.80                     1,511 .38
3/02/15    Debit PIN Purchase 03/01 07:28p #3365                                                                    34.37                     1,477.01
EDBATH &BEYOND# BEDBATHTHOUSAND OAKSCAUS00157
3/02/15    Debit PIN Purchase 02/28 03:47p #3365                                                                     27.00                    1,450.01
OBACCO ROYALE/2160 S NNEWBURY PARK CAUS02159
3/02/15    Debit PIN Purchase 02/28 11 :31 p_ #3365     PETSMART INC 103     WESTLAKE VILLCAUS02159                  23.61                    1,426.40
3/02/15    Debit PIN Purchase 03/01 06:41 p #3365       RITE AID CORP.     AGOURA HILLS CAUS00159                    11 .29                   1,415.11
3/02/15    Debit PIN Purchase 03/01 04:51 p #3365                                                                     2.69                    1,412.42
REWHON NATURAL FOODS MCALABASAS           CAUS00154
3/02/15    Debit PIN Purchase 03/01 06:35e_ #3365       RITE AID CORP.     AGOURA HILLS CAUS00159                     2.40                    1,410.02
                                                                                                                                                                                   Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrip_tion                                                                                   Amount Subtracted    Amount Added           Balance
3/02/15    Debit PIN Purchase 03/01 06:43_e_ #3365      RITE AID CORP .      AGOURA HILLS CAUS00159                    1.20                             1,408.82
3/03/15    Debit Card Purchase 02/27 07:52p #3365        CHEVRON 0094240           CALABASAS    CA 15061              34.01                             1,374.81
utos (rental , service, gas)
3/03/15    Debit Card Purchase 02/28 03:19p #3365        FAT BURGER #116          WOODLAND HILL CA 15061              30.79                            1,344.02
estaurant/Bar
3/03/15    Debit Card Purchase 03/01 04:30p #3365        SQ *EREWHON WELLNESS B Calabasas          CA 15061           24.48                            1,319.54
etail stores
3/03/15    Debit Card Purchase 02/27 04:31 p #3365       STARBUCKS #05858 CALAB Calabasas        CA 15059             21.17                            1,298.37
estaurant/Bar
3/03/15    Debit Card Purchase 02/26 12:04p #3365        EREWHON NATURAL FOODS CALABASAS                 CA 15059      5.27                            1,293.10
ood & Beverages
3/03/15    Debit PIN Purchase 06:35_e_ #3365   NEW BANGLUCK MARKET          RESEDA        CAUS02154                  10.66                             1,282.44
3/04/15    Cash Withdrawal 02:15_e_ Teller                                                                          759.90                               522.54
3/04/15    Debit Card Purchase 03/01 06:50p #3365        SWEET      xo      AGOURA HILLS CA 15062                    17.16                               505.38
ood & Beverages
3/05/15    Debit Card Purchase 03/02 02:43p #3365        HUGO$ STUDIO CITY          STUDIO CITY CA 15063              52.97                             452.41
estaurant/Bar
3/05/15    Debit Card Purchase 03/03 10:43p #3365        WINNERS NY PIZZA AGOUR AGOURA HILLS CA 15063                 49.98                             402.43
estaurant/Bar
3/05/15    Debit Card Purchase 03/03 08:37p #3365        DIV HOME CENTER #13 AG AGOURA            CA 15063            30.32                             372.11
pecialty Retail stores
3/05/15    Debit Card Purchase 03/02 10:58p #3365        FOUR SEASONS HOTELS LA LOS ANGELES CA 15063                  28.53                             343.58
otels & Motels
3/06/15    Debit Card Purchase 03/03 06:26p #3365        PHO   so   1 RESTAURANT     RESEDA      CA 15064             28 .98                            314.60
estaurant/Bar
3/06/15    Debit Card Purchase 03/03 11 :39p #3365       FEDEXOFFICE 00042952 AGOURA HILLS CA 15064                    4.17                             310.43
isc Business Services
3/09/15    Debit Card Purchase 03/05 05:03p #3365        STARBUCKS #05858 CALAB Calabasas        CA 15065              2.25                             308 .18
estaurant/Bar
3/10/15    Transfer                                                                                                                800.00              1,108.18
3/10/15    De_e_osit Teller                                                                                                         13.25              1,121.43
3/10/15    Debit PIN Purchase 05:40_e_ #3365 LOW-P                  CALABASAS     CAUS00155                           38.01                            1,083.42
3/10/15    Debit Card Purchase 03/05 07:59p #3365        STUBHUB, INC            08667882482 CA 15066               138.65                               944.77
ecreational Services
3/10/15    Debit PIN Purchase 05:58_e_ #3365   Staples, Inc         WESTLAKE VILLCAUS02159                            5.22                              939.55
3/11 /15   ACH Electronic Debit TO YOTA       Pay TFS                                                               600.15                              339.40
3/13/15    Transfer from Savings Plus 03_:36p #3365      Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                200.00               539.40
3/16/15    Debit PIN Purchase 03/14 01 :38p #3365                                                                     24.50                             514.90
HOUSAND OAKS VALERO THOUSAND OAKSCAUS00155
3/16/15    Debit Card Purchase 03/11 06:30p #3365        CARL'S JR 1100287 QPS AGOURA           CA 15072              14.33                             500.57
estaurant/Bar
3/16/15    Debit PIN Purchase 03/15 08:221)_ #3365      FRY$ FOOD & DRUG 2700 WTEMPE            AZUS00154           112.36                              388.21
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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                                                                                                                                                                             Exhibit GGG pt. 1 Page 21 of 200
                                                                                                                                                                             Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrigtion                                                                          Amount Subtracted      Amount Added            Balance
3/16/15    Debit PIN Purchase 03/14 03:08p #3365 RITE AID CORP.        AGOURA HILLS CAUS00159              42.98                                   345.23
3/16/15    Debit PIN Purchase 05:11 p #3365 AJ WINE SPIRITS INC CALABASAS CAUS02159                        19.66                                   325.57
3/16/15    Debit PIN Purchase 04:46p_ #3365 SHELL Service Station NORTH HOLLYWOCAUS00155                    5.85                                   319.72
3/16/15    Debit PIN Purchase 08:47p_ #3365 THE UPS STORE #1093 CALABASAS CAUS02173                         4.00                                   315.72
3/17/15    Debit Card Purchase 03/14 04:53p #3365 STUBHUB, INC           08667882482 CA 15075             149.59                                   166.13
ecreational Services
3/17/15    Debit Card Purchase 03/13 06:55p #3365    MCDONALD'S F3997        AGOURA HILLS CA 15075           7.61                                  158.52
estauranVBar
3/18/15    Debit Card Purchase 03/16 01 :14p #3365   ARIZONA GAND RESORT GI PHOENIX           AZ 15076       7.08                                  151.44
pecialty Retail stores
3/18/15    Debit PIN Purchase 07:39p_ #3365 SHELL Service Station AGOURA       CAUS00155                    15.05                                  136.39
3/19/-15   Debit Card Purchase 03/-16 04:34p #3365 BOB HOPE AIRPORT--        BURBANK       CA 15077         62.00 -                   --            74.39
pecialty Retail stores
3/19/15    Debit Card Purchase 03/16 02:06p #3365    PARADIES # 700      002 TEMPE     AZ 15077             17.68                                  56.71
pecialty Retail stores
3/19/15    Debit Card Purchase 03/16 02:44p #3365    PARADIES # 700      002 TEMPE     AZ 15077              2.95                                  53.76
pecialty Retail stores
3/23/15    Transfer on 03/21 1                                                                                           2,000.00              2,053.76
3/23/15    Deposit on 03/21 1 Teller                                                                                         7.42              2,061.18
3/23/15    Cash Withdrawal on 03/21 1 04:59p #3365 Teller                                                1,006.36                              1,054.82
3/23/15    Debit PIN Purchase 04:00p #3365 NO RANCH BEAUTY/3835 E.WESTLAKE VILLCAUS02172                    62.89                                991.93
3/23/15    Debit PIN Purchase 03/21 05:31 p_ #3365 WESTLAKE VILLAG     WESTLAKE VILLCAUS00155               21 .99                               969.94
3/23/15    Debit PIN Purchase 01 :36a #3365 VONS Store 2001 AGOURA       CAUS02154                          15.60                                954.34
3/24/15    Transfer from MMA Plus 06:15p_ #3365 Citibank ATM 4809COMMONS WY, CALABASAS, CA                               8,000.00              8,954.34
3/24/15    Cash Withdrawal 06:18p_ #3365 Teller                                                          3,504.47                              5,449.87
3/24/15    Debit Card Purchase 03/21 05:15p #3365 POSTAL ANNEX #170 AGOURA HILLS CA 15082                   40.00                              5,409.87
pecialty Retail stores
3/24/15    Debit Card Purchase 03/21 11 :49p #3365     LIMELITE LIQUOR      LOS ANGELES CA 15082            13.13                              5,396.74
ood & BeveraQes
3/24/15    Debit Card Purchase 03/21 06:18p #3365      ITALIA DELI & BAKE   AGOURA HILLS CA 15082           11.99                              5,384.75
estauranVBar
3/24/15    Debit Card Purchase 03/22 04:1 Op #3365     STARBUCKS #05826 SANTA Santa Monica CA 15082          2.50                              5,382.25
estauranVBar
3/24/15    Debit PIN Purchase 07:23p_ #3365 CVS 09751 09751--5623 KAgoura    CAUS00159                     227.05                              5,155.20
3/24/15    Debit PIN Purchase 03/23 10:52p_ #3365 THE LIQUOR CHEST         AGOURA HILLS CAUS02154           24.29                              5,130.91
3/24/15    Debit Pl N Purchase 03: 15a #3365 EXXONMOBIL POS        CALABASA CAUS02155                       13.28                              5,117.63
3/25/15    Transfer from Savings Plus 05:58p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                            2,000.00              7,117.63
3/25/15    Deposit Teller                                                                                                  200.00              7,317.63
3/25/15    Debit PIN Purchase 03/24 11 :04p_ #3365 USA GASOLINE #68       AGOURA HILLS CAUS00155            34.01                              7,283.62
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 22 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date         Descrip_tion                                                                                     Amount Subtracted     Amount Added           Balance
3/25/15    Cash Withdrawal 01 :41 _I) #3365   Teller                                                                  455.00                               6,828.62
3/25/15    Cash Withdrawal 01 :47_1)_ #3365   Teller                                                                  300.00                               6,528.62
3/25/15    Cash Withdrawal 01 :18_1)_ #3365 ATM 5683 N LAKE LINDERO AGOURA HILLS CAUS                                 260.00                               6,268.62
3/25/15    Debit PIN Purchase 03/24 11 :03_1)_ #3365 USA GASOLINE #68 AGOURA HILLS CAUS02155                           14.46                               6,254.16
3/26/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD                                                           3,827.37                               2,426.79
3/26/15    Debit Card Purchase 03/23 11 :OOp #3365 EXOTIC THAI AGOURA INC AGOURA HILLS CA 15084                        62.13                               2,364.66
estauranVBar
3/26/15    Debit Card Purchase 03/24 10:57p #3365          DIV HOME CENTER #13 AG AGOURA                 CA 15084       13.45                             2,351.21
pecialty Retail stores
3/27/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD                                                             912.87                              1,438.34
3/27/15    Debit Card Purchase 03/25 06:18p #3365 T-MOBILE            IVR PAYMENT 800-937-8997 WA 15085               203.95                              1,234.39
hones, Cable & Utilities
3/27/15    Debit Card Purchase 03/25 01 :28a #3365         DUKES MALIBU            MALIBU       CA 15085                74.68                             1,159.71
estauranVBar
3/27/15    Debit Card Purchase 03/25 03:11 a #3365         HARVELLE'S             SANTA MONICA CA 15085                 57.00                             1,102.71
estauranVBar
3/27/15    Debit Card Purchase 03/25 04:23a #3365          LIVING ROOM            HOLLYWOOD       CA 15085              42.59                             1,060.12
estauranVBar
3/27/15    Debit Card Purchase 03/25 02:28a #3365         THE BRIG               VENICE      CA 15085                   36.00                             1,024.12
estauranVBar
3/27/15    Debit Card Purchase 03/25 07:1Op #3365          KS JEWELERS             AGOURA HILLS CA 15085                32.00                              992.12
pecialty Retail stores
3/27/15    Debit Card Purchase 03/25 07:58p #3365          MICROSOFT *            866MSBILL1    WA 15085                 6.99                              985.13
isc Business Services
3/27/15    Debit PIN Purchase 09:04_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                   124.15                               860.98
3/30/15    Debit Card Purchase 03/25 06:30p #3365 ATI*BILL PAYMENT      800-288-2020 TX 15086                         111.32                               749.66
hones, Cable & Utilities
3/30/15    Debit Card Purchase 03/25 10:57p #3365          EXOTIC THAI AGOURA INC AGOURA HILLS CA 15086                 30.07                              719.59
estauranVBar
3/30/15    Debit Card Purchase 03/25 10:36p #3365          AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15086                 28.50                              691 .09
ecreational Services
3/30/15    Debit Card Purchase 03/26 12:35p #3365          Jin kys Kanan Cafe     AGOURA HILLS CA 15086                 28.44                              662.65
estauranVBar
3/30/15    Debit Card Purchase 03/26 09:34p #3365          DOMINO'S 8405           818-991-5971 CA 15086                26.10                              636.55
estauranVBar
3/30/15    Debit Card Purchase 03/25 05:58p #3365          ITALIA DELI & BAKE       AGOURA HILLS CA 15086               24.05                              612.50
estauranVBar
3/30/15    Debit Card Purchase 03/26 02:10p #3365          COFFEE BEAN STORE            LOS ANGELES CA 15086             7.58                              604.92
ood & Beverages
3/31/15    Transfer from MMA Plus 06:50_1)_ #3365       Citibank ATM 3967 - 1000 OKS , w LKE VL, CA                                 1,000.00              1,604.92
3/31 /15   Deposit Teller                                                                                                           4,413.00              6,017.92
3/31/15    Cash Withdrawal 06:591) #3365      Teller                                                                4,413.00                              1,604.92
                                                                                                                                                                                                         Case 1:17-ap-01099-VK




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                                                                                                                                                                                Exhibit GGG pt. 1 Page 23 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued     Date       Descrip_tion                                                                                        Amount Subtracted    Amount Added          Balance
3/31/15    Cash Withdrawal 07:041)_ #3365 Teller                                                                       500.00                               1,104.92
3/31/15    Debit Card Purchase 03/27 11 :17p #3365                                                                      47.00                               1,057.92
76530 THOUSAND OAKS 1 THOUSAND OAKS CA 15089
ecreational Services
3/31/15    Debit Card Purchase 03/27 01 :12a #3365             AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15087              43.01                             1,014.91
ecreational Services
3/31/15    Debit Card Purchase 03/28 10:25p #3365              AGOURA HILLS STADIUM 8AGOURA HILLS CA 15089               28.50                              986.41
ecreational Services
3/31/15    Debit Card Purchase 03/26 07:18p #3365              NATURAL CAFE MOORPARK MOORPARK       CA 15087             25.24                              961.17
estauranVBar
3/31/15    Debit Card Purchase 03/28 10:26p #3365              AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15089              10.57                              950.60
ecreational Services
3/31/15    Debit Card Purchase 03/28 10:33p #3365              AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15089               8.00                              942.60
ecreational Services
3/31/15    Debit PIN Purchase 08:59_1)_ #3365 WALGREENS 550 N VENTU           PTH OUSAND OAKSCAUS00159                   50.15                     -·       892.45
3/31/15    Interest for 30 days, Average Daily Balance $926.09                                                                            0.04              892.49
verage Rate 0.05% , Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                          19,623.38          18,633.71
3/31/15 Closing Balance                                                                                                                                    892.49
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                          600
otal Points forwarded to Citi® ThankYou® Rewards                                                     600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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                                                                                                                                                                                 Exhibit GGG pt. 1 Page 24 of 200
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OBIN C DIMAGGIO
itigold Account      42002622498
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date         Descrigtion                                                                                         Amount Subtracted   Amount Added   Balance
3/01/15     Opening Balance                                                                                                                             101380.98
3/10/15     Transfer                                                                                                      800.00                         9,580.98
-
3/12/15     Cash Withdrawal 03:55p_ #3365         ATM 5683 N LAKE LINDERO       AGOURA HILLS CAUS                         400.00                         9,180.98
 -
3/12/15     Cash Withdrawal 06:43p_ #3365         Non Citi ATM 5134 KANAN RD        AGOURA HILLS CAUS                     102.50                         9,078.48
3/13/15     Transfer to Checking 03:36p #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                                 200.00                         8,878.48
-
3/13/15     Cash Withdrawal 03:37p_ #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                                     700.00                         8,178.48
 -
3/16/15     Cash Withdrawal on 03/141 06:12p_ #3365 Non Citi ATM 26521 AGOURA RD         CALABASAS           GAUS         503.00                         7,675.48
-
3/18/15     Cash Withdrawal 08:35p_ #3365 Non Citi ATM AGOURA-HILLSB         AGOURA      GAUS                             303.00                         7,372.48
3/23/15     Transfer on 03/21 1                                                                                         2,000.00                         5,372.48
3/23/15     Cash Withdrawal on 03/221 02:00p #3365 Non Citi ATM 5134 KANAN RD             AGOURA HILLS GAUS               202.50                         5,169.98
-
3/23/15     Cash Withdrawal on 03/21 1 11 :54p #3365 Non Citi ATM 1309 N. LA BREA AV LOS ANGELES GAUS                     102.00                         5,067.98
3/25/15     Transfer from Savin_g_s Plui, Q5:57p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                       2,000.00         7,067.98
3/25/15     Transfer to Checking_ 05:581)_ #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                            2,000.00                         5,067.98
3/25/15     Transfer to Savings Plus 05:57p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                            2,000.00                         3,067.98
3/31/15     Interest for 30 days, Average Daily Balance $7,141.21                                                                           0.29         3,068.27
verage Rate 0.05%, Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                                 9,313.00        2,000.29
3/31/15       Closing Balance                                                                                                                       - ·-· 3,068.27
ll transaction times and dates reflected are based on Eastern Time.
  Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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                                                                                                                                                                                 Exhibit GGG pt. 1 Page 25 of 200
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itigold Account         42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                    Website: www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
elp protect yourself from fraud . Awareness is the key to protecting yourself from fraud.
ever provide personal information in response to an unsolicited request by fax, phone,
mail or mail. Immediately delete suspicious emails without opening them. Always be
ware of the source of checks that are deposited to your account. Avoid becoming a
ictim and protect your information and your accounts. If you have any questions, please
all us at 1-800-274-6660. In the NY metro area call 1-800-627-3999.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      LastPerlod          This Period   I    I Earnings Summary                 This Period   This Year
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                  892.49           2,052.70             Checking                              0.08        0.49
avin s                                                                                         Savings
nsured Money Market Accounts                          3,068.27            2,868.38             Insured Money Market Accounts        0.11        1.99
itigold Relationship Total                            $3,960.76           $4,921.08            Citigold Relationship Total          $0.19       $2.48
 To ensure quality service, calls are randomly monitored and may be recorded.
                                                                                                                                                                                   Case 1:17-ap-01099-VK




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                                                                                                                                                          Exhibit GGG pt. 1 Page 26 of 200
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OBIN C DIMAGGIO
itigold Account       42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of March in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                   Your Combined Balance Range
100 000-$249 999
ates                                                         Preferred
onthly Service Charge                                            None
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                Amount Subtracted    Amount Added     Balance
4/01/15    Opening Balance                                                                                                                   892.49
4/01/15    Debit Card Purchase 03/30 06:05p #3365     ITALIA DELI & BAKE    AGOURA HILLS CA 15090                  32.29                     860.20
estaurant/Bar
4/01 /15   Debit PIN Purchase 06:07_1)_ #3365 RITE AID CORP.      AGOURA HILLS CAUS00159                           47.04                       813.16
4/02/15    Dep_osit Teller                                                                                                       200.00      1,013.16
4/02/15    Cash Withdrawal 01 :55_1)_ #3365 Teller                                                               210.00                        803.16
4/02/15    Debit Card Purchase 03/31 07:44p #3365                                                                170.93                        632.23
VEDA EXPERIENCE CTR 7 THOUSAND OAKS CA 15091
pecialty Retail stores
4/03/15    Debit Card Purchase Return 03/31 #3365     NORDSTROM #0348        THOUSAND OAKS CA 15092                                  34.40   666.63
etail stores
4/03/15    Debit Pl N Purchase 05:4 7_1)_ #3365 RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                      20.00                     646.63
4/03/15    Debit Card Purchase 03/31 07:58p #3365 NORDSTROM #0348          THOUSAND OAKS CA 15092                 110.72                     535.91
etail stores
4/03/15    Debit Card Purchase 04/01 12:30p #3365     BREAKFAST CAFE         OAK PARK    CA 15092                  20.86                     515.05
estaurant/Bar
4/03/15    Debit Card Purchase 04/01 04:18p #3365     STARBUCKS #05858 CALAB Calabasas      CA 15092               17.55                     497.50
estaurant/Bar
4/03/15    Debit Card Purchase 03/31 07:50p #3365     BARE ESCENTUALS #065 THOUSAND OAKS CA 15092                  16.13                     481.37
pecialty Retail stores
                                                                                                                                                                                 Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account       42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date         Descrip_tion                                                                                Amount Subtracted     Amount Added            Balance
4/03/15    Debit Card Purchase 04/01 12:58p #3365          BREAKFAST CAFE          OAK PARK    CA 15092             8.92                                 472.45
estaurant/Bar
4/06/15    Debit PIN Purchase 04/05 08:47E #3365          USA GASOLINE #68        AGOURA HILLS CAUS00155          54.00                                  418.45
4/06/15    Debit Card Purchase 04/02 02:53p #3365          KS JEWELERS            AGOURA HILLS CA 15093           72.95                                  345.50
pecialty Retail stores
4/06/15    Debit Card Purchase 04/02 03:18p #3365          ITALIA DELI & BAKE     AGOURA HILLS CA 15093           23.47                                  322.03
estaurant/Bar
4/06/15    Debit Card Purchase 04/02 10:50a #3365          STARBUCKS #05858 CALAB Calabasas       CA 15093        13.60                                  308.43
estaurant/Bar
4/06/15    Debit Card Purchase 04/02 03:14p #3365          AGOURA MEADOWS HEALTH AGOURA             CA 15093      11.75                                  296.68
ood & Beverai:ies
4/06/15    Debit Card Purchase 04/01 01 :12p #3365         BEANSCENE CAFE WINE BA OAK PARK         CA 15093         3.90                                 292.78
estaurant/Bar
4/07/15    Debit Card Purchase 04/02 10:22p #3365          EXOTIC THAI AGOURA INC AGOURA HILLS CA 15094          48.51                                   244.27
estaurant/Bar
4/07/15    Debit Card Purchase 04/04 03:44p #3365          BEANSCENE CAFE WINE BA OAK PARK         CA 15096       15.25                                  229.02
estaurant/Bar
4/07/15    Debit Card Purchase 04/04 05:39p #3365          BURGER KING #2359 007 AGOURA          CA 15096         10.43                                  218.59
estaurant/Bar
4/07/15    Debit Card Purchase 04/04 08:22p #3365          JACK IN THE BOX #3234 YORBA LINDA CA 15096               4.30                                 214.29
estaurant/Bar
4/07/15    Debit Card Purchase 04/03 08:11 p #3365         STARBUCKS #05628 TROUS Thousand Oaks CA 15094            2.65                                 211.64
estaurant/Bar
4/08/15    Debit Card Purchase 04/05 09:48p #3365          AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15097           23.00                                  188.64
ecreational Services
4/08/15    Debit Card Purchase 04/05 09:57p #3365          AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15097           19.62                                  169.02
ecreational Services
4/09/15    Deeosit Teller                                                                                                      8,592.00              8,761.02
4/09/15    Cash Withdrawal 03:16e #3365 Teller                                                                  121.64                               8,639.38
4/09/15    Debit PIN Purchase 04:08e #3365 TJ TJ MAXX       WESTLAKE    CAUS00156                               157.94                               8,481.44
4/09/15    Debit PIN Purchase 06: 14E #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                 24.70                              8,456.74
4/10/15    Debit PIN Purchase 07:37E #3365 BANFIELD 0103      WESTLAKE VILLCAUS00007                              28.48                              8,428.26
4/10/15    Debit PIN Purchase 08:35E #3365 RADIOSHACK COR       AGOURA      CAUS00157                             16.34                          8,411.92
4/13/15    Deeosit Teller                                                                                                        900.00          9,311.92
4/13/15    ACH Electronic Debit      BARCLAYCARD   us   CREDITCARD                                             2,355.10                          6,956.82
4/13/15    Debit PIN Purchase 04/11 03:32p #3365          BHUPINDER    s.   MA    WOODLAND HILLCAUS00155           15.01                         6,941.81
4/13/15    Debit Card Purchase 04/09 04:29p #3365          ITALIA DELI & BAKE     AGOURA HILLS CA 15100           36.54                          6,905.27
estaurant/Bar
4/13/15    Debit PIN Purchase 04/11 07:58E #3365          COSTCO WHSE #0117         WESTLAKE VIL CAUS00153      874.78                           6,030.49
4/13/15    Debit PIN Purchase 04/11 05:01 E #3365         #06335 ALBERTSONS        CALABASAS    CAUS00154         10.94                          6,019.55
4/13/15    Debit PIN Purchase 04/11 05:44E #3365          CIGAR & CIGARET/5637 KAAGOURA HILLS CAUS02159           10.89                          6,008.66
                                                                                                                                                                                                     Case 1:17-ap-01099-VK




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igh Interest Checking 42002622498
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ontinued   Date         Descrip_tion                                                                               Amount Subtracted   Amount Added             Balance
4/13/15    Debit PIN Purchase 04/12 02:08a #3365       #06335 ALBERTSONS            CALABASAS    CAUS00154         9.36                             5,999.30
4/14/15    Dee_osit Teller                                                                                                      729.00              6,728.30
4/14/15    Debit Card Purchase Return 04/1 O #3365                                                                              343 .99             7,072.29
ED BATH & BEYOND #138 THOUSAND OAKS CA 15103
pecialty Retail stores
4/14/15    ACH Electronic Debit TOYOTA       Pay TFS                                                            600.15                              6,472.14
4/14/15    Cash Withdrawal 05:25p_ #3365 Teller                                                                 729.00                              5,743.14
4/14/15    Debit Card Purchase 04/10 05:46p #3365       STORE IT MOBILE         WESTLAKE VI CA 15103            524.50                              5,218.64
isc Business Services
4/14/15    Debit Card Purchase 04/11 01 :26p #3365      WPY*Angies Cimaglios    c   855-469-3729 CA 15103       500.00                              4,718.64
isc Personal Services
4/14/15    Debit Card Purchase 04/12 01 :51 a #3365                                                             164.81                              4,553.83
OAR DOUGH TASTING ROO AGOURA HILLS CA 15103
estauranVBar                ·      ··
4/14/15    Debit Card Purchase 04/09 03:54p #3365       CANYON CLEANERS              AGOURA HILLS CA 15101        94.00                             4,459.83
isc Personal Services
4/14/15    Debit Card Purchase 04/10 10:51 p #3365      LAL MIRCH          AGOURA HILLS CA 15101                  51.23                             4,408.60
estauranVBar
4/14/15    Debit Card Purchase 04/10 02:56p #3365       CHOCOLATINE             THOUSAND OAKS CA 15101            45.42                             4,363.18
ood & BeveraQes
4/14/15    Debit Card Purchase 04/11 10:03p #3365       AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15103              31 .50                            4,331 .68
ecreational Services
4/14/15    Debit Card Purchase 04/11 05:39p #3365       ITALIA DELI & BAKE      AGOURA HILLS CA 15103             23.47                             4,308.21
estauranVBar
4/14/15    Debit Card Purchase 04/11 10:04p #3365       AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15103              10.03                             4,298.18
ecreational Services
4/14/15    Debit Card Purchase 04/10 08:26p #3365       SWEET XO AGOURA HI           AGOURA HILLS CA 15103         8.74                             4,289.44
ood & Beverages
4/14/15    Debit Card Purchase 04/10 03:30p #3365       STARBUCKS #05636 CALAB Calabasas            CA 15101       2.65                             4,286.79
estauranVBar
4/14/15    Debit Pl N Purchase 08:00e_ #3365    #06335 ALBERTSONS       CALABASAS        CAUS00154              210.33                              4,076.46
4/14/15    Debit PIN Purchase 07:40p_ #3365     THE HOME DEPOT 1070      WEST HILLS CAUS02152                    46.28                              4,030.18
4/15/15    Deposit     Teller                                                                                                     19.00             4,049.18
4/15/15    Dee_osit Teller                                                                                                     2,451 .50            6,500.68
4/15/15    Debit PIN Purchase 12:13p_ #3365 ARCO #61000           WOODLAND HILLCAUS00155                          17.35                             6,483.33
4/15/15    Cash Withdrawal 05:23p_ #3365 Teller                                                                2,451.50                             4,031.83
4/15/15    Cash Withdrawal 03:001)_ #3365 Non Citi ATM 7300 MEDICAL CENTER DR WEST HILLS              GAUS        22.00                             4,009.83
4/15/15    Debit PIN Purchase 11 :50a #3365 EREWHON NATURAL FOODS MCALABASAS CAUS00154                            14.93                             3,994.90
4/15/15    Debit PIN Purchase 12:14p #3365 ARCO #67008       WOODLAND HILLCAUS02155                                9.72                             3,985.18
4/16/15    Debit Card Purchase 04/13 11 :14p #3365 LRS SYSTEMS LTD 702-732-0214 NV 15105                          39.95                             3,945.23
isc Personal Services
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account        42002622498
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ontinued    Date        Descrip_tion                                                                                 Amount Subtracted   Amount Added           Balance
4/16/15     Debit Card Purchase 04/14 05:43p #3365        POOUITO MAS          OPS WOODLAND HILL CA 15105           28.61                            3,916.62
estaurant/Bar
4/16/15     Debit Card Purchase 04/14 05:42p #3365        POOUITO MAS          OPS WOODLAND HILL CA 15105           24.47                           3,892.15
estaurant/Bar
4/16/15     Debit Card Purchase 04/14 05:43p #3365        POOUITO MAS          OPS WOODLAND HILL CA 15105            8.07                           3,884.08
estaurant/Bar
4/17/15     Debit Card Purchase 04/16 12:07a #3365        DOMINO'S 8405         818-991-5971 CA 15106               21 .82                          3,862.26
estaurant/Bar
4/17/15     Debit Card Purchase 04/15 03:32p #3365        COCA COLA SYLMAR CA        SYLMAR       CA15106            1.00                           3,861 .26
estaurant/Bar
4/17/15     Debit PIN Purchase 05:51 _e_ #3365    CVS 09751 09751--5623 KAgoura      CAUS00159                      7.07                            3,854.19
4/20/15     Debit Card Purchase 04/16 #3365       MODERN DIGS         08556633447 TX 15107                      1,359.20                            2,494.99
pecialty Retail stores
4/20/15     Debit Card Purchase 04/16 02:04a #3365                                                                  98.48                           2,396.51
OUR SEASONS HOTEL F&B WESTLAKE VLLG CA 15107
estaurant/Bar
4/20/15     Debit PIN Purchase 04/18 02:29_e_ #3365      COSTCO WHSE #0117        WESTLAKE VIL CAUS00153          395.97                            2,000.54
4/20/15     Cash Withdrawal on 04/19 1 01 :OOa #3365      ATM 4919 LAS VIRGENES RD CALABASAS             GAUS     300.00                            1,700.54
4/20/15     Debit PIN Purchase 04/18 01 :19p #3365                                                                 80.62                            1,619.92
REWHON NATURAL FOODS MCALABASAS         CAUS00154
4/20/15     Debit PIN Purchase 04/19 08:26p #3365       #06335 ALBERTSONS                                           44.21                           1.575.71
 -CALABASAS
----     CAUS00154
---------------
4/20/ 15    Debit PIN Purchase 04/19 08:291:J #3365     #06335 ALBERTSONS         CALABASAS      CAUS00154          32.59                           1,543.12
4/20/15     Debit PIN Purchase 04/19 01 :02a #3365      7-ELEVEN              CALABASAS   CAUS02155                 12.48                           1,530.64
4/20/15     Debit PIN Purchase 04/19 07:40p #3365       #06335 ALBERTSONS         CALABASAS      CAUS00154          11 .60                          1,519.04
4/20/15     Debit PIN Purchase 04/18 03:40a #3365       7-ELEVEN              CALABASAS   CAUS02155                 8.76                            1,510.28
4/21/15     Debit Card Purchase 04/18 01 :52a #3365       CAFE CORDIALE          SHERMAN OAKS CA 15110            254.21                            1,256.07
estaurant/Bar
4/21/15     Debit Card Purchase 04/18 02:40a #3365        THE LOCAL PEASANT        SHERMAN OAKS CA 15110          126.00                            1,130.07
estaurant/Bar
4/21/15     Debit Card Purchase 04/18 10:00p #3365                                                                 98.05                            1,032.02
ONTINENTAL AND SUMOS SHERMAN OAKS CA 15110
estaurant/Bar
4/21 /15    Debit Card Purchase 04/17 11 :51 p #3365      CAFE CORDIALE          SHERMAN OAKS CA 15110              50.25                            981.77
estaurant/Bar
4/21/15     Debit Card Purchase 04/19 02:17p #3365        Jinkys Kanan Cafe     AGOURA HILLS CA 15110              39.12                             942.65
estaurant/Bar
4/21/15     Debit Card Purchase 04/18 03:01 p #3365       AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15110             38.00                             904.65
ecreational Services
4/21/15     Debit Card Purchase 04/17 05 :47p #3365       ITALIA DELI & BAKE     AGOURA HILLS CA 15108             34.54                             870.11
estaurant/Bar
4/22/15     Debit PIN Purchase 04/21 11 :22_e_ #3365    #06335 ALBERTSONS         CALABASAS      CAUS00154         23.85                             846.26
4/23/15     Debit Card Purchase 04/21 11 :33p #3365       JACK IN THE BOX #31 OPS CALABASAS         CA 15112        7.95                             838.31
estaurant/Bar
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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ontinued   Date         Descrip_tion                                                                                 Amount Subtracted     Amount Added            Balance
4/24/15    Debit PIN Purchase 03:09p #3365 Arco AMPM 83185       RESEDA  CAUS00155                                  60.36                                 777.95
4/24/15    Debit Card Purchase 04/21 10:41 p #3365 EXOTIC THAI AGOURA INC AGOURA HILLS             CA 15113         23.98                                 753.97
estauranVBar
4/24/15    Debit Card Purchase 04/22 07:32p #3365         COCACOLASYLMAR CA       SYLMAR       CA 15113              1.00                                 752.97
estauranVBar
4/27/15    Dep_osit on 04/25 1 Teller                                                                                           7,654.16              8,407.13
4/27/15    Cash Withdrawal on 04/251 02:13_1)_ #3365      Teller                                                5,005.00                              3,402.13
4/27/15    Cash Withdrawal on 04/251 03:39_1)_ #3365      Teller                                                1,000.00                              2,402.13
4/27/15    Cash Withdrawal on 04/251 02:16_1)_ #3365      Teller                                                  300.00                              2,102.13
4/27/15    Debit PIN Purchase 04/25 09:57p #3365        TJTJ MAXX       WESTLAKE      CAUS00156                   160.20                              1,941.93
4/27/15    Debit PIN Purchase 04/25 02:27p #3365        POSTAL ANNEX #170     AGOURA HILLS CAUS00194              150.38                              1,791.55
4/27/15    Debit PIN Purchase 04/25 02:42_1)_ #3365     PETSMART INC 103      WESTLAKE VILLCAUS02159              144.00                              1,647.55
4/27/15    Debit PIN Purchase 04/25 11 :21 _I)_ #3365   #06335 ALBERTSONS       CALABASAS     CAUS00154            65.67                              1,581 .88
4/27/15    Debit PIN Purchase 04/26 04:56p #3365                                                                   16.90                              1,564.98
REWHON NATURAL FOODS MCALABASAS       CAUS00154
4/28/15    Debit Card Purchase 04/25 11 :01 p #3365       SALT CREEK RESTRAU      CALABASAS     CA 15117          135.09                              1,429.89
estauranVBar
4/28/15    Debit Card Purchase 04/25 05:23p #3365         BOBBY'S COFFEE SHOP     WOODLAND HILL CA 15117            53.45                             1,376.44
estauranVBar
4/28/15    Debit Card Purchase 04/25 04:27p #3365         STARBUCKS #05858 CALAB Calabasas      CA 15117            51.30                             1,325 .14
estauranVBar
4/28/15    Debit Card Purchase 04/24 09:28p #3365         EDWARDS CALABASAS STDM CALABASAS           CA 15115       32.00                             1,293.14
ecreational Services
4/28/15    Debit Card Purchase 04/26 04:37p #3365         SQ *EREWHON WELLNESS B Calabasas       CA 15117           27.00                             1,266.14
etail stores
4/28/15    Debit Card Purchase 04/26 06:11 p #3365        DIY HOME CENTER #13 AG AGOURA         CA 15117            22.30                             1,243.84
pecialty Retail stores
4/28/15    Debit Card Purchase 04/2410:39p #3365          EDWARDS CALABASAS STDM CALABASAS           CA 15115       16.00                             1,227.84
ecreational Services
4/28/15    Debit   PIN Purchase 06:38_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS00154                               46.41                             1,181.43
4/28/15    Debit   PIN Purchase 06:47_1)_ #3365 TOBACCO ROYALE/26500 AGCALADASAS CAUS02159                          31.99                             1,149.44
4/28/15    Debit   PIN Purchase 01 :36a #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                 12.57                             1,136.87
4/28/15    Debit   PIN Purchase 01 :55a #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                 11.71                             1,125.16
4/29/15    Debit   Card Purchase 04/27 01 :42p #3365 JOHNNY ROCKETS NO 148 CALABASAS CA 15118                       54.37                             1,070.79
estauranVBar
4/29/15    Debit Card Purchase 04/27 01 :18p #3365        STARBUCKS #10801 BURBA Burbank       CA 15118             19.20                             1,051.59
estauranVBar
4/30/15    Dep_osit Teller                                                                                                      1,100.00              2,151.59
4/30/15    Debit Card Purchase 04/27 11 :53p #3365        LABITE SERVICES     03104412483 CA 15119                  98.97                             2,052.62
estauranVBar
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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igh Interest Checking 42002622498
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ontinued           Date        Descrip_tion                                                                              Amount Subtracted      Amount Added     Balance
4/30/15     Interest for 30 days,    Average Daily Balance $1 ,953.96                                                                0.08             2,052.70
verage Rate 0.048%, Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                         20,863.92           22,024.13
4/30/15 Closing Balance                                                                                                                             2,052.70
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                    600
otal Points forwarded to Citi® ThankYou® Rewards                                               600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
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avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrip_tion                                                                                 Amount Subtracted   Amount Added     Balance
4/01/15      O~Balance                                                                                                                               3,068.27
4/06/15      Cash Withdrawal on 04/041 11 :07p #3365 ATM 152 PINE AVE     LONG BEACH CAUS                          200.00                            2,868.27
4/30/15      Interest for 30 days, Average Daily Balance $2,888.27                                                                     0.11          2,868.38
verage Rate 0.046%, Annual Percentage Yield Earned 0.05%
otal Subtracted/Added                                                                                 200.00             0.11
4/30/15       Closing Balance                                                                                                                        2,868.38
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
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itigold Account                 42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                         Website : www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
MPORTANT CHANGES TO TELLER-ASSISTED CASH TRANSACTIONS
itibank will now begin to require additional information from individuals conducting cash
ransactions. If you are not able to authenticate your identity using a Citibank Banking
ard, you will have to provide a government issued identification as well as other
nformation to complete the transaction. Please stop by your local branch to learn more.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                       LastPerlod            This Period   I     I Earnings Summary                                This Period   This Vear
itibank Accounts                                                                                    Citibank Accounts
hecking                                                                                             Checking
hecking                                                2,052.70                137.97               Checking                                            0.02        0.51
avin s                                                                                              Savings
nsured Money Market Accounts                          2,868.38              2,068.40                Insured Money Market Accounts                     0.02        2.01
itigold Relationship Total                             $4,921.08             $2,206.37              Citigold Relationship Total                        $0.04       $2.52
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltlgold
ffective July 18, 2015, Citibank will no longer offer or open new Day-to-Day Savings accounts. Existing Day-to-Day Savings accounts opened on or
efore July 17, 2015, will continue to be serviced in their respective banking packages.
upport Nepal: Use ThankYou(R) Points via Pointworthy.com to help earthquake victims or make a donation at www.redcross .org/citigroup-pub
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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ees & Rates Detall
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of April in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                     Your Combined Balance Range
100 000-$249 999
ates                                                           Preferred
onthly Service Charge                                                None
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrifl_tion                                                                                 Amount Subtracted   Amount Added    Balance
5/01/15    Opening Balance                                                                                                                  2,052.70
5/04/15    ACH Electronic Debit CA541 • Avalon C WEB PMTS KJ5ZZ2                                                 1,303.00                     749.70
5/04/15    Debit PIN Purchase 07:07_1)_ #3365 AGOURA HILLS ALLIANCE AGOURA HILLS CAUS00155                          23.11                     726.59
5/05/15    Debit Card Purchase 05/01 06:45p #3365 PARKING NETWORK SOLUTI 888-767-7275 CA 15122                      50.00                     676.59
pecialty Retail stores
5/05/15    Debit Card Purchase 05/01 06:35p #3365       PARKING NETWORK SOLUTI 888-767-7275 CA 15122                50.00                   626.59
pecialty Retail stores
5/07/15    Transfer from Savin_g_s Plus 02:48p #3365    Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                800.00    1,426.59
5/07/15    Debit Card Purchase 05/05 05:06p #3365       POQUITO MAS       OPS WOODLAND HILL CA 15126                35.32                   1,391.27
estauranVBar
5/08/15    Debit Card Purchase 05/06 11 :52p #3365      T-MOBILE IVR PAYMENT 800-937-8997 WA 15127                203.06                    1,188.21
hones, Cable & Utilities
5/08/15    Debit Card Purchase 05/06 06:50p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15127               18.20                   1,170.01
estauranVBar
5/11/15    Debit PIN Purchase 05/09 10:16p #3365       SHELL Service Station AGOURA    CAUS00155                    29.01                   1,141.00
5/11/15    Debit Card Purchase 05/07 06:12p #3365       RENAISSANCE IMAG-BO      8055225940    CA 15128           200.00                     941.00
edical Services
5/11/15    Debit PIN Purchase 01 :56_1)_ #3365 POSTAL ANNEX #170 AGOURA HILLS CAUS00194                            100.00                   841.00
5/11/15    Debit PIN Purchase 05/10 08:06_1)_ #3365 BARNESNOBLE 4735 CommonCalabasas CAUS00159                      35.93                   805.07
                                                                                                                                                                                Case 1:17-ap-01099-VK




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5/12/15    Debit Card Purchase 05/08 02:31 p #3365              HOME CNSGNMNT CTR # 17 CALABASAS       CA 15129       380.41                                 424.66
pecialty Retail stores
5/12/15    Debit Card Purchase 05/10 03:07a #3365               TARZANA MEDICAL CENTER TARZANA        CA 15131           6.00                                418.66
utos (rental, service, gas)
5/12/15    Debit Card Purchase 05/09 10:17p #3365               SHELL OIL 57444585103 AGOURA     CA 15131                5.60                                413.06
utos (rental, service, gas)
5/13/15    Debit Card Purchase 05/09 10:45p #3365               AGOURA'S FAMOUS DELI & AGOURA HILLS CA 15132           35.81                                 377.25
estauranVBar
5/13/15    Debit Card Purchase 05/10 10:22p #3365               AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15132            28 .50                               348.75
ecreational Services
5/13/15    Debit Card Purchase 05/10 07:26p #3365               FRESH BROTHERS      CALABASAS       CA 15132            24.63                                324.12
estauranVBar
5/13/15    Debit Card Purchase 05/10 10:26p #3365               AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15132            12.50                                311.62
ecreational Services
5/13/15    Debit Card Purchase 05/10 10:47p #3365               AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15132             4.00                                307.62
ecreational Services
5/14/15    Debit PIN Purchase 09:29f)_ #3365 0797 FOREVER 21 THOUSAND OAKSCAUS00056                                     32.04                                275.58
5/14/15    Debit PIN Purchase 08:53f)_ #3365 EREWHON NATURAL FOODS MCALABASAS CAUS00154                                 14.16                                261.42
5/15/15    Debit Card Purchase 05/13 06:43p #3365 OS SERVICES STANDARD C 800-4928377 GA 15134                           49.45                                211.97
pecialty Retai l stores
5/19/15    Debit Card Purchase 05/14 09:20p #3365                                                                       30.25                                181 .72
76530 THOUSAND OAKS 1 THOUSAND OAKS CA 15136
ecreational Services
5/19/15    Debit Card Purchase 05/14 09:34p #3365                                                                       10.75                                170.97
76530 THOUSAND OAKS 1 THOUSAND OAKS CA 15136
ecreational Services
5/21 /15   Debit PIN Purchase 12:18.e_ #3365 ARCO PAYPOINT    STUDIO CITY CAUS00155                                     81.36                                89.61
5/22/15    Debit Card Purchase 05/20 09:01 p #3365 WINNERS NY PIZZA AGOUR 08189915800                 CA 151 41         58.66                                30.95
estauranVBar
5/22/15    Debit PIN Purchase 02:35a #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                         3.26                               27.69
5/26/15    Deposit Teller                                                                                                          3,299.00              3,326.69
5/26/15    Cash Withdrawal 03:14p #3365 Teller                                                                      1,265.97                             2,060.72
5/26/15    Cash Withdrawal 03:22.e_ #3365 Teller                                                                      473.00                             1,587.72
5/27/15    Debit Card Purchase 05/23 11 :27p #3365 CHEVRON 0352170 Q61 WOODLAND HILL CA 15145                          10.88                             1,576.84
utos (rental , service, gas)
5/27/15    Debit Card Purchase 05/24 10:44p #3365               EDWARDS CALABASAS STDM CALABASAS         CA 15145        9.57                            1,567.27
ecreational Services
5/27/15    Debit Card Purchase 05/22 11 :36a #3365              BEANSCENE CAFE WINE BA OAK PAR K       CA 15143          7.24                            1,560.03
estauran VBar
5/28/15    ACH Electronic Debit            CA541 . Avalon C WEB PMTS HJ4F23                                         1,422.08                                 137.95
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




             EX. GGG - 034
                                                                                                                                                                                 Exhibit GGG pt. 1 Page 35 of 200
                                                                                                                                                                                 Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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1 0/R1 /04F01 3
ay 1 - May 31, 2015                          Page 4 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
hecking            Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued           Date        Descrigtion                                                                                    Amount Subtracted       Amount Added        Balance
5/29/15     Interest for 31 days,    Average Daily Balance $626.52                                                                       0.02                    137.97
verage Rate 0.03%, Annual Percentage Yield Earned 0.04%
otal Subtracted/Added                                                                                     6,013.75        4,099.02
5/31/15 Closing Balance                                                                                                                                         137.97
ll transaction times and dates reflected are based on Eastern Time.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                              600
otal Points forwarded to Citi® ThankYou® Rewards                                                         600
o to thankyou.com to review your point balance and redeem!
. ~ ~·r·!~
.i;"'-.! ."'!':"
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrigtion                                                                                        Amount Subtracted    Amount Added       Balance
5/01/15     Opening Balance                                                                                                                                2,868 .38
5/07/15     Transfer to Checking 02:48p #3365 Citiban k ATM           5837 KNAN RD, AGOURA HLLS , CA                     800.00                            2,068.38
5/29/15     Interest for 31 days, Average Daily Balance $2,223.21                                                                          0.02            2,068.40
verage Rate 0.01 %, Annual Percentage Yield Earned 0.01 %
otal SubtractedLAdded                                                                                          800.00         0.02
5/31/15      Closing Balance                                                                                                                               2,068.40
ll transaction times and dates reflected are based on Eastern Time.
                                                                                                                                                                                                             Case 1:17-ap-01099-VK




            EX. GGG - 035
                                                                                                                                                                                    Exhibit GGG pt. 1 Page 36 of 200
                                                                                                                                                                                    Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
                                                                                                                                                                                                             Desc
10/A1 /04F013
une 1 - June 30, 2015                         Page 1 of 5
itigold Account       42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call : Citi!;Jold Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itibank's Privacy Notice is now available to view. On the Download
ecent Statement page, select the Legal and Marketing Notices link
or your most recent statement, then select the Legal Notice link to
iew the Privacy Notice.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     LastPerlod           This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                  137.97              98.21             Checking                             0.01        0.52
avin s                                                                                         Savings
nsured Money Market Accounts                         2,068.40             2,028.42             Insured Money Market Accounts        0.02       2.03
itigold Relationship Total                           $2,206.37            $2,126.63            Citigold Relationship Total          $0.03      $2.55
 To ensure quality service, calls are randomly monitored and may be recorded .                                                                                                         Case 1:17-ap-01099-VK




            EX. GGG - 036
                                                                                                                                                              Exhibit GGG pt. 1 Page 37 of 200
                                                                                                                                                              Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1/04F013
une 1 - June 30, 2015                         Page 2 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of May in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                             Your Combined Balance Range
25 000-$49.999
ates                                                               Preferred
Monthly Service Charge    ,.,. . ,                                     $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                        Amount Subtracted   Amount Added    Balance
6/01/15    Opening Balance                                                                                                                          137.97
6/01/15    Debit PIN Purchase 05/31 07:31 p #3365           #06335 ALBERTSONS    CALABASAS    CAUS00154                  38.96                       99.01
6/02/15    Deeosit Teller                                                                                                                343.84     442.85
6/02/15    Cash Withdrawal 04:51e #3365 Teller                                                                          200.00                      242.85
6/08/15    Deeosit Teller                                                                                                              1,120.00   1,362.85
6/08/15    Cash Withdrawal 07:08e Teller                                                                                477.45                      885.40
6/09/15    Debit Card Purchase 06/05 06:53p #3365            CANYON CLEANERS      AGOURA HILLS CA 15159                  28.50                      856.90
isc Personal Services
6/09/15    Debit Card Purchase 06/05 06:01 p #3365           STARBUCKS #11603 WOODL Woodland Hill CA 15157                12.90                   844.00
estauranVBar
6/09/15    Debit Card Purchase 06/05 01 :56p #3365           COFFEE BEAN STORE     LOS ANGELES CA 15157                     5.49                  838.51
estauranVBar
6/09/15    Debit Card Purchase 06/05 02:22p #3365            COFFEE BEAN STORE     LOS ANGELES CA 15157                     2.79                  835.72
estauranVBar
6/09/15    Debit Card Purchase 06/05 02:20p #3365            COFFEE BEAN STORE     LOS ANGELES CA 15157                     2.29                  833.43
estauranVBar
6/09/15    Debit PIN Purchase 07:00e #3365      BARNESNOBLE 160 S. Wes!Thousand OaksCAUS00158                             95.16                   738.27
6/10/15    Debit PIN Purchase 04:57E #3365      PETSMART INC 103         WESTLAKE VILLCAUS02159                             5.44                  732.83
                                                                                                                                                                                      Case 1:17-ap-01099-VK




            EX. GGG - 037
                                                                                                                                                             Exhibit GGG pt. 1 Page 38 of 200
                                                                                                                                                             Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
une 1 - June 30, 2015                       Page 3 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrii:,tion                                                                                         Amount Subtracted    Amount Added         Balance
6/11/15    Debit Card Purchase 06/09 04:36p #3365            ITALIA DELI & BAKE    AGOURA HILLS CA 15161                     47.83                             685.00
estaurant/Bar
6/11/15    Debit Card Purchase 06/08 10:38p #3365            YAMATO -AGOURA HILLS AGOURA HILLS CA 15161                      21.62                            663.38
estaurant/Bar
6/12/15    Debit PIN Purchase 01 :15a #3365 #06335 ALBERTSONS                CALABASAS     CAUS00154                       3.55                               659.83
6/15/15    Debit Card Purchase 06/1 o 12:41 p #3365                                                                      100.00                               559.83
ON COHEN STUDIO RENTA NORTH HOLLYWO CA 15163
isc Business Services
6/15/15    Cash Withdrawal on 06/131 05:22p #3365            Citibank ATM 4809COMMONS WY, CALABASAS , CA                 100.00                               459.83
6/22/15    Debit Card Purchase 06/17 06:13p #3365            REMEDY SKIN & BODY        THOUSAND OAKS CA 15170             49.45                               410.38
isc Personal Services
6/22/15    Debit Card Purchase 06/17 06:35p #3365            CHICK-FIL-A #02508    WESTLAKE VILL CA 15170                    16.86                            393.52
estaurant/Bar
6/22/15    Debit PIN Purchase 06/21 11 :1 Op #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                 146.67                               246.85
6/22/15    Debit PIN Purchase 06/20 07:29p #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                    42.40                               204.45
6/22/15    Debit PIN Purchase 02:18p #3365 #06335ALBERTSONS CALABASAS CAUS00154                                           30.51                               173.94
6/23/15    Debit Card Purchase 06/20 07:42p #3365 DIY HOME CENTER #13 AG AGOURA CA 15173                                  13.07                               160.87
 ecial   Retail stores
6/24/15    Debit Card Purchase 06/23 12:59a #3365            DOMINO'S 8405        818-991-5971 CA 15174                      27.43                            133.44
estaurant/Bar
6/24/15    . Debit Card Purchase 06/22 01 :32p #3365         STARBUCKS #05858 CALAB Calabasas        CA 15174 ·              10.55                            122.89
estaurant/Bar
6/25/15    Debit Card Purchase 06/22 04:27p #3365            COFFEE BEAN STORE         TARZANA     CA 15175                  14.75                            108.14
estaurant/Bar
6/25/15    Debit Card Purchase 06/22 04:43p #3365            COFFEE BEAN STORE         TARZANA     CA 15175                   4.18                            103.96
estaurant/Bar
6/30/15    Debit Card Purchase 06/27 05:16p #3365            NYC TAXI 5J67        PHILADELPHIA PA 15180                       5.76                             98.20
isc Trans ortation
6/30/15    Interest for 30 days, Average Daily Balance $334.89                                                                              0.01               98.21
verage Rate 0.03%, Annual Percentage Yield Earned 0.04%
otal Subtracted/Added                                                                            1,503.61         1,463.85
6/30/15 Closing Balance                                                                                                                                       98.21
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                           Case 1:17-ap-01099-VK




             EX. GGG - 038
                                                                                                                                                                                  Exhibit GGG pt. 1 Page 39 of 200
                                                                                                                                                                                  Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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une 1 - June 30, 2015                      Page 4 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
hecking            Continued
hankYou®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                    600
otal Points forwarded to Citi® ThankYou® Rewards                                               600
o to thankyou.com toreview your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrip_tion                                                                                 Amount Subtracted   Amount Added   Balance
6/01/15     O~Balance                                                                                                                              2,068.40
6/17/15     Cash Withdrawal 05:57_1)_ #3365 Citibank ATM 3967 - 1000 OKS, W  LKE VL, CA                             40.00                          2,028.40
6/30/15     Interest for 30 days, Average Daily Balance $2,049.73                                                                   0.02           2,028.42
verage Rate 0.01 %, Annual Percentage Yield Earned 0.01 %
otal SubtractedLAdded                                                                                  40.00           0.02
6/30/15      Closing Balance                                                                                                                      2,028.42
ll transaction times and dates reflected are based on Eastern Time.
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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                                                                                                                                                                         Exhibit GGG pt. 1 Page 40 of 200
                                                                                                                                                                         Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F01 3
uly 1 - August 2, 2015                        Page 1 of 6
itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibankonline.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period         This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                   98.21              75.05             Checking                             0.01        0.53
avin s                                                                                         Savings
nsured Money Market Accounts                           2,028.42             939.66             Insured Money Market Accounts       0.03        2.06
itigold Relationship Total                             $2,126.63          $1,014.71            Citigold Relationship Total         $0.04       $2.59
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltlgold
ffective October 2, 2015, the Citibank service called "Quicken" will no longer be available, or offered, through Citibank.
his impacts and discontinues the following Citibank services through Quicken for online bill payments, online account
ransfers, and automated downloads. This does not affect any transactions done directly through Citibank or Citibank
nline.
                                                                                                                                                                                       Case 1:17-ap-01099-VK




            EX. GGG - 040
                                                                                                                                                              Exhibit GGG pt. 1 Page 41 of 200
                                                                                                                                                              Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
uly 1 -August 2, 2015                         Page 2 of 6
OBIN C DIMAGGIO
itigold Account     42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of June in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                           Your Combined Balance Range
10 000-$24 999
ates                                                               Preferred
onthly Service Charge    -··· -                                   $30.00(Waived)     -           -·
-: ··;
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking       High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                      Amount Subtracted  Amount Added   Balance
7/01/15     Opening Balance                                                                                                                       98.21
7/02/15     Dep_osit Teller                                                                                                         4,800.00   4,898.21
7/02/15     Transfer                                                                                                 1,485.44                  3,412.77
7/02/15     Cash Withdrawal 06:51 p_ #3365 Teller                                                                    1,000.00                  2,412.77
7/02/15     Cash Withdrawal 06:44p_ #3365 Teller                                                                       956.38                  1,456.39
7/03/15     Debit PIN Purchase 02:50_1)_ #3365 USA 63221     WOODLAND HILLCAUS00155                                     67.00                  1,389.39
7/03/15     Debit PIN Purchase 04:07_1)_ #3365 COSTCO WHSE #0044 CANOGA PARK CAUS00153                                 156.18                  1,233.21
7/03/15     Debit PIN Purchase 06:26_1)_ #3365 Escentials   Calabasas CAUS00159                                         46.22                  1,186.99
7/06/15     Debit PIN Purchase 12:33a #3365 RITE AID CORP.      AGOURA HILLS CAUS00159                                  67.09                  1,119.90
7/07/15     Debit Card Purchase 07/03 01 :04a #3365 ATI*BILL PAYMENT     800-288-2020 TX 15185                          95.68                  1,024.22
hones, Cable & Utilities
7/07/15     Debit Card Purchase 07/02 11 :49p #3365          avangate*HMA PRO VPN AMSTERDAM     NLD15185                 59.88                 964.34
pecialty Retail stores
7/07/15     Debit Card Purchase 07/03 06:19p #3365           SHARKYS WOODFIRED MEX CALABASAS        CA 15187             27.64                 936.70
estauranVBar
7/07/15     Debit Card Purchase 07/02 11 :03p #3365          MEDITERRANEAN PITA GRI CALABASAS    CA 15187                27.22                 909.48
estauranVBar
7/07/15     Debit Card Purchase 07/03 03:02p #3365           STARBUCKS #11603 WOODLWoodland Hill CA 15185                18.80                 890.68
estauranVBar
                                                                                                                                                                                   Case 1:17-ap-01099-VK




            EX. GGG - 041
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10/R 1/04 F013
uly 1 - August 2, 2015                       Page 3 of 6
OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrigtion                                                                               Amount Subtracted     Amount Added         Balance
7/07/15    Debit Card Purchase 07/03 02:30p #3365         POSTALANNEX#170        AGOURA HILLS CA 15187           6.60                              884.08
pecialty Retail stores
7/08/15    Debit PIN Purchase 03:25p_ #3365 SHELL Service Station AGOURA CAUS00155                              57.00                             827.08
7/08/15    Debit Card Purchase 07/05 11 :33p #3365 AGOURA HILLS STADIUM 8 AGOURA HILLS             CA 15188     94.50                             732.58
ecreational Services
7/08/15    Debit Card Purchase 07/05 11 :40p #3365        BURGER KING #2359 007 AGOURA         CA 15188         39.81                             692.77
estauran VBar
7/09/15    Debit Card Purchase 07/07 02:32p #3365                                                              53.20                              639.57
MAZON MKTPLACE PMTS AMZN .COM/BILL WA 15189
pecialty Retail stores
7/09/15    Debit Card Purchase 07/06 09:36p #3365                                                                8.94                             630.63
MAZON MKTPLACE PMTS AMZN .COM/BILL WA 15189
pecialty Retail stores
7/09/15    Debit PIN Purchase 07/08 10:41p_ #3365        #06335ALBERTSONS        CALABASAS    CAUS00154        42.36                              588 .27
7/10/15    Debit Card Purchase 07/08 12:22a #3365         GRISSINI RISTORANTE     AGOURA HILLS CA 15190        61 .65                             526.62
estauranVBar
7/10/15    Debit Card Purchase 07/08 02:12p #3365         STARBUC KS #11603 WOODL Woodland Hill CA 15190        12.85                             513 .77
estauranVBar
7/13/15    Transfer                                                                                                           300.00              813.77
7/13/15    Debit PIN Purchase 07/12 03:55p #3365 ARCO #42505      WOODLAND HILLCAUS001 55                       63.47                             750.30
7/14/15    Debit PIN Purchase 01 :42p #3365 ALBERT N. GHIAM CALABASAS CAU S00155                                63.00.                            687.30
7/14/15    Debit Card Purchase 07/12 08:12p #3365 STARBUCKS #05858 GALAS Calabasas CA 15194                      4.90                             682.40
estauranVBar
7/15/15    Debit Card Purchase 07/13 07: 12p #3365        T-MOBILE IVR PAYMENT 800-937-8997 WA 15195          222.72                              459.68
hones , Cable & Utilities
7/15/15    Cash Withdrawal 04:17p_ #3365 Non Citi ATM 14505 VENTURA BLVD SHERMAN OAKS CAUS021                   22.25                             437.43
7/16/15    Debit Card Purchase 07/13 08:33p #3365 EXOTIC THAI AGOURA INC AGOURA HILLS CA 15196                  27.25                             410.18
estauranVBar
7/16/15    Debit Card Purchase 07/12 08:41 p #3365        MEDITERRANEAN PITA GRI CALABASAS        CA 15196      27.22                             382.96
estauranVBar
7/17/15    ACH Electronic Debit         AMERICAN EXPRESSACH PMT                                                 28.95                             354.01
7/17/15    Debit PIN Purchase 07/16 11 :34p_ #3365 SHELL Service Station AGOURA     CAUS00155                   24.00                             330.01
7/17/15    Debit PIN Purchase 07/16 11 :45p_ #3365 RITE AID CORP.        AGOURA HILLS CAUS00159                41.03                              288.98
7/20/15    Debit PIN Purchase 01 :36a #3365 #06335 ALBERTSONS CALABASAS CAUS001 54                             36.27                              252.71
7/21 /15   Dep_osit Teller                                                                                                    454.44              707.15
7/21 /15   Cash Withdrawal 07:18p #3365 Teller                                                                527.45                              179.70
7/21 /15   Debit Card Purchase 07/17 03:02a #3365         THE ECONOMIST 5343      LOS ANGELES CA 15199         15.88                              163.82
pecialty Retail stores
7/21 /15   Debit PIN Purchase 08:20p_ #3365 RITE AID CORP . AGOURA HILLS CAUS00159                               4.88                             158.94
7/23/15    Debit Card Purchase 07/21 10:22a #3365 STARBUCKS #00635 AGOUR Agoura     CA 15203                    11 .70                            147.24
estauranVBar
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 43 of 200
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uly 1 - August 2, 2015                           Page 4 of 6
OBIN C DIMAGGIO
itigold Account      42002622498
hecking            Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued           Date        Descri[!tion                                                                                      Amount Subtracted      Amount Added     Balance
7/27/15     Debit Card Purchase 07/21 11 :32p #3365            MEDITERRANEAN PITA GRI CALABASAS     CA 15205             30.48                                  116.76
estauranVBar
7/27/15     Debit PIN Purchase 07/25 06:32p #3365                                                                         7.85                                 108.91
HEVRON/G&W VENTURES INCALABASAS              CAUS00155
7/27/15     Debit PIN Purchase 07/25 09:53p #3365 #06335 ALBERTSONS CALABASAS CAUS00154                                   4.13                                 104.78
7/28/15     Debit PIN Purchase 04:22p #3365 TOBACCO ROYALE         CALADASAS CAUS02159                                   17.87                                  86.91
7/31/15     Deposit Teller                                                                                                                   45.00             131.91
7/31/15     Deposit Teller                                                                                                                  300.00             431.91
7/31/15     Fee for International Funds Transfer                                                                        45.00                                  386.91
7/31/15     Outgoing lnt'I Wire Transfer                                                                               289.00                                   97.91
7/31/15     Debit PIN Purchase 07:07p #3365 RITE AID CORP .      AGOURA HILLS CAUS02159                                 22.87                                   75.04
7/31/15     Interest for 33 days, Average Daily Balance $441 .10                                                                              0.01              75.05
verage Rate 0.03% , Annual Percentage Yield Earned 0.03%
otal Subtracted/Added                                                                                     5,922.61          5,899.45
8/02/15 Closing Balance                                                                                                                                         75.05
ll transaction times and dates reflected are based on Eastern Time.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                             600
otal Points forwarded to Citi® ThankYou® Rewards                                                        600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou .com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary {first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrip_tion                                                                                         Amount Subtracted    Amount Added    Balance
7/01/15     Opening Balance                                                                                                                                   2!028.42
7/06/15     De_e_osit Teller                                                                                                                1,500.00          3,528.42
7/17/15     Cash Withdrawal on 07/161 10:52_e_ #3365           Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                  300.00                             3,228.42
                                                                                                                                                                                                            Case 1:17-ap-01099-VK




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uly 1 - August 2, 2015                           Page 5 of 6
OBIN C DIMAGGIO
itigold Account      42002622498
avings             Continued
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity
ontinued           Date        Description                                                                                   Amount Subtracted   Amount Added   Balance
7/31/15     Cash Withdrawal 05:34_1)_ Teller                                                                      2,248.79                           979.63
7/31/15     Cash Withdrawal 05:40_1)_ Teller                                                                         40.00                           939.63
7/31/15     Interest for 33 days, Average Daily Balance $2,874.89                                                                      0.03          939.66
verage Rate 0.01%, Annual Percentage Yield Earned 0.01 %
otal Subtracted/Added                                                                           ____g_,588.79_      _!_,500.03
7/31/15       Closing Balance                                                                                                                       939.66
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
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10/R1 /04F013
ugust 3 - August 31, 2015                     Page 1 of 7
itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call : Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website : www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     LastPerlod           This Period   I    I Earnings Summary                 This Period   This Year   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                   75.05           1,970.03             Checking                             0.06        0.59
avin s                                                                                         Savings
nsured Money Market Accounts                           939.66               139.66             Insured Money Market Accounts       0.00        2.06
itigold Relationship Total                           $1,014.71            $2,109.69            Citigold Relationship Total         $0.06       $2.65
 To ensure quality service, calls are randomly monitored and may be recorded .



                                                                                                                                                                                       Case 1:17-ap-01099-VK




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ugust 3 - August 31, 2015                   Page 2 of 7
OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detall
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period , Citibank considers your average balance during the
onth of July in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                              Your Combined Balance Range
10.000-$24 999
ates                                                                Preferred
onthly Service Charge                                          $30.00(Waived)
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ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
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ctivity
ate        Descrip_tion                                                                                       Amount Subtracted   Amount Added         Balance
 -
8/03/15    Opening Balance                                                                                                                                   75.05
8/03/15    Debit PIN Purchase 08/01 04:02_1)_ #3365          RITE AID CORP.    AGOURA HILLS CAUS02159                     2.20                               72.85
8/04/15    Debit Card Purchase 07/31 05:59p #3365             STARBUCKS #11603 WOODL Woodland Hill CA 15213              17.85                               55.00
estauranVBar
8/10/15    De_e_osit Teller                                                                                                            604.35       659.35
8/11/15    ACH Electronic Debit BARCLAYCARD us          CREDITCARD 315539172                                           100.00                       559.35
8/11 /15   ACH Electronic Debit BARCLAYCARD us          CREDITCARD 315539893                                           100.00                       459.35
8/13/15    De_e_osit Teller 84 CENTRAL ST, WELLESLEY,   MA                                                                           8,500.00     8,959.35
8/13/15    De_e_osit Teller                                                                                                         10,000.00    18,959.35
8/13/15    Debit PIN Purchase 06:58_1)_ #3365 SHELL Service Station AGOURA CAUS00155                                    84.00                    18,875.35
8/13/15    Cash Withdrawal 04:51 _I)_ #3365 Teller                                                                   5,645.28                    13,230.07
8/13/15    Cash Withdrawal 04:59p #3365 Teller                                                                       4,000.00                     9,230.07
8/13/15    Cash Withdrawal 04:541)_ #3365 Teller                                                                       677.45                     8,552.62
8/14/15    ACH Electronic Debit AMERICAN EXPRESS ACH PMT               1                                               159.08                     8,393.54
8/14/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 316196380                                                  4,000.00                     4,393.54
8/14/15    Debit PIN Purchase 09:12_1)_ #3365 RALPHS 5727 KANAN ROAD AGOURA    CAUS02154                                43.96                     4,349.58
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                              Amount Subtracted   Amount Added            Balance
8/14/15    Debit PIN Purchase 01 :39a #3365    PARTY HOUSE LIQOUR        AGOURA HILLS CAUS02159                  4.00                            4,345.58
8/17/15    Dep_osit on 08/15 1 Teller                                                                                         778.00             5,123.58
8/17/15    Debit PIN Purchase 07:09_1)_ #3365 SHELL Service Station CALABASAS CAUS00155                        75.01                             5,048.57
8/17/15    Cash Withdrawal on 08/15 1 01 :OOp_ #3365 Teller                                                   700.00                             4,348.57
8/17/15    Cash Withdrawal on 08/15 1 12:57p #3365 Teller                                                       7.08                             4,341.49
8/17/15    Debit PIN Purchase 07:16_1)_ #3365 EREWHON NATURAL FOODS MCALABASAS CAUS02154                       12.08                             4,329.41
8/17/15    Check# 9955                                                                                        187.69                             4,141 .72
8/18/15    Debit Card Purchase 08/13 06:41 p #3365                                                            183.67                             3,958.05
OUR SEASONS WLAKE SPA WESTLAK!:: VILL CA 15227
isc Personal Services
8/18/15    Debit Card Purchase 08/14 07:06p #3365      CASA VEGA             SHERMAN OAKS CA 15229            135.47                             3,822.58
estaurant/Bar
8/1 8/15   Debit Card Purchase 08/13 10:57p #3365                                                              87.74                             3,734.84
OAR DOUGH TASTING ROO AGOURA HILLS CA 15227
estaurant/Bar
8/18/15    Debit Card Purchase 08/15 05:55p #3365      THE OAKS GOURMET          LOS ANGELES CA 15229          64.69                             3,670.15
ood & Beverai:ies
8/18/15    Debit Card Purchase 08/13 06:00p #3365      AGOURA HILLS STADIUM s AGOURA HILLS CA 15227            28.50                             3,641 .65
ecreational Services
8/18/15    Debit Card Purchase 08/15 01 :50p #3365     SQ *BOU RGEOIS PI G      Los Angeles CA 15229            19.60                            3,622.05
estauran t/Bar
8/18/15    Debit Card Purchase 08/14 11 :58a #3365     CLEMENTINE - ENSLEY       LOS ANGELES CA 15229           16.99                            3,605.06
estaurant/Bar
8/18/15    Debit Card Purchase 08/14 03: 15p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 15227            11.15                            3,593.91
estauran t/Bar
8/18/15    Debit Card Purchase 08/13 11 :1Op #3365     AGOURA HILLS STADIUM      s AGOURA HILLS    CA 15227      4.50                            3,589.41
ecreational Services
8/18/15    Debit Card Purchase 08/14 #3365     AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15227                      3.75                            3,585.66
ecreational Services
8/18/15    Debit Card Purchase 08/14 03:32p #3365      STARBUCKS #11603 WOODL Woodland Hill CA 15227             3.45                            3,582.21
estaurant/Bar
8/18/15    Debit Card Purchase 08/14 08:05p #3365      COFFEE BEAN STORE         CALABASAS      CA 15227         1.99                            3,580.22
estaurant/Bar
8/18/15    Debit PIN Purchase 08:45_1)_ #3365 COSTCO WHSE #0 117 WESTLAKE VILLCAUS02153                       255.45                             3,324.77
8/18/15    Cash Withdrawal 01 :44_1)_ #3365 Citibank ATM 3967 - 1000 OKS, W LKE VL, CA                        200.00                             3,124.77
8/19/15    Debit PIN Purchase 09:45a #3365 ALBERT N. GHIAM              CALABASAS CAUS00155                    50.00                             3,074.77
8/19/15    Cash Withdrawal 07:52p #3365 Teller                                                                800.00                             2,274.77
8/19/15    Debit Card Purchase 08/16 01 :56a #3365     THE HOTEL CAFE          LOS ANGELES CA 15230           229.44                             2,045.33
estaurant/Bar
8/19/15    Debit Card Purchase 08/17 05:32p #3365      ITALIA DELI & BAKE     AGOURA HILLS CA 15230            91 .52                            1,953.81
estaurant/Bar
8/19/15    Debit Card Purchase 08/16 01 :48p #3365     Pedaler's Fork    Calabasas   CA 15230                  49.15                             1,904.66
estaurant/Bar
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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                                                                                                                                                                       Exhibit GGG pt. 1 Page 48 of 200
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ontinued   Date        Descrip_tion                                                                       Amount Subtracted     Amount Added           Balance
8/19/15    Debit Card Purchase 08/17 01 :12a #3365   FAT BURGER #116       WOODLAND HILL CA 15230        22.35                              1,882.31
estauranVBar
8/19/15    Debit Card Purchase 08/17 01 :58p #3365   COFFEE BEAN STORE        ENCINO    CA 15230         10.18                             1,872.13
estauranVBar
8/19/15    Cash Withdrawal 05:14p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                      500.00                             1,372.13
8/19/15    Debit PIN Purchase 09:14p #3365 #06335 ALBERTSONS CALABASAS CAUS02154                        132.72                             1,239.41
8/20/15    Debit PIN Purchase 07:59_1)_ #3365 TOROS K DEURDULIAN NORTH HOLLYWOCAUS00155                  50.00                             1,189.41
8/20/15    Debit Card Purchase 08/18 06:35p #3365 MENDOCINO FARMS         THOUSAND OAKS CA 15231         22.84                             1,166.57
estauranVBar
8/20/15    Debit Card Purchase 08/18 02:23p #3365    STARBUCKS #00635 AGOUR Agoura           CA 15231    15.60                             1,150.97
estauranVBar
8/20/15    Debit PIN Purchase 05:51 _I)_ #3365 BARNEY'S INC.     LOS ANGELES CAUS02156                   190.76                               960.21
8/20/15    Cash Withdrawal 12:41 p #3365 Non Citi ATM 17107 VENTURA BLVD ENCINO      CAUS021             103.00                             · 857.21
8/21/15    Deposit Teller                                                                                            5,000.00              5,857.21
8/21/15    Cash Withdrawal 06:38_1)_ #3365 Teller                                                       700.00                             5,157.21
8/21/15    Debit Card Purchase 08/18 02:09p #3365    SUBWAY      00515866 AGOURA HILLS CA 15232          50.00                             5,107.21
estauranVBar
8/21/15    Debit Card Purchase 08/19 10:49a #3365    LAZY DAISY OF BEVE      BEVERLY HILLS CA 15232      38.42                             5,068.79
estauranVBar
8/21/15    Debit Card Purchase 08/19 03:47p #3365    CHOCOLATINE           THOUSAND OAKS CA 15232        37.63                             5,031.16
ood & BeveraQes
8/21 /15   Debit Card Purchase 08/18 02:15p #3365    POSTAL ANNEX #170       AGOURA HILLS CA 15232       25.00                             5,006.16
pecialty Retail stores
8/21/15    Debit Card Purchase 08/19 05:32p #3365    STARBUCKS #11603 WOODL Woodland Hill CA 15232       17.00                             4,989.16
estauranVBar
8/21/15    Debit Card Purchase 08/19 06:38p #3365    STARBUCKS #11603 WOODL Woodland Hill CA 15232         5.40                            4,983.76
estauranVBar
8/21 /15   Debit PIN Purchase 09:09p #3365 PETSMART INC 103           WESTLAKE VILLCAUS02159              27.86                            4,955 .90
8/21 /15   Debit PIN Purchase 09:251)_ #3365 HAGGEN #02132          WESTLAKE VIL CAUS02154                22.64                            4,933.26
8/21 /15   Debit PIN Purchase 08:25p #3365 BARNESNOBLE 4735 CommonCalabasas CAUS02159                     19.61                            4,913.65
8/21 /15   Debit PIN Purchase 01 :25_1)_ #3365 CVS 09627 09627--22050 Woodland HillCAUS02159              14.70                            4,898.95
8/24/15    ACH Electronic Debit CA541 - Avalon C WEB PMTS FVTOC3                                          65.51                            4,833.44
8/24/15    Debit PIN Purchase 08/22 09:44_1)_ #3365 SHELL Service Station AGOURA        CAUS00155         35.00                            4,798.44
8/24/15    Debit Card Purchase 08/20 06:27p #3365 GREGORY'S FRED SEGAL 323-655-9500 CA 15233             195.11                            4,603.33
pecialty Retail stores
8/24/15    Debit Card Purchase 08/20 06:33p #3365                                                        141.70                            4,461.63
ELROSE LUGGAGE STORE LOS ANGl=LES CA 15233
pecialty Retail stores
8/24/15    Debit Card Purchase 08/18 #3365    CARL'S JR 1100287 QPS AGOURA       CA 15233                50.00                             4,411.63
estauranVBar
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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ontinued   Date         Descri.E?_tion                                                                                            Amount Subtracted    Amount Added           Balance
8/24/15    Debit Card Purchase 08/19 07:14p #3365                                                                                45.00                             4,366.63
CHROEDER AND SCH ROEDE AGOURA HILLS CA 15233
edical Services
8/24/15    Debit Card Purchase 08/20 01 :52p #3365           MORE THAN WAFFLES        ENCINO       CA 15233                      43.13                            4,323.50
estaurant/Bar
8/24/15    Debit   PIN Purchase 08/22 06:21 _I)_ #3365      #06335 ALBERTSONS      CALABASAS       CAUS02154                   156.56                             4,166.94
8/24/15    Debit   PIN Purchase 08/22 02:35_1)_ #3365       RITE AID CORP.     AGOURA HILLS CAUS02159                           44.44                             4,122.50
8/24/15    Debit   PIN Purchase 08/22 02:12_1)_ #3365       TJ TJ MAXX       WESTLAKE        CAUS02156                          33.75                             4,088.75
8/25/15    Debit   Card Purchase 08/22 05:18p #3365          DELKIND INC         AGOURA HILLS CA 15236                         129.40                             3,959.35
utos (rental, service, gas)
8/25/15    Debit Card Purchase 08/21 04:23p #3365            Jinkys Cafe Thousand O THOUSAND OAKS CA 15234                       65.07                            3,894.28
estaurant/Bar
8/25/15    Debit Card Purchase 08/21 08:20p #3365            EDWARDS CALABASAS STDM CALABASAS               CA 15234             42.00                            3,852.28
ecreational Services
8/25/15    Debit Card Purchase 08/22 09:54p #3365            LAL MIRCH         AGOURA HILLS CA 15236                             38.15                            3,814.13
estaurant/Bar
8/25/15    Debit Card Purchase 08/20 07:05p #3365            MAUROS CAFE          LOS ANGELES CA 15236                           27.98                            3,786.15
estaurant/Bar
8/25/15    Debit Card Purchase 08/20 09:12p #3365            MEDITERRANEAN PITA GRI CALABASAS           CA 15236                 21 .78                           3,764.37
estaurant/Bar
8/25/15    Debit Card Purchase 08/22 01 :06p #3365           SQ *EREWHON WELLNESS B Calabasas          CA 15236                  12.00                            3,75~.37
etail stores
8/25/15    Debit Card Purchase 08/22 01 :45a #3365           EDWARDS CALABASAS STDM CALABASAS               CA 15234             11.42                            3,740.95
ecreational Services
8/25/15    Debit Card Purchase 08/22 01 :27a #3365           EDWARDS CALABASAS STDM CALABASAS               CA 15234             10.01                            3,730.94
ecreational Services
8/25/15    Debit Card Purchase 08/20 02:25p #3365            COFFEE BEAN STORE       ENCINO        CA 15234                       5.49                            3,725.45
estaurant/Bar
8/26/15    Debit Card Purchase 08/22 01 :54p #3365                                                                             228.36                             3,497.09
OUR SEASONS WLAKE SPA WESTLAKI:: VILL CA 15237
isc Personal Services
8/28/15    Debit PIN Purchase 09:41_I)_ #3365 CVS 09751 09751--5623 KAgoura           CAUS02159                                  13.93                            3,483.16
8/31/15    ACH Electronic Debit CA541 -Avalon C WEB PMTS 30DLC3                                                              1,406.00                             2,077.16
8/31 /15   Debit PIN Purchase 08/30 04:08p #3365            SHELL Service Station AGOURA       CAUS00155                        29.00                             2,048.16
8/31/15    Debit Card Purchase 08/27 09:51 p #3365           STARBUCKS #11603 WOODLWoodland Hill CA 15240                        12.15                            2,036.01
estaurant/Bar
8/31 /15   Debit PIN Purchase 08/29 02:30p #3365 PEPBOYS STORE# 739 THOUSAND OAKSCAUS02155                                       37.61                            1,998.40
8/31 /15   Debit PIN Purchase 05:54a #3365 CHEVRON/G&W VENTURES INCALABASAS CAUS02155                                            28.43                            1,969.97
8/31/15    Interest for 29 days, Average Daily Balance $2,476.60                                                                                0.06              1,970.03
verage Rate 0.03%, Annual Percentage Yield Earned 0.03%
otal Subtracted/Added                                                                                            22,987.43      24,882.41
8/31/15 Closing Balance                                                                                                                                           1,970.03
ll transaction times and dates reflected are based on Eastern Time.
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 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
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oints from checking account and other products and services                                          600
otal Points forwarded to Citi® ThankYou® Rewards                                                     600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
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ccount Activity   Date         Descrip_tion                                                                                     Amount Subtracted   Amount Added   Balance
8/01 /15    Opening Balance                                                                                                                               939.66
8/10/15     Cash Withdrawal 04:15p Teller                                                                           500.00                                439.66
8/11/15     Cash Withdrawal 01 :39p #3365 ATM 17720 BURBANK       ENCINO     CAUS021                                300.00                                139.66
otal SubtractedLAdded                                                                                  800.00              0.00
8/31/15     Closing Balance                                                                                                                               139.66
ll transaction times and dates reflected are based on Eastern Time.
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itigold Account     42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi!;)Old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     LastPerlod           This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                               1,970.03           10,364.19             Checking                             0.06        0.65
avin s                                                                                         Savings
nsured Money Market Accounts                            139.66             139.66              Insured Money Market Accounts       0.00        2.06
itigold Relationship Total                           $2,109.69          $10,503.85             Citigold Relationship Total         $0.06       $2.71
 To ensure quality service , calls are randomly monitored and may be recorded.



                                                                                                                                                                                       Case 1:17-ap-01099-VK




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eptember 1 - September 30, 2015               Page 2 of 9
OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of August in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                             Your Combined Balance Range
10 000-$24 999
ates                                                                 Preferred
onthly Service Charge                                                $30.00(Waived)                                                    \:  ......,,
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking       High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                         Amount Subtracted   Amount Added         Balance
9/01/15     Opening Balance                                                                                                                           1,970.03
9/01/15     Foreign Currency Redemption                                                                                                    10.27      1,980.30
9/01/15     Debit Card Purchase 08/29 03:40p #3365           T-MOBILE IVR PAYMENT 800-937-8997 WA 15243                   247.19                      1,733.11
hones, Cable & Utilities
9/01/15     Debit Card Purchase 08/27 08:26p #3365           LAX AIRPORT LOT P 4   LOS ANGELES CA 15241                   150.00                      1,583.11
utos (rental, service, gas)
9/01/15     Debit Card Purchase 08/29 12:54a #3365                                                                        130.36                      1,452.75
OAR DOUGH TASTING ROO AGOURA HILLS CA 15243
estaurant/Bar
9/01/15     Debit Card Purchase 08/30 05:55p #3365           DIV HOME CENTER #13 AG AGOURA         CA 15243                 77.32                     1,375.43
pecialty Retail stores

9/01/15   Debit Card Purchase 08/29 02:2og #3365                                                                           43.51                      1,331.92
AROLD'S RESTAURANT            THOUSAND   AKS CA 15243
estaurant/Bar
9/01/15   Debit Card Purchase 08/28 09:14p #3365            AGOURA HILLS STADIUM 8 AGOURA HILLS CA 15243                   37.00                      1,294.92
ecreational Services
9/01/15   Debit Card Purchase 08/30 01 :20a #3365           DOMINO'S 8405      818-991-5971 CA 15243                       18.55                      1,276.37
estaurant/Bar
9/01/15   Debit Card Purchase 08/28 06:29p #3365            SQ *THE RABBIT HOLE CA Westlake Viii CA 15241                  12.26                      1,264.11
estaurant/Bar
9/01/15    Debit Card Purchase 08/29 05:26p #3365            STARBUCKS #05636 CALAB Calabasas      CA 15243                  2.50                     1,261.61
estaurant/Bar
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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itigold Account   42002622498
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ontinued   Date        Descrip_tion                                                                             Amount Subtracted     Amount Added           Balance
9/02/15    Debit Card Purchase 08/30 06:45p #3365        BED BATH & BEYOND #OB WOODLAND HILL CA 15244           4.57                              1,257.04
pecialty Retail stores
9/02/15    Debit Card Purchase 08/28 06:38p #3365        THE RABBIT HOLE CAFE AGOURA HILLS CA 15244             4.09                             1,252.95
estaurant/Bar
9/03/15    Cash Withdrawal 02:371)_ #3365 Non Citi ATM 14505 VENTURA BLVD        SHERMAN OAKS CAUS021          22.25                             1,230.70
9/04/15    Debit Card Purchase 09/01 02:32p #3365 CHEVRON 0094240               CALABASAS      CA 15246        50.00                             1,180.70
utos (rental , service, gas)
9/04/15    Debit Card Purchase 09/01 06:28p #3365        COFFEE BEAN STORE        CALABASAS       CA 15246      9.58                             1,171 .12
estau rant/Bar
9/08/15    Dep_osit on 09/05 1 Teller                                                                                        400.00              1,571.12
9/08/15    Debit Card Purchase 09/01 #3365       MEDITERRANEAN PITA GRI CALABASAS        CA 15247              25.04                             1,546.08
estaurant/Bar
9/08/15    Cash Withdrawal on 09/061 09:46p #3365                                                              61.75                             1,484.33
on Citi ATM 5273 HOLLYWOOD BLVD   LOS ANGELES CAUS021
9/08/15    Debit PIN Purchase 09/07 04:00_1)_ #3365     IN *INTERSTATE VAPE INCWOODLAND HILLCAUS02159          60.08                             1,424.25
9/08/15    Debit PIN Purchase 09/05 07:22_1)_ #3365    TOBACCO ROYALE          CALADASAS       CAUS02159       47.00                             1,377.25
9/08/15    Debit PIN Purchase 09/05 09:13p #3365                                                               26.37                             1,350.88
REWHON NATURAL FOODS MCALABASAS        CAUS02154
9/08/15    Debit PIN Purchase 09/07 02:24a #3365        ?-ELEVEN           CALABASAS   CAUS02155               11.19                             1,339.69
9/09/15    Debit Card Purchase 09/05 08:22p #3365        LAL MIRCH          AGOURA HILLS CA 15250              40.33                             1,299.36
estaurant/Bar
9/09/15    Debit Card Purchase 09/06 09:42p #3365        THAI PATIO         LOS ANGELES CA 15251               34.42                             1,264.94
estaurant/Bar
9/09/15    Cash Withdrawal 05:05_1)_ #3365 Citibank ATM 12191 VNTURA, STUDIO CITY, CA                         400.00                               864.94
9/10/15    Deposit Teller                                                                                                  4,000.00              4,864.94
9/10/15    Debit PIN Purchase 12:21 _I)_ #3365 ARCO #42958         THOUSAND OAKSCAUS00155                      64.35                             4,800.59
9/10/15    Debit PIN Purchase 07:231)_ #3365 SUPER SVC CENTER IN C CANOGA PARK CAUS00155                       33.00                             4,767.59
9/10/15    Debit Card Purchase 09/07 08:25p #3365 TACO BELL #2 106 QPS CALABASAS CA 15252                      15.99                             4,751.60
estaurant/Bar
9/10/15    Debit PIN Purchase 11 :33a #3365      RITE AID CORP .       AGOURA HILLS CAUS02159                  37.55                             4,714.05
9/10/15    Debit PIN Purchase 07:22_1)_ #3365    WEST HILLS 76         WEST HILLS CAUS02155                     4.34                             4,709.71
9/11 /15   Deposit Teller                                                                                                    500.00              5,209.71
9/11 /15   Outgoing Domestic Wire Transfer                                                                    500.00                             4,709.71
9/11 /15   Fee for Domestic Funds Transfer                                                                      35.00                            4,674.71
9/11 /15   Cash Withdrawal 02:29_1)_ #3365 Teller                                                            1,271.81                            3,402.90
9/11 /15   Debit Card Purchase 09/08 06: 14p #3365       SILVER STAR LIQUOR      AGOURA HILLS CA 15253          13.41                            3,389.49
ood & Beverages
9/11/15    Debit PIN Purchase 08:18_1)_ #3365 TOBACCO ROYALE     CALADASAS CAUS02159                           69.00                             3,320.49
9/11/15    Debit PIN Purchase 02:54_1)_ #3365 RITE AID CORP. AGOURA HILLS CAUS02159                            41.09                             3,279.40
9/14/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 321843936                                           500.00                             2,779.40
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                                  Amount Subtracted   Amount Added              Balance
9/14/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 321843744                                               500.00                             2,279.40
9/14/15    Debit Card Purchase 09/09 08:29p #3365 CASA VEGA         SHERMAN OAKS            CA 15254              127.81                             2,151.59
estaurant/Bar
9/14/15    Debit Card Purchase 09/10 10:18p #3365      EDWARDS CALABASAS STDM CALABASAS                CA 15254     56.00                           2,095.59
ecreational Services
9/14/15    Debit Card Purchase 09/08 #3365   MEDITERRANEAN PITA GRI CALABASAS            CA 15254                   22.86                           2,072.73
estaurant/Bar
9/14/15    Debit Card Purchase 09/1 0 11 :38a #3365    STARBUCKS #00635 AGOUR Agoura          CA 15254              10.40                           2,062.33
estaurant/Bar
9/14/15    Debit Card Purchase 09/10 10:31 p #3365     EDWARDS CALABASAS STDM CALABASAS                CA 15254      6.42                           2,055.91
ecreational Services
9/14/15    Debit Card Purchase 09/10 11 :40a #3365     STARBUCKS #00635 AGOUR Agoura          CA 15254               4.65                           2,051.26
estaurant/Bar
9/14/15    Debit PIN Purchas_e 09/13 05:06p #3365      COSTCOWHSE#0117         WESTLAKEVILLCAUS02153              149.94                            J .90:1 .3;2
9/14/15    Cash Withdrawal on 09/121 04:50p #3365                                                                 103.00                            1,798.32
on Citi ATM *LOS ANGELES CHINATOWN LOS ANGELES CAUS051
9/14/15    Debit PIN Purchase 09/12 05:51 J)_ #3365 IN *INTERSTATE VAPE INCWOODLAND HILLCAUS02159                   62.78                           1,735.54
9/14/15    Debit PIN Purchase 09/12 07:48p_ #3365 RITE AID CORP.        AGOURA HILLS CAUS02159                      44.07                           1,691.47
9/14/15    Debit PIN Purchase 02:57p_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                   35.40                           1,656.07
9/14/15    Debit PIN Purchase 04:1 Op #3365 SHELL Service Station CALABASAS CAUS02155                                7.77                           1,648.30
9/14/15    Debit PIN Purchase 03:00p_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                    3.95                           1,644.35
9/14/15    Debit PIN Purchase 06:51p_ #3365 TOBACCO ROYALE           CALADASAS CAUS02159                             3.49                           1,640.86
9/15/15    Debit Card Purchase 09/10 10:06p #3365 SIX RESTAURANT           CALABASAS    CA 15255                   180.00                           1,460.86
estaurant/Bar
9/15/15    Debit Card Purchase 09/12 03:52p #3365      TWC*TIME WARNER CABLE 888-TWCABLE CA 15257                  104.70                           1,356.16
hones, Cable & Utilities
9/15/15    Debit Card Purchase 09/12 05:58p #3365       POQUITO MAS      OPS WOODLAND HILL CA 15257                 51.45                           1,304.71
estaurant/Bar
9/15/15    Debit Card Purchase 09/11 09:43p #3365                                                                   50.20                           1,254.51
OLDEN GARDEN CHINESE WOODLAND HILL CA 15255
estaurant/Bar
9/15/15    Debit Card Purchase 09/11 03:13p #3365       ITALIA DELI & BAKE    AGOURA HILLS CA 15255                 49.92                           1,204.59
estaurant/Bar
9/15/15    Debit Card Purchase 09/10 04:03p #3365       POSTAL ANNEX #170      AGOURA HILLS CA 15255                22.97                           1,181.62
pecialty Retail stores

9/15/15    Debit Card Purchase 09/13 03:05p #3365       STARBUCKS #05858 CALAB Calabasas       CA 15257             13.85                           1,167.77
estaurant/Bar
9/15/15    Debit Card Purchase 09/13 06:49p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15257               13.70                           1,154.07
estaurant/Bar
9/16/15    Debit Card Purchase 09/13 10:28p #3365       EXOTIC THAI AGOURA INC AGOURA HILLS CA 15258                23.98                           1,130.09
estaurant/Bar
9/16/15    Debit Card Purchase 09/15 02:23a #3365       DOMINO'S 8405         818-991-5971 CA 15258                 20.01                           1,110.08
estaurant/Bar
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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itigold Account   42002622498
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9/16/15    Debit Card Purchase 09/14 07:19p #3365       RiotGam*LoL LN5HMJEZ1 X 866-373-9211 CA 15258            20.00                              1,090.08
pecialty Retail stores
9/16/15    Debit Card Purchase 09/14 03:08p #3365       MCDONALD'S F11331     CALABASAS      CA 15258            14.54                             1,075.54
estaurant/Bar
9/17/15    Debit Card Purchase 09/15 03:33p #3365       FEDEXOFFICE 00042952 AGOURA HILLS CA 15259             127.22                               948.32
isc Business Services
9/17/15    Debit Card Purchase 09/15 01 :20p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 15259             11.90                              936.42
estaurant/Bar
9/17/15    Debit Card Purchase 09/15 01 :15a #3365     TACO BELL #21 06   OPS CALABASAS       CA 15259            8.91                              927.51
estaurant/Bar
9/17/15    Debit Card Purchase 09/15 07:21 p #3365      STARBUCKS #00635 AGOUR Agoura         CA 15259            6.20                              921 .31
estaurant/Bar
9/18/15    Dep_osit Teller                                                                                                   3,876.00              4,797.31
9/18/1 5   Debit Card Purchase 09/14 #3365     MEDITERRANEAN PITA GRI CALABASAS        CA 15260                  27.22                             4,770.09
estaurant/Bar
9/18/15    Debit Card Purchase 09/16 12:03a #3365       EXOTIC THAI AGOURA INC AGOURA HILLS CA 15260             25.98                             4,744.11
estaurant/Bar
9/18/15    Debit Card Purchase 09/15 04:11 p #3365      LAKESIDE COMMUNITY HEA WEST HILLS          CA 15260      15.00                             4,729.11
edical Services
9/18/15    Debit Card Purchase 09/16 01 :1 Op #3365     STARBUCKS #05858 CALAB Calabasas      CA 15260           13.00                             4,716.11
estaurant/Bar
9/18/15    Cash Withdrawal 10:18_1)_ #3365   Non Citi ATM USC CREDIT UNION·   LOS ANGELES CAUS021               22.00                              4,694:11
9/21 /15   Debit PIN Purchase 08:30_1)_ #3365 SHELL Service Station AGOURA CAUS00155                            41.00                              4,653.11
9/21 /15   Cash Withdrawal 07:16_1)_ #3365 Teller                                                              150.00                              4,503.11
9/21 /15   Debit Card Purchase 09/18 12:43a #3365 EDWARDS CALABASAS STDM CALABASAS                  CA 15261    15.45                              4,487.66
ecreational Services
9/21/15    Debit Card Purchase 09/18 01 :01 a #3365     EDWARDS CALABASAS STDM CALABASAS            CA 15261     10.76                             4,476.90
ecreational Services
9/21 /15   Debit Card Purchase 09/18 12:54a #3365       EDWARDS CALABASAS STDM CALABASAS            CA 15261      7.17                             4,469.73
ecreational Services
9/21 /15   Debit Card Purchase 09/18 01 :23a #3365      EDWARDS CALABASAS STDM CALABASAS            CA 15261      6.53                             4,463.20
ecreational Services
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9/21 /15   Cash Withdrawal on 09/20 1 01 :48_1)_ #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA              200.00                              4,263.20
9/21/15    Debit PIN Purchase 09/19 05:20_1)_ #3365 CVS/ PHARMACY #09 09751 -Agoura      CAUS02159             122.84                              4,140.36
9/21 /15   Debit PIN Purchase 07:01 J)_ #3365 IN *INTERSTATE VAPE INCWOODLAND HILLCAUS02159                     57.33                              4,083.03
9/21/15    Debit PIN Purchase 08:49_1)_ #3365 CVS/PHARMACY #09 09751-Agoura        CAUS02159                    48.81                              4,034.22
9/21 /15   Debit PIN Purchase 09/20 12:27_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                        21.52                             4,012.70
9/22/15    ACH Electronic Debit so CAL EDISON co BILL PAYMT 204759641                                            80.57                             3,932.13
9/22/15    Debit PIN Purchase 02:13_1)_ #3365 ?-ELEVEN        CANOGA PARK CAUS00155                             125.00                             3,807.13
9/22/15    Debit PIN Purchase 02:14_1)_ #3365 ?-ELEVEN        CANOGA PARK CAUS00155                              58.11                             3,749.02
9/22/15    Debit Card Purchase 09/19 05:07p #3365 ITALIA DELI & BAKE AGOURA HILLS CA 15264                       24.34                             3,724.68
estaurant/Bar
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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9/22/15    Debit Card Purchase 09/19 04:56p #3365      AGOURA MEADOWS HEALTH AGOURA             CA 15264     20.92                              3,703.76
ood & BeveraQes
9/22/15    Debit Card Purchase 09/19 11 :13a #3365                                                           14.99                             3,688.77
SC NORRIS CANCER HOSP LOS ANGELES CA 15264
chools/Education, Day Care
9/22/15    Debit Card Purchase 09/20 02:56p #3365      STARBUCKS #11603 WOODLWoodland Hill CA 15264          12.20                             3,676.57
estaurant/Bar
9/22/15    Debit Card Purchase 09/18 10:30p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 15264            11 .36                            3,665.21
estaurant/Bar
9/22/15    Debit Card Purchase 09/20 12:31 p #3365     STARBUCKS #05858 CALAB Calabasas      CA 15264          9.45                            3,655.76
estaurant/Bar
9/22/15    Debit Card Purchase 09/18 03:39p #3365      USC HOSPITALITY RETAIL LOS ANGELES CA 15264             9.37                            3,646.39
estaurant/Bar
9/22/15    Debit Card Purchase 09/17 11 :18a #3365     TACO BELL #2106     QPS CALABASAS     CA 15262          8.92                            3,637.47
estaurant/Bar
9/22/15    Debit Card Purchase 09/18 04:06p #3365                                                              4.89                            3,632.58
SC NORRIS CANCER HOSP LOS ANGE:LES CA 15264
chools/Education, Day Care
9/22/15    Debit PIN Purchase 10:23_e #3365 CVS/PHARMACY #09 09715-Thousand OaksCAUS02159                   339.41                             3,293.17
9/22/15    Debit PIN Purchase 10:17_e #3365 CVS/PHARMACY #09 09715-Thousand OaksCAUS02159                    12.38                             3,280.79
9/23/15    Debit Card Purchase 09/20 10:03p #3365                                                           198.00                             3,082.79
OUR SEASONS WLAKE SPA WESTLAKI:: VILL CA 15265
isc Personal Services
9/23/15    Debit Card Purchase 09/21 01 :57p #3365                                                           83.88                             2,998.91
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 15265
estaurant/Bar
9/23/15    Debit Card Purchase 09/21 03:03p #3365      TITAN INSURANCE        800-888-8424 OH 15265          81.00                             2,917.91
isc Business Services
9/23/15    Debit Card Purchase 09/22 12:19a #3365      DOMINO'S 8405        818-991-5971 CA 15265            23.83                             2,894.08
estaurant/Bar
9/23/15    Cash Withdrawal 05:401) #3365     Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                     500.00                             2,394.08
9/24/15    De_eosit Teller                                                                                               3,000.00              5,394.08
9/24/15    Debit PIN Purchase 09:46_e #3365     USA GASOLINE #68     AGOURA HILLS CAUS00155                   13.00                            5,381 .08
9/24/15    Cash Withdrawal 07:38_e #3365 Teller                                                            2,500.00                            2,881.08
9/24/15    Debit Card Purchase 09/20 09:25p #3365      MEDITERRANEAN PITA GRI CALABASAS        CA 15266       27.22                            2,853.86
estaurant/Bar
9/24/15    Debit Card Purchase 09/22 03:26p #3365      STARBUCKS #05858 CALAB Calabasas      CA 15266        17.50                             2,836.36
estaurant/Bar
9/24/15    Debit PIN Purchase 01 :56p #3365     GUITAR CENTER #110     w   HOLLYWOOD CAUS02157              216.91                             2,619.45
9/24/15    Debit PIN Purchase 02:49_e #3365     BARNEY'S INC.      BEVERLY HILLSCAUS02156                   190.76                             2,428.69
9/24/15    Check# 341                                                                                         9.00                             2,419.69
9/25/15    Debit PIN Purchase 01 :43_e #3365 UNITED PACIFIC 5730 AGOURA CAUS00155                            60.81                             2,358.88
9/25/15    Debit Card Purchase 09/23 05:47p #3365 STARBUCKS #11603 WOODL Woodland Hill CA 15267               4.40                             2,354.48
estaurant/Bar
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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ontinued    Date         Descrip_tion                                                                                    Amount Subtracted    Amount Added          Balance
9/25/15    Debit PIN Purchase 09:34_1)_ #3365 TOBACCO ROYALE      CALADASAS CAUS02159                                 49.99                              2,304.49
9/28/15    ACH Electronic Debit CA541 - Avalon C WEB PMTS PS3MG3                                                   1,471.43                                833.06
9/28/15    Debit Card Purchase 09/23 09:39p #3365 STORE IT MOBILE      WESTLAKE VI CA 15268                          185.00                                648.06
isc Business Services
9/28/15    Debit Card Purchase 09/22 #3365            GRISSINI RISTORANTE    AGOURA HILLS CA 15268                     54.95                             593.11
estaurant/Bar
9/28/15    Debit PIN Purchase 09/26 11 :41 a #3365          RITE AID STORE - 5539 AGOURA HILLS CAUS02159               24.50                             568.61
9/29/15    Debit Card Purchase Return 09/26 #3365            FEDEXOFFICE 00042952 AGOURA HILLS CA 15271                                7.55              576.16
isc Business Services
9/29/15    Debit Card Purchase 09/25 08:58p #3365            LABITE SERVICES      03104412483 CA 15271               115.67                              460.49
estaurant/Bar
9/29/15    Debit Card Purchase 09/23 #3365            MEDITERRANEAN PITA GRI CALABASAS     CA 15269                   31.54                              428.95
estaurant/Bar
9/29/15    Debit Card Purchase 09/24 09:54p #3365            EXOTIC THAI AGOURA INC AGOURA HILLS CA 15269              25.07                             403.88
estaurant/Bar
9/29/15    Debit Card Purchase 09/24 05:26p #3365            FOUR SEASONS VALET      LOS ANGELES CA 15269              24.00                             379.88
utos (rental , service , gas}
9/29/15    Debit Card Purchase 09/26 01 :05p #3365           FEDEXOFFICE 00042952 AGOURA HILLS CA 15271                15.75                             364.13
isc Business Services
9/30/15       Dep_osit Teller 800 THIRD AVE , NY, NY                                                                             10,000.00          10,364.13
9/30/15       Interest for 30 days, Annual Percentage Yield Earned 0.03%                                                               0.06         10,364.1 9
otal Subtracted/Added                                                                            13,399.72        21 ,793.88
9/30/15 Closing Balance                                                                                                                            10,364.19
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®                                                                               ThankYou® Points Summary
ummary
oints from checking account and other products and services                                    600
otal Points forwarded to Citi® ThankYou® Rewards                                               600
o to thankyou .com to review YQ_LJ__r_J)_Oint balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary {first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
                                                                                                                                                                                                       Case 1:17-ap-01099-VK




             EX. GGG - 057
                                                                                                                                                                              Exhibit GGG pt. 1 Page 58 of 200
                                                                                                                                                                              Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
eptember 1 - September 30, 2015           Page 8 of 9
OBIN C DIMAGGIO
itigold Account   42002622498
avings
itibank®          Citibank® Savings Plus 42002622506
avings Plus
ccount Activity   Date       Descrip_tion               Amount Subtracted   Amount Added   Balance
9/01/15   O~Balance                                                          139.66
9/30/15   Closing Balance                                                    139.66




                                                                                                                              Case 1:17-ap-01099-VK




            EX. GGG - 058
                                                                                                     Exhibit GGG pt. 1 Page 59 of 200
                                                                                                     Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
ctober 1 - November 1, 2015                   Page 1 of 6
itigold Account      42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call : Citi!;)old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ou can help those impacted by the recent flooding in South Carolina
y making a donation to the American Red Cross Disaster Relief.
any people need support during this difficult time. Visit thankyou.com
o use your points to make a donation today or donate directly to
merican Red Cross.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     Last Period          This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                             10,364.19             3,589.67             Checking                             0.04        0.69
avin s                                                                                         Savings
nsured Mone~ Market Accounts                           139.66               139.66             Insured Mone~ Market Accounts       0.00        2.06
itigold Relationship Total                          $10,503.85            $3,729.33            Citigold Relationship Total         $0.04       $2.75
 To ensure quality service, calls are randomly monitored and may be recorded.
                                                                                                                                                                                       Case 1:17-ap-01099-VK




            EX. GGG - 059
                                                                                                                                                              Exhibit GGG pt. 1 Page 60 of 200
                                                                                                                                                              Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R 1/04F013
ctober 1 - November 1, 2015                   Page 2 of 6
OBIN C DIMAGGIO
itigold Account   42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of September in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on
ther statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                  Your Combined Balance Range
6.000-$9 999
ates                                                        Standard
onthly Service Charge                                       $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate       Descrip_tion                                                                                  Amount Subtracted   Amount Added      Balance
0/01/15   Opening Balance                                                                                                                   10,364.19
0/01/15   Debit Card Purchase 09/28 08:43a #3365 KLATCH COFFEE             LOS ANGELES CA 15273                    13.63                    10,350.56
etail stores
0/01/15   Debit Card Purchase 09/28 09:20a #3365 KLATCH COFFEE             LOS ANGELES CA 15273                    10.56                    10,340.00
etail stores
0/02/15   Debit PIN Purchase 08:56_!)_ #3365 CHEVRON/G&W VENTURES INCALABASAS CAUS00155                            54.00                    10,286.00
0/02/15   Transfer                                                                                              2,132.16                     8,153.84
0/02/15   Cash Withdrawal 07:51 _!)_ #3365 Teller                                                                 549.73                     7,604.11
0/02/15   Cash Withdrawal 07:52_!)_ #3365 Teller                                                                  245.74                     7,358.37
0/02/15   Cash Withdrawal 07:54_!)_ #3365 Teller                                                                  200.00                     7,158.37
0/02/15   Debit Card Purchase 09/30 04:56p #3365 HUDSONNEWS ST28        FLUSHING NY 15274                           0.98                     7,157.39
pecialty Retail stores
0/02/15   Debit PIN Purchase 09:08_!)_ #3365 #06335 ALBERTSON$       CALABASAS   CAUS02154                         80.05                       7,077.34
0/02/15   Debit PIN Purchase 10:22_!)_ #3365 #06335 ALBERTSON$       CALABASAS   CAUS02154                         34.02                       7,043.32
0/05/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 325904316                                              1,431.15                       5,612.17
0/05/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 325903869                                              2,000.00                       3,612.17
0/05/15   Debit PIN Purchase 07:59_!)_ #3365 SHELL Service Station AGOURA HILLS CAUS00155                          26.00                       3,586.17
                                                                                                                                                                                   Case 1:17-ap-01099-VK




            EX. GGG - 060
                                                                                                                                                          Exhibit GGG pt. 1 Page 61 of 200
                                                                                                                                                          Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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1 0/R1/04F013
ctober 1 - November 1, 2015                     Page 3 of 6
OBIN C DIMAGGIO
itigold Account   42002622498
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igh Interest Checking 42002622498
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ontinued   Date         Descrip_tion                                                                                      Amount Subtracted    Amount Added           Balance
0/05/15    Debit Card Purchase 10/01 08:57p #3365             CINEPOLIS LUXURY CINEM 03235566340 CA 15275                45.00                             3,541.17
ecreational Services
0/05/15    Debit Card Purchase 10/01 09:39p #3365             DOMINO'S 8405        818-991 -5971 CA 15275                25.72                            3,515.45
estaurant/Bar
0/05/15    Debit Card Purchase 10/01 08:37p #3365             THE UPS STORE 1093      CALABASAS     CA 15275             10.00                            3,505.45
isc Business Services
0/05/15    Debit PIN Purchase          12:08a #3365 #06335 ALBERTSONS CALABASAS CAUS02154                               121.50                            3,383.95
0/05/15    Debit PIN Purchase          10/04 04:271)_ #3365 TOBACCO ROYALE           CALADASAS CAUS02159                 32.60                            3,351.35
0/05/15    Debit PIN Purchase          07:07_1)_ #3365 CVS/PHARMACY #09 09751-Agoura      CAUS02159                      30.00                            3,321.35
0/05/15    Debit PIN Purchase          04:11 _I)_ #3365 GUITAR CENTER #110 W HOLLYWOOD CAUS02157                         28.56                            3,292.79
0/05/15    Debit PIN Purchase          10/03 09:25_1)_ #3365 PETSMART INC 103       WESTLAKE VILLCAUS02159               27.34                            3,265.45
0/05/15    Debit PIN Purchase          06:51 _I)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                     26.09                            3,239.36
0/05/15    Debit PIN Purchase          06:46p #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                         24.79                            3,214.57
0/05/15    Debit PIN Purchase          10/03 09:27p #3365 PETSMART INC 103          WESTLAKE VILLCAUS02159               14.16                            3,200.41
0/05/15    Debit PIN Purchase          03:20_1)_ #3365 AJ WINE SPIRITS INC CALABASAS CAUS80159                            4.75                            3,195.66
0/05/15    Check # 3240                                                                                                 745.54                            2,450.12
0/06/15    Dep_osit Teller                                                                                                             14.51              2,464.63
0/06/15    Cash Withdrawal 07:24_1)_ #3365 Teller                                                                       435.17                            2,029.46
0/06/15    Debit Card Purchase 10/03 08:37_1)_ #3365          041790 MALIBU CANYO      08007040154 CA 15278             750.00                            1,279.46
0/06/15    Debit Card Purchase 10/02 08:09p #3365             T-MOBILE IVR PAYMENT 800-937-8997 WA 15276                240.74                            1,038.72
hones, Cable & Utilities
0/06/15    Debit Card Purchase 10/02 05:04p #3365             LEO AND LILY        WOODLAND HILL CA 15276                 63.57                             975.15
estaurant/Bar
0/06/15    Debit Card Purchase 10/03 08:38()_ #3365           041790 MALIBU CANYO      08007040154 CA 15278              42.00                             933.15
0/06/15    Debit Card Purchase 10/02 08:23p #3365             KS JEWELERS          AGOURA HILLS CA 15276                 30.00                             903.15
pecialty Retail stores
0/06/15    Debit Card Purchase 10/03 03:47p #3365             SANTA FE CAFE         CALABASAS     CA 15278               16.28                             886.87
estaurant/Bar
0/06/15    Debit Card Purchase 10/03 07:05p #3365             STARBUC KS #11603 WOODL Woodland Hill CA 15278             12.05                             874.82
estaurant/Bar
0/06/15    Debit Card Purchase 10/03 03:48p #3365             SANTA FE CAFE         CALABASAS     CA 15278                1.09                             873.73
estaurant/Bar
0/06/15    Debit PIN Purchase 07:57p_ #3365           RITE AID STORE - 5539 AGOURA HILLS CAUS02159                       91.37                             782.36
0/06/15    Debit Pl N Purchase 07:49_1)_ #3365 RALPHS 5727 KANAN ROAD AGOURA CAUS02154                                   28.96                             753.40
0/07/15    Debit Card Purchase 10/05 07:50p #3365 SEA BREEZ E DENTAL CARE AGOURA HILLS                       CA 15279    89.00                             664.40
edical Services
0/07/15    Debit Card Purchase 10/04 07:43p #3365             EXXONMOBIL      97654214 CALABASAS     CA 15279            40.00                             624.40
utos (rental , service, gas)
0/07/15    Debit Card Purchase 10/03 10:02p #3365             MEDITERRANEAN PITA GRI CALABASAS         CA 15279          28.30                             596.10
estaurant/Bar
                                                                                                                                                                                                         Case 1:17-ap-01099-VK




             EX. GGG - 061
                                                                                                                                                                                Exhibit GGG pt. 1 Page 62 of 200
                                                                                                                                                                                Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1/04F013
ctober 1 - November 1, 2015                Page 4 of 6
OBIN C DIMAGGIO
itigold Account   42002622498
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igh Interest Checking 42002622498
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ontinued   Date        Descrip_tion                                                                            Amount Subtracted     Amount Added             Balance
0/07/15    Debit Card Purchase 10/05 11 :31 a #3365      STARBUCKS #11603 WOODL Woodland Hill CA 15279        20.05                                 576.05
estaurant/Bar
0/07/15    Debit Card Purchase 10/04 07:45p #3365       TACO BELL #2106      QPS CALABASAS     CA 15279       16.85                                 559.20
estaurant/Bar
0/07/15    Debit Card Purchase 10/03 10:04p #3365        MEDITERRANEAN PITA GRI CALABASAS         CA 15279     2.18                                 557.02
estaurant/Bar
0/08/15    Debit Card Purchase 10/05 11 :18p #3365       EXOTIC THAI AGOURA INC AGOURA HILLS CA 15280         32.70                                 524.32
estaurant/Bar
0/08/15    Debit PIN Purchase 05:59_1)_ #3365 CVS/PHARMACY #09 09751-Agoura CAUS02159                         53.75                               470.57
0/08/15    Debit PIN Purchase 05:52p_ #3365 CVS/PHARMACY #09 09751-Agoura     CAUS02159                       51 .59                              418.98
0/09/15    Dep_osit Teller                                                                                                  500.00                918.98
0/09/15    Dep_osit Teller                                                                                                  700.00              1,618.98
0/09/15    Cash Withdrawal 05:32p #3365 . Teller                                                             677.45                               941.53
0/13/15    ACH Electronic Debit AMERICAN EXPRESS ACH PMT            1                                        450.00                               491.53
0/13/15    Debit PIN Purchase 04:17p #3365 ARCO #42958        THOUSAND OAKSCAUS00155                          40.35                               451 .18
0/13/15    Debit Card Purchase 10/08 06:45a #3365 RELAY #2092         DORVAL     CAN15282                     63.24                               387.94
ood & Beverages
0/13/15    Debit Card Purchase 10/08 04:05p #3365        LAX AIRPORT LOT P 4    LOS ANGELES CA 15282          60.00                                 327.94
utos (rental, service , gas)
0/13/15    Debit Card Purchase 10/08 05:51 a #3365       SQ *YOUSSEF ZUGHAIB      Dorval     CAN15282         34.43                                 293.51
isc Transportation
0/13/15    Debit Card Purchase 10/08 05:41 p #3365                                                             6.82                                 286.69
ANAN PHARMACY AND MED AGOURA I-IILLS CA 15282
ood & Beverages
0/13/15    Cash Withdrawal on 10/11 1 04:42_1)_ #3365    Citibank ATM 4809COMMONS WY, CALABASAS , CA         100.00                                 186.69
0/13/15    Debit PIN Purchase 10/10 11 :26a #3365       #06335 ALBERTSONS       CALABASAS     CAUS02154       57.06                                 129.63
0/13/15    Debit PIN Purchase 10/10 02:151)_ #3365      ?-ELEVEN        CALABASAS       CAUS02155              4.76                                 124.87
0/14/15    Debit Card Purchase 10/09 09:08p #3365        FANDANGO.COM           FANDANGO.COM CA 15283         38 .50                                 86.37
ecreational Services
0/14/15    Debit Card Purchase 10/11 04:51 p #3365       SUGAR FREE MARKETS       WOODLAND HILL CA 15286      12.99                                  73.38
pecialty Retail stores
0/14/15    Debit Card Purchase 10/10 09:03p #3365        USC UNV HOSP 25094038 LOS ANGELES CA 15285           12.18                                  61 .20
estaurant/Bar
0/14/15    Debit Card Purchase 10/11 01 :52p #3365       USC UNV HOSP 25094038 LOS ANGELES CA 15286           10.21                                  50.99
estaurant/Bar
0/14/15    Debit Card Purchase 10/10 11 :49p #3365       USC UNV HOSP 25094038 LOS ANGELES CA 15285            9.29                                  41.70
estaurant/Bar
0/14/15    Debit Card Purchase 10/08 06:21 a #3365       LESTE RS DELI EXPRESS MONTREAL         CAN15283       8.64                                  33.06
ood & Beverages
0/14/15    Debit Card Purchase 10/1 0 09: 19p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 15285            4.34                                  28.72
estaurant/Bar
0/14/15    Debit Card Purchase 10/10 09:09p #3365        USC UNV HOSP 25094038 LOS ANGELES CA 15285            2.71                                  26.01
estaurant/Bar
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




             EX. GGG - 062
                                                                                                                                                                        Exhibit GGG pt. 1 Page 63 of 200
                                                                                                                                                                        Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
ctober 1 - November 1, 2015                       Page 5 of 6
OBIN C DIMAGGIO
itigold Account    42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued           Date        Descrip_tion                                                                               Amount Subtracted   Amount Added        Balance
0/29/15       Dep_osit Teller                                                                                                     9,000.00           9,026.01
0/29/15       Transfer                                                                                        4,000.00                               5,026.01
0/29/15       Cash Withdrawal 02:25_e_ #3365 Teller                                                             922.44                               4, 103.57
0/29/15       Cash Withdrawal 02:28p_ #3365 Teller                                                                55.00                              4,048.57
0/29/15       Debit PIN Purchase 05:471) #3365 WAL-MART #5152            WEST HILLS CAUS02153                   458.94                               3,589.63
0/30/15       Interest for 32 days, Annual Percentage Yield Earned 0.03%                                                              0.04           3,589.67
otal Subtracted/Added                                                                           16,989.07        10,214.55
1 /01/15 Closing Balance                                                                                                                           3,589.67
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                         600
otal Points forwarded to Citi® ThankYou® Rewards                                                    600
o to than kyou .com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Cond itions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
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ccount Activity    Date        Descrip_tion                                                                                    Amount Subtracted   Amount Added   Balance
0/01 /15    Opening Balance                                                                                                                           139.66
0/31 /15    Closing Balance                                                                                                                           139.66
                                                                                                                                                                                                     Case 1:17-ap-01099-VK




             EX. GGG - 063
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10/R1 /04F013
ctober 1 - November 1, 2015                   Page 1 of 6
itigold Account       42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi!;Jold Services at (888) 248-4465*
or speech and hearing impaired customers only: TTY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ou can help those impacted by the recent flooding in South Carolina
y making a donation to the American Red Cross Disaster Relief.
any people need support during this difficult time. Visit thankyou.com
o use your points to make a donation today or donate directly to
merican Red Cross.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     LastPerlod           This Period   I    I Earnln9s Summary                 This Period   ThlsYear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                              10,364.19            3,589.67             Checking                             0.04       0.69
avings                                                                                         Savings
nsured Money Market Accounts                            139.66              139.66             Insured Money Market Accounts       0.00        2.06
itigold Relationship Total                          $10,503.85            $3,729.33            Citigold Relationship Total         $0.04       $2.75
 To ensure quality service, calls are randomly monitored and may be recorded.
                                                                                                                                                                                      Case 1:17-ap-01099-VK




            EX. GGG - 064
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10/R1 /04F013
ctober 1 - November 1, 2015                    Page 2 of 6
OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period ,
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onth of September in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on
ther statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking , savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                   Your Combined Balance Range
6 000-$9.999
ates                                                         Standard
onthly Service Charge                                        $30.00(Waived)
 J~      ~c
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
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hecking      High Interest Checking 42002622498
ctivity
ate         Descrip_tion                                                                                 Amount Subtracted   Amount Added          Balance
0/01/15   Opening Balance                                                                                                                    10,364.19
0/01/15   Debit Card Purchase 09/28 08:43a #3365       KLATCH COFFEE        LOSANGELES CA15273                     13.63                     10,350.56
etail stores
0/01/15   Debit Card Purchase 09/28 09:20a #3365       KLATCH COFFEE        LOS ANGELES CA 15273                   10.56                     10,340.00
etail stores
0/02/15   Debit PIN Purchase 08:56_1)_ #3365 CHEVRON/G&WVENTURES INCALABASAS CAUS00155                             54.00                     10,286.00
0/02/15   Transfer                                                                                              2,132.16                      8,153.84
0/02/15   Cash Withdrawal 07:51 _I)_ #3365 Teller                                                                 549.73                      7,604.11
0/02/15   Cash Withdrawal 07:52_1)_ #3365 Teller                                                                  245.74                      7,358.37
0/02/15   Cash Withdrawal 07:54_1)_ #3365 Teller                                                                  200.00                      7,158.37
0/02/15   Debit Card Purchase 09/30 04:56p #3365 HUDSONNEWS ST28       FLUSHING NY 15274                            0.98                      7,157.39
pecialty Retail stores
0/02/15   Debit PIN Purchase 09:08__1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                80.05                        7,077.34
0/02/15   Debit PIN Purchase 10:221)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                  34.02                        7,043.32
0/05/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 325904316                                              1,431.15                        5,612.17
0/05/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 325903869                                              2,000.00                        3,612.17
0/05/15   Debit PIN Purchase 07:59_1)_ #3365 SHELL Service Station AGOURA HILLS CAUS00155                          26.00                        3,586.17
                                                                                                                                                                                      Case 1:17-ap-01099-VK




            EX. GGG - 065
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                                                                                                                                                             Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
ctober 1 - November 1, 2015                    Page 3 of 6
OBIN C DIMAGGIO
itigold Account   42002622498
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ctivity
ontinued   Date         Descrigtion                                                                                 Amount Subtracted    Amount Added           Balance
0/05/15    Debit Card Purchase 10/01 08:57p #3365        CINEPOLIS LUXURY CINEM 03235566340 CA 15275              45.00                              3,541.17
ecreational Services
0/05/15    Debit Card Purchase 10/01 09:39p #3365        DOMINO'S 8405        818-991-5971 CA 15275                25 .72                           3,515.45
estauranVBar
0/05/15    Debit Card Purchase 10/01 08:37p #3365        THE UPS STORE 1093      CALABASAS     CA 15275            10.00                            3,505.45
isc Business Services
0/05/15    Debit PIN Purchase 12:08a #3365 #06335 ALBERTSON$ CALABASAS CAUS02154                                 121.50                             3,383.95
0/05/15    Debit PIN Purchase 10/04 04:27_1)_ #3365 TOBACCO ROYALE       CALADASAS CAUS02159                      32.60                             3,351.35
0/05/15    Debit PIN Purchase 07:07_1)_ #3365 CVS/PHARMACY #09 09751-Agoura    CAUS02159                          30.00                             3,321.35
0/05/15    Debit PIN Purchase 04:11 _I)_ #3365 GUITAR CENTER #110 W HOLLYWOOD CAUS02157                           28.56                             3,292.79
0/05/15    Debit PIN Purchase 10/03 09:25p #3365 PETSMART INC 103       WESTLAKE VILLCAUS02159                    27.34                             3,265.45
0/05/15    Debit PIN Purchase 06:51 p #3365 RITE AID STORE -5539 AGOURA HILLS CAUS02159                           26.09                             3,239.36
0/05/15    Debit PIN Purchase 06:46p #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                           24.79                             3,214.57
0/05/15    Debit PIN Purchase 10/03 09:27p #3365 PETSMART INC 103       WESTLAKE VILLCAUS02159                    14.16                             3,200.41
0/05/15    Debit PIN Purchase 03:20_1)_ #3365 AJ WINE SPIRITS INC CALABASAS CAUS80159                              4.75                             3,195.66
0/05/15    Check# 3240                                                                                           745.54                             2,450.12
0/06/15    Dep_osit Teller                                                                                                       14.51              2,464.63
0/06/15    Cash Withdrawal 07:24_1)_ #3365 Teller                                                                435.17                             2,029.46
0/06/15    Debit Card Purchase 10/03 08:37p #3365 041790 MALIBU CANYO 08007040154 CA 15278                       750 .00                            1,279.46
0/06/15    Debit Card Purchase 10/02 08:09p #3365 T-MOBILE IVR PAYMENT 800-937-8997 WA 15276                     240.74                             1,038.72
hones, Cable & Utilities
0/06/15    Debit Card Purchase 10/02 05:04p #3365        LEO AND LILY        WOODLAND HILL CA 15276                63.57                             975.15
estauran VBar
0/06/15    Debit Card Purchase 10/03 08:38_1)_ #3365     041790 MALIBU CANYO     08007040154 CA 15278             42.00                              933.15
0/06/15    Debit Card Purchase 10/02 08:23p #3365        KS JEWELERS          AGOURA HILLS CA 15276               30.00                              903.15
pecialty Retai l stores
0/06/15    Debit Card Purchase 10/03 03:47p #3365        SANTA FE CAFE         CALABASAS     CA 15278              16.28                             886.87
estauranVBar
0/06/15    Debit Card Purchase 10/03 07:05p #3365        STARBUCKS #1 1603 WOODLWoodland Hill CA 15278             12.05                             874.82
estauranVBar
0/06/15    Debit Card Purchase 10/03 03:48p #3365        SANTA FE CAFE         CALABASAS     CA 15278               1.09                             873.73
estauranVBar
0/06/15    Debit PIN Purchase 07:57_1)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                         91.37                             782.36
0/06/15    Debit PIN Purchase 07:49_1)_ #3365 RALPHS 5727 KANAN ROAD AGOURA        CAUS02154                       28.96                             753.40
0/07/15    Debit Card Purchase 10/05 07:50p #3365 SEA BREEZE DENTAL CARE AGOURA HILLS                 CA 15279     89.00                             664.40
edical Services
0/07/15    Debit Card Purchase 10/04 07:43p #3365        EXXONMOBIL      97654214 CALABASAS     CA 15279          40.00                              624.40
utos {rental , service, gas)
0/07/15    Debit Card Purchase 10/03 10:02p #3365        MEDITERRANEAN PITA GRI CALABASAS         CA 15279        28.30                              596.10
estauranVBar
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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                                                                                                                                                                          Exhibit GGG pt. 1 Page 67 of 200
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ontinued   Date        Descrip_tion                                                                            Amount Subtracted     Amount Added            Balance
0/07/15    Debit Card Purchase 10/05 11 :31 a #3365     STARBUCKS #11603 WOODL Woodland Hill CA 15279         20.05                                 576.05
estaurant/Bar
0/07/15    Debit Card Purchase 10/04 07:45p #3365      TACO BELL#2106        OPS CALABASAS     CA 15279       16.85                                 559.20
estaurant/Bar
0/07/15    Debit Card Purchase 10/03 10:04p #3365       MEDITERRANEAN PITA GRI CALABASAS         CA 15279      2.18                                 557.02
estaurant/Bar
0/08/15    Debit Card Purchase 10/05 11 :18p #3365      EXOTIC THAI AGOURA INC AGOURA HILLS CA 15280          32.70                                 524.32
estaurant/Bar
0/08/15    Debit PIN Purchase 05:59p_ #3365 CVS/PHARMACY #09 09751-Agoura CAUS02159                           53.75                               470.57
0/08/15    Debit PIN Purchase 05:52p #3365 CVS/PHARMACY #09 09751-Agoura      CAUS02159                       51.59                               418.98
0/09/15    Dep_osit Teller                                                                                                  500.00                918.98
0/09/15    Dep_osit Teller                                                                                                  700.00              1,618.98
0/09/15    Cash Withdrawal 05:32p_ #3365 Teller                                                             677.45                                941.53
0/13/15    ACH Electronic Debit AMERICAN EXPRESS ACH PMT                                                    450.00                                491.53
0/13/15    Debit PIN Purchase 04:17p_ #3365 ARCO #42958      THOUSAND OAKSCAUS00155                          40.35                                451.18
0/13/15    Debit Card Purchase 10/08 06:45a #3365 RELAY #2092         DORVAL     CAN15282                    63.24                                387.94
ood & BeveraQes
0/13/15    Debit Card Purchase 10/08 04:05p #3365       LAX AIRPORT LOT P 4     LOS ANGELES CA 15282          60.00                                 327.94
utos (rental. service, gas)
0/13/15    Debit Card Purchase 10/08 05:51 a #3365      SQ *YOUSSEF ZUGHAIB       Dorval     CAN15282         34.43                                 293.51
isc Transportation
0/13/15    Debit Card Purchase 10/08 05:41 p #3365                                                             6.82                                 286.69
ANAN PHARMACY AND MED AGOURA HILLS CA 15282
ood & BeveraQes
0/13/15    Cash Withdrawal on 10/11 1 04:42p_ #3365 Citibank ATM 4809COMMONS WY, CALABASAS, CA               100.00                                 186.69
0/13/15    Debit PIN Purchase 10/10 11 :26a #3365      #06335 ALBERTSONS        CALABASAS     CAUS02154       57.06                                 129.63
0/13/15    Debit PIN Purchase 10/10 02:15p_ #3365      7-ELEVEN         CALABASAS       CAUS02155              4.76                                 124.87
0/14/15    Debit Card Purchase 10/09 09:08p #3365       FANDANGO.COM            FANDANGO.COM CA 15283         38.50                                  86.37
ecreational Services
0/14/15    Debit Card Purchase 10/11 04:51 p #3365      SUGAR FREE MARKETS        WOODLAND HILL CA 15286      12.99                                 73.38
pecialty Retail stores
0/14/15    Debit Card Purchase 10/10 09:03p #3365       USC UNV HOSP 25094038 LOS ANGELES CA 15285            12.18                                  61.20
estaurant/Bar
0/14/15    Debit Card Purchase 10/11 01 :52p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 15286            10.21                                 50.99
estaurant/Bar
0/14/15    Debit Card Purchase 10/10 11 :49p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 15285             9.29                                  41.70
estaurant/Bar
0/14/15    Debit Card Purchase 10/08 06:21 a #3365      LESTERS DELI EXPRESS MONTREAL           CAN15283       8.64                                  33.06
ood & BeveraQes
0/14/15    Debit Card Purchase 10/1 0 09: 19p #3365     USC UNV HOSP 25094038 LOS ANGELES CA 15285             4.34                                  28.72
estaurant/Bar
0/14/15    Debit Card Purchase 10/10 09:09p #3365       USC UNV HOSP 25094038 LOS ANGELES CA 15285             2.71                                  26.01
estaurant/Bar
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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igh Interest Checking 42002622498
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ctivity
ontinu ed          Date        Descrifl_tion                                                                              Amount Subtracted     Amount Added         Balance
0/29/15       Dep_osit Teller                                                                                                    9,000.00              9,026.01
0/29/15       Transfer                                                                                        4,000.00                                 5,026.01
0/29/15       Cash Withdrawal 02:25_e_ #3365 Teller                                                             922.44                                 4,103.57
0/29/15       Cash Withdrawal 02:28_e_ #3365 Teller                                                               55.00                                4,048.57
0/29/15 Debit PIN Purchase 05:47_e_ #3365 WAL-MART #5152            WEST HILLS CAUS02153                       458.94                                 3,589.63
0/30/15 Interest for 32 days, Annual Percentage Yield Earned 0.03%                                                                   0.04             3,589.67
otal Subtracted/Added                                                                          16,989.07          10,214.55
1 /01 /15 Closing Balance                                                                                                                             3,589.67
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
han kYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                          600
otal Points forwarded to Citi® ThankYou® Rewards                                                     600
o to thankyou._c:e>m to review YQ_I.J_r__J)_Oint balance and redeem!
1,c      .....
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        DescriQ_tion                                                                                     Amount Subtracted     Amount Added   Balance
0/01 /15    O~Balance                                                                                                                                   139.66
0/31 /15    Closing Balance                                                                                                                             139.66
                                                                                                                                                                                                        Case 1:17-ap-01099-VK




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                                                                                                                                                                               Exhibit GGG pt. 1 Page 69 of 200
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itigold Account     42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      LastPerlod          This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                3,589.67           9,941.97             Checking                             0.28         0.97
avin s                                                                                         Savings
nsured Mone}' Market Accounts                           139.66             139.66              Insured Mone}' Market Accounts      0.00          2.06
itigold Relationship Total                            $3,729.33         $10,081.63             Citigold Relationship Total         $0.28         $3.03
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
or Citi Customers who may be impacted by the recent tragic events
e recognize that customers traveling in France and Lebanon, or with family members in the region, may face
hallenges due to the recent tragic events. Should you need account assistance, we want to assure you that Citi is
ere to help. Just call the number on the back of your card; we're available 24/7.
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account 42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of October in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                       Your Combined Balance Range
1 500-$5 999
ates                                                           Standard
onthly Service Charge                                          $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate          Descrip_tion                                                                                   Amount Subtracted   Amount Added          Balance
1/02/15    Opening Balance                                                                                                                      3,589.67
1/02/15    Dep_osit Teller 401 W 42ND STREET, NY, NY                                                                             22,000.00     25,589.67
1/02/15    ACH Electronic Debit 041790 Malibu Ca WEB PMTS 15S5J2                                                  1,029 .58                    24,560.09
1 /02/15   Cash Withdrawal on 10/31 1 04:56_1)_ #3365 Teller                                                        455.90                     24,104.19
1 /02/15   Cash Withdrawal on 10/31 1 05:00_1)_ #3365   Teller                                                      100.00                     24,004.19
1/02/15    Debit Card Purchase 10/29 06:04p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15303                11 .15                    23,993.04
estauranVBar
1 /02/15   Debit Card Purchase 10/29 06: 12p #3365      STARBUCKS #11603 WOODL Woodland Hill CA 15303                  1.50                    23,991.54
estauranVBar
1/02/15    Cash Withdrawal on 10/31 1 04:12_1)_ #3365   Citibank ATM 4809COMMONS WY, CALABASAS , CA                  520.00                    23 ,471 .54
1 /03/15   ACH Electronic Debit CA541-AvalonCWEBPMTS PSSQL3                                                        1,454.91                    22,016.63
1/03/15    Debit PIN Purchase 05:02_1)_ #3365 SHELL Service Station AGOURA     CAUS00155                             56.71                     21,959.92
1/03/15    Debit Card Purchase 10/29 03 :17p #3365 CANYON CLEANERS            AGOURA HILLS CA 15304                 125.50                     21,834.42
isc Personal Services
1 /03/15   Debit Card Purchase 10/31 12:45a #3365                                                                     76.25                    21 ,758 .17
UCA DI BEPPO-THOUSAND THOUSAND OAKS CA 15306
estauranVBar
1/03/15    Debit Card Purchase 10/29 03:40p #3365       POSTAL ANNEX #170     AGOURA HILLS CA 15304                   40.00                    21 ,718.17
pecialty Retail stores
                                                                                                                                                                                         Case 1:17-ap-01099-VK




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                                                                                                                                                                Exhibit GGG pt. 1 Page 71 of 200
                                                                                                                                                                Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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ontinued   Date        Descri_E>_tion                                                                           Amount Subtracted   Amount Added       Balance
1/03/15    Debit Card Purchase 10/30 03:32p #3365        BEAN SCENE         AGOURA HILLS CA 15304              24.23                       21,693.94
estauranVBar
1/03/15    Debit Card Purchase 10/29 02:58p #3365        THE RABBIT HOLE CAFE AGOURA HILLS CA 15306            18.53                      21,675.41
estauranVBar
1/03/15    Debit Card Purchase 10/30 03:46p #3365        BEANSCENE          AGOURA HILLS CA 15304               2.50                      21 ,672.91
estauranVBar
1/03/15    Debit PIN Purchase 05:321)_ #3365      STAL ANNEX #170      AGOURA HILLS CAUS02194                 300.00                      21 ,372.91
1/04/15    Cash Withdrawal 06:00p #3365 Teller                                                              2,500.00                      18,872.91
1/04/15    Debit Card Purchase 10/31 05 :18p #3365       STORE IT MOBILE         WESTLAKE VI CA 15307         185.00                      18,687.91
isc Business Services
1 /04/15   Debit Card Purchase 11 /01 07:12a #3365       NYC YELLOW CAB          LONG IS CITY NY 15307         70.01                      18,617.90
isc Transportation
1/04/15    Debit PIN Purchase 09:47_1)_ #3365 TJ TJ MAXX          WESTLAKE CAUS02156                         145.94                       18,471 .96
1/04/15    Debit PIN Purchase 08:56_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                           90.80                       18,381.16
1/04/15    Debit PIN Purchase 07:43_1)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159                    86.56                       18,294.60
1/05/15    ACH Electronic Debit T-MOBILE TEL PCS SVC                                                         237.82                       18,056.78
1 /05/15   Cash Withdrawal 06:261)_ #3365 Teller                                                             763.01                       17,293.77
1 /05/15   Cash Withdrawal 06:34_1)_ #3365 Teller                                                            100.00                       17,193.77
1/05/15    Debit Card Purchase 11/02 11 :35p #3365 HUDSON COMMO N             NEW YORK     NY 15308          101 .66                      17,092. 11
pecialty Retail stores
1/05/15    Debit Card Purchase 11 /03 01 :49p #3365      LAX AIRPORT LOT P 3      LOS ANGELES CA 15308         90.00                      17,002.11
utos (rental , service , gas)
1/05/15    Debit PIN Purchase 11 /04 11 :34p #3365      SPENCER GIFTS #2172       THOUSAND OAKSCAUS02159      184.78                      16,817.33
1 /06/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 332576191                                         4,076.45                      12,740.88
1 /06/15   ACH Electronic Debit BARCLAYCARD us CREDITCARD 332574936                                         5,833.11                       6,907.77
1 /06/15   Cash Withdrawal 07:22_1)_ #3365 Teller                                                           4,200.00                       2,707 .77
1 /06/15   Debit Card Purchase 11/04 04:12p #3365 POQUITO MAS       OPS WOODLAND HILL CA 15309                 47.58                       2,660.19
estauranVBar
1/06/15    Debit Card Purchase 11 /04 08:04p #3365       SQ *PACIFIC COMPUTERS Calabasas       CA 15309        45.00                       2,615.19
isc Personal Servi ces
1 /06/15   Debit Card Purchase 11/04 10:36p #3365        PANDA EXPRESS #1 607      THOUSAND OAKS CA 15309      10.32                       2,604.87
estauranVBar
1 /06/15   Debit PIN Purchase 09:391)_ #3365      TJ TJ MAXX         WESTLAKE     CAUS02156                   103.46                       2,501.41
1/06/15    Debit PIN Purchase 09:01 _I)_ #3365    RITE AID STORE - 5539 AGOURA HILLS CAUS80159                 35.57                       2,465.84
1 /09/15   Reversal of Debit PIN Purchase    ROSS STORES #16          THOUSAND OAKSCAUS02053                                  26.86        2,492.70
1/09/15    Deposit Teller                                                                                                 11 ,000.00      13,492.70
1/09/15    Debit PIN Purchase 11/08 03:24_1)_ #3365     ?-ELEVEN          CALABASAS     CAUS00155               50.00                     13,442.70
1 /09/15   Transfer                                                                                         4,573.83                       8,868.87
1 /09/15   Cash Withdrawal 06:20_1)_ #3365 Teller                                                           5,446.70                       3,422 .17
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                                  Amount Subtracted   Amount Added       Balance
1/09/15    Debit Card Purchase 11/04 05:02p #3365        IN *INTERSTATE VAPE IN 323-2475524 CA 15310              174.18                         3,247.99
pecialty Retail stores
1 /09/15   Debit Card Purchase 11 /05 12:08p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15310               8.00                        3,239.99
estauranVBar
1/09/15    Cash Withdrawal on 11/081 03:20_1)_ #3365     ATM 4919 LAS VIRGENES RD CALABASAS           CAUS021     300.00                         2,939.99
1/09/15    Cash Withdrawal on 11/081 03:21 _I)_ #3365    ATM 4919 LAS VIRGENES RD CALABASAS           CAUS021     200.00                         2,739.99
1/09/15    Debit PIN Purchase 11/08 07:43_1)_ #3365     COSTCO WHSE #0117       WESTLAKE VILLCAUS02153            156.80                         2,583.19
1/09/15    Debit PIN Purchase 11/06 10:45_1)_ #3365     ROSS STORES #16        THOUSAND OAKSCAUS02053             117.08                         2,466.11
1/09/15    Debit PIN Purchase 11/07 04:17_1)_ #3365     PETSMART INC 103       WESTLAKE VILLCAUS02159              71.22                         2,394.89
1/09/15    Debit PIN Purchase 11/07 03:34_1)_ #3365     CVS/PHARMACY #09 09751-Agoura       CAUS02159              65.00                         2,329.89
1/09/15    Debit PIN Purchase 11 /06 11 :12_1)_ #3365   PARKWAY KABOB & GRILL CALABASAS        CAUS02158           37.93                         2,291.96
1/09/15    Debit PIN Purchase 11 /08 04:42p #3365                                                                  21.94                         2,270.02
HEVRON/FARHAD MONADJEMWESTLAKE VILLCAUS02155
1/10/15    Debit Card Purchase 11/07 02:53p #3365        SQ *PACIFIC COMPUTERS Calabasas      CA 15313            206.00                         2,064.02
isc Personal Services
1/10/15    Debit Card Purchase 11 /05 01 :31 p #3365                                                                45.00                        2,019.02
CHROEDER AND SCHROEDE AGOURA HILLS CA 15311
edical Services
1/10/15    Debit Card Purchase 11 /07 01 :11 a #3365     EDWARDS CALABASAS STDM CALABASAS              CA 15311     24.00                        1,995.02
ecreational Services
1/10/15    Debit Card Purchase 11/05 04:13p #3365        SANTA FE CAFE         CALABASAS    CA 15311                18.96                        1,976.06
estauranVBar
1/10/15    Debit Card Purchase 11/07 11 :18p #3365       CALABASAS MARKET & LIQ CALABASAS            CA 15313       17.95                        1,958.11
estauranVBar
1/10/15    Debit Card Purchase 11 /06 11 : 14p #3365     CALABASAS MARKET & LIQ CALABASAS            CA 15313       17.59                        1,940.52
estauranVBar
1/10/15    Debit Card Purchase 11/05 09:57p #3365        CALABASAS MARKET & LIQ CALABASAS            CA 15311       16.34                        1,924.18
estauranVBar
1/10/15    Debit Card Purchase 11/05 04:16p #3365        CAFE OLE           CALABASAS    CA 15311                   14.25                        1,909.93
estauranVBar
1/10/15    Debit Card Purchase 11/08 03:28p #3365        STARBUCKS #05858 CALAB Calabasas      CA 15313             12.10                        1,897.83
estauranVBar
1/10/15    Debit Card Purchase 11/08 03:36p #3365        STARBUCKS #05858 CALAB Calabasas      CA 15313              6.70                        1,891.13
estauranVBar
1 /12/15   Debit PIN Purchase 11 /11 06:30p #3365                                                                   64.50                        1,826.63
HEVRON/G&W VENTURES INCALABASAS      CAUS00155
1/12/15    Debit Card Purchase 11/1012:12a#3365                                                                    139.52                        1,687.11
ERCADO ON CAHUENGA LL LOS ANGELES CA 15314
estauranVBar
1 /12/15   Debit Card Purchase 11 /09 03:05a #3365       JACK IN THE BOX #31 OPS CALABASAS      CA 15314            15.63                        1,671.48
estauranVBar
1/12/15    Debit Card Purchase 11/09 07:04p #3365        STARBUCKS #00635 AGOUR Agoura        CA 15314               5.80                        1,665.68
estauranVBar
1/12/15    Debit PIN Purchase 11/11 06:49_1)_ #3365     THE UPS STORE #1093     CALABASAS    CAUS02173              55.84                        1,609.84
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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ontinued   Date          Descrip_tion                                                                          Amount Subtracted     Amount Added         Balance
1 /12/15     Debit PIN Purchase 11/11 06:29p #3365                                                             5.53                          1,604.31
HEVRON/G&W VENTURES INCALABASAS         CAUS02155
1/13/15      Debit Card Purchase 11/08 09:03p #3365        MEDITERRANEAN PITA GRI CALABASAS       CA 15315    42.44                         1,561 .87
estauranVBar
1 /13/15     Debit Card Purchase 11/10 01 :33p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15315      29.25                         1,532.62
estauranVBar
1 /13/15     Debit Card Purchase 11 /11 03:29a #3365       JACK IN THE BOX #31 QPS CALABASAS     CA 15316     26.21                         1,506.41
estauranVBar
1 /13/15     Debit Card Purchase 11/10 02:02a #3365        101 SMOKE SHOP       LOS ANGELES CA 15315          13.07                         1,493.34
pecialty Retail stores
1 /13/15     Debit Card Purchase 11/10 02:04a #3365        101 SMOKE SHOP       LOS ANGELES CA 15315          10.89                         1,482.45
pecialty Retail stores
1/13/15      Debit Card Purchase 11/11 01 :10p #3365       STARBUCKS #11603 WOODLWoodland Hill CA 15316        8.65                         1,473.80
estauranVBar
1/13/15      Debit Card Purchase 11/11 02:18p #3365        STARBUCKS #11603 WOODLWoodland Hill CA 15316        8.20                         1,465.60
estauranVBar
1/13/15      Debit Card Purchase 11/11 12:05p #3365        STARBUCKS #11603 WOODLWoodland Hill CA 15316        5.40                         1,460.20
estauranVBar
1 /13/15     Debit PIN Purchase 08:50!) #3365 BANFIELD 0103          WESTLAKE VILLCAUS02007                  535.58                              924.62
1 /13/15     Debit PIN Purchase 11 /12 11 :56p #3365                                                         205.55                              719.07
EDBATH&BEYOND# BEDBATHTHOUSAND OAKSCAUS02157
1 /13/15     Debit PIN Purchase 12:34a #3365 #06335 ALBERTSON$          CALABASAS     CAUS02154               18.34                              700.73
1 /16/15     Debit PIN Purchase 11 /13 11 :15p #3365                                                          27.25                              673.48
ALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155
1 /16/15     Debit PIN Purchase 11/13 10:49_1)_ #3365    MIKE PLY         THOUSAND OAKSCAUS00155              13.75                              659.73
1 /16/15     Debit Card Purchase 11/11 05:25p #3365        SUBWAY     00515866 AGOURA HILLS CA 15317          22.18                              637.55
estauranVBar
1 /16/1 5    Debit Card Purchase 11 /13 12:23a #3365      JACK IN THE BOX #31 QPS CALABASAS      CA 1531 7    19.77                              617.78
estauranVBar
1/16/15      Debit PIN Purchase 11/14 12:34a #3365       GELSON'S MARKETS #5     TARZANA     CAUS02154        45.37                              572.41
1/16/15      Debit PIN Purchase 11/13 10:48_1)_ #3365    MIKE PLY         THOUSAND OAKSCAUS02155               3.24                              569.17
1/17/15      Dep_osit Teller                                                                                                150.00               719.17
1 /17/15     Cash Withdrawal 02:32_1)_ #3365 Teller                                                          100.00                              619.17
1/17/15      Debit Card Purchase 11/14 02:14p #3365        PROVTARZANA CAFETERIA TARZANA          CA 15320     7.90                              611.27
ood & Beverages
1 /18/15     Dep_osit    Teller                                                                                          22,000.00         22,611 .27
1 /18/15     Debit PIN Purchase 06:55_1)_ #3365 SHELL Service Station WOODLAND HILLCAUS00155                  38.00                        22,573.27
1/18/15      Debit Card Purchase 11/14 06:26p #3365 TOBACCO ROYALE             CALADASAS    CA 15321           5.75                        22,567.52
pecialty Retail stores
1 /18/15     Debit Card Purchase 11 /1 6 03:26p #3365      STAPLES    00113472 BURBANK      CA 15321           1.73                        22,565.79
p_ecialty Retail stores
1/18/15      Debit PIN Purchase 01 :22_1)_ #3365    ABC COMPOUNDING PHARMA ENCINO         CAUS05159          52.95                         22,512.84
                                                                                                                                                                                             Case 1:17-ap-01099-VK




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1 /19/15   Debit PIN Purchase 02:38p_ #3365 ?-ELEVEN         CALABASAS      CAUS00155                     36.67                          22,476.17
1 /19/15   Debit Card Purchase 11/16 08:15p #3365 CANYON     MEDICAL CENT     Newbury Park CA 15322      132.00                          22,344.17
edical Services
1 /20/15   Debit Card Purchase 11 /18 05:38p #3365   BEAUTYHABIT        WESTLAKE VILL CA 15323           112.61                         22,231 .56
pecialty Retail stores
1 /20/15   Debit Card Purchase 11 /18 03:15p #3365   BOBBYS COFFEE SHOP       WOODLAND HILL CA 15323       31 .13                       22,200.43
estauranVBar
1 /23/15   Reversal of Debit PIN Purchase BEDBATH&BEYOND# BEDBATHWOODLAND HILLCAUS02157                                   28.42         22,228.85
1 /23/15   Dep_osit on 11 /21 1 Teller                                                                                 2,000.00         24,228.85
1 /23/15   Dep_osit Teller                                                                                             3,000.00         27,228.85
1/23/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 336025196                                         65.16                       27,163.69
1 /23/15   Debit PIN Purchase 05:27p_ #3365 ARCO #42146          WOODLAND HILLCAUS00155                     54.85                       27,108.84
1/23/15    Debit PIN Purchase 11/21 08:34_1)_ #3365 SHELL Service Station AGOURA CAUS00155                  28.50                       27,080.34
1 /23/15   Cash Withdrawal 06:03p #3365 Teller                                                           1,000.00                       26,080.34
1 /23/15   Cash Withdrawal 06:00p_ #3365 Teller                                                            126.81                       25,953.53
1 /23/15   Debit Card Purchase 11 /18 03:31 p #3365 CANYON MEDICAL CENT Newbury Park CA 15324               92.00                       25,861.53
edical Services
1/23/15    Debit Card Purchase 11 /19 12:39g #3365                                                         73.93                        25,787.60
LU JAM CAFE MULHOLLAN WOODLAN   HILL CA 15324
estauranVBar
1/23/15    Debit Card Purchase 11 /18 06:54p #3365   SHELL OIL 57444584700 WOODLAND HILL CA 15324          36.87                        25,750.73
utos (rental, service, gas)
1/23/15    Debit Card Purchase 11 /19 10:27p #3365   GREEN BASIL THAI RESTA CALABASAS      CA 15324        35.97                        25,714.76
estauranVBar
1/23/15    Debit Card Purchase 11/18 02:37p #3365    IN *INTERSTATE VAPE IN 323-2475524 CA 15324           13.08                         25,701.68
pecialty Retail stores
-
1/23/15    Debit PIN Purchase 06:34p_ #3365 GELSON'S MARKETS #11 CALABASAS CAUS02154                       174.99                        25,526.69
1/23/15    Debit PIN Purchase 06:53p_ #3365 GELSON'S MARKETS #11 CALABASAS CAUS02154                       157.58                        25,369.11
1/23/15    Debit PIN Purchase 11/21 02:05p_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159              27.86                        25,341.25
1/24/15    ACH Electronic Debit CA541 -Avalon C WEB PMTS QTNBP3                                             35.00                        25,306.25
1/24/15    ACH Electronic Debit 041790 Malibu Ca WEB PMTS LHDCK2                                         1,950.34                        23,355.91
1/24/15    Debit Card Purchase 11/20 01 :48p #3365 SEA BREEZE DENTAL CARE AGOURA HILLS        CA 15325   2,000.00                        21,355.91
edical Services
1/24/15    Debit Card Purchase 11/22 08:12p #3365    JOHN VARVATOS MALIBU MALIBU         CA 15327        1,741.82                        19,614.09
pecialty Retail stores
1/24/15    Debit Card Purchase 11/20 09:47p #3365    USA SDRY 921 3RD ST PR SANTA MONICA CA 15325         260.06                         19,354.03
pecialty Retail stores
1/24/15    Debit Card Purchase 11/20 04:11 p #3365   T-MOBILE IVR PAYMENT 800-937-8997 WA 15325           224.52                         19,129.51
hones, Cable & Utilities
1/24/15    Debit Card Purchase 11/18 11 :15p #3365   GRISSINI RISTORANTE     AGOURA HILLS CA 15325        175.80                         18,953.71
estauranVBar
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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1/24/15    Debit Card Purchase 11 /22 03:05a #3365      DAN TANA         WEST HOLLYWOO CA 15327            175.00                          18,778.71
estaurant/Bar
1/24/15    Debit Card Purchase 11/22 01 :52a #3365                                                         129.00                         18,649.71
ROUBADOUR ENTERPRISES WEST HOLLYWOO CA 15327
estaurant/Bar
1/24/15    Debit Card Purchase 11/1911:10p #3365        AGOURA HILLS STADIUM 8AGOURAHILLS CA 15325           74.50                        18,575.21
ecreational Services
1/24/15    Debit Card Purchase 11/22 03:53a #3365       PADRI ITALIAN CUISINE AGOURA HILLS CA 15327          47.06                        18,528.15
estaurant/Bar
1/24/15    Debit Card Purchase 11 /21 01 :57p #3365     KS JEWELERS         AGOURA HILLS CA 15327            30.00                        18,498.15
pecialty Retail stores
1/24/15    Debit Card Purchase 11/22 04:25p #3365       DELTA 0060162271623 LOS ANGELES CA 15327             29.00                        18,469.15
irlines & Airports
1 /24/15   Debit Card Purchase 11 /21 08:35p #3365      SHELL OIL 57444585103 AGOURA          CA 15327       26.29                        18,442.86
utos (rental, service, gas)
1/24/15    Debit Card Purchase 11/22 04:28p #3365       DELTA 0068202165918 LOS ANGELES CA 15327             25.00                        18,417.86
irlines & Airports
1/24/15    Debit Card Purchase 11/21 11 :01 p #3365     MCDONALD'S F3685      STUDIO CITY CA 15327           19.67                        18,398.19
estaurant/Bar
1/24/15    Debit Card Purchase 11 /19 03:26p #3365      JERRY'S FAMOUS DELI    WOODLAND HILL CA 15325        14.12                        18,384.07
estaurant/Bar
1/24/15    Debit Card Purchase 11/21 03:10p #3365       STARBUCKS #05858 CALAB Calabasas        CA 15327      9.75                        1-8,37:1-.32
estaurant/Bar
1/24/15    Debit Card Purchase 11/22 02:17p #3365       COFFEE BEAN STORE      WOODLAND HILL CA 15327         9.58                        18,364.74
estaurant/Bar
1/24/15    Debit Card Purchase 11 /21 12:43p #3365                                                            6.97                        18,357.77
HOUSAND OAKS TOYOTA THOUSANO OAKS CA 15327
utos (rental , service, gas)
1/24/15    Debit Card Purchase 11/21 08:01 p #3365      STARBUCKS #05858 CALAB Calabasas        CA 15327      2.45                        18,355.32
estauran t/Bar
1/24/15    Debit PIN Purchase 02:251) #3365      BEST BUY #116      CANOGA PARK CAUS80157                  362.40                         17,992.92
1/24/15    Debit PIN Purchase 05:301)_ #3365     IPHONEFIX1        AGOURA HILLS CAUS05176                  146.74                         17,846.18
1/24/15    Debit PIN Purchase 07:54_1)_ #3365    #06335 ALBERTSONS     CALABASAS    CAUS02154              103.95                         17,742.23
1/25/15    Transfer                                                                                        329.39                         17,412.84
1/25/15    Debit Card Purchase 11 /22 11 :17p #3365     THE OLD PLACE INC     AGOURA HILLS CA 15328        317.50                         17,095.34
estaurant/Bar
1/25/15    Debit Card Purchase 11/22 02:12p #3365       JERRY'S FAMOUS DELI    WOODLAND HILL CA 15328        27.30                        17,068.04
estaurant/Bar
1 /25/15   Cash Withdrawal 11 :57a #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                        200.00                         16,868.04
1 /27/15   Debit Card Purchase Return 11 /24 #3365 BEST BUY 00001164 CANOGA PARK               CA 15329                     29.91         16,897.95
pecialty Retail stores
1/27/15    Debit PIN Purchase 10:21 p #3365 SHELL Service Station AGOURA         CAUS00155                   49.92                        16,848.03
1/27/15    Debit Card Purchase 11/23 02:59p #3365 HUGOS AGOURA HILLS             AGOURA HILLS CA 15329       68.35                        16,779.68
estaurant/Bar
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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1/27/15    Debit Card Purchase 11/24 06:35p #3365             CLEO HAIR SALON       OAK PARK     CA 15329                 60.00                       16,719.68
isc Personal Services
1/27/15    Debit Card Purchase 11/24 03:46p #3365             STARBUCKS #05858 CALAB Calabasas      CA 15329              29.10                       16,690.58
estauranVBar
1/27/15    Debit Card Purchase 11/24 12:47p #3365             STARBUCKS #11603 WOODL Woodland Hill CA 15329               17.25                       16,673.33
estauranVBar
1 /27/15   Debit Card Purchase 11 /24 09:33p #3365            JACK IN THE BOX #31 QPS CALABASAS     CA 15329              11 .63                      16,661.70
estauranVBar
1/27/15    Debit Card Purchase 11/24 06:01 p #3365            BEANSCENE CAFE WINE BA OAK PARK        CA 15329              6.75                       16,654.95
estauranVBar
1/27/15    Debit   PIN     Purchase  11/26 05:05_1)_ #3365   #06335 ALBERTSONS      CALABASAS     CAUS02154               87.65                       16,567.30
1/27/15    Debit   PIN     Purchase  11/26 10:51 a #3365     GELSON'S MARKETS #11    CALABASAS     CAUS02154              51 .75                      16,515.55
1 /30/15   Debit   PIN     Purchase  11 /29 04:19p #3365     ?-ELEVEN        CALABASAS    CAUS00155                       32.00                       16,483.55
1/30/15    Debit   PIN     Purchase  11 /28 06:02p #3365                                                                  16.01                       16,467.54
HEVRON/ REGENT PROPERTYWOODLAND HILLCAUS00155
1/30/15    Cash Withdrawal 04:54_1)_ #3365 Teller                                                                     5,150.03                        11,317.51
1/30/15    Debit Card Purchase 11/24 06:29p #3365             NORTH RANCH SELF STORA 08182233500 CA 15330               166.50                        11,151 .01
isc Business Services
1/30/15    Debit Card Purchase 11/24 06:32p #3365             NORTH RANCH SELF STORA 08182233500 CA 15330               161.10                        10,989.91
isc Business Services
1/30/15    Debit Card Purchase 11/24 07:17p #3365                                                                         45.00                       10,944.91
CHROEDER AND SCHROEDE AGOURA HILLS CA 15330
edical Services
1 /30/15   Debit Card Purchase 11 /25 07:46p #3365            JACK IN THE BOX #03QPS WOODLAND HILL CA 15330               33.41                       10,911.50
estauranVBar
1 /30/15   Debit Card Purchase 11 /25 12:28p #3365            STARBUCKS #11603 WOODL Woodland Hill CA 15330               28.15                       10,883.35
estauranVBar
1 /30/15   Debit Card Purchase 11 /25 12:03p #3365            STARBUCKS #11603 WOODL Woodland Hill CA 15330               17.35                       10,866.00
estauranVBar
1 /30/15   Debit PIN Purchase 11 /28 11 :55_1)_ #3365 TARGET T-2810 30740 RusWestlake VillCAUS05154                     765.81                        10,100.19
1/30/15    Debit PIN Purchase 11/28 06:23_1)_ #3365 CVS/PHARMACY #09 09751-Agoura         CAUS02159                      70.00                        10,030.19
1 /30/15   Debit Pl N Purchase 12: 15a #3365 CVS/ PHARMACY #09 09715-Thousand OaksCAUS02159                              35.24                         9,994.95
1/30/15    Debit PIN Purchase 11/28 03:55_1)_ #3365 STAL ANNEX #170       AGOURA HILLS CAUS02194                         21 .58                        9,973.37
1/30/15    Debit PIN Purchase 11/28 04:11 i:>_ #3365 CVS/PHARMACY #09 09751-Agoura        CAUS02159                      16.90                         9,956.47
1/30/15    Debit PIN Purchase 11/29 04:18_1)_ #3365 ?-ELEVEN          CALABASAS CAUS02155                                 8.53                         9,947.94
1/30/15    Debit PIN Purchase 04:19_1)_ #3365 PARK WEST PHARMACY INC WEST HILLS CAUS02159                                 6.25                         9,941.69
1 /30/15   Interest for 29 days, Annual Percentage Yield Earned 0.03%                                                                     0.28         9,941.97
otal Subtracted/Added                                                                                     53,883.17      60,235.47
1 /30/15   Closing Balance                                                                                                                              9,941.97
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                      Case 1:17-ap-01099-VK




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oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
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itibank®           Citibank® Savings Plus 42002622506
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ccount Activity    Date        Descrip_tion                                                                              Amount Subtracted     Amount Added   Balance
1/01/15     Opening Balance                                                                                                                    139.66
1/30/15     Closing Balance                                                                                                                  . 139.66

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ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period         This Period   I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                9,941.97           1,520.99             Checking                             0.07        1.04
avin s                                                                                         Savings
nsured Money Market Accounts                            139.66              139.66             Insured Money Market Accounts       0.00        2.06
itigold Relationship Total                          $10,081.63            $1,660.65            Citigold Relationship Total         $0.07       $3.10
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
f you have a Citibank(R) Savings Plus Account, Citibank(R) Money Market Plus Account, Citibank (R) Ultimate Savings
ccount, Preferred Money Market Account, or an Insured Money Market Account. The previously communicated
hange in interest calculation for these accounts effective March 21, 2016 has changed to March 7, 2016. At that time
f the account is closed before the end of the monthly statement period, interest will be paid for the number of days the
ccount was open during the period in accordance with the daily balance method effective March 7, 2016.
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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ees & Rates Detall
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of November in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on
ther statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                             Your Combined Balance Range
10 000-$24 999
ates                                                               Preferred
onthly Service Charge                                                $30.00(Waived)                                               .j~1.
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ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
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ate         Descrip_tion                                                                                         Amount Subtracted    Amount Added         Balance
2/01/15    Opening Balance                                                                                                                            9,941.97
2/01/15    Dep_osit Teller                                                                                                                760.00     10,701 .97
2/01/15    Debit PIN Purchase 07:21 fl_ #3365 SH ELL Service Station    CALABASAS     CAUS00155                           39.05                      10,662.92
2/01 /15   Cash Withdrawal 06:06_1)_ #3365 Teller                                                                        200.00                      10,462.92
2/01/15    Debit Card Purchase 11/29 01 :14a #3365                                                                       190.53                      10,272.39
OAR DOUGH TASTING ROO AGOURA HILLS CA 15334
estaurant/Bar
2/01 /15   Debit Card Purchase 11 /27 10:04p #3365        WESTLAKE INN-BOGIES        WESTLAKE VLG CA 15334               121 .62                     10,150.77
estaurant/Bar
2/01 /15   Debit Card Purchase 11 /28 06:34p #3365         ITALIA DELI & BAKE    AGOURA HILLS CA 15334                      81.97                    10,068.80
estaurant/Bar
2/01 /15   Debit Card Purchase 11 /27 10:29p #3365        LAL MIRCH          AGOURA HILLS CA 15332                          17.44                    10,051.36
estaurant/Bar
2/01 /15   Debit Card Purchase 11 /28 05:09p #3365         STARBUCKS #11603 WOODL Woodland Hill CA 15334                    10.20                    10,041 .16
estaurant/Bar
2/01 /15   Debit Card Purchase 11 /27 10:40p #3365        CALABASAS MARKET & LIQ CALABASAS          CA 15334                 9.47                    10,031.69
estaurant/Bar
2/01/15    Debit Card Purchase 11/28 04:41 p #3365         STARBUCKS #11603 WOODL Woodland Hill CA 15334                     9.00                    10,022.69
estaurant/Bar
2/01/15    Debit PIN Purchase 12:27a #3365         TJTJ MAXX        WESTLAKE      CAUS02156                              367.71                         9,654.98
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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ontinued   Date        Descri.E>_tion                                                                                    Amount Subtracted   Amount Added           Balance
2/01/15    Debit PIN Purchase 07:49_1)_ #3365     THE UPS STORE #1093      CALABASAS     CAUS02173                      25.86                            9,629.12
2/01/15    Debit PIN Purchase 02:11 _I)_ #3365    FRY'S ELECTRONICS      #OWOODLAND HLS CAUS02157                       16.34                            9,612.78
2/01/15    Debit PIN Purchase 01 :46a #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                       16.25                            9,596.53
2/01/15    Debit PIN Purchase 12:51 a #3365 RITE AID STORE -5539 AGOURA HILLS CAUS80159                                 13.96                            9,582.57
2/02/15    Reversal of Debit PIN Purchase TARGET T-2810 30740 RusWestlake Vi11CAUS05154                                               122.67             9,705.24
2/02/15    Debit PIN Purchase 12/01 10:51 p #3365       SHELL Service Station AGOURA        CAUS00155                 30.90                              9,674.34
2/02/15    Cash Withdrawal 04:43_1)_ #3365 Teller                                                                    400.00                              9,274.34
2/02/15    Debit Card Purchase 11 /28 08:24p #3365       STORE IT MOBILE        WESTLAKE VI CA 15335                 185.00                              9,089.34
isc Business Services
2/02/15    Debit Card Purchase 11/25 #3365        CJ WILSON MAZDA OF VEN VENTURA          CA 15335                   103.11                             8,986.23
utos {rental, service, gas)
2/02/15    Cash Withdrawal 01 :26p_ #3365 Non Citi ATM HSBC            ENCINO    CAUS051                               23.00                            8,963.23
2/02/15    Debit PIN Purchase 12/01 10:551)_ #3365 SHELL Service Station AGOURA      CAUS02155                         11.08                            8,952.15
2/03/15    ACH Electronic Debit CA541 -Avalon C WEB PMTS 5TJLQ3                                                     1,366.00                            7,586.15
2/03/15    Debit PIN Purchase 12/02 11 :08_1)_ #3365 ADOBE PETROLEUM INC AGOURA           CAUS00155                    70.90                            7,515.25
2/03/15    Debit Card Purchase 11 /30 06:09p #3365 FOUR SEASONS WLAKE FB WESTLAKE VILL CA 15336                        19.17                            7,496.08
estauranVBar
2/03/15    Debit Card Purchase 11 /30 03 :53p #3365      SUBWAY          00203786 WEST HILLS    CA 15336                17.94                           7,478.14
estauran VBar
2/03/15    Debit Card Purchase 12/01 01 :33p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15336                   4.75                           7,473.39
estauranVBar
2/03/15    Cash Withdrawal 12:35p_ #3365 Citibank ATM 3967 - 1000 OKS , W LKE VL, CA                                 300.00                             7,173.39
2/03/15    Debit PIN Purchase 09:09_1)_ #3365 CVS/PHARMACY #09 09751-Agoura           CAUS02159                       97.79                             7,075.60
2/03/15    Debit PIN Purchase 09:1Op_ #3365 CVS/PHARMACY #09 09751-Agoura             CAUS02159                       50.00                             7,025.60
2/04/15    Debit Card Purchase Return 12/01 #3365                                                                                      77.39            7,102.99
ED BATH & BEYOND #138 THOUSAND OAKS CA 15337
pecialty Retail stores
2/04/15    Debit PIN Purchase 12/03 11 :04_1)_ #3365    SHELL Service Station CALABASAS      CAUS00155                36.00                             7,066.99
2/04/15    Debit Card Purchase 12/01 06:43p #3365        SUR LA TABLE THOUSNDOA NORTH RIDGE              CA 15337    123.63                             6,943.36
pecialty Retail stores
2/04/15    Debit Card Purchase 12/02 12:23a #3365        JEANNINE   s         WESTLAKE VLG CA 15337                     77.46                           6,865.90
estauranVBar
2/04/15    Debit Card Purchase 12/02 03:01 p #3365       VENTURA w. CAR WASH         WOODLAND HLLS CA 15337             74.88                           6,791.02
utos {rental, service, gas)
2/04/15    Debit Card Purchase 12/01 12:05p #3365        HUGOS AGOURA HILLS          AGOURA HILLS CA 15337              66.68                           6,724.34
estauranVBar
2/04/15    Debit Card Purchase 12/02 02:36p #3365                                                                       54.10                           6,670.24
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 15337
estauranVBar
2/04/15    Debit Card Purchase 11 /30 #3365       MEDITERRANEAN PITA GRI CALABASAS          CA 15337                    49.00                           6,621.24
estauranVBar
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2/04/15    Debit Card Purchase 12/02 12:28a #3365            JEANNINE    s      WESTLAKE VLG CA 15337              42.70                            6,578.54
estauranVBar
2/04/15    Debit Card Purchase 12/02 05:33p #3365            BEAUTYHABIT         WESTLAKE VI LL CA 15337           32.25                           6,546.29
pecialty Retail stores
2/04/15    Debit Card Purchase 12/02 12:53p #3365            FREDRIC E WEISS M D I 818-5014277 CA 15337            30.00                           6,516.29
edical Services
2/04/15    Debit Card Purchase 12/01 04:53p #3365            CORNER BAKERY          THOUSAND OAKS CA 15337         14.86                           6,501.43
estauranVBar
2/07/15    Debit PIN Purchase 12/06 03:49_1)_ #3365         SHELL Service Station ONTARIO    CAUS00155             55.00                           6,446.43
2/07/15    Debit PIN Purchase 12/06 05:59_1)_ #3365         SHELL Service Station WESTMORLAND CAUS00155            27.00                           6,419.43
2/07/15    Debit Card Purchase 12/02 10:48p #3365            GRISSINI RISTORANTE     AGOURA HILLS CA 15338        212.65                           6,206.78
estauranVBar
2/07/ 15   Debit Card Purchase 12/03 09:14p #3365            AGOURA MEADOWS HEALTH AGOURA             CA 15338     49.31                           6,157.47
ood & Bevera.9.es
2/07/15    Cash Withdrawal on 12/061 08:27p #3365                                                                 303.50                           5,853.97
on Ctti ATM 450 QUECHAN ROAD        WINTERHAVEN CAUS021
2/07/15    Debit PIN Purchase 12/06 03:44_1)_ #3365 TA ONTARIO            ONTARIO CAUS02155                          8.01                          5,845.96
2/07/15    Debit PIN Purchase 12/06 06:03_1)_ #3365 SHELL Service Station WESTMORLAND CAUS02155                      4.23                          5,841.73
2/08/15    Debit PIN Purchase 01 :23a #3365 SHELL Service Station CALIMESA CAUS00155                                56.00                          5,785.73
2/08/15    Cash Withdrawal 02:34_1)_ #3365 Teller                                                                1,260.00                          4,525.73
2/08/15    Cash Withdrawal 02:40_1)_ #3365 Teller                                                                  130.23                          4,395.50
2/08/15    Debit Card Purchase 12/03 10:40p #3365 AL MULINO EATALIAN BAK THOUSAND OAKS CA 15339                    190.98                          4,204.52
estauranVBar
2/08/15    Debit Card Purchase 12/06 02:30p #3365            LEO AND LILY       WOODLAND HILL CA 15341             40.17                           4,164.35
estauranVBar
2/08/15    Debit Card Purchase 12/03 01 :13p #3365           AL MULINO EATALIAN BAK THOUSAND OAKS CA 15339         26.79                           4,137.56
estauranVBar
2/08/15    Debit Card Purchase 12/04 11 :07a #3365           DELKIND INC        AGOURA HILLS CA 15339              20.44                           4,117.12
utos (rental, service, gas)
2/08/15    Debit Card Purchase 12/03 04:05p #3365            CALABASAS MARKET & LIQ CALABASAS       CA 15339       10.88                           4,106.24
estauranVBar
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2/08/15    Debit PIN Purchase 09:48_1)_ #3365 TJ TJ MAXX        WESTLAKE CAUS02156                                  47.74                          4,058.50
2/08/15    Debit PIN Purchase 09:48_1)_ #3365 TJ TJ MAXX        WESTLAKE CAUS02156                                  29.43                          4,029.07
2/08/15    Debit PIN Purchase 01 :20a #3365 SHELL Service Station CALIMESA CAUS02155                                 7.54                          4,021.53
2/09/15    ACH Electronic Debit WELLS FARGO CARD PHONE PYMT                                                        196.00                          3,825 .53
2/09/15    ACH Electronic Debit BARCLAYCARD us CREDITCARD 339396120                                                462.57                          3,362.96
2/09/15    Debit Card Purchase 12/06 09:34p #3365                                                                  101.26                          3,261.70
RONWOOD STEAKHOUSE            WINTERHAVEN   CA 15342
estauranVBar
2/09/15    Debit Card Purchase 12/07 08:14p #3365            PROMASTEC 1          MEXICALI BCN MEX15342            19.60                           3,242.10
ood & Beverages
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2/09/15      Debit Card Purchase 12/08 01 :28a #3365        MCDONALD'$ F10825      CALIMESA     CA 15342        13.56                              3,228.54
estauranVBar
2/09/15      Debit PIN Purchase 12/08 11 :02_1)_ #3365    TARGET T-2810 30740 RusWestlake VillCAUS05154       170.84                              3,057.70
2/09/15      Debit   PIN Purchase 12/08 10:32_1)_ #3365 COSTCO WHSE #0117 WESTLAKE VILLCAUS02153              128.68                              2,929.02
2/09/15      Debit   PIN Purchase 12/08 11 :15p_ #3365 TARGET T-2810 30740 RusWestlake VillCAUS05154           89.32                              2,839.70
2/09/15      Debit   PIN Purchase 07:53p_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159                   54.49                              2,785.21
2/09/15      Debit   PIN Purchase 07:52p #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159                    41 .92                             2,743.29
2/09/15      Debit   PIN Purchase 07:57p_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159                   38.87                              2,704.42
2/10/15      Debit   Card Purchase 12/07 09:28p #3365                                                          84.00                              2,620.42
RONWOOD STEAKHOUSE          WINTERHAVEN   CA 15343
estauranVBar
2/10/15      Debit Card Purchase 12/08 04:29p #3365         BOBBYS COFFEE SHOP       WOODLAND HILL CA 15343     30.03                             2,590.39
estauranVBar
2/10/15      Debit Card Purchase 12/08 05:56p #3365         STARBUC KS #11603 WOODL Woodland Hill CA 15343       9.95                             2,580.44
estauranVBar
2/10/15      Debit PIN Purchase 08:20p_ #3365 SPENCER GIFTS #2172 THOUSAND OAKSCAUS02159                       48.33                              2,532.11
2/10/15      Debit PIN Purchase 08:25p_ #3365 URBAN OUTFITIERS 310 WETHOUSAND OAKSCAUS02156                    25.80                              2,506.31
2/11 /15     Debit Card Purchase 12/08 11 :59p #3365 JEANNINE S       WESTLAKE VLG CA 15344                   115.01                              2,391 .30
estauranVBar
2/11/15      Debit Card Purchase 12/09 01 :09p #3365        STARBUCKS #11603 WOODL Woodland Hill CA 15344       14.25                             2,377.05
estauranVBar
2/ 11 /15    Debit PIN Purchase 09:55p_ #3365 #06335 ALBERTSON$ CALABASAS CAUS02154                           115.29                              2,261.76
2/11 /15     Debit PIN Purchase 03:14p_ #3365 GELSON'S MARKETS #11 CALABASAS CAUS02154                         53 .61                             2,208.15
2/ 11 /15    Debit PIN Purchase 05:08p_ #3365 OREILLY AUTO PARTS 4327THOUSAND OAKSCAUS02155                    51 .57                             2,156.58
2/11 /15     Debit PIN Purchase 09:00p #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159                      30.50                              2,126.08
2/14/15      Deposit on 12/121 Teller                                                                                         200.00              2,326.08
2/14/15      Dep_osit on 12/121 Teller                                                                                        350.36              2,676.44
2/14/15      Cash Withdrawal on 12/121 04:53p_ #3365 Teller                                                   435.17                              2,241.27
2/14/15      Debit Card Purchase 12/10 08:34p #3365 LOLLI AND POPS TH THOUSAND OAKS CA 15345                    61 .93                            2,179.34
ood & Beverages
2/14/15      Debit Card Purchase 12/10 09:20p #3365         GREEN BASIL THAI RESTA CALABASAS       CA 15345     27.25                             2,152.09
estauranVBar
2/14/15      Debit PIN Purchase 12/13 05:09p_ #3365       COSTCO WHSE #0117        WESTLAKE VILLCAUS02153     365.55                              1,786.54
2/14/15      Debit PIN Purchase 12/13 05:471)_ #3365 VONS Store 2001 AGOURA           CAU S02154              205.57                              1,580.97
2/15/15      Debit PIN Purchase 08:09p_ #3365 SHELL Service Station AGOURA     CAUS00155                       18.53                              1,562.44
2/15/15      Debit Card Purchase 12/13 03:59p #3365 ATI*BILL PAYMENT        800-288-2020 TX 15348             212.28                              1,350.16
hones, Cable & Utilities
2/15/15      Debit Card Purchase 12/13 04:01 p #3365        CHOCOLATI NE         THOUSAND OAKS CA 15348       108.05                              1,242.11
estauranVBar
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2/15/15    Debit Card Purchase 12/11 02:44g #3365                                                            50.46                                 1,191 .65
LU JAM CAFE MULHOLLAN WOODLAN     HILL CA 15348
estauranVBar
2/15/15    Debit Card Purchase 12/12 05:19p #3365       ITALIA DELI & BAKE    AGOURA HILLS CA 15348          31.45                                 1,160.20
estauranVBar
2/15/15    Debit Card Purchase 12/09 #3365      MEDITERRANEAN PITA GRI CALABASAS        CA 15346             27.21                                 1,132.99
estauranVBar
2/15/15    Debit Card Purchase 12/12 02:36p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15348        10.95                                 1,122.04
estauranVBar
2/15/15    Debit Card Purchase 12/12 02:20p #3365       STARBUCKS #11603 WOODL Woodland Hill CA 15348         9.35                                 1,112.69
estauranVBar
2/15/15    Debit Card Purchase 12/13 04:07p #3365       CHOCOLATINE           THOUSAND OAKS CA 15348          8.95                                 1,103.74
estauranVBar
2/15/15    Debit Card Purchase 12/11 04:41 p #3365      STARBUCKS #05636 CALAB Calabasas      CA 15346        2.45                                 1,~_0_1.29
estauranVBar
2/15/15    Debit PIN Purchase 10:17p_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                            19.77                                 1,081 .52
2/17/15    Debit PIN Purchase 01 :541) #3365 #06335 ALBERTSONS CALABASAS CAUS02154                           11 .96                                1,069.56
2/18/15    Debit PIN Purchase 12/17 10:52_!)_ #3365 CVS/PHARMACY #09 09670-Tarzana CAUS05159                 15.24                                 1,054.32
2/21 /15   Dep_osit Teller                                                                                                  11 .91                 1,066.23
2/21 /15   Cash Withdrawal 04:30_!)_ #3365 Teller                                                           262.00                                   804.23
2/21/15    Debit Card Purchase 12/17 08:59p #3365 PROVTARZANA CAFETERIA TARZANA          CA 15352             5.00                                   799.23
ood & BeveraQes
2/21/15    Debit   PIN Purchase 12/19 05:271)_ #3365 RADIOSHACK COR            AGOURA      CAUS02157         78.45                                  720.78
2/21/15    Debit   PIN Purchase 12/19 04:42p_ #3365 BEST BUY #112            THOUSAND OAKSCAUS80157          30.78                                  690.00
2/21/15    Debit   PIN Purchase 12/19 12:35a #3365 #06335 ALBERTSONS CALABASAS CAUS02154                     25.90                                  664.10
2/21/15    Debit   PIN Purchase 12/19 10:361)_ #3365 TJ TJ MAXX             WESTLAKE    CAUS02156            25.05                                  639.05
2/21 /15   Debit   Pl N Purchase 06: 14_!)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS80159               20.03                                  619.02
2/21/15    Debit   PIN Purchase 12/19 03:40_!)_ #3365 AJ WINE & SPIRITS INC. CALABASAS CAUS80159             16.26                                  602.76
2/22/15    Debit   Card Purchase 12/19 01 :16a #3365 CALABASAS MARKET & LIQ CALABASAS CA 15355               23.68                                  579.08
estauranVBar
2/22/15    Debit Card Purchase 12/19 05:58p #3365       JACK IN THE BOX #31 OPS CALABASAS      CA 15355      17.07                                  562.01
estauranVBar
2/23/15    Debit Card Purchase 12/21 03:40p #3365       NESPRESSO USA          888-637-7737 NY 15356         107.10                                 454.91
ood & BeveraQes
2/23/15    Debit Card Purchase 12/19 07:55p #3365       MEDITERRANEAN PITA GRI CALABASAS         CA 15356    17.42                                  437.49
estauranVBar
2/24/15    Dep_osit Teller                                                                                                 400.00                   837.49
2/24/15    Debit Card Purchase 12/22 12:42p #3365       T-MOBILE IVR PAYMENT 800-937-8997 WA 15357           213.51                                 623.98
hones, Cable & Utilities
2/24/15    Debit Card Purchase 12/21 08:54p #3365       GRISSINI RISTORANTE     AGOURA HILLS CA 15357        22.85                                  601.13
estauranVBar
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2/24/15    Debit Card Purchase 12/21 06:57p #3365        TOBACCO ROYALE     CALADASAS    CA 15357                14.00                                587.13
pecialty Retail stores
2/28/15    Cash Withdrawal on 12/241 11 :30p #3365                                                              362.00                                225.13
on Ctti ATM USC CREDIT UNION      LOS ANGELES CAUS021
2/29/15    De_eosit Teller                                                                                                        200.00               425.13
2/29/15    De_eosit Teller                                                                                                      1,700.00             2,125.13
2/29/15    Debit PIN Purchase 05:44_e #3365 SHELL Service Station AGOURA     CAUS00155                           61.39                               2,063.74
2/29/15    Debit Card Purchase 12/25 10:32p #3365 YUMMY HOUSE             AGOURA HILLS   CA 15360                45.71                               2,018.03
estaurant/Bar
2/29/15    Debit Card Purchase 12/25 01 :59p #3365       USC UNV HOSP 25094038 LOS ANGELES CA 15362              10.15                               2,007.88
estaurant/Bar
2/31 /15      De_eosit Teller                                                                                                    3,400.00            5,407.88
2/31/15       ACH Electronic Debit 041790 Malibu Ca RETRY PYMT C8L4M2                                         2,012.84                               3,395.04
2/31/15       Cash Withdrawal 05:20p #3365 Teller                                                             1,000.00                               2,395.04
2/31/15       Cash Withdrawal 05:23_e #3365 Teller                                                              500.00                               1,895.04
2/31/15       Cash Withdrawal 07:05_e #3365 Teller                                                              255.00                               1,640.04
2/31 /15      Debit PIN Purchase 08:02_e #3365 CVS/ PHARMACY #09 09751-Agoura CAUS05159                         110.00                               1,530.04
2/31 /15      Debit PIN Purchase 08:12_e #3365 CVS/ PHARMACY #09 09751-Agoura CAUS05159                             9.12                             1,520.92 .
2/31/15       Interest for 34 days, Annual Percentage Yield Earned 0.03%                                                             0.07            1,520.99
otal Subtracted/Added                                                                           15,643.38          7,222.40
1 /03/16 Closing Balance                                                                                                                            1,520.99
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
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oints from checking account and other products and services                                   600
otal Points forwarded to Citi® ThankYou® Rewards                                              600
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his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
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2/01/15   Opening Balance                                                   139.66
2/31/15   Closing Balance                                                   139.66




                                                                                                                             Case 1:17-ap-01099-VK




            EX. GGG - 085
                                                                                                    Exhibit GGG pt. 1 Page 86 of 200
                                                                                                    Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
                                                                                                                             Desc
10/R1/04F013
anuary 4 - January 31, 2016                                Page 1 of 6
itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                           Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ax Statements are now available online if you earned $10 or more in
nterest. Look for the Tax Documents tab under the Account
anagement section at citi.com.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                        last Period            This Period   I     I Earnln9s Summary                                  This Period   This Year   I
itibank Accounts                                                                                      Citibank Accounts
hecking                                                                                               Checking
hecking                                                   1,520.99               568.16               Checking      -                                      0.01        0.01
avin s                                                                                                Savings
nsured Monel' Market Accounts                              139.66                139.66               Insured MoneJ' Market Accounts                       0.00       0.00
itigold Relationship Total                              $1,660.65                $707.82              Citigold Relationship Total                          $0.01      $0.01
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
ffective February 1, 2016, due to regulatory requirements in India, the CGT service to India will only be supported for transfers to
on-Resident Indian (NRI) accounts. For CGTs to Citi India, we recommend that you first confirm with your beneficiary whether the beneficiary account
s a NRI account. If it is not a NRI account, you can utilize our wire transfer service funds to that account.*
Please refer to your Client Manual and Marketplace Addendum for information regarding the fees and other terms that apply to our wire transfer
ervice.
                                                                                                                                                                                                              Case 1:17-ap-01099-VK




            EX. GGG - 086
                                                                                                                                                                                     Exhibit GGG pt. 1 Page 87 of 200
                                                                                                                                                                                     Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
anuary 4 - January 31, 2016                    Page 2 of 6
OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of December in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on
ther statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                                 Your Combined Balance Range
6 000-$9.999
ates                                                                       Standard
onthly Service Charge                                                      $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                                 Amount Subtracted   Amount Added    Balance
1/04/ 16   Opening Balance                                                                                                                                 1,520.99
1 /04/16   Debit PIN Purchase          07:07a #3365 CHEVRON/G&WVENTURES              INCALABASAS     CAUS00155                     59.79                   1,461.20
1/04/16    Debit PIN Purchase          01 /02 04:46p #3365       SHELL Service Station AGOURA       CAUS00155                      36.03                   1,425.17
1/04/16    Debit PIN Purchase          01/03 03:06a #3365        CHEVRON/PW! #640-EHRENEHRENBERG              AZUS00155            26.51                   1,398.66
1/04/16    Debit PIN Purchase          01 /03 06:11 _I)_ #3365   WAL-MART #3407        BUCKEYE      AZUS02154                      60.86                   1,337.80
1/04/16    Debit   PIN Purchase 01/03 08:09_1)_ #3365 FRYS FOOD & DRUG 1300 SBUCKEYE                    AZUS02154                  48.42                   1,289.38
1/04/16    Debit   PIN Purchase 01 :29a #3365 ZIP TRAVEL CENTER                  GOODYEAR        AZUS02155                         19.73                   1,269.65
1/04/16    Debit   PIN Purchase 01 /03 12:45a #3365              76 FORD EXIT        REDLANDS      CAUS02155                        6.96                   1,262.69
1/05/16    Debit   Card Purchase 01 /01 03:11 a #3365             THE SUNSET RESTAURANT MALIBU             CA 16002                58.87                   1,203.82
estauranVBar
1/05/16    Debit Card Purchase 01/02 11 :31 p #3365               BURGER KING #8164 007 GLENDALE         CA 16004                  32.58                   1,171 .24
estauranVBar
1/05/16    Debit Card Purchase 12/31 09:04p #3365                 CALABASAS MARKET & LIQ CALABASAS             CA 16002            20.67                   1,150.57
estauranVBar
1/05/16    Debit Card Purchase 01/03 12:47a #3365                 7610096055         REDLANDS      CA 16004                        20.51                   1,130.06
utos {rental , service, gas)
1/05/16    Debit PIN Purchase 07:48p #3365              STAL ANNEX #170         AGOURA HILLS CAUS02194                             32.69                   1,097.37
1/05/16    Debit PIN Purchase 08:52p #3365              AJ WINE & SPIRITS INC. CALABASAS         CAUS80159                         23.96                   1,073.41
                                                                                                                                                                                                Case 1:17-ap-01099-VK




            EX. GGG - 087
                                                                                                                                                                       Exhibit GGG pt. 1 Page 88 of 200
                                                                                                                                                                       Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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anuary 4 - January 31, 2016               Page 3 of 6
OBIN C DIMAGGIO
itigold Account    42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrip_tion                                                                        Amount Subtracted     Amount Added           Balance
1/05/16     Debit PIN Purchase 08:16p #3365 CVS/ PHARMACY #09 09751-Agoura      CAUS05159                  16.88                              1,056.53
1/05/16     Debit PIN Purchase 08:53p_ #3365 AJ WINE & SPIRITS INC. CALABASAS CAUS80159                    10.85                              1,045.68
1/06/16     Debit Card Purchase 01/02 07:53p #3365 TOBACCO ROYALE           CALADASAS   CA 16005           43.00                              1,002.68
pecialty Retail stores
1 /06/16    Debit Card Purchase 01/04 05:48p #3365      STARBUCKS #05858 CALAB Calabasas     CA 16005       9.55                              993.13
estaurant/Bar
1/06/16     Debit Card Purchase 01/04 03:50a #3365      MCDONALD'S F32618     INDIO     CA 16005            8.07                              985.06
estaurant/Bar
1/07/16     Debit PIN Purchase 06:34p_ #3365 ARCO #42146   WOODLAND HILLCAUS00155                          64.35                              920.71
1/07/16     Debit Card Purchase 01/05 03:02p #3365 STARBUCKS #05447 STUDI Studio City CA 16006              4.80                              915.91
estaurant/Bar
1/07/16     Debit Card Purchase 01/05 02:53p #3365      STARBUCKS #05447 STUDI Studio City CA 16006         2.95                              912.96
estaurant/Bar
1/07/16     Debit PIN Purchase 07:57p_ #3365 PETSMART INC 103   WESTLAKE VILLCAUS02159                    42.03                               870.93
1/07/16     Debit PIN Purchase 06:33p_ #3365 ARCO #42146      WOODLAND HILLCAUS02155                       4.09                               866.84
1 /08/16    Debit Card Purchase 01 /05 05:26p #3365 STORE IT MOBILE   WESTLAKE VI CA 16007               185.00                               681 .84
isc Business Services
1/08/16     Debit Card Purchase 01/05 10:14p #3365                                                         39.50                              642.34
76530 THOUSAND OAKS 1 THOUSAND OAKS CA 16007
ecreational Services
1 /08/16    Debit Card Purchase 01 /05 10:50p #3365                                                        10.34                              632.00
76530 THOUSAND OAKS 1 THOUSAND OAKS CA 16007
ecreational Services
1 /08/16    Debit PIN Purchase 06:57p #3365 OREILLY AUTO PARTS 4327THOUSAND OAKSCAUS02155                  34.37                              597.63
1/08/16     Debit PIN Purchase 07:17p_ #3365 PARTY HOUSE LIQOUR AGOURA HILLS CAUS02159                      7.95                              589.68
1 /11 /16   Transfer on 01 /09 1 from MMA Plus 04:42p_ #3365 ONLINE        Reference# 000381                             300.00               889.68
1 /11 /16   ACH Electronic Debit BARCLAYCARD us CREDITCARD 345450285                                     281.44                               608.24
1/11/16     Debit Card Purchase 01/05 #3365 076531 BOGARTS THOUSAN THOUSAND OAKS CA 16008                  51.04                              557.20
ecreational Services
1 /11 /16   Debit Card Purchase 01 /06 11 :56p #3365    EXOTIC THAI AGOURA INC AGOURA HILLS CA 16008       43.60                              513.60
estaurant/Bar
1 /11 /16   Debit Card Purchase 01 /07 08:29p #3365     RITE AID STORE - 5539 AGOURA HILLS CA 16008        24.38                              489.22
ood & Beverages
1 /11 /16   Debit Card Purchase 01 /06 03:57p #3365     ROBE K'S #177      CANOGA PARK CA 16008            11.38                              477.84
estaurant/Bar
1 /11 /16   Debit PIN Purchase 01/10 08:33p #3365      THE HOME DEPOT 1070    WEST HILLS CAUS05152         74.34                              403.50
1/11/16     Debit PIN Purchase 01/09 06:53p_ #3365     T MOBILE 7818      THOUSAND OAKSCAUS02148           64.49                              339.01
1 /11 /16   Debit PIN Purchase 01 /09 06:05p_ #3365    T J T J MAXX     WESTLAKE      CAUS02156            49.00                              290.01
1 /11 /16   Debit PIN Purchase 01 /09 06:29p #3365                                                         49.00                              241 .01
M CELLPHONE REPAIRS A THOUSAND OAKSCAUS02157
1/11/16     Debit PIN Purchase 01/09 05:03p_ #3365     RITE AID STORE - 5539 AGOURA HILLS CAUS02159        40.49                              200.52
1/11 /16    Debit PIN Purchase 01 /08 10:30p_ #3365    BARNESNOBLE 4735 Common Calabasas     CAUS02159     15.35                              185.17
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                   Exhibit GGG pt. 1 Page 89 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrigtion                                                                                   Amount Subtracted     Amount Added         Balance
1/12/16    Debit Card Purchase 01/09 05:11 p #3365     CANYON CLEANERS      AGOURA HILLS CA 16011                    20.00                              165.17
isc Personal Services
1/12/16    Debit Card Purchase 01/08 04:58p #3365      TACO BELL #2106   QPS CALABASAS      CA 16011                 17.32                             147.85
estauranVBar
1/12/16    Debit Card Purchase 01/08 10:21 p #3365     EDWARDS CALABASAS STDM CALABASAS          CA 16009            13.50                             134.35
ecreational Services
1/12/16    Debit Card Purchase 01/09 01 :55p #3365     STARBUCKS #05636 CALAB Calabasas     CA 16011                 11.05                             123.30
estauranVBar
1 /12/16   Debit Card Purchase 01 /08 10:25p #3365     EDWARDS CALABASAS STDM CALABASAS          CA 16009             7.00                             116.30
ecreational Services
1 /12/16   Debit Card Purchase 01 /08 02:00p #3365     STARBUCKS #00643 ENCIN Encino      CA 16009                    5.80                             110.50
estauranVBar
1/12/16    Debit Card Purchase 01/08 04:39p #3365      PARK WEST PHARMACY INC WEST HILLS       CA 16009               5.50                             105.00
ood & Beverai:ies
1 /12/16   Debit Card Purchase 01 /09 02:16p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 16011                  3.65                             101.35
estauranVBar
1 /12/16   Debit Card Purchase 01 /09 04:58p #3365     RITE AID STORE - 5539 AGOURA HILLS CA 16011                    3.60                              97.75
ood & Beverai:ies
1 /13/16   Debit Card Purchase Return 01/08 #3365      EDWARDS CALABASAS STDM CALABASAS          CA 16012                           10.50              108.25
ecreational Services
1/20/16    Debit PIN Purchase 02:23_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                                  15.02                              93.23
1/25/16    Debit Card Purchase 01/21 01 :34p #3365 KINGS ROAD CAFE     LOS ANGELES CA 16022                          15.91                              77.32
estauranVBar
1/25/16    Debit Card Purchase 01/21 01 :31 p #3365    LA CITY PARKING METER LOS ANGELES CA 16022                     2.00                              75.32
utos (rental, service, gas)
1/26/16    Debit Card Purchase 01/23 02:12a #3365      JACK IN THE BOX #31QPS CALABASAS      CA 16025                 7.17                              68.15
estauranVBar
1 /28/16      Dep_osit Teller                                                                                                      500.00              568.15
1 /29/16      Interest for 28 days, Annual Percentage Yield Earned 0.04%                                                             0.01              568.16
otal Subtracted/Added                                                                             11 763.34         810.51
1 /31 /16 Closing Balance                                                                                                                             568.16
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                    Case 1:17-ap-01099-VK




             EX. GGG - 089
                                                                                                                                                                           Exhibit GGG pt. 1 Page 90 of 200
                                                                                                                                                                           Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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anuary 4 - January 31, 2016                      Page 5 of 6
OBIN C DIMAGGIO
itigold Account     42002622498
hecking            Continued
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date         Descrip_tion                                                                             Amount Subtracted   Amount Added   Balance
1/01/16     Opening Balance                                                                                                                   139.66
1/31/16     Closing Balance                                                                                                                   139.66

                                                                                                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 91 of 200
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ebruary 1 - February 29, 2016                            Page 1 of 11
itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
emittance wires to Banco Bolivariano and Banco del Austro in Ecuador, and to Banco
opular Dominicano in the Dominican Republic will be discontinued as of June 1st, 2016.
ur Wire Transfer Service is available with higher fees and different terms either at the
ranch or through Citibank Online. Refer to the Client Manual and Marketplace
ddendum for information regarding fees and terms.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period         This Period    I   I Earnings Summary                 This Period   ThlsYear   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                  568.16           4,307.68             Checking                              0.14       0.15
avin s                                                                                         Savings
nsured Mone~ Market Accounts                            139.66               39.66             Insured Mone~ Market Accounts        0.00        0.00
itigold Relationship Total                              $707.82           $4,347.34            Citigold Relationship Total          $0.14       $0.15
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltlgold
ffective February 25 , 2016, you can order foreign currency for delivery by the end of the next Business Day to a
itibank branch you select, or directly to your address on record in the continental U.S. for an additional nominal
harge - no delivery to P.O. Boxes or to locations outside of the continental U.S. Foreign currency is available in more
han 50 different currencies. Daily order limits and cut-off times may apply. For more information about these services,
ou may visit Citibank.com, call CitiPhone Banking(r) or 1-800-756-7050.
                                                                                                                                                                                      Case 1:17-ap-01099-VK




            EX. GGG - 091
                                                                                                                                                             Exhibit GGG pt. 1 Page 92 of 200
                                                                                                                                                             Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1/04F013
ebruary 1 - February 29, 2016                 Page 2 of 11
OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of January in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                   Your Combined Balance Range
1 500-$5 999
ates                                                         Standard
onthly Service Charge                                        $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                  Amount Subtracted   Amount Added    Balance
   -
2/01/16    Opening Balance                                                                                                                   568.16
2/01/16    Debit PIN Purchase 01/30 06:14_1)_ #3365 ALBERT N. GHIAM CALABASAS CAUS00155                            20.82                     547.34
2/01/16    Debit PIN Purchase 01/30 06:15_1)_ #3365 ALBERT N. GHIAM CALABASAS CAUS02155                            14.72                     532.62
2/02/16    Debit PIN Purchase 01 :35))_ #3365 THRIFTY 42111    WOODLAND HILLCAUS00155                              28.35                     504.27
2/02/16    Debit Card Purchase 01/30 06:19p #3365 AT&T*BILL PAYMENT 08002882020 TX 16032                          102.93                     401.34
hones, Cable & Utilities
2/02/16    Debit Card Purchase 01/30 05:12p #3365      CASA ESCOBAR       MALIBU      CA 16032                      73.04                    328.30
estaurant/Bar
2/02/16    Debit Card Purchase 01 /30 02:03p #3365     STARBUCKS #05738 WEST West Los Ange CA 16032                  6.45                    321.85
estaurant/Bar
2/02/16    Debit Card Purchase 01/29 07:15p #3365      STARBUCKS #11603 WOODL Woodland Hill CA 16030                 5.90                    315.95
estaurant/Bar
2/02/16    Debit Card Purchase 01/29 07:14p #3365      STARBUCKS #11603 WOODLWoodland Hill CA 16030                  5.10                    310.85
estaurant/Bar
2/02/16    Debit Card Purchase 01/30 02:38p #3365      STARBUCKS #05738 WEST West Los Ange CA 16032                  2.45                    308.40
estaurant/Bar
2/02/16    Debit Card Purchase 01/30 03:17p #3365      LA CITY PARKING METER LOS ANGELES CA 16032                    1.00                    307.40
utos (rental, service, gas)
2/02/16    Debit Card Purchase 01/30 02:00p #3365      LA CITY PARKING METER LOS ANGELES CA 16032                    1.00                    306.40
utos (rental, service, gas)
                                                                                                                                                                                Case 1:17-ap-01099-VK




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                                                                                                                                                       Exhibit GGG pt. 1 Page 93 of 200
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ebruary 1 - February 29, 2016             Page 3 of 11
OBIN C DIMAGGIO
itigold Account    42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrip_tion                                                                                         Amount Subtracted    Amount Added            Balance
2/02/16    Debit Card Purchase 01/30 11 :33p #3365                   CITY OF B H PARKING ME BEVERLY HILLS CA 16032          1.00                                305.40
utos (rental, service, gas)
2/03/16    Dep_osit    Teller                                                                                                           100.00               405.40
2/03/16    Dep_osit Teller                                                                                                            3,400.00           3,805.40
2/03/16    Debit Card Purchase 01/31 09:51p #3365                    MICHAELS PIZZA      CALABASAS       CA 16033          35.94                         3,769.46
estauranVBar
2/03/16    Debit Card Purchase 02/01 06:15p #3365                    JOHNS GARDEN FRESH HEA MALIBU          CA 16033       22.14                         3,747.32
ood & Beverages
2/03/16    Debit Card Purchase 02/01 01 :33p #3365                   STARBUCKS #05654 BURBA Burbank        CA 16033         2.75                         3,744.57
estauranVBar
2/04/16    ACH Electronic Debit AMERICAN EXPRESS ACH PMT                                                                  35.00                          3,709.57
2/04/16    ACH Electronic Debit CA541 -Avalon C WEB PMTS 2WCVZ3                                                        1,430.51                          2,279.06
2/04/16    ACH Electronic Debit 041790 Malibu Ca WEB PMTS X5RGP2                                                       2,012.35                            266.71
2/04/16    Debit Card Purchase 02/01 03:56p #3365 POSTALANNEX# 10010                         BURBAN K      CA 16034        5.72                            260.99
ood & Beverages
2/04/16    Check# 7707                                                                                                    50.00                           210.99
2/05/16    Deposit Teller                                                                                                             6,800.00          7,010.99
2/05/16    Deposit Teller                                                                                                            30,000.00         37,010.99
2/05/16    Cash Withdrawal        07:11 _I)_ #3365    Teller                                                           6,800.00                        30,210.99
2/05/16    Cash Withdrawal        07:19_1)_ #3365     Teller                                                           2,807.84                        27,403.15
2/05/16    Cash Withdrawal        02:28_1)_ #3365     Teller                                                           2,500.00                        24,903.15
2/05/16    Cash Withdrawal        07:17_1)_ #3365     Teller                                                           1,181.99                        23,721 .1 6
2/05/16    Cash Withdrawal 07:18p #3365 Teller                                                                           938.16                        22,783.00
2/05/1 6   Cash Withdrawal 07:16p_ #3365 Teller                                                                          750.42                        22,032.58
2/05/1 6   Debit Card Purchase 02/03 01 :50a #3365                   HILTON PARKING SELF     BEVERLY HILLS CA 16035        7.00                        22,025.58
utos (rental, service, gas)
2/05/1 6   Debit PIN Purchase 01 :15a #3365 SHERMAN OAKS GAS          SHERMAN OAKS CAUS02155                              21 .14                       22,004.44
2/08/16    ACH Electronic Debit so CAL EDISON co BILL PAYMT 204759641                                                     42.15                        21 ,962.29
2/08/16    ACH Electronic Debit so CAL EDISON co BILL PAYMT 347689879                                                     70.70                        21,891.59
2/08/16    ACH Electronic Debit AMERICAN EXPRESS ACH PMT                                                                 135.51                        21,756.08
2/08/16    ACH Electronic Debit           AMERICAN EXPRESS ACH PMT                                                       450.00                        21,306.08
2/08/16    ACH Electronic Debit           BARCLAYCARD     us    CREDITCARD 351372567                                   4,043.49                        17,262.59
2/08/16    ACH Electronic Debit           BARCLAYCARD     us    CREDITCARD 351371036                                   5,117.27                        12,145.32
2/08/16    Debit PIN Purchase 08:02_1)_ #3365            ARCO #42153          LOS ANGELES CAUS00155                       57.35                        12,087.97
2/08/16    Debit PIN Purchase 01 :47_1)_ #3365           7-ELEVEN            CALABASAS     CAUSOOl 55                     38.01                        12,049.96
2/08/16    Cash Withdrawal 04:45_1)_ #3365 Teller                                                                      4,700.00                         7,349.96
2/08/16    Cash Withdrawal 02/06 01 :1 7p #3365                Teller                                                  1,500.00                          5,849.96
                                                                                                                                                                                                            Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                             Amount Subtracted     Amount Added        Balance
2/08/16    Debit Card Purchase 02/04 01 :17p #3365       STARBUCKS #05858 CALAB Calabasas      CA 16036        10.70                           5,839.26
estauranVBar
2/08/16    Debit Card Purchase 02/03 07:09p #3365        MENCHIE'S FROZEN YOGUR CALABASAS         CA 16036      7.74                          5,831.52
estauranVBar
2/08/16    Debit Card Purchase 02/03 07:21 p #3365       MENCHIE' S FROZEN YOGUR CALABASAS        CA 16036      6.61                          5,824.91
estauranVBar
2/08/16    Cash Withdrawal 02/07 12:20p #3365      Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                800.00                           5,024.91
2/08/16    Cash Withdrawal 02/07 01 :46p #3365                                                               303.00                           4,721.91
on Clti ATM FRANKLIN AVE VE   LOS ANGELES CAUS051
2/08/16    Debit PIN Purchase 02/06 08:36_1)_ #3365     GUITAR CENTER #110   w HOLLYWOOD       CAUS02157     298.44                           4,423.47
2/08/16    Debit PIN Purchase 02/06 01 :42p_ #3365      ARCO #42433      LOS ANGELES CAUS02155                27.66                           4,395.81
2/08/16    Debit PIN Purchase 02/07 01 :48_1)_ #3365    GELSON'S MARKETS #114 HOLLYWOOD        CAUS02154       6.63                           4,389.18
2/08/16    Check# 4260                                                                                       840.00                          ·3,549.18
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2/09/16    Debit Card Purchase 02/06 09:18p #3365        TICKET FULFILLMENT SER 8442235661     DE 16039      385.41                           3, 163.77
ecreational Services                                               '
2/09/16    Debit Card Purchase 02/06 05:05a #3365        BLACK LP        LOS ANGELES CA 16039                369.00                           2,794.77
estauranVBar
2/09/16    Debit Card Purchase 02/05 08:29p #3365        T-MOBILE IVR PAYMENT 800-937-8997 WA 16037          237.44                           2,557.33
hones, Cable & Utilities
2/09/16    Debit Card Purchase 02/07 04:32p #3365        THE OAKS GOURMET      LOS ANGELES CA 16039            86.93                          2,470.40
ood & BeveraQes
2/09/16    Debit Card Purchase 02/07 08:22p #3365        THE OAKS GOURMET      LOS ANGELES CA 16039            68.29                          2,402.11
ood & BeveraQes
2/09/16    Debit Card Purchase 02/05 11 :09p #3365       GALLETTO BAR AND GRILL WESTLAKE VILL CA 16039         51.93                          2,350.18
estauranVBar
2/09/16    Debit Card Purchase 02/07 10:41 p #3365       THE OAKS GOURMET      LOS ANGELES CA 16039            43.49                          2,306.69
ood & BeveraQes
2/09/16    Debit Card Purchase 02/04 06:25p #3365        PHO SO 1 RESTAURANT    RESEDA        CA 16037         41.32                          2,265.37
estauranVBar
2/09/16    Debit Card Purchase 02/05 01 :17a #3365       SHERMAN OAKS GAS      SHERMAN OAKS CA 16037           39.99                          2,225 .38
utos _(rent~. se_rvice, Qas
2/09/16    Debit Card Purchase 02/04 06:42p #3365        FALLAS 121      CANOGA PARK CA 16037                  32.63                          2,192.75
pecialty Retail stores
2/09/16    Debit Card Purchase 02/07 04:43p #3365        THE OAKS GOURMET      LOS ANGELES CA 16039            25.80                          2,166.95
ood & BeveraQes
2/09/16    Debit Card Purchase 02/07 12:57p #3365        STARBUCKS #05839 NORTH North Hollywo CA 16039         15.85                          2,151 .10
estauranVBar
2/09/16    Debit Card Purchase 02/07 08:24p #3365        THE OAKS GOURMET      LOS ANGELES CA 16039             6.50                          2,144.60
ood & BeveraQes
2/09/16    Debit Card Purchase 02/05 05:20p #3365                                                               4.30                          2,140.30
MPCO PARKING DOHENY P BEVERLY HILLS CA 16039
utos _(rental, service, Qas
2/09/16    Debit Card Purchase 02/06 08:22p #3365        LA CITY PARKING METER LOS ANGELES CA 16039             1.00                          2,139.30
utos (rental, servic~, Qas·
2/10/16    Dep_osit    Teller                                                                                              2,500.00           4,639.30
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2/10/16    Cash Withdrawal 05:33e_ #3365 Teller                                                                856.36                          3,782.94
2/10/16    Debit Card Purchase 02/08 02:25a #3365     JACK IN THE BOX #31 OPS CALABASAS          CA 16040        19.79                         3,763.15
estauranVBar
2/10/16    Debit PIN Purchase 08:10_1)_ #3365 THE HOME DEPOT 1070 WEST HILLS          CAUS05152                402.90                         3,360.25
2/10/16    Debit PIN Purchase 04:24_1)_ #3365 THE UPS STORE #1093 CALABASAS          CAUS02173                  39.00                         3,321.25
2/1 0/16   Check # 671                                                                                          60.00                         3,261 .25
2/11/16    Debit Card Purchase 02/09 06:47p #3365 AGOURA MEADOWS HEALTH              AGOURA         CA 16041    69.76                         3,191.49
ood & BeveraQes
2/11/16    Debit Card Purchase 02/09 07:26p #3365      ANIMAL CLINIC OF THE    o THOUSAND OAKS CA 16041          17.38                        3,174.11
isc Business Services
2/12/16    Debit PIN Purchase 12:38a #3365 ALBERT N. GHIAM          CALABASAS      CAUS00155                     45.34                        3,128.77
2/12/16    Debit Card Purchase 02/09 04:32p #3365 CAFE OLE               CALABASAS      CA 16042                 20.00                        3,108.77
estauranVBar
2/12/16    Debit Card Purchase 02/09 08:30p #3365      MICHAELS PIZZA       CALABASAS        CA 16042            11.98                        3,096.79
estauranVBar
2/12/16    Debit PIN Purchase 02/11 11 :35_1)_ #3365 TJ TJ MAXX         WESTLAKE CAUS02156                       80.61                        3,016.18
2/12/16    Debit PIN Purchase 02/11 11 :101) #3365 PETSMART INC 103         WESTLAKE VILLCAUS02159               79.94                        2,936.24
2/12/16    Debit PIN Purchase 12:04a #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                          75.43                        2,860.81
2/1 2/16   Debit PIN Purchase 02/11 11 :00_1)_ #3365 Staples, Inc      WESTLAKE VILLCAUS02159                    68.65                        2,792.1 6
2/12/16    DebitPINPurchase12:15a#3365 TJTJMAXX                   WESTLAKE    CAUS02156                          68.63                        2,723.53
2/12/16    Debit PIN Purchase 04:29_1)_ #3365 EMBASSY LIQUOR & MAR KETWOODLAND HILLCAUS02154                     40.19                        2,683.34
2/16/16    Debit PIN Purchase 02/13 08:05p #3365 ALBERT N. GHIAM            CALABASAS CAUS00155                  34.85                        2,648.49
2/16/16    Debit PIN Purchase 02/14 09:40p #3365                                                                 34.00                        2,614.49
HEVRON/G&W VENTURES INCALABASAS       CAUS00155
2/16/16    Transfer to Bankcard 02/15 11 :19a #3365    Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                20.85                        2,593.64
2/16/16    Debit Card Purchase 02/1 O 05:56p #3365                                                               45.00                        2,548 .64
CHROEDER AND SCH ROEDE AGOURA HILLS CA 16043
edical Services
2/16/16    Debit Card Purchase 02/10 04:27p #3365      TOBACCO ROYALE          CALADASAS        CA 16043         23.83                        2,524.81
pecialty Retail stores
2/16/16    Cash Withdrawal 02/15 11 :21 a #3365    Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                  400.00                         2,124.81
2/16/1 6   Cash Withdrawal 02/15 10:26p #3365                                                                  303.00                         1,821.81
on Citi ATM 26521 AGOURA RD   CALABASAS   CAUS051
2/16/16    Debit PIN Purchase 02/15 09:25_1)_ #3365   #06335 ALBERTSONS        CALABASAS      CAUS02154          31.35                        1,790.46
2/1 6/16   Debit PIN Purchase 02/15 03:04_1)_ #3365   FRANKLINS HARDWARE        WOODLAND HILLCAUS02152            7.06                        1,783.40
2/17/16    Debit Card Purchase 02/12 10:58p #3365      PANTAGES            HOLLYWOOD         CA 16044            99.00                        1,684.40
ecreational Services
2/1 7/16   Debit Card Purchase 02/14 06:34p #3365                                                                60.36                        1,624.04
ANG CHOW RESTAURANT CANOGA ~ARK CA 16046
estauranVBar
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2/17/16    Debit Card Purchase 02/11 04:23p #3365      SANTA FE CAFE        CALABASAS        CA 16044              24.79                           1,599.25
estaurant/Bar
2/17/16    Debit Card Purchase 02/14 01 :12a #3365     JACK IN THE BOX #31 OPS CALABASAS          CA 16046         24.15                          1,575.10
estaurant/Bar
2/17/16    Debit Card Purchase 02/12 01 :36a #3365     TACO BELL #2106     OPS CALABASAS        CA 16044           24.13                          1,550.97
estaurant/Bar
2/17/16    Debit Card Purchase 02/11 04:24p #3365      CAFE OLE           CALABASAS      CA 16044                  20.00                          1,530.97
estaurant/Bar
2/17/16    Debit Card Purchase 02/12 05:05p #3365      TIC TOG CLEANERS        AGOURA HILLS CA 16044               10.50                          1,520.47
isc Personal Services
2/17/16    Debit Card Purchase 02/15 04:36p #3365      STARBUCKS #11603 WOODL Woodland Hill CA 16047                9.70                          1,510.77
estaurant/Bar
2/17/16    Debit Card Purchase 02/14 07:11 p #3365     SQ *MELT GELATO         Los Angeles CA 16046                 7.50                          1,503.27
estaurant/Bar
2/17/16    Debit Card Purchase 02/13 06:43p #3365      COFFEE BEAN STORE         STUDIO CITY CA 16046               5.99                          1,497.28
estaurant/Bar
2/17/16    Debit Card Purchase 02/14 01 :05a #3365     TACO BELL #2106     OPS CALABASAS        CA 16046            5.66                          1,491.62
estaurant/Bar
2/17/16    Debit Card Purchase 02/12 10:52p #3365      PANTAGES            HOLLYWOOD         CA 16044               5.00                          1,486.62
ecreational Services
2/18/16    Debit Card Purchase 02/15 03:11 p #3365     FAT BURGER #116         WOODLAND HILL CA 16048              25.07                          1,461.55
estaurant/Bar
2/18/16    Debit Card Purchase 02/15 11 :01 a #3365    CAFE OLE           CALABASAS      CA 16048                  11.45                          1,450.10
estaurant/Bar
2/18/16    Debit Card Purchase 02/15 10:56a #3365      SANTA FE CAFE        CALABASAS        CA 16048               7.90                          1,442.20
estaurant/Bar
2/18/16    Cash Withdrawal 05:31 p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                              600.00                             842.20
2/19/16    Deposit Teller                                                                                                      7,000.00           7,842.20
2/19/16    Debit PIN Purchase 02:19_1)_ #3365 RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                        36.00                          7,806.20
2/19/16    Cash Withdrawal 07:06_1)_ #3365 Teller                                                               1,000.00                          6,806.20
2/19/16    Debit Card Purchase 02/15 10:30p #3365 MEDITERRANEAN PITA GRI CALABASAS CA 16049                        22.74                          6,783.46
estaurant/Bar
2/19/16    Debit Card Purchase 02/15 10:49p #3365      MEDITERRANEAN PITA GRI CALABASAS              CA 16049       8.71                          6,774.75
estaurant/Bar
2/19/16    Cash Withdrawal 02:29p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                500 .00                         6,274.75
2/19/16    Debit PIN Purchase 02/18 11 :27_1)_ #3365 Staples, Inc WESTLAKE VILLCAUS02159                           28.33                          6,246.42
2/19/16    Debit PIN Purchase 02/18 11 :19_1)_ #3365 COSTCO WHSE #0117 WESTLAKE VILLCAUS02153                       7.61                          6,238.81
2/19/16    ACH Electronic Debit TIME WARNER WEST PAYMENT 0000000675                                                52.94                          6,185.87
2/22/16    Dep_osit Teller                                                                                                      1,900.00          8,085.87
2/22/16    Debit PIN Purchase 01 :37a #3365   SHELL Service Station AGOURA       CAUS00155                         25.28                          8,060.59
2/22/16    Debit PIN Purchase 11 :54a #3365   ?-ELEVEN          CALABASAS       CAUS00155                          22.00                          8,038.59
2/22/16    Debit PIN Purchase 11 :57a #3365   ?-ELEVEN          CALABASAS       CAUS00155                          20.00                          8,018.59
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2/22/16    Debit Card Purchase 02/18 10:39p #3365                JEANNINE   s       WESTLAKE VLG CA 16050             39.88                            7,978.71
estauranVBar
2/22/16    Debit Card Purchase 02/18 08:09p #3365                RITE AID STORE - 5539 AGOURA HILLS CA 16050           17.67                          7,961 .04
ood & Beveraqes
2/22/16    Debit Card Purchase 02/18 10:47p #3365                JEANNINE S         WESTLAKE VLG CA 16050               4.36                          7,956.68
estauranVBar
2/22/16    Cash Withdrawal 02/20 06:18_1)_ #3365 Non Clti ATM 3200 E AIRFIELD DR DALLAS     TXUS051                  203.00                           7,753.68
2/22/16    Debit PIN Purchase 12:18_1)_ #3365 THE HOME DEPOT 1070 WEST HILLS CAUS05152                                86.50                           7,667.18
2/22/16    Debit PIN Purchase 01 :23a #3365 CVS/ PHARM 09715--2791 Thousand OaksCAUS05159                             59.15                           7,608.03
2/22/16    Debit PIN Purchase 02/21 07:35_1)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                      48.91                           7,559.12
2/22/16    Debit PIN Purchase 02/21 05:50_1)_ #3365 #06335 ALBERTSONS CALABASAS CAUS02154                             21.26                           7,537.86
2/22/16    Debit PIN Purchase 01 :19a #3365 CVS/ PHARMACY #09 09715-Thousand OaksCAUS05159                            16.39                           7,521.47
2/22/16    Debit PIN Purchase 08:08_1)_ #3365 CVS/PHARMACY #09 09751-Agoura       CAUS05159                           14.32                           7,507.15
2/22/16    Debit PIN Purchase 02/21 06:45p #3365                                                                       9.23                           7,497.92
WHON NATURAL FOODS MA CALABASAS                CAUS02154
2/23/16    Dep_osit Teller                                                                                                        10,000.00          17,497.92
2/23/16    Cash Withdrawal 07:37_1)_ #3365 Teller                                                                  1,600.00                          15,897.92
2/23/16    Cash Withdrawal 07:36_1)_ #3365 Teller                                                                    577.99                          15,319.93
2/23/16    Cash Withdrawal 07:38_1)_ #3365 Teller                                                                    200.00                          15,119.93
2/23/16    Debit Card Purchase 02/21 08:06a #3365                NESPRESSO USA         888-637-7737 NY 16053         114.05                          15,005.88
ood & Beveraqes
2/23/16    Debit Card Purchase 02/20 06:03p #3365                AMERICAN00106251922840 DALLAS        TX 16053         35.31                         14,970.57
irlines & Airports
2/23/16    Debit Card Purchase 02/19 08:46p #3365                EB GROOVE SAUCE MOLLY 8014137200       CA 16053       34.62                         14,935.95
isc Business Services
2/23/16    Debit Card Purchase 02/21 #3365                LAX AIRPORT LOT P 4   LOS ANGELES CA 16053                   30.00                         14,905.95
utos (rental, service , gas)
2/23/16    Debit Card Purchase 02/19 02:25p #3365                FEDEXOFFICE 00025015 WOODLAND HILL CA 16051           25.06                         14,880.89
isc Business Services
2/23/16    Debit Card Purchase 02/18 10:07p #3365                THE LIQUOR CHEST       AGOURA HILLS CA 16051          22.15                         14,858.74
ood & Beverages
2/23/16    Debit Card Purchase 02/18 09:17p #3365                                                                      20.56                         14,838.18
UCKY PANDA CHINESE FA WOODLAND HILL CA 16051
estauranVBar
2/23/16    Debit Card Purchase 02/20 07:25p #3365                HMSHOST DIV 0520514956 DALLAS       TX 16053          12.24                         14,825.94
estauranVBar
2/23/16    Debit Card Purchase 02/20 07:35a #3365                HUDSONNEWS ST980        CARSON      CA 16053           7.93                         14,818.01
pecialty Retail stores
2/23/1 6   Check # 343                                                                                                 60.00                         14,758.01
2/24/16    ACH Electronic Debit            BARCLAYCARD us     CREDITCARD 355266443                                 1,030.14                          13,727.87
2/24/16    ACH Electronic Debit            BARCLAYCARD us     CREDITCARD 355264982                                 3,469.43                          10,258.44
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2/24/16    Debit Card Purchase 02/22 11 :01 a #3365                                                               428.61                            9,829.83
NTERPRISE RENT-A-CAR THOUSAND OAKS CA 16054
utos (rental , service, gas)
2/24/16    Debit Card Purchase 02/22 06:26p #3365              T-MOBILE IVR PAYMENT 800-937-8997 WA 16054         226.98                           9,602.85
hones, Cable & Utilities
2/24/16    Debit Card Purchase 02/21 08:01 a #3365             COSTCO .COM *ONLINE       800-955-2292 WA 16054    130.79                           9,472.06
etail stores
2/24/16    Debit Card Purchase 02/22 11 :21 a #3365            DELKIND INC          AGOURA HILLS CA 16054           16.39                          9,455.67
utos (rental , service, gas)
2/24/16    Debit Card Purchase 02/22 11 :22a #3365             DELKIND INC          AGOURA HILLS CA 16054            5.00                          9,450.67
utos (rental , service, gas)
2/24/16    ACH Electronic Debit SOCALGAS         ARC PYMT 0000000672                                                40.00                          9,410.67
2/25/16    Dei:i_osit Teller                                                                                                    1,400.00          10,810.67
2/25/16    ACH Electronic Debit 041790 Malibu Ca WEB PMTS S8Y5Q2                                                 1,992.76                          8,81 7.9,1
2/25/16    Debit PIN Purchase 06:13_1)_ #3365 ALBERT N. GHIAM     CALABASAS CAUS00155                               36.50                          8,781.41
2/25/16    Cash Withdrawal 03:07p #3365 Teller                                                                     500.00                          8,281.41
2/25/16    Cash Withdrawal 03:061)_ #3365 Teller                                                                    34.24                          8,247.17
2/25/16    Debit Card Purchase 02/22 #3365 SCHROEDER AND SCHROEDE AGOURA HILLS CA 16055                             45.00                          8,202.17
edical Services
2/25/16    Debit Card Purchase 02/23 08:24p #3365              ITALIA DELI & BAKE     AGOURA HILLS CA 16055         38.09                          8,164.08
estaurant/Bar
2/25/16    Debit Card Purchase 02/23 08:28p #3365              ITALIA DELI & BAKE     AGOURA HILLS CA 16055         21.35                          8,142.73
estaurant/Bar
2/25/16    Debit Card Purchase 02/22 04:28p #3365              FOUR SEASONS VALET        LOS ANGELES CA 16055       18.00                          8,124.73
utos (rental, service, gas)
2/25/16    Debit Card Purchase 02/22 07:03p #3365              FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16055         15.79                          8,108.94
estaurant/Bar
2/25/16    Debit Card Purchase 02/23 03:54p #3365              STARBUC KS #05549 LOS A Los Angeles CA 16055          6.25                          8,102.69
estaurant/Bar
2/25/16    Debit Card Purchase 02/22 05:04p #3365                                                                    4.30                          8,098.39
MPCO PARKING DOHENY P BEVERLY HILLS CA 16055
utos (rental , service, gas)
2/25/16    Debit Card Purchase 02/23 04:11 p #3365             STARBUC KS #05549 LOS A Los Angeles CA 16055          2.25                          8,096.14
estaurant/Bar
2/25/16    Debit PIN Purchase 07:06_1)_ #3365           COSTCO WHSE #0117     WESTLAKE VILLCAUS02153               107.88                          7,988.26
2/25/16    Debit PIN Purchase 06:06_1)_ #3365           #06335 ALBERTSONS     CALABASAS      CAUS02154             102.20                          7,886.06
2/25/16    Debit PIN Purchase 06:07_1)_ #3365           #06335 ALBERTSONS     CALABASAS      CAUS02154              56.33                          7,829.73
2/25/16    Debit PIN Purchase 04:36_1)_ #3365           EWHON NATURAL FOODS MA CALABASAS         CAUS02154          23.57                          7,806.16
2/25/16    Debit PIN Purchase 05:00_1)_ #3365           CVS/PHARMACY #09 09751-Agoura       CAUS05159               23.41                          7,782.75
2/25/16    Debit PIN Purchase 07:34_1)_ #3365           CVS/PHARMACY #09 09751-Agoura       CAUS05159               17.21                          7,765.54
2/26/16    ACH Electronic Debit             CA541 -Avalon C WEB PMTS WZCS24                                      1,456.15                          6,309.39
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2/26/16        Debit Card Purchase 02/23 01 :16p #3365 TWC*TIMEWARNER CABLE 888-TWCABLE CA 16056                 170.73                             6,138.66
hones, Cable & Utilities
2/26/16        Debit Card Purchase 02/23 05:24p #3365                                                               4.30                              6,134.36
MPCO PARKING DOHENY P BEVERLY HILLS CA 16056
utos (rental , service , gas)
2/26/16        Debit PIN Purchase 09:22_1)_ #3365 CHEVRON/G&WVENTURES INCALABASAS CAUS02155                        22.48                              6,111.88
2/26/16        Check# 673                                                                                          50.00                              6,061 .88
2/26/16        Check# 4127                                                                                       788 .74                              5,273.14
2/29/16        Debit PIN Purchase 06:07_1)_ #3365 CHEVRON/G&WVENTURES INCALABASAS CAUS00155                       32.80                               5,240.34
2/29/16        Debit Card Purchase 02/25 07:29p #3365 CVS/PHARMACY #09751 AGOURA     CA 16057                     45 .00                              5,195.34
ood & Beverages
2/29/16      Debit PIN Purchase 06:44_1)_ #3365 #06335 ALBERTSON$ CALABASAS CAUS02154                          258 .94                                4,936.40
2/29/16      Cash Withdrawal on 02/27 1 05:09p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                200 .00                                4,736.40
2/29/16      Debit PIN Purchase 02/27 04:19_1)_ #3365 THE HOME DEPOT 6632 WOODLAND HLS CAUS05152                169.87                                4,566.53
2/29/16      Debit PIN Purchase 02/28 10:08_1)_ #3365 #06335 ALBERTSON$ CALABASAS CAUS02154                     132.85                                4,433.68
2/29/16      Debit PIN Purchase 02/27 05:21 _I)_ #3365 FRANKLINS HARDWARE WOODLAND HILLCAUS02152                  59.42                               4,374.26
2/29/16      Debit PIN Purchase 09:58_1)_ #3365 PARTY HOUSE LIQOUR AGOURA HILLS CAUS02159                         33.12                               4,341.14
2/29/16      Debit PIN Purchase 02/27 10:1 Op_ #3365 RALPHS 5727 KANAN ROAD AGOURA       CAUS05154                21 .25                              4,319.89
2/29/16      Debit PIN Purchase 06:06_1)_ #3365 CHEVRON/G&W VENTURES INCALABASAS CAUS02155                        12.35                               4,307 .54
2/29/16 Interest for 29 days, Annual Percentag e Yield Earned 0.03%                                                                  0.14            4,307.68
otal Subtracted/Added                                                                          59,360.62         63! 100.14
2/29/16 Closing Balance                                                                                                                              4,307.68
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid          Check        Date               Amount   Check     Date             Amount      Check    Date           Amount          Check        Date     Amount
43         02/23               60.00    671 *   02L10              60.00       673*   02L26            50.00         4127*     02L26                788.74
260*        02L08              840.00   7707*    02L04              50.00
 indicates gap in check number sequence                      Number Checks Paid: 6              Totaling: $1 ,848.74
                                                                                                                                                                                                     Case 1:17-ap-01099-VK




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                                                                                                                                                                            Exhibit GGG pt. 1 Page 100 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
hecking            Continued
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                          600
otal Points forwarded to Citi® ThankYou® Rewards                                                     600
o to thankyou .com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avln.9.s                                                                                                                                                                    J
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date         Descrip_tion                                                                                   Amount Subtracted   Amount Added   Balance
2/01/16       Opening Balance                                                                                                                         139.66
2/16/16       Cash Withdrawal on 02/151 11 :20a #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                    100.00                             39.66
2/29/16       Closing Balance                                                                                                                          39.66
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                         Case 1:17-ap-01099-VK




            EX. GGG - 100
                                                                                                                                                                                Exhibit GGG pt. 1 Page 101 of 200
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itigold Account       42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                    Website : www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      LastPerlod          This Period    I    I Earnings Summary                 This Period   This Vear   I
itibank Accounts                                                                                Citibank Accounts
hecking                                                                                         Checking ·
hecking                                                4,307.68           1,309.35              Checking                             0.06         0.21
avin s                                                                                          Savings
nsured Money Market Accounts                             39.66                39.66              Insured Money Market Accounts      0.00          0.00
itigold Relationship Total                            $4,347.34           $1,349.01             Citigold Relationship Total         $0.06         $0.21
 To ensure quality service, calls are randomly monitored and may be recorded.



                                                                                                                                                                                        Case 1:17-ap-01099-VK




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                                                                                                                                                               Exhibit GGG pt. 1 Page 102 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
ees & Rates Detall
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period ,
nd the transaction limits and fee waivers that apply during the next statement period , Citibank considers your average balance during the
onth of February in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                    Your Combined Balance Range
6 000-$9 999
ates                                                          Standard
 Monthly Service Charge                                         $30.00(Waived)                                                 ,,
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                  Amount Subtracted   Amount Added         Balance
3/01/16    Opening Balance                                                                                                                    4,307.68
3/01/16    Debit PIN Purchase 09:12_1)_ #3365 AGOURA HILLS ALLIANCE     AGOURA HILLS CAUS00155                     30.01                      4,277.67
3/01/16    Debit Card Purchase 02/26 09:35p #3365 ESCENTIALS              CALABASAS    CA 16060                   194.88                      4,082.79
_e_ecialtv Retail stores
3/01/16    Debit Card Purchase 02/26 12:33p #3365      BOBBYS COFFEE SHOP       WOODLAND HILL CA 16058              45.35                     4,037.44
estauranVBar
3/01/16    Debit Card Purchase 02/26 09:38p #3365      MEDITERRANEAN PITA GRI CALABASAS      CA 16060               23 .96                    4,013.48
estauranVBar
3/01/16    Debit Card Purchase 02/26 09:18p #3365      CHEVRON 0094240       CALABASAS   CA 16058                   21.00                     3,992.48
utos (rental, service, gas)
3/01/16    Debit Card Purchase 02/27 04:35p #3365      STARBUCKS #11603 WOODL Woodland Hill CA 16060                18.85                     3,973.63
estauranVBar
3/01/16    Debit Card Purchase 02/28 08:24p #3365      JAMBA JUICE #8      WOODLAND HILL CA 16060                   10.78                     3,962.85
estauranVBar
3/01/16    Debit PIN Purchase 10:17_1)_ #3365 COSTCO WHSE #0117 WESTLAKE VILLCAUS02153                            158.34                      3,804.51
3/01/16    Debit PIN Purchase 09:12_1)_ #3365 AGOURA HILLS ALLIANCE AGOURA HILLS CAUS02155                          4.78                      3,799.73
3/01/16    Check# 225                                                                                              60.00                      3,739.73
3/02/16    Debit Card Purchase 02/27 09:52p #3365 GRISSINI RISTORANTE AGOURA HILLS CA 16061                        52.95                      3,686.78
estauranVBar
                                                                                                                                                                                     Case 1:17-ap-01099-VK




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                                                                                                                                                            Exhibit GGG pt. 1 Page 103 of 200
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OBIN C DIMAGGIO
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igh Interest Checking 42002622498
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ctivity
ontinued   Date         Descrigtion                                                                                     Amount Subtracted   Amount Added       Balance
3/02/16    Debit Card Purchase 02/27 09:48p #3365        GRISSINI RISTORANTE         AGOURA HILLS CA 16061            50.65                         3,636.13
estauranVBar
3/02/16    Debit Card Purchase 02/28 08:22p #3365        FAT BURGER #1 16         WOODLAND HILL CA 16061               28.89                       3,607.24
estauranVBar
3/02/16    Debit Card Purchase 02/29 09:49p #3365        DIV HOME CENTER #13 AG AGOURA              CA 16061           25.02                       3,582.22
pecialty Retail stores
3/02/16    Debit Card Purchase 02/28 03:41 p #3365       SANTA FE CAFE           CALABASAS       CA 16061              15.80                       3,566.42
estauranVBar
3/02/16    Debit Card Purchase 02/28 03:46p #3365        CAFE OLE             CALABASAS       CA 16061                 13.90                       3,552.52
estauranVBar
3/02/16    Debit PIN Purchase 08:22_1)_ #3365     COSTCO WHSE #0117        WESTLAKE VILLCAUS02153                    113.90                        3,438.62
3/02/16    Debit PIN Purchase 08:20_1)_ #3365     COSTCO WHSE #0117        WESTLAKE VILLCAUS02153                     87.19                        3,351.43
3/03/16    Debit   PIN Purchase 07:28_1)_ #3365 ARCO #42146       WOODLAND HILLCAUS00155                              25.92                        3,325.51
3/03/16    Debit   PIN Purchase 06:19_1)_ #3365 EMBASSY LIQUOR & MARKE WOODLAND HILLCAUS02154                         24.27                        3,301.24
3/03/16    Debit   PIN Purchase 07:30_1)_ #3365 ARCO #42146       WOODLAND HILLCAUS02155                              11.00                        3,290.24
3/04/16    Debit   Card Purchase 03/02 05:40p #3365 CHOCOLATINE           THOUSAND OAKS CA 16063                      54.80                        3,235.44
estauranVBar
3/04/16    Debit PIN Purchase 08:00_1)_ #3365     #06335 ALBERTSON$       CALABASAS         CAUS02154                 78.51                        3,156.93
3/04/16    Debit PIN Purchase 01 :OOa #3365       #06335 ALBERTSON$       CALABASAS         CAUS02154                 36.04                        3,120.89
3/07/1 6   Cash Withdrawal on 03/051 01 :251) #3365      Teller                                                      763.15                        2,357.74
3/07/16    Debit Card Purchase 03/02 06:00p #3365        STORE IT MOBILE         WESTLAKE VI CA 16064                  92.50                       2,265.24
isc Business Services
3/07/16    Debit Card Purchase 03/03 07:58p #3365        TIC TOC CLEANERS           AGOURA HILLS CA 16064              51.00                       2,214.24
isc Personal Services
3/07/16    Debit Card Purchase 03/03 08:05p #3365        !TALIA DELI & BAKE      AGOURA HILLS CA 16064                37.56                        2,176.68
estauranVBar
3/07/16    Debit Card Purchase 03/03 12:22a #3365        LHC              THOUSAND OAKS CA 16064                      21 .74                       2,154.94
estauranVBar
3/07/16    Debit PIN Purchase 03/05 05:41 p #3365       RITE AID STORE - 5539 AGOURA HILLS CAUS02159                  80.33                        2,074.61
3/07/16    Debit PIN Purchase 03/05 04:32_1)_ #3365     SABZEE MARKET            ENCI NO      CAUS02154               58.88                        2,015.73
3/07/16    Cash Withdrawal on 03/051 07:34g #3365                                                                     43.00                        1,972.73
on Citi ATM *TOPANGA PLAZA MALL -   ANOGA PARK CAUS051
3/07/16    Debit PIN Purchase 08:57_1)_ #3365     RITE AID STORE - 5539 AGOURA HILLS CAUS02159                        15.71                        1,957.02
3/07/16    Check# 226                                                                                                200.00                        1,757.02
3/08/16    ACH Electronic Debit 041790 Malibu Ca WEB PMTS X30FR2                                                     105.00                        1,652.02
3/08/1 6   Debit Card Purchase 03/03 07:48p #3365 U-H AUL OF AGOURA                  AGOURA       CA 16067           146.70                        1,505.32
utos (rental , service, gas)
3/08/16    Debit Card Purchase 03/04 09:22p #3365        SHARKYS WOODFIRED MEX CALABASAS                  CA 16067    55.03                        1,450.29
estauranVBar
3/08/1 6   Debit Card Purchase 03/05 03:11 p #3365       Coral Tree Cafe - Enci Encino       CA 16067                 42.56                        1,407.73
estauranVBar
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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                                                                                                                                                                         Exhibit GGG pt. 1 Page 104 of 200
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OBIN C DIMAGGIO
itigold Account     42002622498
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ctivity
ontinued   Date         Descrip_tion                                                                                             Amount Subtracted    Amount Added        Balance
3/08/16    Debit Card Purchase 03/05 02:55p #3365                 SABZEE MARKET         ENCINO         CA 16067                 35.23                         1,372.50
ood & Beverai:ies
3/08/16    Debit Card Purchase 03/04 09:34p #3365                  CALABASAS MARKET & LIQ CALABASAS          CA 16067           28.65                        1,343.85
estaurant/Bar
3/08/16    Debit Card Purchase 03/05 07:01 p #3365                 COFFEE BEAN STORE        CANOGA PARK CA 16067                14.58                         1,329.27
estaurant/Bar
3/08/16    Debit Card Purchase 03/05 01 :38p #3365                 STARBUCKS #11603 WOODL Woodland Hill CA 16067                11.80                         1,317.47
estaurant/Bar
3/08/16    Debit Card Purchase 03/05 06:18p #3365                  CVS/PHARMACY #09751       AGOURA        CA 16067             11.76                         1,305.71
ood & Beverai:ies
3/08/16    Debit Card Purchase 03/04 04:37p #3365                  STARBUCKS #05636 CALAB Calabasas        CA 16065              7.30                         1,298.41
estaurant/Bar
3/08/16    Debit Card Purchase 03/03 01 :49p #3365                 CALABASAS MARKET & LIQ CALABASAS          CA 16065            7.11                         1,291.30
estaurant/Bar
3/08/16    Debit Card Purchase 03/05 05:47p #3365                  RITE AID STORE -5539 AGOURA HILLS CA 16067                    4.80                         1;·286.50
ood & Beverai:ies
3/08/16    Debit PIN Purchase 08:15_1)_ #3365 #06335 ALBERTSONS                   CALABASAS     CAUS02154                        4.35                        1,282.15
3/08/16    Check# 227                                                                                                           65.00                        1,217.15
3/09/16    Deposit Teller                                                                                                                  9,000.00         10,217.15
3/09/16    Debit PIN Purchase 08:07_1)_ #3365 ALBERT N. GHIAM                   CALABASAS      CAUS00155                         28.00                      10,189.15
3/09/16    Debit PIN Purchase 02:15_1)_ #3365 ALBERT N. GHIAM                   CALABASAS      CAUS00155                         26.50                      10,162.65
3/09/16    Cash Withdrawal 07:03_1)_ #3365 Teller                                                                             5,600.00                       4,562.65
3/09/16    Debit Card Purchase 03/06 02:39p #3365                                                                                26.38                       4,536.27
UGOS TACOS WOODLA                  WOODLANO HILL CA 16068
estaurant/Bar
3/09/16    Debit Card Purchase 03/06 04:22p #3365                  CALABASAS MARKET & LIQ CALABASAS          CA 16068           12.49                         4,523.78
estaurant/Bar
3/09/16    Debit PIN Purchase 07:30p_ #3365 BEST BUY #112                     THOUSAND OAKSCAUS80157                           204.22                         4,319.56
3/10/16    Debit PIN Purchase 01 :51 J)_ #3365 ALBERT N. GHIAM                   CALABASAS     CAUS00155                        23.75                         4,295.81
3/10/16    Debit Card Purchase 03/08 11 :11 p #3365                                                                             54.70                         4,241 .11
OOD RANCH AGOURA HILL AGOURA HILLS CA 16069
estaurant/Bar
3/10/16    Debit Card Purchase 03/07 06:27p #3365                  EXXONMOBIL     97654214 CALABASAS        CA 16069            28.85                         4,212.26
utos (rental, servic:_e, i:ias·
3/10/16    Debit Card Purchase 03/08 09:05p #3365                  USA*FANTASY PHOTO BOOT COSTA MESA               CA 16069      5.00                         4,207.26
ecreational Services
3/10/16    Debit Card Purchase 03/08 10:21 p #3365                                                                               3.97                         4,203.29
ETZEL'S PRETZELS OPS THOUSAND OAKS CA 16069
estaurant/Bar
3/10/16    Debit Card Purchase 03/08 10:44p #3365                  DIY HOME CENTER #13 AG AGOURA            CA 16069             3.80                         4,199.49
pecialty Retail stores
3/10/16    Cash Withdrawal 01 :51 p #3365               Non Citi ATM 4830 LAS VIRGENES R    CALABASAS      CAUS021             201.50                         3,997.99
3/10/16    Cash Withdrawal 01 :51 p #3365               Non Citi ATM 4830 LAS VIRGENES R    CALABASAS      CAUS021             201 .50                        3,796.49
                                                                                                                                                                                                             Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date         Descrip_tion                                                                          Amount Subtracted   Amount Added       Balance
3/10/16    Cash Withdrawal 06:30p_ #3365 Citibank ATM 3967 - 1000 OKS , w LKE VL, CA                       200.00                         3,596.49
3/11/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 358663174                                        248.50                         3,347.99
3/11 /16   ACH Electronic Debit BARCLAYCARD us CREDITCARD 358662575                                        543.83                         2,804.16
3/11/16    Debit Card Purchase 03/09 01 :36p #3365 JEANNINE s             WESTLAKE VLG   CA 16070           39.57                         2,764.59
estauranVBar
3/11/16    Debit Card Purchase 03/09 10:13p #3365     GREEN BASIL THAI RESTA CALABASAS        CA 16070       24.62                       2,739.97
estauranVBar
3/11/16    Debit Card Purchase 03/07 #3365     MEDITERRANEAN PITA GRI CALABASAS     CA 16070                 23.96                       2,716.01
estauranVBar
3/14/16    Transfer to Bankcard 04:15_e_ #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                  200.00                        2,516.01
3/14/16    Cash Withdrawal 04: 16p_ #3365 Teller                                                           800.00                        1,716.01
3/14/16    Debit Card Purchase 03/10 02:14p #3365 STARBUCKS #05858 CALAB Calabasas CA 16071                 52.65                        1,663.36
estauranVBar
3/14/16    Debit Card Purchase 03/09 08:06p #3365     EXXONMOBIL     97654214 CALABASAS      CA 16071         6.58                       1,656.78
utos (rental , service, gas}
3/14/16    Debit Card Purchase 03/09 05:49p #3365                                                             4.30                       1,652.48
MPCO PARKING DOHENY P BEVERLY HILLS CA 16071
utos {rental , service, gas)
3/14/16    Debit PIN Purchase 03/12 04:59p #3365                                                             21.43                       1,631.05
MBASSY LIQUOR & MARKE WOODLAND HILLCAUS02154
3/14/16    Debit PIN Purchase 03/12 04:41 p_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159              20.06                       1,610.99
3/14/16    Debit PIN Purchase 04:33p #3365 RITE AID STORE -5539 AGOURA HILLS CAUS02159                       10.89                       1,600.10
3/15/16    Debit Card Purchase 03/10 07:47p #3365 AL MULINO EATALIAN BAK THOUSAND OAKS CA 16072              96.28                       1,503.82
estauranVBar
3/15/16    Debit Card Purchase 03/11 11 :12p #3365    SHARKYS WOODFIRED MEX CALABASAS           CA 16074     40.65                       1,463.17
estauranVBar
3/15/16    Debit Card Purchase 03/12 09:44p #3365     MICHAELS PIZZA        CALABASAS    CA 16074            20.42                       1,442.75
estauran VBar
3/15/16    Debit Card Purchase 03/11 03 :18p #3365    SUBWAY      00515866 AGOURA HILLS CA 16074             15.31                       1,427.44
estauranVBar
3/15/16    Debit Card Purchase 03/11 03:38p #3365     SILVER STAR LIQUOR     AGOURA HILLS CA 16074           13.07                       1,414.37
ood & Beverages
3/15/16    Debit Card Purchase 03/12 05:27p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 16074          11 .65                      1,402.72
estauranVBar
3/15/16    Check# 229                                                                                        60.00                       1,342.72
3/16/16    Debit PIN Purchase 04:09p_ #3365 SHELL Service Station AGOURA CAUS00155                           18.32                       1,324.40
3/16/16    Debit Card Purchase 03/12 04:23p #3365 AGOURA'S FAMOUS DELI & AGOURA HILLS           CA 16075     38.87                       1,285.53
estau ranVBar
3/16/16    Debit Card Purchase 03/13 1O: 19p #3365    LITTLE SIAM RESTAURANT WEST HILLS       CA 16075       29.71                       1,255.82
estauranVBar
3/16/16    Debit Card Purchase 03/11 04:31 p #3365    FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16075           24.36                       1,231.46
estauranVBar
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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ontinued   Date         Descrigtion                                                                               Amount Subtracted     Amount Added          Balance
3/16/16    Debit Card Purchase 03/11 03:55p #3365        FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16075            23.69                          1,207.77
estaurant/Bar
3/16/16    Cash Withdrawal 04:25a #3365 Non Citi ATM 15004 OXNARD STREET VAN NUYS CAUS021                      110.00                           1,097.77
3/16/16    Cash Withdrawal 03:46a #3365 Non Citi ATM 5153 HOLLYWOOD BLVD LOS ANGELES CAUS801                   103.00                             994.77
3/17/16    Debit Card Purchase 03/14 11 :1Op #3365 MICHAELS PIZZA      CALABASAS CA 16076                        20.42                              974.35
estaurant/Bar
3/17/16    Debit Card Purchase 03/15 03:56p #3365        STARBUCKS #05549 LOS A Los Angeles CA 16076             10.40                              963.95
estaurant/Bar
3/17/16    Debit Card Purchase 03/15 05:17p #3365        STARBUCKS #05549 LOS A Los Angeles CA 16076              9.90                              954.05
estaurant/Bar
3/18/16    Cash Withdrawal 01 :31 _I)_ #3365 Non Citi ATM 280 s. ANDRADE RD ANDRADE CAUS021                    123.00                               831.05
3/18/16    Debit PIN Purchase 06:20_1)_ #3365 CIRCLE K 01391         WESTMORLAND CAUS02155                       9.23                               821 .82
3/21/16    Debit Card Purchase 03/12 #3365 STACI'S SKIN CARE SAL AGOURA HILLS CA 16078                          85.00                               736.82
isc Personal Services
3/21/16    Debit Card Purchase 03/17 12:56a #3365        FAT BURGER #116       WOODLAND HILL CA 16078            35.97                              700.85
estaurant/Bar
3/21/16    Debit Card Purchase 03/17 03:27a #3365        MONROE ST UNOCAL 76        INDIO       CA 16078         26.50                              674.35
utos (rental, service, Qas
3/21/16    Debit Card Purchase 03/16 04:23a #3365        SR VAN NUYS         VAN NUYS        CA 16078            18.00                              656.35
estaurant/Bar
3/21/16    Debit Card Purchase 03/17 01 :34p #3365       ANDRADE PARKING LOT        760-572-3581 CA 16078         6.00                              650.35
utos {rental, service, Qas·
3/21/16    Debit Card Purchase 03/17 04:56p #3365        ANDRADE PARKING LOT        760-572-3581 CA 16078         6.00                              644.35
utos (rental, service, gas)
3/22/16    Debit Card Purchase 03/19 11 :09p #3365       LADYFACE ALEHOUSE & BR AGOURA HILLS CA 16081            80.95                              563.40
estaurant/Bar
3/22/16    Debit Card Purchase 03/17 04:23p #3365        FOODCOURT GRILLE          WINTERHAVEN CA 16079          21.64                              541.76
estaurant/Bar
3/22/16    Debit Card Purchase 03/18 01 :11 p #3365      FOODCOURT GRILLE          WINTERHAVEN CA 16081          17.36                              524.40
estaurant/Bar
3/22/16    Debit Card Purchase 03/19 11 :30p #3365       CALABASAS MARKET & LIQ CALABASAS           CA 16081     13.07                              511 .33
estaurant/Bar
3/22/16    Debit Card Purchase 03/19 05:22p #3365        STARBUCKS #11603 WOODL Woodland Hill CA 16081            6.80                              504.53
estaurant/Bar
3/22/16    Debit Card Purchase 03/19 11 :30p #3365       CALABASAS MARKET & LIQ CALABASAS           CA 16081      6.53                              498.00
estaurant/Bar
3/22/16    Debit Card Purchase 03/18 01 :28p #3365       ANDRADE PARKING LOT        760-572-3581 CA 16079         6.00                              492.00
utos (rental, service, gas)
3/22/16    Debit Card Purchase 03/17 04:46p #3365        FOODCOURT GRILLE          WINTERHAVEN CA 16079           5.44                              486.56
estaurant/Bar
3/22/16    Debit Card Purchase 03/17 04:31 p #3365       FOODCOURT GRILLE          WINTERHAVEN CA 16079           3.75                              482.81
estaurant/Bar
3/22/16    Cash Withdrawal 09:28_1)_ #3365   Non Citi ATM 4830 LAS VIRGEN ES R     CALABASAS     CAUS021         61.50                              421.31
3/23/16    Dep_osit     Teller                                                                                                 500.00               921.31
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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                                                                                                                                                                        Exhibit GGG pt. 1 Page 107 of 200
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1D/R1 /04F013
arch 1 - March 31, 2016                    Page 7 of 10
OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date         Descrip_tion                                                                          Amount Subtracted     Amount Added            Balance
3/23/16    Cash Withdrawal 07:48p_ #3365 Teller                                                            383.00                                  538.31
3/23/16    Debit Card Purchase 03/20 10:10p #3365     MICHAELS PIZZA       CALABASAS    CA 16082            21.60                                  516.71
estaurant/Bar
3/23/16    Debit PIN Purchase 08:13p_ #3365 RITE AID STORE -5539 AGOURA HILLS CAUS02159                      44.55                                 472.16
3/23/16    Debit PIN Purchase 08:35p_ #3365 #06335 ALBERTSO      CALABASAS CAUS02154                         21.84                                 450.32
3/24/16    Debit Card Purchase 03/22 08 :25p #3365                                                            7.93                                 442.39
ETZEL'S PRETZELS OPS THOUSAND OAKS CA 16083
estaurant/Bar
3/24/16    Debit PIN Purchase 01 :16p_ #3365 THE UPS STORE #1093 CALABASAS CAUS02173                          8.00                           434.39
3/25/16    Dep_osit Teller                                                                                               3,000.00          3,434.39
3/25/16    Dep_osit Teller                                                                                               3,500.00          6,934.39
3/25/16    Transfer                                                                                        400.00                          6,534.39
3/25/16    Transfer                                                                                        200.00                          6,334.39
3/25/16    Cash Withdrawal 03:52p_ #3365 Teller                                                            500.00                          5,834.39
3/25/16    Cash Withdrawal 03:531)_ #3365 Teller                                                           173.00                          5,661 .39
3/25/16    Cash Withdrawal 05:54p_ #3365 Teller                                                            160.00                          5,501.39
3/25/16    Debit Card Purchase 03/23 10:48p #3365 GREEN BASIL THAI RESTA CALABASAS CA 16084                 16.17                          5,485 .22
estaurant/Bar
3/25/16    Debit Card Purchase 03/23 10:58p #3365     GREEN BASIL THAI RESTA CALABASAS        CA 16084        7.63                         5,477.59
estaurant/Bar
3/25/16    Debit PIN Purchase 06:39p_ #3365 CVS/PHARMACY #09 09751-Agoura       CAUS05159                    4.11                          5,473.48
3/28/16    ACH Electronic Debit AMEX EPAYMENT ACH PMT                                                    1,535.00                          3,938.48
3/28/16    ACH Electronic Debit 041790 Malibu Ca WEB PMTS J11VR2                                         1,992.86                          1,945.62
3/28/16    Debit Card Purchase 03/23 08:50p #3365 EXXONMOBIL         97654214 CALABASAS      CA 16085       36.48                          1,909.14
utos (rental, service, gas)
3/28/16    Debit Card Purchase 03/23 10:53p #3365     CALABASAS MARKET & LIQ CALABASAS        CA 16085       28.28                         1,880.86
estaurant/Bar
3/28/16    Debit Card Purchase 03/24 07:19p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 16085          10.25                         1,870.61
estaurant/Bar
3/29/16    Dep_osit Teller                                                                                                 563.00          2,433.61
3/29/16    Cash Withdrawal 05:26p_ #3365 Teller                                                            555.00                          1,878.61
3/29/16    Debit Card Purchase 03/26 11 :17p #3365    ADOBE CANTINA        AGOURA HILLS CA 16088           132.60                          1,746.01
estaurant/Bar
3/29/16    Debit Card Purchase 03/25 04:45p #3365     AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16088          76.00                          1,670.01
ecreational Services
3/29/16    Debit Card Purchase 03/27 08:07p #3365     SHALIMAR CUISINE INDIA WOODLAND HILL CA 16088         73.67                          1,596.34
estaurant/Bar
3/29/16    Debit Card Purchase 03/27 12:30a #3365     CALABASAS MARKET & LIQ CALABASAS        CA 16088       26.34                         1,570.00
estaurant/Bar
3/29/16    Debit Card Purchase 03/25 06:12p #3365     POSTAL ANNEX #170     AGOURA HILLS CA 16088            20.00                         1,550.00
pecialty Retail stores
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 108 of 200
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arch 1 - March 31, 2016                               Page 8 of 10
OBIN C DIMAGGIO
itigold Account     42002622498
hecking      Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued     Date           Descrip_tion                                                                                             Amount Subtracted      Amount Added         Balance
3/29/16       Debit Card Purchase 03/24 11 :51 p #3365        MICHAELS PIZZA        CALABASAS    CA 16086                        20.00                                1,530.00
estauranVBar
3/29/16       Debit Card Purchase 03/24 09:26p #3365          SANTA FE CAFE       CALABASAS      CA 16086                        17.22                                1,512.78
estauranVBar
3/29/16       Debit Card Purchase 03/24 05:27p #3365          ABM PARKING DOHENY PLA BEVERLY HILLS CA 16086                            6.45                           1,506.33
utos (rental, service, gas)
3/29/16       Debit PIN Purchase 06:01 _I)_ #3365 #06335 ALBERTSO CALABASAS CAUS02154                                              6.50                               1,499.83
3/30/16       Debit Card Purchase 03/27 04:45p #3365 CALABASAS MARKET & LIQ CALABASAS                    CA 16089                51 .88                               1,447.95
estauranVBar
3/30/16       Debit Card Purchase 03/25 05:33p #3365          AGOURA'S FAMOUS DELI & AGOURA HILLS CA 16089                       39.69                                1,408.26
estauranVBar
3/30/16       Debit Card Purchase 03/28 04:17p #3365          STARBUCKS #09384 WOODL Woodland Hill CA 16089                            9.35                           1,398.91
estauranVBar
3/30/16       Debit PIN Purchase 04:30p #3365          RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                   21.93                           1,376.98
3/31/16       Dep_osit Teller                                                                                                                         101 .00         1,477.98
3/31/16       Cash Withdrawal 03:56_1)_ #3365 Teller                                                                            111.00                                1,366.98
3/31/16       Debit Card Purchase 03/29 02:13p #3365          STARBUCKS #11603 WOODL Woodland Hill CA 16090                        5.90                               1,361.08
estauranVBar
3/31/16       Debit PIN Purchase 01 :37a #3365         #06335 ALBERTSO      CALABASAS      CAUS02154                                  31.80                           1,329.28
3/31/16       Debit PIN Purchase 04:44_1)_ #3365       CVS/ PHARMACY #09 09751-Agoura      CAUS05159                                  19.99                           1,309.29
3/31/16      Interest for 31 days, Annual Percentage Yield Earned 0.03%                                                                    0.06                       1,309.35
otal Subtracted/Added                                                                            19,662.39            16,664.06
3/31/16 Closing Balance                                                                                                                                              1,309.35
ll transaction times and dates reflected are based on Eastern Time.
 Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid          Check         Date               Amount        Check       Date             Amount         Check        Date            Amount          Check       Date     Amount
25         03[01                60.00   I    226       03L07             200.00   I      227         03LOB            65.00            229*       03L15             60.00
 indicates gap in check number sequence                            Number Checks Paid: 4                         Totaling: $385.00
                                                                                                                                                                                                                    Case 1:17-ap-01099-VK




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                                                                                                                                                                                           Exhibit GGG pt. 1 Page 109 of 200
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OBIN C DIMAGGIO
itigold Account      42002622498
hecking            Continued
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou .com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrip_tion                                                                              Amount Subtracted   Amount Added   Balance
3/01/16     Opening Balance                                                                                                                     39.66
3/31 /16    Closing Balance                                                                                                                     39.6~

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                                                                                                                                                                      Exhibit GGG pt. 1 Page 110 of 200
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itigold Account              42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call : Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                     Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
he Remittance Transfer Service to Banco Bolivariano and Banco del Austro in Ecuador,
nd to Banco Popular Dominicano in the Dominican Republic will be discontinued as of
une 1st, 2016. Our Wire Transfer Service is available with higher fees and different
erms either at the branch or through Citibank Online. Refer to the Client Manual and
arketplace Addendum for information regarding fees and terms.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     Last Period          This Period    I    I Earnings Summary                This Period   This Vear
itibank Accounts                                                                                Citibank Accounts
hecking                                                                                         Checking
hecking                                                1,309.35               38.31             Checking                            0.01        0.22
avin s                                                                                          Savings
nsured Money Market Accounts                             39.66                39.66             Insured Money Market Accounts       0.00       0.00
itigold Relationship Total                           $1,349.01                $77.97            Citigold Relationship Total         $0.01      $0.22
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
wareness is the key to protecting yourself from fraud. Never provide personal information in response to an
nsolicited request by fax, phone, email or mail. Immediately delete suspicious emails without opening them. Always
e aware of the source of checks that are deposited to your account. Avoid becoming a victim and protect your
nformation and your accounts. If you have any questions, please call us at 1-800-274-6660. In the NY metro area call
-800-627-3999,
                                                                                                                                                                                   Case 1:17-ap-01099-VK




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                                                                                                                                                          Exhibit GGG pt. 1 Page 111 of 200
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OBIN C DIMAGGIO
itigold Account      42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of March in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                    Your Combined Balance Range
1 500-$5 999
ates                                                          Standard
onthly Service Charge                                        $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                  Amount Subtracted   Amount Added    Balance
4/01/16    Opening Balance                                                                                                                  1,309.35
4/01/16    Deposit Teller                                                                                                       1,400.00    2,709.35
4/01/16    Debit Card Purchase 03/29 11 :07p #3365     CALABASAS MARKET & LIQ CALABASAS       CA 16091              62.57                   2,646.78
estauranVBar
4/01 /16   Debit Card Purchase 03/30 05: 11 p #3365    STARBUCKS #11603 WOODL Woodland Hill CA 16091                18.00                   2,628.78
estauranVBar
4/04/16    Debit Card Purchase 03/30 02:51 p #3365     CARRARA PASTRIES     AGUARA HILLS CA 16092                   41.06                   2,587.72
estauranVBar
4/04/16    Debit Card Purchase 03/30 11 :57p #3365     MICHAELS PIZZA     CALABASAS     CA 16092                    31 .22                  2,556.50
estauranVBar
4/04/16    Debit Card Purchase 03/29 10:56p #3365      MEDITERRANEAN PITA GRI CALABASAS       CA 16092              23.96                   2,532.54
estauranVBar
4/04/16    Debit Card Purchase 04/01 12:53a #3365      ALBERTSONS #6335     CALABASAS     CA 16092                  12.39                   2,520.15
ood & Beverai:ies
4/04/16    Debit Card Purchase 03/31 01 :55p #3365     STARBUCKS #11603 WOODL Woodland Hill CA 16092                12.10                   2,508.05
estauranVBar
4/04/16    Cash Withdrawal on 04/021 02:04a #3365                                                                  103.00                   2,405.05
on Clti ATM MANHATIAN BEACH       OJAI   CAUS021
4/04/16    Cash Withdrawal on 04/021 02:05a #3365                                                                  103.00                   2,302.05
on Clti ATM MANHATIAN BEACH       OJAI   CAUS021
4/04/16    Cash Withdrawal on 04/021 12:24a #3365      ATM 4919 LAS VIRGENES RD CALABASAS      CAUS021              20.00                   2,282.05
                                                                                                                                                                                Case 1:17-ap-01099-VK




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                                                                                                                                                       Exhibit GGG pt. 1 Page 112 of 200
                                                                                                                                                       Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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pril 1 - May 1, 2016                           Page 3 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrip_tion                                                                                 Amount Subtracted     Amount Added         Balance
4/05/16    ACH Electronic Debit CA541 -Avalon C WEB PMTS HZOP84                                                1,433.02                               849.03
4/05/16    Debit Card Purchase 04/01 08:48p #3365 SANTA FE CAFE             CALABASAS      CA 16095               14.97                               834.06
estaurant/Bar
4/05/16    Debit Card Purchase 04/02 02:27p #3365       COFFEE BEAN STORE      THOUSAND OAKS CA 16095              14.95                             819.11
estaurant/Bar
4/05/16    Debit Card Purchase 04/02 10:30p #3365       MICHAELS PIZZA       CALABASAS     CA 16095                13.75                             805.36
estaurant/Bar
4/05/16    Debit Card Purchase 04/01 08:49p #3365       CAFE OLE          CALABASAS      CA 16095                   5.55                             799.81
estaurant/Bar
4/06/16    Debit PIN Purchase 01 :58a #3365 #06335 ALBERTSO         CALABASAS CAUS02154                           13.77                              786.04
4/06/16    Debit PIN Purchase 04/05 10:44_1)_ #3365 COSTCO WHSE #0117 WESTLAKE VILLCAUS02153                      13.47                              772.57
4/08/16    Debit PIN Purchase 06:16_1)_ #3365 RITE AID STORE - 5539 AGOURA HILLS CAUS02159                         6.09                              766.48
4/11 /16   Debit PIN Purchase 04/09 07:02a #3365 ARCO #42938            LOS ANGELES CAUS00155                     42.27                              724.21
4/11 /16   Cash Withdrawal 05:26_1)_ #3365 Teller                                                                234.98                              489.23
4/11 /16   Cash Withdrawal 05:29_1)_ #3365 Teller                                                                 40.00                              449.23
4/11 /16   Debit Card Purchase 04/06 07:24p #3365 MICHAELS PIZZA          CALABASAS     CA 16099                  10.34                              438.89
estaurant/Bar
4/11 /16   Debit PIN Purchase 04/09 06:48a #3365       VONS   Store 2665 LOS ANGELES CAUS02154                     50.41                             388.48
4/11/16    Debit PIN Purchase 04/10 09:11 _I)_ #3365   CVS/PHARMACY #09 09751-Agoura       CAUS05159               13.90                             374.58
4/12/16    Debit Card Purchase 04/10 03:45p #3365       CHILDREN'S HOSPITAL LO LOS ANGELES CA 16102                15.59                             358.99
estauran t/Bar
4/12/16    Debit Card Purchase 04/10 04:42p #3365       CHILDREN'S HOSPITAL LO LOS ANGELES CA 16102                14.72                             344.27
estaurant/Bar
4/12/16    Debit Card Purchase 04/10 01 :43a #3365      CHILDREN'S HOSPITAL LO LOS ANGELES CA 16102                10.34                             333.93
estaurant/Bar
4/12/16    Debit Card Purchase 04/10 06:28p #3365       CHILDREN'S HOSPITAL LO LOS ANGELES CA 16102                 8.12                             325 .81
estaurant/Bar
4/12/16    Debit Card Purchase 04/09 10:40p #3365       CHILDREN'S HOSPITAL LO LOS ANGELES CA 16102                 4.98                             320.83
estaurant/Bar
4/12/16    Check# 431                                                                                             60.00                              260.83
4/13/16    ACH Electronic Debit BARCLAYCARD us RETRY PYMT 365792647                                              100.00                              160.83
4/13/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 365793973                                              100.00                               60.83
4/13/16    Debit PIN Purchase 01 :52a #3365 ALBERT N. GHIAM CALABASAS            CAUS00155                         32.01                              28.82
4/14/16    Transfer from Checking_ 12:47a #3365 ONLINE          Reference # 000226                                               200.00              228 .82
4/14/16    Debit Card Purchase 04/11 10:30p #3365 AGOURA HILLS STADIUM a AGOURA HILLS               CA 16104       23.08                             205.74
ecreational Servi ces
4/14/16    Debit Card Purchase 04/11 10:35p #3365       AGOURA HILLS STADIUM a AGOURA HILLS CA 16104                9.74                             196.00
ecreational Services
4/15/16    Debit PIN Purchase 02:16_1)_ #3365 SHELL Service Station AGOURA CAUS00155                               29.53                             166.47
4/15/16    Debit Card Purchase 04/13 01 :49a #3365 JAC K IN THE BOX #31 QPS CALABASAS          CA 16105             7.17                             159.30
estaurant/Bar
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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                                                                                                                                                                         Exhibit GGG pt. 1 Page 113 of 200
                                                                                                                                                                         Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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pril 1 - May 1, 2016                               Page 4 of 5
OBIN C DIMAGGIO
itigold Account       42002622498
hecking            Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued           Date        Descrip_tion                                                                                   Amount Subtracted       Amount Added      Balance
4/19/16    Debit PIN Purchase 09:12E #3365 SHELL Service Station CALABASAS CAUS00155                                34.00                                    125.30
4/20/16    Debit Card Purchase 04/17 06:58p #3365 SHELL OIL 57444585103 AGOURA      CA 1611 O                       17.90                                    107.40
utos (rental, service, gas)
4/21/16    Debit PIN Purchase 03:09e #3365 ARCO #42146            WOODLAND HILLCAUS00155                            29.85                                     77.55
4/21/16    Debit Card Purchase 04/18 06:37p #3365 SUBWAY            00011106 CALABASAS   CA 16111                    9.26                                     68.29
estauranVBar
4/22/16       Transfer from Checking 03:47p #3365 Citibank ATM 4809COMMONS WY, CALABASAS . CA                                        100.00                 168.29
4/22/16       Cash Withdrawal 03:49E #3365 Teller                                                                 55.00                                     113.29
4/25/16       Check # 230                                                                                         60.00                                      53.29
4/28/16       Debit PIN Purchase 10:21 E #3365 COSTCO WHSE #0117 WESTLAKE VILLCAUS02153                           14.99                                      38.30
4/29/16       Interest for 31 days, Annual Percentage Yield Earned 0.02%                                                                0.01                 38.31
otal Subtracted/Added                                                                             2,971 .05        1,700.01              ~-.   ....
5/01 /16 Closing Balance                                                                                                                                     38.31
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                       600
otal Points forwarded to Citi® ThankYou® Rewards                                                  600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou .com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avln.9.s
itibank®          Citibank® Savings Plus 42002622506 (This reports your savings account balances and activity from Apr. 01 through Apr. 30, 2016)
avings Plus
ccount Activity   Date        Descrip_tion                                                                                        Amount Subtracted      Amount Added   Balance
4/01/16     O~Balance                                                                                                                                         39.66
4/30/16     Closing Balance                                                                                                                                   39.66
                                                                                                                                                                                                           Case 1:17-ap-01099-VK




             EX. GGG - 113
                                                                                                                                                                                  Exhibit GGG pt. 1 Page 114 of 200
                                                                                                                                                                                  Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
                                                                                                                                                                                                           Desc
10/R1 /04F013
pril 1 - May 1, 2016                                             Page 5 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
lease read the paragraphs below for important information on your accounts with us. Note that some of these products may not be available in all states or in all packages.
ITIBANK ACCOUNTS
he products reported on this statement have been combined onto one monthly statement at your request. Opening and closing dates of the statement period are disclosed with the opening and closing balance for each bank product
n the applicable transaction activity section. The ownership and title of individual products reported here may be different from the addressee(s) on the first page.
HECKING AND SAVINGS
DIC Insurance:
he following bank deposits are FDIC insured up to applicable limits : Checking, Interest Checking , Insured Money Market Account, Certificates of Deposit and IRA & Keogh funds held in bank deposits.
ERTIFICATES OF DEPOSIT
ertificates of Deposit (CD) information may show dashes in certain fields if on the date of your statement your new CD was not yet funded or your ex isting CD renewed but is still in its grace period .
N CASE OF ERRORS
n Case of Errors or Questions about Your Electronic Fund Transfers:
f you think your statement or record is wrong, or if you need more information about a transfer on the statement or record, telephone us or write to us at the address shown on the first page of your statement as soon as possible. We
ust hear from you no later than 60 days after we sent you the first statement on which the error or problem appeared . You are entttled to remedies for error resolution for an electronic funds transfer in accordance with the Electronic
unds Transfer Act and federal Regulation E or in accordance with laws of the state where your account is located as may be applicable . See your Client Manual for details .
ive us the following information: (1) your name and account number, (2) the dollar amount of the suspected error, (3) describe the error or the transfer you are unsure about and explain as clearly as you can why you believe there
s an error or why you need more information. We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will recredit your account for the amount you think is in error, so
hat you will have use of the money during the time it takes us to complete our investigation.
he following special procedures apply to errors or questions about international wire transfers or international Citibank Global Transfers to a recipient located in a foreign country on or after October 28, 2013:
elephone us or write to us at the address shown in the Customer Service Information section on your statement as soon as possible. We must hear from you within 1 BO days of the date we indicated to you that the funds would be
ade available to the recipient of that transfer. At the time you contact us, we may ask for the following information: 1) your name, address and account number; 2) the name of the person receiving the funds, and if you know tt, his or
er telephone number and/or address; 3) the dollar amount of the transfer; 4) the reference code for the transfer; and 5) a description of the error or why you need additional information . We may also ask you to select a choice of
emedy (credit to your account in an amount necessary to resolve the error or alternatively, a resend of the transfer in an amount necessary to resolve the error for those cases where bank error is found) . We will determine whether an
rror has occurred within 90 days after you contact us. If we determine that an error has occurred, we will promptly correct that error in accordance with the error resolution procedures under the Electronic Fund Tran sfer Act and
ederal Regulation E or in accordance with the laws of the state where your account is located as may be applicable. See your Client Manual for details .
RAs AND KEOGH Plans Citibank, N.A. is custodian of your Citibank IRA and trustee of your Citibank Keogh Plan .
REDIT PRODUCTS
hecking Plus - Fixed Rate and Variable Rate
verage Dally Balance: The Average Daily Balance is computed by taking the beginning balance on your account each day, adding any new advances and adjustments as of the day they are made, and subtracting any payments as
f the day received, credits as of the day issued, and any unpaid Interest Charges or other fees and charges. This gives you a daily balance. Add up all the daily balances for the statement period and divide the total by the number of
ays in the statement period . This gives you the Average Daily Balance. For Checking Plus (variable rate), the Daily Periodic Rate and the corresponding Annual Percentage Rate may vary.
nterest Charge: The Interest Charge is computed by applying the Daily Periodic Rate to the "daily balance" of your account for each day in the statement period. To get the "daily balance" we take the beginning balance each day, add
ny new advances and adjustments, and subtract·any unpaid interest or other finance charges and any payments or credits . This gives us the daily balance . You may verify the amount of the Interest Charge by (1) multiplying each of
he average daily balances by the number of days this rate was in effect, and then (2) multiplying each of the results by the applicable Daily Periodic Rate, and (3) adding these products together. (All of these num bers can be found in
he table called "Interest Charge Calculation". Each average daily balance is disclosed as Balance Subject to Interest Rate. The daily periodic rate is the Annual Percentage Rate divided by 365 , except in leap years when it will be
ivided by 366.) For Checking Plus (variable rate), the Daily Periodic Rate and the corresponding Annual Percentage Rate may vary.
nterest Charges are assessed on loans as of the day we pay your check or otherwise make funds available to you from your account. The total Interest Charges paid during the year will be shown on your statement. We may report
nformation about your account to credit bureaus. Late payments , missed payments, or other defaults on your account may be reflected in your credit report.
ayment Instructions: You can make payments online via www.citibank .com, by phone - call (BBB) 248-4465, at any Citibank branch , Citicard Banking Center, or by mail. If paying by mail , you must include your account number and
end your payment to: Citibank, N.A., PO Box 78003, Phoenix, AZ. 85062-8003
ther Information: Checks drawn against a business account are not acceptable as payment for a personal loan obligation.
equest for Credit Balance Refunds: If your statement shows a credit balance it means your loan payments have exceeded the total amount you owe. You may request a full refund of the credit balance by writing to us at the
ddress shown on the first page of your statement.
ou are entttled to remedies for error resolution for an electronic funds transfer in accordance with the Electronic Funds Transfer Act and federal Regulation E or in accordance with laws of the state where your account is located as
ay be applicable. See your Client Manual for details.
illing Rights Summary - What To Do If You Think You Find A Mistake On Your Statement.
f you think there is an error on your statement, write to us at the address shown on the first page of your statement (Attn: Checking Plus) .
n your letter, give us the following information:
 Account information:Your name and account number.
 Dollar amount:The dollar amount of the suspected error.
 Description of the Problem: If you think there is an error on your bill , describe what you believe is wrong and why you believe it is a mistake.
ou must contact us within 60 days after the error appeared on your statement. You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may
ave to pay the amount in question. While we investigate whether or not there has been an error, the following are true :
 We cannot try to collect the amount in question , or report you as delinquent on that amount.
 The charge in question may remai n on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to pay the amount in question or any interest
r other fees related to that amount.
 While you do not have to pay the amount in question, you are responsible for the remainder of your balance .
 We can apply any unpaid amount against your credit limit.
REDIT CARDS
nformation about your Citibank credit card account(s) on this statement is summary information as of your last credit card statement.
ou will continue to receive your regular monthly credit card statement(s) .                                                                                                   Citibank is an Equal Housing Lender.         @
itibank credit cards are issued by Citibank , N.A. AAdvantage® is a registered trademark of American Airlines , Inc.                                                                                                      EQUAL HOUSING
ENDER
hecking Plus®, MasterCard, Visa, Citibank Preferred Visa and MasterCard , Citibank Platinum Select, Citigold,
itiPhone Banking and Ready Credit are registered service marks of Citigroup, Inc.
itibank, N.A. Member FDIC
                                                                                                                                                                                                                                                                         Case 1:17-ap-01099-VK




            EX. GGG - 114
                                                                                                                                                                                                                                                Exhibit GGG pt. 1 Page 115 of 200
                                                                                                                                                                                                                                                Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
ay 2 - May 31, 2016                                        Page 1 of 5
itigold Account                  42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi!;Jold Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                    Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ou're invited to apply for a Citibank(r) Personal Loan.
 personal loan offers you the stability of a fixed rate and fixed payment. It's perfect if you
eed to make a large purchase or want to consolidate higher-interest loans or credit card
alances into one lower-rate loan. Visit your nearest Citibank branch, call 888-919-5491
r sign in to citi.com/personalloan to apply.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                     Last Period          This Period    I   I Earnings Summary                 This Period   This Vear
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                  38.31               81 .75            Checking                              0.00        0.23
avin s                                                                                         Savings
nsured Money Market Accounts                             39.66               39.66             Insured Money Market Accounts         0.00        0.00
itigold Relationship Total                               $77.97             $121.41            Citigold Relationship Total           $0.00       $0.23
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltlgold
ffective immediately, for joint Safety Check Contributing Accounts, you will no longer be required to have all account
wners authorize Safety Check coverage. If you have questions about this change or you would like to request a copy
f the Client Manual and Marketplace Addendum, please stop by your local branch, visit us online at Citibank.com, or
all us at the numbers provided at the end of this statement.
                                                                                                                                                                                   Case 1:17-ap-01099-VK




            EX. GGG - 115
                                                                                                                                                          Exhibit GGG pt. 1 Page 116 of 200
                                                                                                                                                          Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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ay 2 - May 31, 2016                          Page 2 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period , Citibank considers your average balance during the
onth of April in all your qualifying accounts that you asked us to combine. These balances may be in accounts that are reported on other
tatements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking , savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional eligible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                   Your Combined Balance Range
1 500-$5 999
ates                                                         Preferred
onthly Service Charge                                       $30.00(Waived)
'
ll fees assessed for this statement period will appear as charges to your checking account on your next Citigold statement.
hecking
hecking     High Interest Checking 42002622498
ctivity
ate        Descrif>_tion                                                                                 Amount Subtracted   Amount Added     Balance
5/02/16    O~Balance                                                                                                                            38.31
5/03/16    Deposit Teller                                                                                                          60.00        98.31
5/03/16    Del)_osit Teller                                                                                                     1,450.00     1,548.31
5/03/16    Cash Withdrawal 05:24p_ #3365 Teller                                                                     10.00                    1,538.31
5/04/16    ACH Electronic Debit CA541 - Avalon C WEB PMTS YOFZF4                                                 1,447.02                       91 .29
5/05/16    ACH Electronic Debit AMERICAN EXPR ACH PMT                                                               35.00                       56.29
5/06/16    Transfer on 05/051 from Checking 10:39p #3365 ONLINE                Reference# 004711                                  200.00       256.29
-
5/09/16    De_e_osit Teller                                                                                                       300.00      556.29
5/09/16    Cash Withdrawal 06:13p #3365 Teller                                                                    300.00                      256.29
5/10/16    Dep_osit Teller                                                                                                        200.00      456.29
5/11/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 372110217                                                100.00                     356.29
5/11/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 372110872                                                100.00                     256.29
5/12/16    Deposit Teller                                                                                                         400.00     656.29
5/12/16    Cash Withdrawal 03:17p #3365 Teller                                                                    300.00                     356.29
-
5/16/16    Cash Withdrawal on 05/141 10:16p #3365                                                                  23.25                     333.04
on Citi ATM 2 DOLE DR         WESTLAKE VILLCAUS021
                                                                                                                                                                                  Case 1:17-ap-01099-VK




            EX. GGG - 116
                                                                                                                                                         Exhibit GGG pt. 1 Page 117 of 200
                                                                                                                                                         Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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ay 2 - May 31, 2016                           Page 3 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
hecking     Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued     Date       Descrip_tion                                                                                   Amount Subtracted    Amount Added               Balance
5/18/16    Dep_osit Teller                                                                                                       1,240.00                  1,573.04
5/19/16    Cash Withdrawal 06:20_1)_ #3365 Teller                                                                1,200.00                                    373.04
5/19/16    Debit PIN Purchase 07:18_1)_ #3365 PETSMART INC 103      WESTLAKE VILLCAUS02159                          46.00                                    327.04
5/20/16    Cash Withdrawal 05:52_1)_ #3365 Non Citi ATM 2 DOLE DR       WESTLAKE VILLCAUS021                        43.25                                    283 .79
5/20/16    ACH Electronic Debit RODALE INC BOOKS 6109675171 0000000232                                              28.22                                    255.57
5/23/16    Debit PIN Purchase 05/22 11 :15_1)_ #3365 ALBERT N. GH IAM     CALABASAS CAUS00155                       33.00                                    222.57
5/24/16    Debit Card Purchase 05/20 07:24p #3365 AGOURA HILLS STADIUM B AGOURA HILLS CA 16144                      37.75                                    184.82
ecreational Services
5/25/16    Debit Card Purchase 05/22 02:1Op #3365         SANTA FE CAFE       CALABASAS    CA 16145                  28.54                                  156.28
estau ranVBar
5/25/16    Debit Card Purchase 05/20 05:58p #3365         FOUR SEASONS WLAKE FB WESTLAKE VILL CA 161 45              16.39                                  139.89
estauranVBar
5/25/16    Debit Card Purchase 05/22 02:13p #3365         SANTA FE CAFE       CALABASAS    CA 161 45                  6.48                                  133.41
estauranVBar
5/25/16    Debit Card Purchase 05/20 06:47p #3365         FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16145                5.67                                  127.74
estauranVBar
5/25/16    Cash Withdrawal 12:35a #3365 ATM 4919 LAS VIRGENES            RD CALABASAS   CAUS021                      80.00                                   47 .74
5/27/16    Interest for 29 days, Annual Percentage Yield Earned 0.04%                                                                  0.01                  47.75
5/31/16    De_JJ_osit Teller                                                                                                         700.00                 747.75
5/31/16    Cash Withdrawal 05/31 02:07_1)_ #3365     Teller                                                        666.00                                    81.75
otal Subtracted/Added                                                                                4,506.57        4,550.01
5/31 /1 6 Closing Balance                                                                                                                                   81.75
ll transaction times and dates reflected are based on Eastern Time.

ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®                                                                      ThankYou® Points Summary
ummary
oints from checking account and other products and services                                     600
otal Points forwarded to Citi® ThankYou® Rewards                                                600
o to thankvou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
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onditions of ThankYou Rewards for important details.
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




            EX. GGG - 117
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10/R1 /04F013
ay 2 - May 31, 2016                             Page 4 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
avings
itibank®           Citibank® Savings Plus 42002622506 {This reports your savings account balances and activity from May 01 through May 31 , 2016)
avings Plus
ccount Activity    Date        Descrip_tion                                                                                       Amount Subtracted   Amount Added   Balance
5/01/16     O~Balance                                                                                                                                   39.66
5/31/16     Closing Balance                                                                                                                             39.66




                                                                                                                                                                                                        Case 1:17-ap-01099-VK




             EX. GGG - 118
                                                                                                                                                                               Exhibit GGG pt. 1 Page 119 of 200
                                                                                                                                                                               Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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10/R1 /04F013
ay 2 - May 31, 2016                                              Page 5 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
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ITIBANK ACCOUNTS
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RAs AND KEOGH Plans Citibank, N.A. is custodian of your Citibank IRA and trustee of your Citibank Keogh Plan.
REDIT PRODUCTS
hecking Plus - Fixed Rate and Variable Rate
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nformation about your account to credit bureaus . Late payments, missed payments, or other defaults on your account may be reflected in your credit report.
ayment Instructions: You can make payments on line via www.citibank.com, by phone - call (888) 248-4465, at any Citibank branch , Citicard Banking Center, or by mail. If paying by mail, you must include your account number and
end your payment to: Citibank, N.A., PO Box 78003, Phoenix, AZ. 85062-8003
ther Information: Checks drawn against a business account are not acceptable as payment for a personal loan obligation.
equest for Credit Balance Refunds: If your statement shows a credit balance it means your loan payments have exceeded the total amount you owe . You may request a full refund of the credit balance by writing to us at the
ddress shown on the first page of your statement.
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illing Rights Summary - What To Do If You Think You Find A Mistake On Your Statement.
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 Account information:Your name and account number.
 Dollar amount: The dollar amount of the suspected error.
 Description of the Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
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 While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
 We can apply any unpaid amount against your credit limit.
REDIT CARDS
nformation about your Citibank credit card account(s) on this statement is summary information as of your last credit card statement.
ou will continue to receive your regular monthly credit card statement(s).                                                                                                    Citibank is an Equal Housing Lender.        @
itibank credit cards are issued by Citibank, N.A. AAdvantage® is a registered trademark of American Airlines, Inc.                                                                                                        EQUAL HOUSING
ENDER
hecking Plus®, MasterCard, Visa, Citibank Preferred Visa and MasterCard, Citibank Platinum Select, Citigold,
itiPhone Banking and Ready Credit are registered service marks of Citigroup, Inc.
itibank, N.A. Member FDIC
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une 1 - June 30, 2016                                          Page 1 of 5
itigold Account       42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citigold Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                      Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ffective February I, 2016, for all Citigold(R) Account Packages, the combined average monthly
alance to receive other bank ATM fee reimbursements has decreased from $500,000 or more to
200,000 or more for the calendar month prior to the ATM transaction. In addition the six (6)
ransaction limit has been eliminated. Effective May I, 2016, the $5.00 per transaction limit has
een eliminated for all Citigold(R) Account Packages with a combined average monthly balance of
200,000 or more for the calendar month prior to the ATM transaction.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period          This Period   I    I Earnings Summary                This Period   This Vear
itibank Accounts                                                                                Citibank Accounts
hecking                                                                                         Checking
hecking                                                   81 .75              90.44             Checking                             0.01       0.24
avin s                                                                                          Savings
nsured Money Market Accounts                             39.66                39.66             Insured Money Market Accounts       0.00       0.00
itigold Relationship Total                              $121.41              $130.10            Citigold Relationship Total         $0.01      $0.24
 To ensure quality service, calls are randomly monitored and may be recorded .
                                                                                                                                                                                   Case 1:17-ap-01099-VK




            EX. GGG - 120
                                                                                                                                                          Exhibit GGG pt. 1 Page 121 of 200
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une 1 - June 30, 2016                                 Page 2 of 5
OBIN C DIMAGGIO
itigold Account      42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service charge for this statement period,
nd the transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the
onth of May in all your qualifying accounts that you asked us to combine. If you have a Citibank secured credit card , then Citibank will also
nclude the balance in your Collateral Holding Account or your Certificate of Deposit that secures your Citibank credit card. These balances
ay be in accounts that are reported on other statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts and investments
lease refer to your Client Manual and Marketplace Addendum booklets and amendments for details. To link additional elig ible Citibank
ccounts for consideration for next month's balances please refer to the phone number on page 1.
ates and Charges                                    Your Combined Balance Range
1 500-$5 999
ates                                                          Standard
 t-.,
onthly Service Charge                                        $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your checking account on you r next Citigold statement.
hecking_
hecking     High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                  Amount Subtracted    Amount Added       Balance
   -
6/01/16    Opening Balance                                                                                                                          81.75
6/01/16    Dep_osit Teller                                                                                                          80.00          161.75
6/01/16    Dep_osit Teller                                                                                                       1,400.00        1,561 .75
6/03/16    Dep_osit 03:42a #3365 Ci1ibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                                         20.00        1,581 .75
6/03/16    Dep_osit 03:42a #3365 Citibank ATM 5837 KNAN RD , AGOURA HLLS, CA                                                       180.00        1,761.75
6/03/16    ACH Electronic Debit CA541 -Avalon C WEB PMTS J8PHM4                                                  1,448.41                          313.34
6/03/16    Debit Card Purchase 07:11 p #3365 STARBUCKS STORE 11603 WOODLAND HILL CA 16154                            3.75                          309.59
estauranVBar
6/03/16      Debit Card Purchase 07:14p #3365      STARBUCKS STORE 11603 WOODLAND HILL CA 16154                      10.00                        299.59
estauranVBar
6/03/16    ACH Electronic Debit AMERICAN EXPR ACH PMT                                                              100.00                          199.59
6/13/16    Dep_osit Teller                                                                                                       1,093.38        1,292.97
6/13/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 379243344                                                200.00                        1,092.97
6/13/16    Debit PIN Purchase PETSMART INC 103     WESTLAKE VILLCAUS02159                                           10.21                        1,082.76
6/13/16    Cash Withdrawal 06/11 04:22_1)_ #3365 Teller                                                            321.98                          760.78
6/14/16    Transfer From Checking_ 10:141)_ #3365 ONLINE          Reference # 001756                                               200.00          960.78
                                                                                                                                                                                      Case 1:17-ap-01099-VK




            EX. GGG - 121
                                                                                                                                                             Exhibit GGG pt. 1 Page 122 of 200
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une 1 - June 30, 2016                         Page 3 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued     Date      Descrip_tion                                                                                         Amount Subtracted   Amount Added           Balance
6/14/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 379729416                                                      200.00                               760.78
6/14/16   Debit Card Purchase 06/11 04:38p #3365 YOGIS GRILL WOODLAND                 WOODLAND HILL CA 16165             27.18                               733.60
estauranVBar
6/14/16   Debit Card Purchase 06/12 01 :09a #3365             LHC            THOUSAND OAKS CA 16165                       32.01                              701.59
estauranVBar
6/14/16   Debit Card Purchase 06/11 11 :48p #3365             MICHAELS PIZZA      CALABASAS    CA 16165                   33.49                              668.10
estauranVBar
6/14/16   Debit Card Purchase 06/11 07:50p #3365              FANDANGO .COM        866-857-5191 CA 16165                158.75                               509.35
ecreational Services
6/15/16   Debit Card Purchase 06/12 07:06p #3365             AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16166                 12.99                              496.36
ecreational Services
6/15/16   Debit Card Purchase 06/12 06:56p #3365             AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16166                 24.08                              472.28
ecreational Services
6/15/16   Debit Card Purchase 06/12 06:55p #3365             AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16166                 58.50                              413.78
ecreational Services
6/17/16   Debit Card Purchase 06/14 06:17p #3365             811 61 -TARZANA MEDICA TARZANA       CA 16168                 6.00                              407.78
utos (rental , service, gas}
6/27/16   Deposit 08_:13p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                               20.00                427.78
6/27/16   Deposit Teller                                                                                                                371 .36               799.14
6/27/16   Transfer From Checking 08:14p #3365 Citiban k ATM 22000 VNTURA, WDLAND HLLS, CA                                               400.00              1,199.14
6/27/16   Deposit 08:12p #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                               780.00              1,979.14
6/27/16   Debit PIN Purchase TIC TOC CLEANERS        AGOURA HILLS CAUS05172                                              17.00                              1,962.14
6/27/16   Cash Withdrawal 06/25 03:34p #3365 Teller                                                                      20.00                              1,942.14
6/27/16   Debit PIN Purchase 7-ELEVEN            CALABASAS CAUS00155                                                     30.00                              1,912.14
6/27/16   Debit PIN Purchase GNC #01591 GNC 01591573AGOURA HILLS CAUS05154                                               55.57                              1,856.57
6/27/16   Cash Withdrawal 06/25 03:32_1)_ #3365 Teller                                                                  371 .00                             1,485.57
6/28/16   Debit Card Purchase 06/25 11 :51 p #3365 PARKWAY KABOB & GRILL CALABASAS CA 161 79                             13.03                              1,472.54
estauranVBar
6/28/16   Debit Card Purchase 06/25 11 :20p #3365             PARKWAY KABOB & GRILL CALABASAS       CA 161 79             38.63                             1,433.91
estau ranVBar
6/29/16   ACH Electronic Debit COMENITY PAY OH PHONE PYMT                                                              1,319.51                              114.40
6/29/16   Debit Card Purchase 06/26 11 :43p #3365 AGOURA s FAMOUS DELI & AGOURA HILLS                 CA 16180            16.12                                98.28
estauranVBar
6/30/16   Debit Card Purchase 06/27 01 :37p #3365                                                                          7.85                                90.43
TARBUC KS STORE 11603 WOODLAND HILL CA 16181
estauranVBar
6/30/16   Interest for 30 days, Annual    Percen tage Yield Earned 0.02%                                                                  0.01                 90.44
otal Subtracted/Added                                                                                         4!536.06     4!544.75
6/30/16   Closing Balance                                                                                                                                      90.44
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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                                                                                                                                                                                 Exhibit GGG pt. 1 Page 123 of 200
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une 1 - June 30, 2016                              Page 4 of 5
OBIN C DIMAGGIO
itigold Account     42002622498
hecking           Continued
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou .com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
..

avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrip_tion                                                                              Amount Subtracted   Amount Added   Balance
6/01/16     Opening Balance                                                                                                                       39.66
6/30/16     Closing Balance                                                                                                                       39.66                                        Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 124 of 200
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uly 1 - July 31, 2016                          Page 1 of 9
itigold Account           42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi9old Services at {888) 248-4465*
or speech and hearing impaired customers only: TTY 800-788-6775.
OBIN C DIMAGGIO                                                                   Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
isit Citi.com/DivelntoDigital to learn about Citi's exciting new digital
romotion .
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period         This Period   I    I Earnln9s Summary                 This Period   This Year   I
itibank Accounts                                                                               Citibank Accounts
hecking                                                                                        Checking
hecking                                                   90.44          43,447.46             Checking                             1.08        1.32
avin s                                                                                         Savings
nsured Money Market Accounts                              39.66              39.66             Insured Money Market Accounts        0.00       0.00
itigold Relationship Total                               $130.10         $43,487.12            Citigold Relationship Total          $1.08      $1.32
 To ensure quality service, calls are randomly monitored and may be recorded .

                                                                                                                                                                                       Case 1:17-ap-01099-VK




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                                                                                                                                                              Exhibit GGG pt. 1 Page 125 of 200
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uly 1 - July 31, 2016                          Page 2 of 9
OBIN C DIMAGGIO
itigold Account      42002622498
ees & Rates Detall
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service fee for this statement period, and
he transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the month
f June in all your qualifying accounts that you asked us to combine. If you have a Citibank secured credit card, then Citibank will also include
he balance in your Collateral Holding Account or your Certificate of Deposit that secures your Citibank credit card. These balances may be in
ccounts that are reported on other statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts, loans (except mortgage from CitiMortgage), credit cards and investments
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                         Your Combined Balance Range
1 500-$5 999
ates                                      ,.                       Standard                                                       _.J   l .
-·
onthly Service Charge                                             $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                      Amount Subtracted   Amount Added          Balance
7/01/16    Opening Balance                                                                                                                              90.44
7/01/16    Debit Card Purchase 06/28 10:33p #3365         MICHAELS PIZZA         CALABASAS  CA 16182                      7.94                          82.50
estaurant/Bar
7/05/16    De.e_osit Teller                                                                                                            216.47         298.97
7/05/16    De.e_osit Teller                                                                                                         13,000.00      13,298.97
7/05/16    Cash Withdrawal 07/02 04:04.e_ #3365 Teller                                                                 216.47                      13,082.50
7/05/16    Debit PIN Purchase RITE AID STORE -5539 AGOURA HILLS CAUS02159                                              285.96                      12,796.54
7/05/16    Cash Withdrawal 07/05 02:48p #3365 Teller                                                                 1,000.00                      11,796.54
7/05/16    Cash Withdrawal 07/05 02:47p #3365 Teller                                                                 3,000.00                       8,796.54
7/05/16    Cash Withdrawal 07/05 02:39p #3365 Teller                                                                 3,150.98                       5,645.56
7/05/16    Debit Card Purchase 06/29 07:23p #3365 SUBWAY         00011106 CALABASAS          CA 16183                   54.91                       5,590.65
estaurant/Bar
7/06/16    ACH Electronic Debit      T-MOBILE TEL    PCS SVC                                                            237.64                        5,353.01
7/06/16    ACH Electronic Debit      BARCLAYCARD us    CREDITCARD 384359926                                           1,500.00                        3,853.01
7/06/16    ACH Electronic Debit      BARCLAYCARD us    CREDITCARD 384360954                                           1,500.00                        2,353.01
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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                                                                                                                                                                 Exhibit GGG pt. 1 Page 126 of 200
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uly 1 - July 31, 2016                      Page 3 of 9
OBIN C DIMAGGIO
itigold Account       42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date          Descrip_tion                                                                                          Amount Subtracted    Amount Added           Balance
7/07/16      Debit Card Purchase 07/05 04:47p #3365                   CHEVRON 0352170       WOODLAND HILL CA 16188            22.50                             2,330.51
utos (rental, service, gas)
7/08/16      Debit Card Purchase 07/05 07:50p #3365                   AVNGATE*HMA PRO VPN      8882471614     CA 16189        59.88                            2,270.63
pecialty Retail stores
7/11/16      ACH Electronic Debit TJX Rewards MC TJ X TLPAY                                                                   96.00                            2,174.63
7/12/16      Debit Card Purchase Return 07/08 #3365 AVANGATE.COM                           8882471614    CA 16191                           59.88              2,234.51
pecialty Retail stores
7/12/16      Debit PIN Purchase PACIFIC WEST 76   PACIFIC PALISCAUS00155                                                      20.53                            2,213.98
7/12/16      Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                                         87.13                            2,126.85
7/13/16      Debit Card Purchase 07/11 05:06a #3365 SELEKTA STIL        SOFIA                       BGR16194                  16.97                            2,109.88
pecialty Retail stores
7/13/16      Debit Card Purchase 07/11 08:17a #3365                   VG AD        SOFIA       BGR16194                     122.76                             1,987.12
estauranVBar
7/13/16      Debit Card Purchase 07/11 04:28p #3365                   VG AD        SOFIA       BGR16194                     276.06                             1,711.06
estauranVBar
7/14/16      Deeosit Teller                                                                                                            155,600.00        157,311 .06
7/14/16      Cash Withdrawal 07/14 01 :12fl. #3365 Teller                                                                   254.15                       157,056.91
7/14/16      Debit PIN Purchase WESTLAKE AH #958       WESTLAKE VILLCAUS05107                                               355.27                       156,701.64
7/14/16      Cash Withdrawal 07/14 02:14fl. #3365 Teller                                                                  2,500.00                       154,201 .64
7/14/16      Cash Withdrawal 07/14 01 : 14fl. #3365 Teller                                                                3,200.00                       151,001.64
7/14/16      Cash Withdrawal 07/14 01 :16fl. #3365 Teller                                                                12,500.00                       138,501.64
7/14/16      Cash Withdrawal 07/14 01 :1 Ofl. #3365 Teller                                                               16,445.80                       122,055.84
7/14/16      Cash Withdrawal 07/14 01 :06fl. #3365 Teller                                                                27,953.23                        94,102.61
7/14/16      Debit Card Purchase 07/12 02:29a #3365 MCDONALD'S           FRANKFURT                       DEU16195             5.55                        94,097.06
estauranVBar
7/14/16      Debit Card Purchase 07/12 02:46a #3365                   MCDONALD'S          FRANKFURT      DEU16195             8.00                        94,089.06
estauranVBar
7/15/16      ACH Electronic Debit            BARCLAYCARD    us    CREDITCARD 386668058                                    5,902.09                        88,186.97
7/15/16      ACH Electronic Debit            BARCLAYCARD    us    CREDITCARD 386668740                                    7,234.14                        80,952.83
7/15/16      Debit PIN Purchase             CVS/ PHARMACY #09 09751-Agoura     CAUS05159                                      8.97                        80,943.86
7/15/16      Debit PIN Purchase             CVS/PHARMACY #09 09751-Agoura      CAUS05159                                     12.85                        80,931 .01
7/15/16      Cash Withdrawal 07/15 03:50fl. #3365                Teller                                                      93.17                        80,837.84
7/15/16      Debit PIN Purchase IN *INTERSTATE VAPE INCWOODLAND HILLCAUS02159                                               154.73                        80,683.11
7/1 5/1 6    Cash Withdrawal 07/15 03:53fl. #3365 Teller                                                                    247.28                        80,435.83
7/15/16      Cash Withdrawal 07/15 03:55p #3365 Teller                                                                      271.26                        80,164.57
7/15/16      Cash Withdrawal 07/15 03:46fl. #3365 Teller                                                                  1,000.00                        79,164.57
7/15/1 6     Cash Withdrawal 07/15 03 :39p #3365                 Teller                                                   2,791 .1 8                      76,373.39
                                                                                                                                                                                                              Case 1:17-ap-01099-VK




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                                                                                                                                                                                     Exhibit GGG pt. 1 Page 127 of 200
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OBIN C DIMAGGIO
itigold Account      42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                            Amount Subtracted    Amount Added        Balance
7/15/16    Debit Card Purchase 07/12 06:11 p #3365        STARBUCKS STORE 05858 CALABASAS        CA 16196     13.50                        76,359.89
estauranVBar
7/18/16    Debit Card Purchase Return 07/14 #3365         CVS/PHARMACY#09751      AGOURA      CA 16197                       2.99          76,362.88
ood & Beverai:ies
7/18/16    Debit Card Purchase Return 07/14 #3365         OREILLY AUTO 00043273 THOUSAND OAKS CA 16197                       31 .12        76,394.00
utos (rental , service, gas)
7/18/16    Debit   PIN Purchase EREWHON NATURAL FOODS MCALABASAS CAUS02154                                    4.79                         76,389 .21
7/18/16    Debit   PIN Purchase THE HOME DEPOT 6632 WOODLAND HLS CAUS05152                                    5.23                         76,383.98
7/18/16    Debit   PIN Purchase USA PETRO #68101     AGOURA HILLS CAUS02155                                  12.55                         76,371.43
7/18/16    Debit   PIN Purchase ALBERT N. GHIAM    CALABASAS CAUS00155                                       41.50                         76,329.93
7/18/16    Debit   PIN Purchase CVS/PHARM 09613--23357 Woodland HillCAUS05159                                46.85                         76,283.08
7/18/16    Debit   PIN Purchase TIC TOC CLEANERS      AGOURA HILLS CAUS05172                                 50.75                         76,?~2.33
7/18/16    Debit   PIN Purchase THE HOME DEPOT 6632 WOODLAND HLS CAUS05152                                   89.96                         76,1°42.37
7/18/16    Debit   PIN Purchase THE HOME DEPOT 6632 WOODLAND HLS CAUS05152                                  634.50                         75,507.87
7/18/16    Debit   Card Purchase 07/14 04:31 p #3365                                                        180.42                         75,327.45
NTERPRISE RENT-A-CAR THOUSAND OAKS CA 16197
utos (rental, service, gas)
7/18/16    Cash Withdrawal 07/16 06:12_1)_ #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                   500.00                       74,827.45
7/19/16    Cash Withdrawal 07/19 03:01 p #3365 Teller                                                       1,000.00                       73,827.45
7/19/16    Debit Card Purchase 07/15 10:07p #3365 CALABASAS MARKET & LIQ CALABASAS CA 16200                     3.76                       73,823.69
estauranVBar
7/19/16    Debit Card Purchase 07/14 12:01 p #3365        STARBUCKS STORE 00635 AGOURA          CA 16198        4.70                       73,818.99
estauranVBar
7/19/16    Debit Card Purchase 07/14 04:56p #3365         JUST COFFEE          THOUSAND OAKS CA 16198           9.15                       73,809.84
ood & Beverai:ies
7/19/16    Debit Card Purchase 07/17 01 :23a #3365        MCDONALD'S F11331      CALABASAS    CA 16200        18.02                        73,791.82
estauranVBar
7/19/16    Debit Card Purchase 07/16 09:22p #3365         CALABASAS MARKET & LIQ CALABASAS       CA 16200     22.88                        73,768.94
estauranVBar
7/19/16    Debit Card Purchase 07/16 11 :31 p #3365       AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16200        24.22                        73,744.72
ecreational Services
7/19/16    Debit Card Purchase 07/15 05:18p #3365         !TALIA DELI & BAKE    AGOURA HILLS CA 16198         45.43                        73,699.29
estauranVBar
7/19/16    Debit Card Purchase 07/16 08:36p #3365         FANDANGO.COM          866-857-5191 CA 16200         65.00                        73,634.29
ecreational Services
7/19/16    Debit Card Purchase 07/15 10:03p #3365         GREEN BASIL THAI RESTA CALABASAS       CA 16198     98.93                        73,535.36
estauranVBar
7/19/16    Debit Card Purchase 07/17 01 :47a #3365        AGl*TMO INS DEDUCTIBLE 8668666285    PA 16200      175.00                        73,360.36
isc Business Services
7/19/16    Debit Card Purchase 07/15 12:39a #3365         OSTERIA ORTO         AGOURA HILLS CA 16198         203.50                        73,156.86
estauranVBar
7/19/16    Cash Withdrawal 01 :15_1)_ #3365   Citibank ATM 3967 -1000 OKS, W LKE VL, CA                     500.00                         72,656.86
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account      42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrigtion                                                                                   Amount Subtracted     Amount Added         Balance
7/20/16    Cash Withdrawal 07/20 06:22p #3365 Teller                                                           31 ,698.95                         40,957.91
7/20/16    Debit Card Purchase 07/16 07:15p #3365 MEDITERRANEAN               PITA GRI CALABASAS   CA 16201          9.80                         40,948.11
estaurant/Bar
7/20/16    Debit Card Purchase 07/14 #3365            FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16201                  24.89                        40,923.22
estaurant/Bar
7/20/16    Debit Card Purchase 07/18 12:16a #3365            AL MULINO EATALIAN BAK THOUSAND OAKS CA 16201        178.35                         40,744.87
estaurant/Bar
7/21/16    De_e_osit Teller                                                                                                       267.51         41,012.38
7/21/16    De_e_osit Teller                                                                                                     2,300.00         43,312.38
7/21/16    De_e_osit Teller                                                                                                    53,251.00         96,563.38
7/21/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 387932609                                                94.07                         96,469.31
7/21/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 387931535                                               156.53                         96,312.78
7/21/16    CashWithdrawal07/2101:17p_#3365 Teller                                                                 211 .88                        96,100.90
7/21/16    Cash Withdrawal 07/21 01:18_e_ #3365 Teller                                                            500.00                         95,600.90
7/21/16    Debit Card Purchase 07/18 11 :48p #3365 STARBUCKS STORE 05858              CALABASAS    CA 16202         4.50                         95,596.40
estaurant/Bar
7/21/16    Debit Card Purchase 07/18 06:43p #3365            TARZANA PLAZA PHARMACYTARZANA          CA 16202         5.00                        95,591.40
ood & Bevera.9.es
7/21/16    Debit Card Purchase 07/18 11 :33p #3365           STARBUCKS STORE 05858 CALABASAS       CA 16202          6.70                        95,5.84.70 _
estaurant/Bar
7/21 /16   Debit Card Purchase 07/18 12: 13p #3365           STARBUCKS STORE 05549 LOS ANGELES CA 16202              7.50                        95,577.20
estaurant/Bar
7/21 /16   Debit Card Purchase 07/18 11 :21 p #3365          STARBUCKS STORE 05858 CALABASAS       CA 16202         11 .90                       95,565.30
estaurant/Bar
7/21 /16   Debit Card Purchase 07/18 11 :16p #3365           STARBUCKS STORE 05858 CALABASAS       CA 16202         17.35                        95,547.95
estaurant/Bar
7/21/16    Debit Card Purchase 07/18 12:09p #3365            BEVERLY GLEN PHARMACY LOS ANGELES CA 16202            30.61                         95,517.34
ood & Beverai:ies
7/21/16    Debit Card Purchase 07/19 04:32p #3365            TRAVEL GUARD GROUP INC 08008261300 WI 16202          285.58                         95,231.76
isc Business Services
7/21/16    Debit Card Purchase 07/18 11 :02p #3365           LA SUPERIOR COURT TRAF 213-7421884 CA 16202          286.00                         94,945.76
7/22/16    Debit PIN Purchase        7-ELEVEN          CALABASAS   CAUS00155                                       25.51                         94,920.25
7/22/16    Debit PIN Purchase        7-ELEVEN          CALABASAS   CAUS00155                                       35.95                         94,884.30
7/22/16    Debit PIN Purchase        RALPHS     5727 KANAN R AGOURA     CAUS05154                                 103.54                         94,780.76
7/22/16    Cash Withdrawal 07/22 01 :38~ #3365 Teller                                                           1,000.00                         93,780.76
7/22/16    Cash Withdrawal 07/22 04:36p #3365 Teller                                                            6,000.00                         87,780.76
7/22/16    Debit Card Purchase 07/20 12:20p #3365 SQ *EREWHON              GROCER & C Calabasas    CA 16203        13.00                         87,767.76
pecialty Retail stores
7/22/16    Debit Card Purchase 07/20 08:32p #3365            ITALIA DELI & BAKE   AGOURA HILLS CA 16203             15.45                        87,752.31
estaurant/Bar
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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                                                                                                                                                                          Exhibit GGG pt. 1 Page 129 of 200
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ontinued   Date        Descrip_tion                                                                           Amount Subtracted   Amount Added        Balance
7/22/16    Debit Card Purchase 07/20 06:53p #3365      CHOCOLATINE          THOUSAND OAKS CA 16203           31.10                        87,721.21
estauranVBar
7/22/16    Debit Card Purchase 07/19 02:48p #3365     AGOURA S FAMOUS DELI & AGOURA HILLS CA 16203           43.55                       87,677.66
estauranVBar
7/22/16    Cash Withdrawal 12:45a #3365 ATM 4919 LAS VIRGENES RD         CALABASAS   CAUS021                 60.00                       87 ,617.66
7/22/16    Debit Card Purchase 07/20 01 :15a #3365 OSTERIA ORTO             AGOURA HILLS CA 16203            73.03                       87,544.63
estauranVBar
7/22/16    Debit Card Purchase 07/20 01 :08a #3365     OSTERIA ORTO         AGOURA HILLS CA 16203           436.00                       87,108.63
estauranVBar
7/25/16    Debit   PIN Purchase ?-ELEVEN        WOODLAND HILLCAUS05155                                        3.26                       87,105.37
7/25/16    Debit   PIN Purchase BEST BUY #116       CANOGA PARK CAUS05157                                    22.85                       87,082.52
7/25/16    Debit   PIN Purchase 7-ELEVEN          CALABASAS CAUS00155                                        23.30                       87,059 .22
7/25/16    Debit   PIN Purchase WALGREENS 4616 DE LONGPLOS ANGELES CAUS05159                                 27.40                       87,031.~~
7/25/16    Debit   Card Purchase 07/21 07:31 p #3365 CHILDREN'S HOSPITAL LO LOS ANGELES         CA 16204     31 .32                      87,000.50
estau ranVBar
7/25/16    Cash Withdrawal 07/23 08:43p_ #3365 ATM #22401A VENTURA BLVD WOODLAND HILLCAUS021                 100.00                      86,900.50
7/25/16    Cash Withdrawal 07/23 08:42p_ #3365 ATM #22401A VENTURA BLVD WOODLAND HILLCAUS021                 120.00                      86,780.50
7/25/16    Cash Withdrawal 07/23 12:36p #3365 ATM 4919 LAS VIRGENES RD CALABASAS CAUS021                     200.00                      86,580.50
7/25/16    Cash Withdrawal 10:03p_ #3365 ATM 5683 N LAKE LINDERO AGOURA HILLSCAUS021                         300.00                      86,280.50
7/26/16    Cash Withdrawal 07/26 07:43p_ #3365 Teller                                                      1,500.00                      84,780.50
7/26/16    Cash Withdrawal 07/26 03:03_1)_ #3365 Teller                                                    9,000.00                      75,780.50
7/26/16    Debit Card Purchase 07/22 08:16p #3365 STARBUCKS STORE 05858 CALABASAS CA 16207                     3.75                      75,776.75
estauranVBar
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7/26/16    Debit Card Purchase 07/22 08:59p #3365      STARBUCKS STORE 05858 CALABASAS          CA 16207       4.45                      75,772.30
estauranVBar
7/26/16    Debit Card Purchase 07/23 07:54p #3365                                                              8.75                      75,763.55
TARBUCKS STORE 05485 WOODLAND HILL CA 16207
estauranVBar

7/26/16    Debit Card Purchase 07/23 01 :04a #3365    CHILDREN'S HOSPITAL LO LOS ANGELES CA 16205              9.56                      75,753.99
estauranVBar
7/26/16    Debit Card Purchase 07/23 05:34p #3365     CHILDREN'S HOSPITAL OF LOS ANGELES CA 16207            10.00                       75,743.99
utos {rental, service, gas)
7/26/16    Debit Card Purchase 07/21 09:36p #3365     CHILDREN'S HOSPITAL OF LOS ANGELES CA 16205            10.00                       75,733.99
utos {rental , service, gas)

7/26/16    Debit Card Purchase 07/23 03:01 p #3365    INTELLIGENTSIA COFFEE PASADENA          CA 16207       15.50                       75,718.49
estauranVBar
7/26/16    Debit Card Purchase 07/22 02:04p #3365     POSTAL ANNEX #1 70     AGOURA HILLS CA 16207           20.00                       75,698.49
p_ecialtv Retail stores

7/26/16    Debit Card Purchase 07/23 01 :29a #3365    CHILDREN'S HOSPITAL OF LOS ANGELES CA 16207            20.00                       75,678.49
utos {rental, service, gas)
7/26/16    Debit Card Purchase 07/22 04:30p #3365     AGOURA   s   FAMOUS DELI & AGOURA HILLS CA 16207       32.90                       75,645.59
estauranVBar
                                                                                                                                                                                         Case 1:17-ap-01099-VK




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ctivity
ontinued     Date        Descrie_tion                                                                              Amount Subtracted    Amount Added              Balance
7/26/16    Debit Card Purchase 07/22 03:42p #3365     TOBACCO ROYALE        CALABASAS   CA 16207                 40.00                          75,605.59
pecialty Retail stores
7/26/16    Debit Card Purchase 07/22 09:29p #3365     AGENT FE89006754575955 THE WORLD CON NY 16207              43.00                          75,562.59
irlines & Airports
7/26/16    Debit Card Purchase 07/23 02:13p #3365     COPA VIDA CAFE LLC    PASADENA    CA 16207                48.51                           75,514.08
estauran VBar
7/26/16    Debit Card Purchase 07/24 12:07a #3365     JERRY'S FAMOUS DELI   WOODLAND HILL CA 16207               55.45                          75,458.63
estauranVBar
7/26/16    Debit Card Purchase 07/23 08:25p #3365                                                                82.71                          75,375.92
ORDSTROM-RACK #0358 WOODLAND HILL CA 16207
etail stores
7/26/16    Debit Card Purchase 07/22 05:38p #3365     HOME CNSGNMNT CTR# 17 CALABASAS       CA 16205           216.91                           75,159.01
pecialty Retail stores
7/26/16    Debit Card Purchase 07/22 08:41 p #3365    TMOBILE*POSTPAID IVR 800-937-8997 WA 16207               258.65                           74,900.36
hones , Cable & Utilities
7/26/16    Debit Card Purchase 07/22 09:29p #3365     DELTA 00678482757842 NEW YORK     NY 16207               397.20                           74,503.16
irlines & Airports
7/27/16    ACH Electronic Debit 041790 Malibu Ca WEB PMTS V1HNZ2                                             1,992.62                           72,510.54
7/27/16    Debit PIN Purchase BEDBATH &BEYOND# 121 SOUTHOUSAND OAKSCAUS05157                                    22.31                           72,488.23
7/27/16    Debit PIN Purchase BEDBATH&BEYOND# 121 SOUTHOUSAND OAKSCAUS05157                                    179.37                           72,308.86
7/27/16    Cash Withdrawal 07/27 06:48_1)_ #3365 Teller                                                      1,300.00                           71 ,0.08.1:}6 -
7/29/16    Credit TARGETT- 30740 Russel Westlake VillCAUS05154                                                                     9.81         71,018.67
7/29/16    ACH Electronic Debit AMERICAN EXPRESS ACH PMT                                                    18,358 .88                          52,659.79
7/29/16    Debit PIN Purchase USA PETRO #68101          AGOURA HILLS CAUS02155                                  11 .73                          52,648.06
7/29/16    Debit PIN Purchase USA PETRO #68101          AGOURA HILLS CAUS00155                                  30.00                           52,618.06
7/29/16    Debit PIN Purchase VILLAGE CAR WASH 037 THOUSAND OAKSCAUS02175                                       31 .99                          52,586.07
7/29/16    Debit PIN Purchase TARGETT- 30740 Russel Westlake VillCAUS05154                                      72.29                           52,513.78
7/29/16    Cash Withdrawal 07/29 04:43_1)_ #3365 Teller                                                      4,000.00                           48,513.78
7/29/1 6   Debit Card Purchase 07/27 03:47p #3365 CV* CLASSIC VACATIONS 800-243-6499     CA 16210            2,732.40                           45,781.38
isc Transportation
7/29/1 6     Check# 233                                                                                      2,335.00                           43,446.38
7/29/16      Interest for 31 days, Annual Percentage Yield Earned 0.03%                                                             1.08        43,447.46
otal Subtracted/Added                                                                         181,382.84         224,739.86
7/31/16 Closing Balance                                                                                                                         43,447.46
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
                                                                                                                                                                                                     Case 1:17-ap-01099-VK




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                                                                                                                                                                            Exhibit GGG pt. 1 Page 131 of 200
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itigold Account        42002622498
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ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thank_y_ou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        Descrigtion                                                                               Amount Subtracted   Amount Added   Balance
7/01/16     O~Balance                                                                                                                          39.66
7/31/16     Closing Balance                                                                                                                    39.66

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itigold Account        42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citigold Services at (888) 248-4465*
or speech and hearing impaired customers only: TTY 800-788-6775.
OBIN C DIMAGGIO                                                                      Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ffective November I, 2016, you will not be able to make deposits, payments or internal transfers
o other linked Citibank accounts at Citibank branded ATMs located at 7-Eleven® stores and all
eferences to these services in the Citibank Client Manual-Consumer Accounts and Marketplace
ddendum will be deleted. You can continue to make deposits of cash and checks at ATMs locatec
t all Citibank branches and deposits of checks through Citibank Mobile Check Deposit.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes .
alue of Accounts                                       Last Period         This Period   I     I Earnln9s Summary                This Period   This Year
itibank Accounts                                                                                 Citibank Accounts
hecking                                                                                          Checking
hecking                                               43,447.46           60,896.77              Checking                             5.57        6.89
avin s                                                                                           Savings
nsured Money Market Accounts                              39.66               39.66              Insured Money Market Accounts       0.00         0.00
itigold Relationship Total                            $43,487.12          $60,936.43             Citigold Relationship Total         $5.57        $6.89
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltlgold
itibank's Privacy Notice is now available to view. On the Download Recent Statement page, select the Legal and
arketing Notices link for your most recent statement, then select the Legal Notice link to view the Privacy Notice.
ou can help those impacted by the recent flooding in Louisiana by making a donation to the American Red Cross.
any people need support during this difficult time. https://www.redcross.org/donate/donation
                                                                                                                                                                                    Case 1:17-ap-01099-VK




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                                                                                                                                                           Exhibit GGG pt. 1 Page 133 of 200
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OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service fee for this statement period , and
he transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the month
f July in all your qualifying accounts that you asked us to combine. If you have a Citibank secured credit card, then Citibank will also include
he balance in your Collateral Holding Account or your Certificate of Deposit that secures your Citibank credit card. These balances may be in
ccounts that are reported on other statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts, loans (except mortgage from CitiMortgage), credit cards and investments
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                   Your Combined Balance Range
25 000-$49 999
ates                                                         Preferred
onthly Service Charge                                        $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citigold statement.
hecking
hecking      High Interest Checking 42002622498
ctivity
ate        Descrifl_tion                                                                                  Amount Subtracted      Amount Added           Balance
8/01/16     Opening Balance                                                                                                                        43,447.46
8/01/16     Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                     4.75                      43,442.71
8/01/16     Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                                16.84                      43,425.87
8/01/16     Debit PIN Purchase ALBERT N. GHIAM       CALABASAS CAUS00155                                                29.00                      43,396.87
8/01/16     Debit PIN Purchase ?-ELEVEN           CALABASAS CAUS00155                                                   40.33                      43,356.54
8/01/16     Cash Withdrawal 07/30 02:461)_ #3365 Teller                                                                 46.01                      43,310.53
8/01/16     Debit PIN Purchase ?-ELEVEN           CALABASAS CAUS00155                                                   51.04                      43,259.49
8/01/16     Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                    78.35                      43,181.14
8/01/16     Debit PIN Purchase CVS/ PHARM 09751--5623 Agoura    CAUS05159                                               92.65                      43,088.49
8/01/16     Cash Withdrawal 07/30 02:44_!)_ #3365 Teller                                                                97.72                      42,990.77
8/01 /16    Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                   290.93                      42,699.84
8/01 /16    Debit PIN Purchase GAMESTOP #3815 6600 TOPCANOGA PARK CAUS05179                                            305.16                      42,394.68
8/01/16     Cash Withdrawal 07/30 02:381)_ #3365 Teller                                                                894.00                      41,500.68
8/01 /16    Cash Withdrawal 07/30 02:41 p_ #3365 Teller                                                              4,680.03                      36,820.65
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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ontinued   Date        Descri~tion                                                                               Amount Subtracted     Amount Added       Balance
8/01/16    Cash Withdrawal 07/30 02:43p #3365   Teller                                                      7,630.55                          29,190.10
8/01/16    Cash Withdrawal 07/30 02:49p #3365 Teller                                                       24,000.00                           5,190.10
8/01/16    Debit Card Purchase 07/28 06:47p #3365 LAX AIRPORT LOT P 6          LOS ANGELES CA 16211             5.00                           5,185.10
utos (rental, service, as
8/01/16    Debit Card Purchase 07/28 05 :59p #3365     LOS ANGELES AIRPORT       LOS ANGELES CA 16211            8.49                         5,176.61
estaurant/Bar
8/01/16    Debit Card Purchase 07/28 04:15p #3365      JERRY'S FAMOUS DELI      WOODLAND HILL CA 16211          71.40                         5,105.21
estaurant/Bar
8/01/16    Debit Card Purchase 07/28 01 :31 p #3365    LAW OFFICES OF J T FOX 818-7635977 CA 16211            350.00                          4,755.21
isc Business Services
8/02/16    Debit Card Purchase Return 07/31 #3365                                                                             140.51          4,895.72
ORDSTROM-RACK #0358 WOODLAND HILL CA 16214
etail stores
8/02/16    Debit Card Purchase Return 07/31 #3365      NORDSTROM #0341         CANOGA PARK CA 16214                           457.80          5,353.52
etail stores
8/02/16    Debit Card Purchase 07/30 07:00p #3365                                                                3.45                         5,350.07
TARBUCKS STORE 11603 WOODLAND HILL CA 16214
estaurant/Bar
8/02/16    Debit Card Purchase 07/30 01 :15a #3365     AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16214              5.72                         5,344.35
ecreational Services
8/02/16    Debit Card Purchase 07/28 02:04p #3365      STARBUCKS STORE 00643 ENCINO           CA 16212           5.80                         5,338.55
estaurant/Bar
8/02/16    Debit Card Purchase 07/30 01 :40p #3365     STARBUCKS STORE 05636 CALABASAS          CA 16214         6.50                         5,332.05
estaurant/Bar
8/02/16    Debit Card Purchase 07/30 07:28p #3365                                                                7.95                         5,324.10
TARBUCKS STORE 11603 WOODLAND HILL CA 16214
estaurant/Bar
8/02/16    Debit Card Purchase 08/01 12:34a #3365      Amazon Digital Svcs   866-216-1072 WA 16214               8.99                         5,315.11
8/02/16    Debit Card Purchase 07/30 01 :46p #3365     CORNER BAKERY           CALABASAS    CA 16214             9.04                         5,306.07
estaurant/Bar
8/02/16    Debit Card Purchase 07/30 01 :37p #3365     CORNER BAKERY           CALABASAS     CA 16214           19.58                         5,286.49
estaurant/Bar
8/02/16    Debit Card Purchase 07/30 09:1Op #3365      HAVAIANAS US          NEW YORK      FL16214              34.88                         5,251 .61
pecial   Retail stores
8/02/16    Debit Card Purchase 07/30 09:08p #3365      HAVAIANAS US          NEW YORK      FL16214              37.06                         5,214.55
 ecial   Retail stores
8/02/16    Debit Card Purchase 07/29 12:43p #3365      CHOCOLATINE           THOUSAND OAKS CA 16212             47.25                         5,167.30
estaurant/Bar
8/02/16    Debit Card Purchase 07/29 08:53p #3365      FANDANGO .COM          866-857-5191 CA 16212             59.50                         5,107.80
ecreational Services
8/02/16    Debit Card Purchase 07/30 09:20p #3365      NORDSTROM #0341         CANOGA PARK CA 16214             70.74                         5,037.06
etail stores
8/02/16    Debit Card Purchase 07/30 10:52p #3365      STONEFIRE GRILL WEST H WEST HILLS       CA 16214         72.42                         4,964.64
estaurant/Bar
8/02/16    Debit Card Purchase 07/28 10:34p #3365      ADOBE CANTINA          AGOURA HILLS CA 16214           113.63                          4,851.01
estaurant/Bar
                                                                                                                                                                                             Case 1:17-ap-01099-VK




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ctivity
ontinued   Date         Descrie_tion                                                                             Amount Subtracted     Amount Added       Balance
8/02/16    Debit Card Purchase 07/30 08:45p #3365                                                             273.27                           4,577.74
ORDSTROM-RACK #0358 WOODLANO HILL CA 16214
etail stores
8/02/16    Debit Card Purchase 07/31 08:57p #3365         TMOBILE*POSTPAID IVR 800-937-8997 WA 16214          300.00                          4,277.74
hones, Cable & Utilities
8/02/16    Debit Card Purchase 07/30 12:33a #3365         OLIO E LIMONE RESTORAN WLV         CA 16214         346.13                          3,931.61
estauranVBar
8/02/16    Debit Card Purchase 07/30 09:31 p #3365        NORDSTROM #0341      CANOGA PARK CA 16214           457.80                          3,473.81
etail stores
8/03/16    Debit Card Purchase Return 07/29 #3365                                                                              49.05          3,522.86
OUR SEASONS WLAKE SPA WESTLAKE VILL CA 16215
isc Personal Services
8/03/16    Debit Card Purchase 07/31 04:30p #3365         STARBUCKS STORE 05858 CALABASAS       CA 16215         7.20                         3,515.66
estauranVBar
8/03/16    Debit Card Purchase 07/29 06:08p #3365         FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16215          24.46                       ' 3;:491.20
estauranVBar
8/03/16    Debit Card Purchase 07/29 06:50p #3365                                                               31 .61                        3,459.59
OUR SEASONS WLAKE SPA WESTLAKl:: VILL CA 16215
isc Personal Services
8/03/16    Debit Card Purchase 07/29 06:40p #3365                                                               79.03                         3,380.56
OUR SEASONS WLAKE SPA WESTLAKl:: VILL CA 16215
isc Personal Services
8/03/16    Debit Card Purchase 07/29 06:38p #3365                                                             237.08                          3,143.48
OUR SEASONS WLAKE SPA WESTLAKl:: VILL CA 16215
isc Personal Services
8/04/16    Debit Card Purchase 08/02 02:06p #3365         VISAHQ.COM        202-5582216 DC 16216              118.00                          3,025.48
isc Business Services
8/05/16    Cash Withdrawal 02:56p_ #3365 Non Citi ATM WESTIN RESORT         NADI       FJ051                   35.11                          2,990.37
8/08/16    Cash Withdrawal 03:23a #3365 Non Citi ATM CASHCARD              EZV MART AU021                      71 .80                         2,918.57
8/08/16    Cash Withdrawal 08/06 11 :15p_ #3365 Non Citi ATM DCP-Four SeasonsHotel Sydney           AU801     248.32                          2,670.25
8/09/16    Dep_osit Teller                                                                                                     27.00          2,697.25
8/09/16    Deposit Teller                                                                                                 750,000.00        752,697.25
8/09/16    Debit PIN Purchase ALBERT N. GHIAM      CALABASAS CAUS00155                                          44.75                       752,652.50
8/09/16    Cash Withdrawal 08/09 07:50p #3365 Teller                                                        50,000.00                       702,652.50
8/09/16    Debit Card Purchase 08/07 12:52a #3365 SPIRIT GALLERY             THE ROCKS     AUS16221            144.12                       702,508.38
pecialty Retail stores
8/09/16    Debit Card Purchase 08/07 02:38a #3365         ROCKS STYLE       THE ROCKS      AUS16221           721 .72                       701,786.66
p_ecialty Retail stores
8/10/16    Dep_osit     Teller                                                                                                  0.53        701,787.19
8/1 0/16   Cash Withdrawal 08/1 0 07:52_1)_ #3365    Teller                                                  1,100.00                       700,687.19
8/10/16    Cash Withdrawal 08/10 03:46_1)_ #3365     Teller                                                  5,333.36                       695,353.83
8/10/16    Cash Withdrawal 08/10 07:49_1)_ #3365 Teller                                                     35,209.00                       660,144.83
8/10/16    Debit Card Purchase 08/08 12:42a #3365 CHIC LEATHER              SYDNEY        AUS16222              144.55                      660,000.28
pecialty Retail stores
                                                                                                                                                                                             Case 1:17-ap-01099-VK




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8/11/16    Dee_osit Teller                                                                                                          11.25       660,011 .53
8/11/16    Debit PIN Purchase          AJ WINE & SPIRITS INC. CALABASAS   CAUS80159                                  5.45                       660,006.08
8/11/16    Transfer to Bankcard 02:59a #3365           ONLINE             Reference# 005010                        137.62                       659,868.46
8/11/16    Cash Withdrawal 08/11 02:43_1)_ #3365 Teller                                                            300.00                       659,568.46
8/11/16    Cash Withdrawal 08/11 02:38_1)_ #3365 Teller                                                         25,315.92                       634,252.54
8/11/16    Debit Card Purchase 08/08 02:48a #3365 STARBUCKS CIRCULAR a                 SYDNEY      AUS16223          7.44                       634,245.10
estauranVBar
8/12/16    Debit PIN Purchase CHEVRON/G&W VENTURES INCALABASAS                 CAUS00155                            40.50                       634,204.60
8/12/16    Cash Withdrawal 08/12 04:28p #3365 Teller                                                               100.00                       634,104.60
8/12/16    Outgoing lnt'I Wire Transfer                                                                            914.72                       633,189.88
8/12/16    Cash Withdrawal 08/12 01 :01 _I)_ #3365 Teller                                                        4,000.00                       629,189.88
8/12/16    Cash Withdrawal 08/12 04:23_1)_ #3365 Teller                                                         37,500.00                       591,689.88
8/12/16    Debit Card Purchase 08/09 08:27p #3365                                                                    9.50                       591,680.38
TARBUCKS STORE 11603 WOODLAND HILL CA 16224
estaurant/Bar
8/12/16    Debit Card Purchase 08/09 12:59p #3365                                                                    10.95                      591,669.43
TARBUCKS STORE 11603 WOODLAND HILL CA 16224
estauranVBar
8/12/16    Debit Card Purchase 08/09 10:36a #3365             COFFEE BEANERY        LOS ANGELES CA 16224             12.93                      591 ,656.50
estauranVBar
8/12/16    Debit Card Purchase 08/09 08:19p #3365                                                                    16.70                      591,639.80
TARBUCKS STORE 11603 WOODLAND HILL CA 16224
estauranVBar
8/12/16    Debit Card Purchase 08/10 01 :21 a #3365           AJ WINE & SPIRITS INC. CALABASAS    CA 16224           42.51                      591,597.29
ood & BeveraQes
8/12/16    Debit Card Purchase 08/09 12:26p #3365             ATTORNEYS CORP SVCS      08008349510 CA 16224        177.84                       591,419.45
pecialty Retail sto res
8/15/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 393002814                                              2,243.29                       589,176.16
8/15/16    Debit PIN Purchase 7-ELEVEN        LAS VEGAS NVUS05155                                                    6.48                       589,169.68
8/15/16    Debit PIN Purchase 7-ELEVEN         LAS VEGAS NVUS00155                                                  27.03                       589,142.65
8/15/16    Debit PIN Purchase 7-ELEVEN         CALABASAS CAUS00155                                                  36.52                       589,106.13
8/15/16    Debit PIN Purchase PSYC HIC EYE BOOK SHOPS SHERMAN OAKS CAUS05159                                       818.99                       588,287.14
8/15/16    Cash Withdrawal 08/13 03:07p #3365 Teller 8725 W SAHARA, THE LAKES , NV                              12,080.00                       576,207.14
8/15/16    Debit Card Purchase 08/11 12:48a #3365 MICHAELS PIZZA        CALABASAS                CA 16225           22.88                       576,184.26
estauranVBar
8/15/16    Debit Card Purchase 08/10 03:19p #3365             AGOURA S FAMOUS DELI & AGOURA HILLS CA 16225           36.96                      576,147.30
estauranVBar
8/1 5/16   Debit Card Purchase 08/11 03:47p #3365             CHOCOLATINE         THOUSAND OAKS CA 16225             66.00                      576,081.30
estauranVBar
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8/15/16    Debit Card Purchase 08/10 05:23p #3365             STARBUCKS STORE 05759 WEST HILLS       CA 16225      282.50                       575,798.80
estaurant/Bar
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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8/15/16    Debit Card Purchase 08/1 O 09:18p #3365                                                             3,290.55                       572,508.25
HAVER AUTOMOTIVE GROU THOUSAND OAKS CA 16225
utos {rental, service, gas)
8/15/16    Debit Card Purchase 08/11 07:18p #3365 SQ *WRAP LABS, INC. GO Thousand Oaks CA 16225                3,400.00                      569,108.25
isc Personal Services
8/16/16    ACH Electronic Debit AMERICAN EXPR ACH PMT                                                          4,091 .39                     565,016.86
8/16/16    ACH Electronic Debit CA551 -Archston WEB PMTS NS4Q25                                                5,252.00                      559,764.86
8/16/16    Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                               23.57                      559,741 .29
8/16/16    Debit PIN Purchase TARGETT- 30740 Russel Westlake VillCAUS05154                                       183.07                      559,558.22
8/16/16    Cash Withdrawal 08/16 05:09_1)_ #3365 Teller                                                        1,000.00                      558,558.22
8/16/16    Cash Withdrawal 08/16 06:36_1)_ #3365 Teller                                                        2,700.00                      555,858.22
8/16/16    Cash Withdrawal 08/16 04:49_1)_ #3365 Teller                                                        3,380.00                      55?,4-78.22
8/16/16    Cash Withdrawal 08/16 05:17_1)_ Teller                                                            150,000.00                      402,478.:22
8/16/16    Debit Card Purchase 08/13 11 :44a #3365 MCCARRAN AIRPT PARKING LAS VEGAS            NV 16228            4.00                      402,474.22
utos {rental, service, gas)
8/16/16    Debit Card Purchase 08/11 09:45p #3365 STARBUCKS STORE 05858 CALABASAS           CA 16226                4.45                     402,469.77
estauranVBar
8/16/16    Debit Card Purchase 08/12 12: 19p #3365                                                                  5.25                     402,464.52
TARBUCKS STORE 11603 WOODLAND HILL CA 16228
estauranVBar
8/16/16    Debit Card Purchase 08/13 01 :04p #3365 BELLAGIO HTL SELF PARK LAS VEGAS         NV 16228                7.00                     402,457.52
utos {rental, service, gas)
8/16/16    Debit Card Purchase 08/11 07:42p #3365 TR OIL            THOUSAND OAKS CA 16226                          8.52                     402,449.00
utos {rental, service, gas)
8/16/16    Debit Card Purchase 08/13 07:15p #3365 HUDSON NEWS ST1077          LAS VEGAS    NV 16228                16.62                     402,432.38
pecialty Retail stores
8/16/16    Debit Card Purchase 08/13 10:18p #3365 LAX AIRPORT LOT P 6 LOS ANGELES CA 16228                         30.00                     402,402.38
utos {rental, service, gas)

8/16/16    Debit Card   Purchase 08/13 05:12p #3365 VIET BISTRO         LAS VEGAS      NV 16228                    33.39                     402,368.99
estauranVBar
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8/16/16    Debit Card   Purchase 08/11 11 :18p #3365 PARKWAY KABOB & GRILL CALABASAS              CA 16226         51.63                     402,317.36
estauranVBar
8/16/16    Debit Card   Purchase 08/14 08:35p #3365 POQUITO MAS        OPS WOODLAND HILL CA 16228                  61.04                     402,256.32
estauranVBar
8/16/16    Debit Card   Purchase 08/11 12:48p #3365 CANYON MEDICAL CENT Newbury Park CA 16226                      92.00                     402,164.32
edical Services
8/16/16    Debit Card   Purchase 08/13 12:52p #3365 BELLAGIO - CAFE'     LAS VEGAS       NV 16228                  94.49                     402,069.83
estauranVBar
8/16/16    Debit Card   Purchase 08/13 02:21 p #3365                                                              205.00                     401,864.83
URANGO CANYON APARTME   LAS VEGAS      NV 16228
8/16/16    Debit Card   Purchase 08/12 11 :01 p #3365                                                             245.57                     401,619.26
UCA DI BEPPO-THOUSAND   THOUSAN() OAKS CA 16228
estauranVBar
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8/16/16    Debit Card Purchase 08/11 06:24p #3365                                                                  2,039.00                       399,580.26
HAVER AUTOMOTIVE GROU THOUSAND OAKS CA 16226
utos (rental, service, gas)
8/17/16    Debit PIN Purchase SHELL Service Station AGOURA CAUS02155                                                   2.44                      399,577.82
8/17/16    Debit PIN Purchase SHELL Service Station AGOURA CAUS00155                                                  36.00                      399,541.82
8/17/16    Cash Withdrawal 08/17 06:07_1)_ #3365 Teller                                                            7,000.00                      392,541.82
8/17/16    Debit Card Purchase 08/13 11 :36p #3365 MEDITERRANEAN PITA G                CALABASAS       CA 16229        3.80                      392,538.02
estaurant/Bar
8/17/16    Debit Card Purchase 08/15 11 :33p #3365          GREEN BASIL THAI RESTA CALABASAS           CA 16229         8.72                     392,529 .30
estaurant/Bar
8/17/16    Debit Card Purchase 08/14 09:38p #3365                                                                      14.07                     392,515.23
USH SHERMAN OAKS (432 SHERMAN OAKS CA 16229
pecialty Retail stores
8/17/16    Debit Card Purchase 08/13 11 :29p #3365          MEDITERRANEAN PITA G CALABASAS             CA 16229        15.24                     392,499.99
estaurant/Bar
8/17/16    Debit Card Purchase 08/15 05:44p #3365           CHOCOLATINE           THOUSAND OAKS CA 16229               61.85                     392,438.14
estaurant/Bar
8/17/16    Debit Card Purchase 08/14 09:55p #3365           NESPRESSO USA INC         SHERMAN OAKS CA 16229          192.00                      392,246.14
ood & BeveraQes
8/18/16    Cash Withdrawal 08/18 06:21 _I)_ #3365 Teller                                                           5,896.00                      386,350.14
8/18/16    Debit Gard Purchase 08/16 06:04p #3365 TIFA CHOCOLATE & GELAT AGOURA HILLS                   CA 16230       7.90                      386,342.24
estaurant/Bar
8/18/16    Debit Card Purchase 08/16 11 :41 a #3365         BOBBYS COFFEE SHOP         WOODLAND HILL CA 16230          10.88                     386,331.36
estaurant/Bar
8/18/16    Debit Card Purchase 08/13 07:38p #3365           ICANDY           LAS VEGAS     NV 16230                    21.81                     386,309.55
ood & BeveraQes
8/18/16    Debit Card Purchase 08/16 05:53p #3365           CVS/PHARMACY #09751       AGOURA        CA 16230           28.51                     386,281 .04
ood & BeveraQes
8/18/16    Debit Card Purchase 08/15 11 :34p #3365          PARKWAY KABOB & GRILL CALABASAS            CA 16230       37.06                      386,243.98
estaurant/Bar
8/18/16    Debit Card Purchase 08/16 06:19p #3365           DIV HOME CENTER #13 AG AGOURA            CA 16230         55.88                      386,188.10
pecialty Retail stores
8/18/16    Debit Card Purchase 08/16 02:29p #3365           LEO AND LILY       WOODLAND HILL CA 16230                 62.87                      386,125.23
estaurant/Bar
8/18/16    Debit Card Purchase 08/15 03:48p #3365           JOHN VARVATOS MALIBU MALIBU             CA 16230       1,698.44                      384,426.79
pecialty Retail stores
8/19/16    Debit PIN Purchase        TOTAL WINE AND MORE 110THOUSAND OAKSCAUS05159                                      3.32                     384,423.47
8/19/16    Debit   PIN    Purchase   #06335 ALBERTSONS     CALABASAS     CAUS05154                                      4.45                     384,419.02
8/19/16    Debit   PIN    Purchase   ALBERT N. GHIAM      CALABASAS     CAUS00155                                     44.00                      384,375.02
8/19/16    Debit   PIN    Purchase   VG DEFENSE INC       THOUSAND OAKSCAUS02159                                   1,339.74                      383,035.28
8/19/16    Debit   PIN    Purchase   VG DEFENSE INC       THOUSAND OAKSCAUS02159                                   1,655.50                      381,379.78
8/19/16    Debit PIN Purchase        BEST BUY #112      THOUSAND OAKSCAUS05157                                     2,387.80                      378,991.98
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8/19/16    Debit Card Purchase 08/16 11 :45p #3365          AGOURA S FAMOUS DELI & AGOURA HILLS CA 16231            33.43                        378,958.55
estauranVBar
8/19/16    Debit Card Purchase 08/16 05:44p #3365           POSTALANNEX#170       AGOURA HILLS CA 16231             40.12                       378,918.43
pecialty Retail stores
8/19/16    Check# 582                                                                                               22.01                       378,896.42
8/19/16    Check# 235                                                                                               80.00                       378,816.42
8/19/16    Check# 238                                                                                           1,546.00                        377,270.42
8/19/16    Check# 237                                                                                          17,900.00                        359,370.42
8/22/16    ACH Electronic Debit CARDMEMBER SERV ELECT PYMT                                                      1,389.01                        357,981.41
8/22/16    Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                              15.27                       357,966.14
8/22/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                          24.50                       357,941.64
8/22/16    Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                                 43.80                       357,897.84
8/22/16    Debit PIN Purchase TIC TOG CLEANERS       AGOURA HILLS CAUS05172                                         54.00                       357,843.84
8/22/16    Debit PIN Purchase THE UPS STORE #1093 CALABASAS CAUS02173                                               71.65                       357,772.19
8/22/16    Debit PIN Purchase BEST BUY #112       THOUSAND OAKSCAUS05157                                            98.08                       357,674.11
8/22/16    Debit PIN Purchase PETSMART INC 103      WESTLAKE VILLCAUS02159                                         148.00                       357,526.11
8/22/16    Cash Withdrawal 08/20 03:35_1)_ #3365 Teller                                                            500.00                       357,026.11
8/22/16    Cash Withdrawal 08/22 06:37_1)_ #3365 Teller                                                            600.00                       356,426.11
8/22/16    Cash Withdrawal 08/20 03:34_1)_ #3365 Teller                                                         1,200.91                        355,225.20
8/22/16    Debit PIN Purchase BEST BUY #112       THOUSAND OAKSCAUS05157                                        1,758.34                        353,466.86
8/22/16    Debit PIN Purchase BEST BUY #112       THOUSAND OAKSCAUS05157                                        2,453.14                        351,013.72
8/22/16    Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                          3,436.53                        347,577.19
8/22/16    Outgoing Domestic Wire Transfer                                                                    251 ,370.00                        96,207 .19
8/22/16    Debit Card Purchase 08/17 01 :44p #3365          BEVERLY GLEN DELI     LOS ANGELES CA 16232              12.57                        96,194.62
estauranVBar
8/22/16    Debit Card Purchase 08/17 11 :07p #3365          MICHAELS PIZZA       CALABASAS    CA 16232              29.06                        96,165.56
estauranVBar
8/22/16    Debit Card Purchase 08/17 06:56p #3365           NORTH RANCH SELF STORA 08182233500 CA 16232          515.70                          95,649.86
isc Business Services
8/22/16    Debit Card Purchase 08/17 06:54p #3365           NORTH RANCH SELF STORA 08182233500 CA 16232          527.25                          95,122.61
isc Business Services
8/23/16    Debit Card Purchase Return 08/19 #3365           GUITAR CENTER #110    w HOLLYWOOD     CA 16233                      1,395.20         96,517.81
pecialty Retail stores
8/23/16    ACH Electronic Debit      BARCLAYCARD    us   CREDITCARD 395142528                                     973.82                         95,543.99
8/23/16    Transfer to Bankcard 07:43_1)_ #3365 ONLINE       Reference# 001683                                  3,992.00                         91,551.99
8/23/16    Debit Card Purchase 08/20 10:44p #3365 AGOURA HILLS STADIUM 8 AGOURA HILLS              CA 16235         5.00                         91 ,546.99
ecreational Services
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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8/23/16    Debit Card Purchase 08/19 08:56p #3365              SANTA FE CAFE        CALABASAS    CA 16235            12.86                         91,534.13
estaurant/Bar
8/23/16    Debit Card Purchase 08/20 10:43p #3365              AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16235          14.22                        91,519.91
ecreational Services
8/23/16    Debit Card Purchase 08/20 04:37p #3365              CHOCOLATINE        THOUSAND OAKS CA 16235           29.55                          91,490.36
estaurant/Bar
8/23/16    Debit Card Purchase 08/19 08:43p #3365              TMOBILE*POSTPAID IVR 800-937-8997 WA 16235          42.88                          91,447.48
hones, Cable & Utilities
8/23/16    Debit Card Purchase 08/20 02:47p #3365              JOHN VARVATOS MALIBU MALIBU          CA 16235       51.88                          91,395.60
pecialty Retail stores
8/23/16    Debit Card Purchase 08/20 07:58p #3365              WESTLAKE AH #958       WESTLAKE VI LL CA 16235      54.00                          91,341 .60
isc Business Services
8/23/16    Debit Card Purchase 08/20 07:03p #3365              AGOURA HILLS STADIUM 8 AGOURA HILLS CA 16235        58.00                          91,283.60
ecreational Services
8/23/16    Debit Card Purchase 08/19 03:35a #3365              MICROSOFT *STORE        08006427676 WA 16233        59.99                          91,223.61
isc Business Services
8/23/16    Debit Card Purchase 08/19 07:37p #3365              AGOURA S FAMOUS DELI & AGOURA HILLS CA 16235        68.86                          91,154.75
estaurant/Bar
8/23/16    Debit Card Purchase 08/20 02:43p #3365              JOHN VARVATOS MALIBU MALIBU          CA 16235       151.09                         91,003.66
pecialty Retail stores
8/23/16    Debit Card Purchase 08/19 06:15p #3365              FGI INSURANCE      08183409991    CA 16233          229.69                         90,773.97
isc Business Services
8/23/16    Debit Card Purchase 08/20 #3365              GUITARCENTER.COM INTER 877-687-4242 CA 16235               298.23                         9G,475.74'
pecialty Retail stores
8/23/16    Debit Card Purchase 08/19 07:12p #3365              GUITARCENTER.COM INTER 877-687-4242 CA 16235      1,297.08                         89,178.66
pecialty Retail stores
8/23/16    Debit Card Purchase 08/19 05:46p #3365              GUITAR CENTER #110      W HOLLYWOOD CA 16233      3,739.79                         85,438.87
pecialty Retail stores
8/23/16    Debit Card Purchase 08/18 10:02p #3365                                                                5,000.00                         80,438.87
HAVER AUTOMOTIVE GROU THOUSAND OAKS CA 16233
utos {rental, service, gas)
8/24/16    Deposit Teller                                                                                                        7,500.00         87,938.87
8/24/16    Debit PIN Purchase          ABC PHARMACY OF BH      BEVERLY HILLSCAUS05159                                4.49                         87,934.38
8/24/16    Debit PIN Purchase          7-ELEVEN          CALABASAS   CAUS05155                                      16.18                         87,918.20
8/24/16    Debit PIN Purchase          THE HOME DEPOT #6632 WOODLAND HLS CAUS05152                                  16.87                         87,901.33
8/24/16    Debit PIN Purchase          THRIFTY 42111       WOODLAND HILLCAUS00155                                   23.35                         87,877.98
8/24/16    Debit PIN Purchase          7-ELEVEN          CALABASAS   CAUS00155                                      39.50                         87,838.48
8/24/16    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura CAUS05159                                               116.15                         87,722.33
8/24/16    Cash Withdrawal 08/24 07:02p #3365 Teller                                                             7,500.00                         80,222.33
8/24/16    Debit Card Purchase 08/20 06:34p #3365 EREWHON MARKETS                      CALABASAS     CA 16236       33.00                         80,189.33
estaurant/Bar
8/24/16    Debit Card Purchase 08/22 04:28p #3365              GREEN BASIL THAI RESTA CALABASAS       CA 16236     42.97                          80,146.36
estaurant/Bar
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10/R1/04F013
ugust 1 - August 31, 2016                    Page 10 of 14
OBIN C DIMAGGIO
itigold Account    42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrip_tion                                                                                    Amount Subtracted     Amount Added       Balance
8/24/16    Debit Card Purchase 08/22 03:15p #3365                                                                   530.72                          79,615.64
NYDER DIAMOND N HOLLY NORTH HOLLYWO CA 16236
pecialty Retail stores
8/25/16    Debit Card Purchase Return 08/23 #3365           BEST BUY    00001123 THOUSAND OAKS CA 16237                             217.42         79,833.06
pecialty Retail stores
8/25/16    Debit PIN Purchase IN *LOS ROBLES HOSPITALTHOUSAND OAKSCAUS02180                                           2.45                         79,830.61
8/25/16    Debit PIN Purchase CHEVRON/MOORCREST OIL, THOUSAND OAKSCAUS00155                                          40.00                         79,790.61
8/25/16    Debit PIN Purchase THE HOME DEPOT #6632 WOODLAND HLS CAUS05152                                           343.96                         79,446.65
8/25/16    Debit Card Purchase 08/22 11 :20a #3365                                                                   12.75                         79,433.90
TARBUCKS STORE 11603 WOODLAND HILL CA 16237
estaurant/Bar
8/25/16    Debit Card Purchase 08/23 09:01 p #3365          T-MOBILE #7818         THOUSAND OAKS CA 16237             75.24                        79,358.66
hones, Cable & Utilities
8/25/16    Debit Card Purchase 08/23 01 :01 a #3365         TWISTED OAK TAVERN        Agoura Hills CA 16237         152.63                         79,206.03
estaurant/Bar
8/25/16    Debit Card Purchase 08/23 12:08a #3365           ZIN BISTRO AMERICANA WESTLAKE VILL CA 16237              184.51                        79,021.52
estaurant/Bar
8/25/16    Debit Card Purchase 08/23 04:24p #3365           ARl*AMERICAN RELIABLE 800-535-1333 AZ 16237             467.00                         78,554.52
isc Business Services
8/25/16    Debit Card Purchase 08/23 08:58p #3365           T-MOBILE #7818         THOUSAND OAKS CA 16237           782.23                         77,772.29
hones, Cable & Utilities
8/26/16    Del)_osit Teller                                                                                                           7.08         77,779.37
8/26/16    De_e_osit Teller                                                                                                       1,300.00         79,079.37
8/26/16    Debit PIN Purchase CVS/PHARMACY #09 09751-Agoura      CAUS05159                                            37.92                        79,041.45
8/26/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                            51.58                        78,989.87
8/26/16    Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                  108.31                        78,881.56
8/26/16    Cash Withdrawal 08/26 07:56_e_ #3365 Teller                                                             1,000.00                        77,881.56
8/26/16    Debit Card Purchase 08/24 07:20p #3365 AGOURA MEADOWS HEALTH                   AGOURA        CA 16238       2.79                        77,878.77
ood & BeveraQes
8/26/16    Debit Card Purchase 08/24 03:43p #3365           BEST BUY MHT 00001305 NORTHRIDGE          CA 16238        10.89                        77,867.88
pecialty Retail stores
8/26/16    Debit Card Purchase 08/23 11 :36p #3365          MICHAELS PIZZA         CALABASAS     CA 16238             25.69                        77,842.19
estaurant/Bar
8/26/16    Debit Card Purchase 08/24 06:32p #3365           AVEDIS ZILDJIAN    co    NORWELL     MA 16238            120.94                        77,721.25
pecialty Retail stores
8/26/16    Debit Card Purchase 08/23 #3365         GUITARCENTER.COM INTER 877-687-4242 CA 16238                      387.97                        77,333.28
_p_ecialty Retail stores
8/26/16    Debit Card Purchase 08/22 #3365         DW DRUMS            OXNARD        CA 16238                        678.15                        76,655.13
pecialty Retail stores
8/26/16    Debit Card Purchase 08/24 05:30p #3365           ARl*AMERICAN RELIABLE 800-535-1333 AZ 16238              859.00                        75,796.13
isc Business Services
8/26/16    ACH Electronic Debit        AMERICAN EXPR    ACH PMT                                                    6,360.93                        69,435.20
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account    42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                                      Amount Subtracted   Amount Added       Balance
8/29/16    Debit Card Purchase Return 08/25 #3365               BEST BUY      00001123 THOUSAND OAKS CA 16239                          98.08        69,533.28
pecialty Retail stores
8/29/16    Debit PIN Purchase               EDMONDS IGA MAR 550 5THEDMONDS      WAUS02154                              34.33                       69,498.95
8/29/16    Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                     48.01                      69,450.94
8/29/16    Debit PIN Purchase ALBERT N. GHIAM    CALABASAS CAUS00155                                                    49.11                      69,401.83
8/29/16    Debit Card Purchase 08/25 02:45a #3365                                                                        1.10                      69,400.73
SA*CANTEEN OF COAST V THOUSAND OAKS CA 16239
estauranVBar
8/29/16    Debit Card Purchase 08/25 #3365               USA*CANTEEN OF COAST v THOUSAND OAKS CA 16239                   1.85                      69,398.88
estauranVBar
8/29/16    Debit Card Purchase 08/24 12:44p #3365               STARBUCKS STORE 00544 ENCINO        CA 16239             5.75                      69,393.13
estauranVBar
8/29/16    Debit Card Purchase 08/23 #3365               MEDITERRANEAN PITA G CALABASAS       CA 16239                   7.62                      69,385.51
estauranVBar
8/29/16    Debit Card Purchase 08/23 #3365               MEDITERRANEAN PITA G CALABASAS       CA 16239                   9.80                      69,375.71
estauranVBar
-
8/29/16    Debit Card Purchase 08/23 #3365               MEDITERRANEAN PITA G CALABASAS       CA 16239                   9.80                      69,365.91
estauranVBar
8/29/16    Debit Card Purchase 08/24 04:31 p #3365              SENOR GRANDE          WOODLAND HILL CA 16239            12.91                      69,353.00
estauranVBar
--
8/29/16    Debit Card Purchase 08/24 04:20p #3365               SENOR GRANDE          WOODLAND HILL CA 16239            18.51                      69,334.49
estauranVBar
8/29/16    Debit Card Purchase 08/25 06:58p #3365               WHSE DIS CTR AGOURAHIL AGOURA HILLS CA 16239          301 .00                      69,033.49
pecialty Retail stores
8/29/16    Debit Card Purchase 08/25 07:55p #3365               PERRYS AUTO REPAIR      THOUSAND OAKS CA 16239      1,600.00                       67,433.49
utos (rental , service, gas)
8/29/16    Check # 234                                                                                              1,500.00                       65,933.49
8/30/16    Debit PIN Purchase vc DEFENSE INC    THOUSAND OAKSCAUS02159                                                470.84                       65,462.65
8/30/16    Debit Card Purchase 08/27 #3365 USA*CANTEEN OF COAST V THOUSAND OAKS CA 16242                                1.85                       65,460.80
estauranVBar
8/30/16    Debit Card Purchase 08/27 04:18a #3365                                                                        3.30                      65,457.50
SA*CANTEEN OF COAST V THOUSAND OAKS CA 16242
estauranVBar
8/30/16    Debit Card Purchase 08/25 04:10p #3365               STARBUCKS STORE 05858 CALABASAS          CA 16240        5.05                      65,452.45
estauranVBar                                                                                                                             ---
8/30/16    Debit Card Purchase 08/26 08:06p #3365                                                                       25.69                      65,426.76
AYNES CHICAGO BEEF & THOUSAND OAKS CA 16242
estauranVBar
8/30/16    Debit Card Purchase 08/25 03:14p #3365               ITALIA DELI & BAKERY AGOURA HILLS CA 16240              26.56                      65,400.20
estauranVBar
8/30/16    Debit Card Purchase 08/26 06:05p #3365               CASA ESCOBEDO         AGOURA HILLS CA 16240             32.25                      65,367.95
estauranVBar
8/30/16    Debit Card Purchase 08/26 05:36p #3365               TAN L.A.        THOUSAND OAKS CA 16240                  43.98                      65,323.97
isc Personal Services
                                                                                                                                                                                                   Case 1:17-ap-01099-VK




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                                                                                                                                                                          Exhibit GGG pt. 1 Page 143 of 200
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ugust 1 - August 31, 2016                               Page 12 of 14
OBIN C DIMAGGIO
itigold Account     42002622498
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igh Interest Checking 42002622498
hecking
ctivity
ontinued       Date          Descrip_tion                                                                                              Amount Subtracted      Amount Added        Balance
8/30/16       Debit Card Purchase 08/25 02:39p #3365                                                                              45.00                              65,278 .97
CHROEDER AND SCHROEDE AGOURA HILLS CA 16240
edical Services
8/30/16       Debit Card Purchase 08/25 04:31 p #3365          TOBACCO ROYALE        CALABASAS       CA 16240                        55.00                           65,223.97
pecialty Retail stores
8/30/16       Debit Card Purchase 08/26 04:09p #3365           NAIL SPA       AGOURA HILLS CA 16240                                  80.00                           65,143.97
isc Personal Services
8/30/16       Debit Card Purchase 08/26 12:29p #3365                                                                                 92.78                           65,051.19
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16240
estauranVBar
8/31/16       Credit COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                                                          188.10        65,239.29
8/31/16       Deposit Teller                                                                                                                           400.00        65,639.29
8/31 /16      Credit COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                                                          548 .23       66,187.52
8/31/16       Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                            4.08                            66,183.44
8/31/16       Return of Unpaid Deposited Check                                                                                       7.08                            66,176.36
8/31/16       Debit PIN Purchase SMART AND FINAL      WESTLAKE VILLCAUS02154                                                        42.50                            66,133.86
8/31/16       Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                          211.42                            65,922.44
8/31/16       Cash Withdrawal 08/31 05:13_1)_ #3365 Teller                                                                         900.00                            65,022.44
8/31/16       Cash Withdrawal 08/31 05:04p #3365 Teller                                                                          3,175.00                            61,847.44
8/31/16       Debit Card Purchase 08/29 06:20p #3365 SEATTLE METER PARKING                SEATTLE      WA 16243                      0.25                            61,847.19
pecialty Retail stores
8/31/16       Debit Card Purchase 08/29 06:11 p #3365          PIKE PLACE MARKET GARA SEATTLE          WA 16243                       6.00                           61,841.19
utos (rental, service, gas)
8/31 /16      Debit Card Purchase 08/28 07:19p #3365           SCRATCH DISTILLERY    EDMONDS         WA 16243                      249.99                            61,591.20
ood & Beverages
8/31 /16     Debit Card Purchase 08/29 11 :48a #3365 PYL*DEPOSITIQ LLC 866-7295327 co 16243                         700.00                                           60 ,891.20
8/31/16      Interest for 31 days, Annual Percentage Yield Earned 0.03%                                                                  5.57                        60,896.77
otal Subtracted/Added                                                                            744,896.51          762,345.82
8/31/16 Closing Balance                                                                                                                                              60,896.77
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid           Check        Date                  Amount        Check     Date            Amount        Check             Date           Amount         Check       Date        Amount
34         08/29              1,500.00    I    235      08/19            00.00     I         237*    08/19           11,900.00      I    238        08/19        1,546.00
82*        08/19                 22.01
 indicates gap in check number sequence                            Number Checks Paid : 5                         Totaling: $21 ,048.01
                                                                                                                                                                                                                        Case 1:17-ap-01099-VK




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                                                                                                                                                                                               Exhibit GGG pt. 1 Page 144 of 200
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itigold Account     42002622498
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han kYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou .com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date         Descrip_tion                                                                             Amount Subtracted   Amount Added   Balance
8/01 /16    Opening Balance                                                                                                                     39.66
8/31 /16    Closing Balance                                                                                                                     39.66

                                                                                                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                      Exhibit GGG pt. 1 Page 145 of 200
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eptember 1 - September 30, 2016                            Page 1 of 13
itigold Account      42002622498
ITIGOLD SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi~old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                             Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ffective November 1, 2016, you will not be able to make deposits, payments or internal
ransfers to other linked Citibank accounts at Citibank branded ATMs located at 7-
leven(r) stores and all references to these services in the Citibank Client Manual-
onsumer Accounts and Marketplace Addendum will be deleted. You can continue to
ake deposits of cash and checks at ATMs located at all Citibank branches and deposits
f checks through Citibank Mobile Check Deposit.
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                        Last Period             This Period   I      I Earnings Summary                                  This Period   This Vear
itibank Accounts                                                                                        Citibank Accounts
hecking                                                                                                 Checking
hecking                                                60,896.77               17,450.62                Checking                                             0.76         7.65
avin s                                                                                                  Savings
nsured Money Market Accounts                               39.66                  39.66                 Insured Money Market Accounts                        0.00         0.00
itigold Relationship Total                             $60,936.43            $17,490.28                 Citigold Relationship Total                          $0.76        $7.65
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltlgold
mportant Note: Outgoing Online Domestic Wire Transfer fees, Outgoing Online International Wire Transfer fees, Incoming Domestic and International
ire Transfer fees , and Foreign Exchange fees on international ATM/Debit card transactions are charged based on the Account Package of the
ransacting account as disclosed in the Other Fees and Charges for All Accounts section of your Marketplace Addendum . We have recently made
ystemic changes to reinforce this pricing. As a result, as of 10/15/2016, you may notice that the fees charged for these transactions may be different
han previously applied . If you have questions or need a copy of the Marketplace Addendum , please contact us at the numbers provided at the end of
his statement.
                                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                                   Exhibit GGG pt. 1 Page 146 of 200
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OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service fee for this statement period, and
he transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the month
f August in all your qualifying accounts that you asked us to combine. If you have a Citibank secured credit card , then Citibank will also
nclude the balance in your Collateral Holding Account or your Certificate of Deposit that secures your Citibank credit card. These balances
ay be in accounts that are reported on other statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings, money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts, loans (except mortgage from CitiMortgage) , credit cards and investments
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                       Your Combined Balance Range
100 000-$249 999
ates                                                             Preferred                                                           ,.
onthly Service Charge                                                 None
ebate of Surcharges from non-Citibank ATM                            $11.00
ransactions
ll fees assessed for this statement period will appear as charges to your account on your next Citigold statement.
heckln.9
hecking       High Interest Checking 42002622498
ctivity
ate         Descrip_tion                                                                                  Amount Subtracted     Amount Added           Balance
9/01/16      Opening Balance                                                                                             --
0,896.77
9/01/16      Debit PIN Purchase AGOURA HILLS AL     AGOURA HILLS CAUS00155                                              20.06                      60,876.71
9/01/16      Debit PIN Purchase BEVERAGES & MORE #39 THOUSAND OAK CAUS05159                                             53.93                      60,822.78
9/01 /16     Debit PIN Purchase ALBERT N. GHIAM     CALABASAS CAUS00155                                                 54.00                      60,768.78
9/01 /16     Debit PIN Purchase THE UPS STORE #1093 CALABASAS CAUS02173                                                360.00                      60,408.78
9/01/16      Debit PIN Purchase THE UPS STORE #1093 CALABASAS CAUS02173                                             1,015.00                       59,393.78
9/01/16      Debit Card Purchase 08/29 08:12p #3365 STARBUCKS A C032271553 SEATILE             WA 16244                 18.81                      59,374.97
estauranVBar
9/01/16      Debit Card Purchase 08/29 01 :16p #3365        STAYBRIDGE INN & SUITE MUKILTEO    WA 16244                21 .50                      59,353.47
9/01/16      Debit Card Purchase 08/29 09:55p #3365                                                                   198.00                       59,155.47
OUR SEASONS WLAKE SPA WESTLAKI: VILL CA 16244
isc Personal Services
9/01 /16     Debit Card Purchase 08/30 05:21 p #3365        SEA BREEZE DENTAL CARE AGOURA HILLS CA 16244              623.96                       58,531.51
edical Services
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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                                                                                                                                                                 Exhibit GGG pt. 1 Page 147 of 200
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itigold Account   42002622498
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igh Interest Checking 42002622498
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ctivity
ontinued   Date        Descri_E>_tion                                                                          Amount Subtracted     Amount Added       Balance
9/01/16    Debit Card Purchase 08/30 07:05p #3365        JC PLUMBING N THINGS THOUSAND OAKS CA 16244        846.55                          57,684.96
pecialty Retail stores
9/01 /16   Debit Card Purchase 08/30 01 :53p #3365       SEA BREEZE DENTAL CARE AGOURA HILLS CA 16244       932.00                         56,752.96
edical Services
9/02/16    Debit Card Purchase 08/30 01 :45p #3365       EVERYDAY COFFEE        BEVERLY HILLS CA 16245         15.00                       56,737.96
estaurant/Bar
9/02/16    Debit Card Purchase 08/31 #3365      SELECT EXPRESS & LOGIS 212-871-2554 NY 16245                   78.56                       56,659.40
isc Transportation
9/02/16    Debit Card Purchase 08/31 01 :04a #3365       BANZAI SUSHI        CALABASAS   CA 16245           111 .78                        56,547.62
estaurant/Bar
9/02/16    Cash Withdrawal 04:03p #3365 Citibank ATM 734 3RD AVENUE, NY, NY                                 500.00                         56,047.62
9/06/16    Debit Card Purchase Return 08/31 #3365 GUITARCENTER.COM INTER 877-687-4242           CA 16246                    298.23         56,345.85
pecialty Retail stores

9/06/16    Debit Card Purchase Return 09/01 #3365         BEST BUY     00001123 THOUSAND OAKS CA 16246                    1,540.92         57,886.77
pecialty Retail stores
9/06/16    ACH Electronic Debit Malibu Canyon (C WEB PMTS F49623                                             714.99                        57,171.78
9/06/16    ACH Electronic Debit WELLS FARGO CARD PHONE PYM T                                               1,353.97                        55,817.81
9/06/16    Debit PIN Purchase ?-ELEVEN            CALABASAS CAUS05155                                         14.93                        55,802.88
9/06/16    Debit PIN Purchase RALPHS 21909 VENTUR WOODLAND HILLCAUS05154                                      20.06                        55,782.82
9/06/16    Debit PIN Purchase ALBERT N. GHIAM        CALABASAS CAUS00155                                      25.70                        55,757.12
9/06/16    Debit PIN Purchase ?-ELEVEN            CALABASAS CAUS00155                                         30.00                        55,727.12
9/06/16    Debit PIN Purchase CVS/ PHARMACY #09 09613-Woodland HillCAUS051 59                                 34.19                        55,692.93
9/06/16    Debit PIN Purchase LAX AIRPORT LOT P 3 LOS ANGELES CAUS051 75                                      60.00                        55,632.93
9/06/16    Debit PIN Purchase U-HAUL OF AGOUR 28650 CAGOURA      CAUS02175                                   113.18                        55,519.75
9/06/1 6   Debit PIN Purchase THE HOME DEPOT #1070 WEST HILLS CAUS05152                                      448.78                        55,070.97
9/06/1 6   Transfer to Bankcard 09/03 10:57_1)_ #3365 ONLINE          Reference# 001714                    1,000.00                        54,070.97
9/06/16    Cash Withdrawal 09/06 01 :34_1)_ #3365 Teller                                                   2,000.00                        52,070.97
9/06/16    Debit Card Purchase 08/31 05:39p #3365 CHICK-FIL-A #02508 WESTLAKE VLG             CA 16246         9.64                        52,061.33
estaurant/Bar                                                                                                                        ---
9/06/16    Debit Card Purchase 09/01 12:52p #3365         AUTO FUELS , INC.     OXNARD     CA 16246            38.74                       52,022.59
utos (rental , service, gas)
-
9/06/16    Debit Card Purchase 09/01 12:38a #3365         BANZAI SUSHI         CALABASAS   CA 16246            84.32                       51,938.27
estaurant/Bar
9/06/16    Cash Withdrawal 09/05 11 :40p #3365                                                              203 .00                        51,735.27
on Citi ATM 23527 CALABASAS RD   CALABASAS    CAUS021
9/06/1 6   Debit Card Purchase 09/01 08:48p #3365         PERRYS AUTO REPAIR      THOUSAND OAKS CA 16246    300.00                         51 ,435.27
utos (rental, service, gas)
9/06/16    Debit Card Purchase 08/31 04:44p #3365         VITALITY INSTITUTE OF AGOURA HILLS CA 16246       800.00                         50,635.27
edical Services
9/06/1 6   Cash Withdrawal 09/04 06:50_1)_ #3365    Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA              800.00                         49,835.27
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account   42002622498
hecking    Continued
igh Interest Checking 42002622498
hecking
ctivity
ontinued   Date        Descrip_tion                                                                         Amount Subtracted     Amount Added       Balance
9/06/16    Debit Card Purchase 08/31 10:36p #3365                                                        856.77                          48,978.50
RBAN HOME WESTLAKE VI THOUSANIJ OAKS CA 16246
pecialty Retail stores
9/07/16    Dep_osit Teller                                                                                               281.33         49,259.83
9/07/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 398143792                                      733.95                         48,525.88
9/07/16    ACH Electronic Debit BARCLAYCARD us CREDITCARD 398142593                                    4,549.20                         43,976.68
9/07/16    Transfer to Bankcard 07:45_1)_ #3365 ONLINE        Reference# 004274                           87.13                         43,889.55
9/07/16    Cash Withdrawal 09/07 04:28_1)_ #3365 Teller                                                  200.00                         43,689.55
9/07/16    Cash Withdrawal 09/07 04:29J) #3365 Teller                                                  1,000.00                         42,689.55
9/07/16    Debit Card Purchase 09/04 06:41 p #3365 DIY HOME CENTER #13 AG AGOURA           CA 16249        5.44                         42,684.11
pecialty Retail stores
9/07/16    Debit Card Purchase 09/02 03:59p #3365     NYC YELLOW CAB        LONG IS CITY NY 16249           6.96                        42,677.15
isc Transportation
9/07/16    Debit Card Purchase 09/04 05:54p #3365     CARRARA PASTRIES -AGO AGOURA HILLS CA 16249           9.48                        42,667.67
estauranVBar
9/07/16    Debit Card Purchase 09/02 12:44p #3365     NYC-TAXI         LONG IS CITY NY 16249               11.16                        42,656.51
isc Transportation
9/07/16    Debit Card Purchase 09/02 12:49p #3365     MILLENNIUM UN PLAZA F& NEW YORK       NY 16247       19.04                        42,637.47
otels & Motels
9/07/16    Debit Card Purchase 09/04 05:44p #3365     HUGOS AGOURA HILLS      AGOURA HILLS CA 16250        26.26                        42,611.21
estauranVBar
9/07/16    Debit Card Purchase 09/01 09:59p #3365     EXOTIC THAI AGOURA INC AGOURA HILLS CA 16247         40.33                        42,570.88
estauranVBar
9/07/16    Debit Card Purchase 09/02 03:24p #3365     UN GIFT ST13       NEW YORK     NY 16247             43.53                        42,527.35
pecialty Retail stores
9/07/16    Debit Card Purchase 09/05 03:07a #3365                                                          47.91                        42,479.44
AZAR MEDITERRANEAN RE WOODLAND HILL CA 16250
estauranVBar
9/07/16    Debit Card Purchase 09/01 03:22p #3365     ITALIA DELI & BAKERY AGOURA HILLS CA 16247           52.66                        42,426.78
estauranVBar
9/07/16    Debit Card Purchase 09/02 01 :36p #3365    CULINART- UNITED NATI NEW YORK       NY 16247        69.35                        42,357.43
estauranVBar
9/07/16    Debit Card Purchase 09/02 02:20a #3365     T3 GLADSTONES 32578767 LOS ANGELES CA 16247          77.65                        42,279.78
estauranVBar
9/07/16    Debit Card Purchase 09/02 03:21 p #3365    UN GIFT ST13       NEW YORK     NY 16247            121.07                        42,158.71
pecialty Retail stores
9/07/16    Debit Card Purchase 09/04 06:38p #3365     DIY HOME CENTER #13 AG AGOURA         CA 16249      391.77                        41,766.94
pecialty Retail stores
9/07/16    Debit Card Purchase 09/03 09:39a #3365     LOEWS HOTELS         NEW YORK     NY 16249          502.54                        41,264.40
otels & Motels
9/07/16    Debit Card Purchase 09/03 09:39a #3365     LOEWS HOTELS         NEW YORK     NY 16249          526.53                        40,737.87
otels & Motels
9/07/16    Debit Card Purchase 09/01 04:51 p #3365    JOHN VARVATOS MALIBU MALIBU         CA 16247        848.46                        39,889.41
pecialty Retail stores
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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9/08/16    Credit COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                                              54.09        39,943.50
9/08/16    Debit Card Purchase Return 09/03 #3365 LOEWS HOTELS                       NEW YORK     NY 16251                           1,029.07        40,972.57
otels & Motels
9/08/16    Debit PIN Purchase               COST PLUS WLD #77    WESTLAKE VILLCAUS02153                                 29.99                       40,942.58
9/08/16    Debit PIN Purchase EREWHON NATURAL FOODS MCALABASAS CAUS02154                                                47.97                       40,894.61
9/08/16    Debit PIN Purchase #06335 ALBERTSON$ CALABASAS CAUS05154                                                    163.89                       40,730.72
9/08/16    Debit Card Purchase 09/05 03:32p #3365 CALABASAS MARKET & LIQ CALABASAS                        CA 16251       3.00                       40,727.72
estauranVBar
9/08/16    Debit Card Purchase 09/06 12:35a #3365                 SAGEBRUSH CANTINA       CALABASAS     CA 16251         24.46                      40,703.26
estauranVBar
9/08/16    Debit Card Purchase 09/05 03:35p #3365                 PARKWAY KABOB & GRILL CALABASAS         CA 16251       49.09                      40,654.17
estauranVBar
9/08/16    Debit Card Purchase 09/06 12:27a #3365                 SAGEBRUSH CANTINA       CALABASAS     CA 16251       295.63                       40,358.54
estauranVBar
9/08/1 6   Debit Card Purchase 09/06 03:53p #3365                 UNIVERSAL WEB 40000010 UNIVERSAL CIT CA 16251        999.95                       39,358.59
ecreational Services
9/08/16    Debit Card Purchase 09/06 12:13a #3365                 LAW OFFICES OF J T FOX 818-7635977 CA 16251        3,000.00                       36,358.59
isc Business Services
9/09/16    Debit PIN Purchase IKEA BURBAN K        BURBANK    CAUS02157                                                 17.38                       36,341 .21
9/09/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                              48.90                       36,292.31
9/09/16    Cash Withdrawal 09/09 05:1 0_e Teller                                                                     2,300.00                       33,992.31
9/09/16    Transfer to Bankcard 05:00_e #3369 CALL CENTER            Reference# 502614                               2,300.00                       31 ,692.31
9/09/16    Debit Card Purchase 09/06 06:15p #3365 81161 - TARZANA MEDICA TARZANA                      CA 16252           6.00                       31,686.31
utos (rental , service, gas)
9/09/16    Debit Card Purchase 09/07 04:59p #3365                 LOVES PETS        AGOURA HILLS CA 16252                21.78                      31,664.53
p_ecialty Retail sto res
9/09/16    Debit Card Purchase 09/07 03:56p #3365                 CHOCOLATINE        THOUSAND OAKS CA 16252              50.75                      31,613 .78
estauranVBar
9/12/16    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS00155                                              39.00                      31 ,574.78
9/12/16    Debit PIN Purchase CVS/ PHARMACY #09 09751-Agoura CAUS05159                                                  39.14                       31 ,535.64
9/12/16    Debit PIN Purchase ALBERT N. GHIAM     CALABASAS CAUS00155                                                   41.00                       31,494.64
9/12/1 6   Debit PIN Purchase GELSON'S MARKET       CALABASAS CAUS02154                                                143.24                       31 ,351.40
9/12/16    Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                 505.66                       30,845.74
9/12/16    Cash Withdrawal 09/12 06:15_e #3365 Teller                                                                1,100.00                       29,745 .74
9/12/16    Debit Card Purchase 09/08 06:24p #3365                                                                       23.30                       29,722.44
IY HOME CENTER #04 TO THOUSAND OAKS CA 16253
pecialty Retail stores
9/12/1 6   Debit Card Purchase 09/06 #3365                 FAT BURGER #116     WOODLAND HILL CA 16253                    23.71                      29,698.73
estauranVBar
9/12/1 6   Debit Card Purchase 09/07 05:02p #3365                 ITALIA DELI & BAKERY AGOURA HILLS CA 16253            33.95                       29,664.78
estauranVBar
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9/12/16    Debit Card Purchase 09/07 03:28p #3365    NYC-TAXI        WOODSIDE      NY 16253                   63.36                         29,601.42
isc Transportation
9/12/16    Debit Card Purchase 09/08 03:51 p #3365   HOME CNSGNMNT CTR# 17 CALABASAS            CA 16253    545.00                         29,056.42
p_ecialty Retail stores
9/12/16    Debit Card Purchase 09/08 03:58p #3365    HOME CNSGNMNT CTR# 17 CALABASAS            CA 16253    600.59                         28,455.83
pecialty Retail stores
9/12/16    Debit Card Purchase 09/08 07:39p #3365    LAW OFFICES OF J T FOX 818-7635977 CA 16253           2,000.00                        26,455.83
isc Business Services
9/13/16    Debit   PIN Purchase ALBERT N. GHIAM    CALABASAS CAUS02155                                        6.37                          26,449.46
9/13/16    Debit   PIN Purchase 7-ELEVEN        CALABASAS CAUS05155                                          19.58                          26,429.88
9/13/16    Debit   PIN Purchase ALBERT N. GHIAM    CALABASAS CAUS00155                                       40.00                          26,389.88
9/13/16    Debit   PIN Purchase 7-ELEVEN        CALABASAS CAUS00155                                          42.18                          26,347.70
9/13/16    Debit   PIN Purchase THE HOME DEPOT #1070 WEST HILLS CAUS05152                                   159.86                         "?6, 187.8~ .
9/13/16    Debit   Card Purchase 09/08 06:42p #3365                                                           6.20                         26,181 .64
TARBUCKS STORE 05445 THOUSAND OAKS CA 16254
estauranVBar
9/13/16    Debit Card Purchase 09/08 01 :24p #3365   CAFE OLE          CALABASAS    CA 16254                  19.45                        26,162.19
estauranVBar
9/13/16    Debit Card Purchase 09/08 04:40p #3365    AGOURA S FAMOUS DELI & AGOURA HILLS CA 16254             21.35                        26,140.84
estauranVBar
9/13/16    Debit Card Purchase 09/08 10:21 p #3365   CALABASAS MARKET & LIQ CALABASAS          CA 16254       29.22                        26,111.62
estauranVBar
9/13/16    Debit Card Purchase 09/10 12:10a #3365    MARIA'S ITALIAN #2    WOODLAND HILL CA 16254             40.66                        26,070.96
estauranVBar
9/13/16    Debit Card Purchase 09/08 10:16p #3365    PARKWAY KABOB & GRILL CALABASAS           CA 16254       41.80                        26,029.16
estauranVBar
9/13/16    Cash Withdrawal 08:221)_ #3365 ATM 4919 LAS VIRGENES   RD CALABASAS     CAUS021                   100.00                        25,929.16
9/13/16    Debit Card Purchase 09/09 02:34p #3365                                                            108.00                        25,821.16
TARBUCKS STORE 11603 WOODLAND HILL CA 16256
estauranVBar
9/13/16    Debit Card Purchase 09/08 06:01 p #3365   SELECT COMFORT 100      THOUSAND OAKS CA 16254          128.99                        25,692.17
pecialty Retail stores
9/13/16    Debit Card Purchase 09/11 12:08a #3365    SAGEBRUSH CANTINA        CALABASAS     CA 16256         129.44                        25,562.73
estauranVBar
9/13/16    Debit Card Purchase 09/09 01 :18p #3365                                                           135.47                        25,427.26
NTERPRISE RENT-A-CAR THOUSAND OAKS CA 16254
utos (rental, service, gas)
9/13/16    Debit Card Purchase 09/08 07:21 p #3365   BED BATH & BEYOND #651 08004623966 NJ 16256             168.54                        25,258.72
pecialty Retail stores
9/13/16    Debit Card Purchase 09/09 10:13p #3365    DUNNETT CLASSIC DRUMS DELTA            CAN16254       1,856.43                        23,402.29
pecialty Retail stores
9/14/16    Credit COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                                                   29.99         23,432.28
9/14/16    Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                       232.77                        23,199.51
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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9/14/16    Debit Card Purchase 09/12 07:08p #3365     K CHOCOLATIER - MALIBU MALIBU       CA 16257         25.00                        23,174.51
ood & BeveraQes
9/14/16    Debit Card Purchase 09/11 08:45p #3365     THAI CHABA       WOODLAND HILL CA 16257              64.27                        23,110.24
estauranVBar
9/15/16    Debit Card Purchase 09/12 05:52p #3365     COFFEE BEAN STORE      LOS ANGELES CA 16258            6.53                       23,103.71
estauranVBar
9/15/16    Debit Card Purchase 09/12 05:48p #3365     COFFEE BEAN STORE      LOS ANGELES CA 16258          16.32                        23,087.39
estauranVBar
9/15/16    Debit Card Purchase 09/12 11 :45p #3365    ROSTI TUSCAN KITCHEN - CALABASAS        CA 16258     56.14                        23,031.25
estauranVBar
9/15/16    Debit Card Purchase 09/12 01 :20p #3365    BEVERLY GLEN PHARMACY LOS ANGELES CA 16258          127.53                        22,903.72
ood & BeveraQes
9/15/16    Debit Card Purchase 09/12 02:56p #3365     GUITAR CENTER #110    W HOLLYWOOD CA 16258          159.95                        22,743.77
pecialty Retail stores
9/16/16   De_JJ_osit Teller                                                                                             188.02          22,931.79
9/16/16   Debit PIN Purchase ?-ELEVEN          CALABASAS CAUS05155                                        20.84                         22,910.95
9/16/16   Debit PIN Purchase ?-ELEVEN          CALABASAS CAUS00155                                        25.90                         22,885.05
9/16/16   Debit PIN Purchase PETCO 1512         CANOGA PARK CAUS05159                                     44.20                         22,840.85
9/16/16   Debit PIN Purchase WALGREENS STORE 7560 TOCANOGA PARK CAUS05159                                 66.99                         22,773.86
Q9/16/16   Debit PIN Purchase EREWHON NATURAL FOODS MCALABASAS CAUS02154                                   76.58                         22,697.28
9/16/16   Debit PIN Purchase WALGREENS STORE 7560 TOCANOGA PARK CAUS05159                                139.70                         22,557.58
9/16/16   Debit PIN Purchase COST PLUS WORLD MKT 38 WEST HILLS CAUS02153                                 174.52                         22,383.06
9/16/16   Debit PIN Purchase TJ    TJ MAXX      CANOGA PARK CAUS02156                                    192.61                         22,190.45
9/16/16   Debit Card Purchase 09/13 01 :41 p #3365 STARBUCKS STORE 05549 LOS ANGELES          CA 16259     6.90                         22,183.55
estauranVBar
9/16/16    Debit Card Purchase 09/13 06:28p #3365     YOGIS GRILL WOODLAND WOODLAND HILL CA 16259          13.47                        22,170.08
estauranVBar
9/16/16    Debit Card Purchase 09/14 09:1 Op #3365    JACK IN THE BOX #31QPS CALABASAS        CA 16259     15.78                        22,154.30
estauranVBar                                                                                                                     -
9/16/16    Debit Card Purchase 09/13 01 :33p #3365    BEVERLY GLEN DELI     LOS ANGELES CA 16259           20.86                        22,133.44
estauranVBar                                                                                                                     - --
9/16/16    Debit Card Purchase 09/14 01 :35p #3365    BOBBYS COFFEE SHOP      WOODLAND HILL CA 16259       55.74                        22,077.70
estauranVBar
9/16/16    Debit Card Purchase 09/14 08:29p #3365     TIC TOG CLEANERS      AGOURA HILLS CA 16259          78.50                        21,999.20
isc Personal Services
9/16/16    Cash Withdrawal 11 :49a #3365 ATM 4919 LAS VIRGENES RD CALABASAS        CAUS021                160.00                        21,839.20
9/19/16    Debit PIN Purchase GELSON 'S MARKET       CALABASAS CAUS02154                                   40.10                        21,799.10
9/19/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                 49.01                        21,750.09
9/19/16    Debit PIN Purchase BEDBATH&BEYOND# 6530 CaWOODLAND HILLCAUS05157                                70.54                        21 ,679.55
9/19/16    Debit PIN Purchase THE HOME DEPOT #0612 CANOGA PARK CAUS05152                                   96.95                        21,582.60
9/19/16    Debit PIN Purchase GELSON'S MARKET        CALABASAS CAUS02154                                  228.14                        21,354.46
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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9/19/16    Debit PIN Purchase THE HOME DEPOT #1070                WEST HILLS CAUS05152                                    396.42                         20,958.04
9/19/16    Debit Card Purchase 09/14 06:23p #3365                                                                           9.95                         20,948.09
TARBUCKS STORE 05445 THOUSAND OAKS CA 16260
estaurant/Bar
9/19/16    Debit Card Purchase 09/14 09:07p #3365                 TOBACCO ROYALE           CALABASAS     CA 16260           21.74                       20,926.35
pecialty Retail stores
9/19/16    Debit Card Purchase 09/15 01 :33p #3365                LEO AND LILY        WOODLAND HILL CA 16260              127.39                        20,798.96
estaurant/Bar
9/19/16    Cash Withdrawal 02:31 a #3365 Non Citi ATM *LAX-TERMINAL 3 DEPART LOS ANGELES CAUS051                          203.00                        20,595.96
9/19/16    Debit Card Purchase 09/14 #3365 GUITARCENTER.COM INTER 877-687-4242 CA 16260                                 2,000.02                        18,595.94
pecialty Retail stores
9/20/16    Dep_osit Teller                                                                                                            10,000.00         28,595.94
9/20/16    ACH Electronic Debit Charter    Check Pmt             0000000435                                                103.36                       28,492.58
9/20/16    Debit Card Purchase 09/16 08:27p #3365                 FEDEXOFFICE 00005827 WOODLAND HILL CA 16263                3.78                       28,488."80
isc Business Services
9/20/16    Debit Card Purchase 09/16 11 : 13a #3365               STARBUCKS STORE 05858 CALABASAS            CA 16263        7.70                       28,481.10
estaurant/Bar
9/20/16    Debit Card Purchase 09/16 12:01 p #3365                EREWHON MARKETS           CALABASAS     CA 16263          16.50                       28,464.60
estaurant/Bar
9/20/16    Debit Card Purchase 09/16 12:29p #3365                 POSTAL ANNEX #170        AGOURA HILLS CA 16263            20.00                       28,444.60
pecialty Retail stores
9/20/16    Debit Card Purchase 09/16 #3365                76 - MIKE PLY      THOUSAND OAKS CA 16261                         24.00                       28,420.60
utos (rental, service, gas)
9/20/16    Debit Card Purchase 09/16 06:27p #3365                 76 - MIKE PLY     THOUSAND OAKS CA 16261                  29.68                       28,390.92
utos (rental, service, gas)
9/20/16    Debit Card Purchase 09/16 07:29p #3365                 FED EX 784109796545      MEMPHIS      TN 16263            31.00                       28,359.92
isc Transportation
9/20/16    Debit Card Purchase 09/16 05:21 a #3365                BLUE APRON ORDER         8882784349    NY 16261           39.88                       28,320.04
ood & BeveraAes
9/20/16    Debit Card Purchase 09/17 10:33p #3365                 ROST! TUSCAN KITCHEN - CALABASAS         CA 16263         47.96                       28,272.08
estaurant/Bar
9/20/16    Debit Card Purchase 09/16 11 :31 a #3365               FACE2FACE MANAGEMENT I 08187481555 CA 16261               70.00                       28,202.08
isc Business Services
9/20/16    Debit Card Purchase 09/16 04:46p #3365                 SQ *MELISSA SEWELL       OAK PARK      CA 16261          120.00                       28,082.08
isc Personal Services
9/20/16    Debit Card Purchase 09/15 11 :03a #3365                                                                         152.25                       27,929.83
TARBUCKS STORE 11603 WOODLAND HILL CA 16261
estaurant/Bar
9/20/16    Debit Card Purchase 09/16 06: 15p #3365                IMPORT AUTO CLINIC       THOUSAND OAKS CA 16261          806.73                        27,123.10
utos (rental, service, gas)
9/20/16    Check # 460                                                                                                      80.00                        27,043.10
9/21/16    Dep_osit Teller                                                                                                                33.52          27,076.62
9/21/16    Debit PIN Purchase              SHELL Service Station CALABASAS    CAUS00155                                     39.01                        27,037.61
9/21/16    Debit PIN Purchase              COST PLUS WLD #77    WESTLAKE VILLCAUS02153                                     117.56                        26,920.05
                                                                                                                                                                                                        Case 1:17-ap-01099-VK




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9/21/16    Cash Withdrawal 09/21 05:59p_ #3365 Teller                                                     200.00                        26,720.05
9/21/16    Debit Card Purchase 09/19 02:24a #3365 LAX BLUE WINDOW              LOS ANGELES CA 16264        12.52                        26,707.53
estauranVBar
9/21/16    Debit Card Purchase 09/19 02:50p #3365     MILLENNIUM UN PLAZA F& NEW YORK          NY 16264    36.15                       26,671 .38
otels & Motels
9/21/16    Debit Card Purchase 09/19 05:25p #3365     MILLENNIUM UN PLAZA F& NEW YORK          NY 16264     46.00                      26,625.38
otels & Motels
9/21/16    Debit Card Purchase 09/19 02:23a #3365     LAX BLUE WINDOW          LOS ANGELES CA 16264        48.13                       26,577.25
estauran VBar
9/21/16    Debit Card Purchase 09/18 07:09p #3365     ITALIA DELI & BAKERY AGOURA HILLS CA 16264           99.69                       26,477.56
estauranVBar
9/21/16    Debit Card Purchase 09/19 11 :42p #3365    TRAVEL PROFESSIONALS 562-596-9446 CA 16264          125.00                       26,352.56
isc Business Services
9/21 /16   Debit Card Purchase 09/19 11 :40p #3365    TRAVEL PROFESSIONALS 562-596-9446 CA 16264          150.00                       26,202.56
isc Business Services
9/22/16    ACH Electronic Debit SOCALGAS          ARC PYM T 0000000432                                     26.42                       26,176.14
9/22/16    Debit PIN Purchase GELSON'S MARKET          CALABASAS CAUS02154                                 25.28                       26,150.86
9/22/16    Debit Pl N Purchase SHELL Service Station CALABASAS CAUS00155                                   34.75                       26,116.11
9/22/16    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura       CAUS05159                                 60.92                       26,055.19
9/22/16    Debit Card Purchase 09/19 09:55a #3365 PARADIES #9212 JFK JAMAICA              NY 16265         21.75                       26,033 .44
pecialty Retail stores
9/22/16    Debit Card Purchase 09/20 06:14p #3365     LAX AIRPORT LOT P 3      LOS ANGELES CA 16265        60.00                       25,973.44
utos (rental, service, gas)
9/22/16    Debit Card Purchase 09/19 02:36a #3365     JETBLUE 27906165084943 00005382583 UT 16265          90.00                       25,883.44
irlines & Airports
9/23/16    ACH Electronic Debit TIME WARNER WEST PAYM ENT 0000000434                                        0.07                       25,883.37
9/23/1 6   Debit PIN Purchase BARNESNOBLE 4735 CommonCalabasas CAUS05159                                   30.60                       25,852.77
9/23/16    Debit Card Purchase 09/20 08:08p #3365 AHSP CAFE 60033446 LOS ANGELES              CA 16266      3.54                       25,849.23
estauranVBar
9/23/16    Debit Card Purchase 09/20 08:17p #3365     ABM PARKING CEDARS SIN LOS ANGELES CA 16266            7.50                      25,841 .73
utos frental,service , gas)
9/23/16    Debit Card Purchase 09/20 09:39a #3365     JETBLUE 27906165334681 08005382583 UT 16266           10.00                      25,831.73
irlines & Airports
9/23/16    Debit Card Purchase 09/21 07:05p #3365                                                           18.88                      25,812.85
ETZEL'S PRETZELS OPS THOUSAND OAKS CA 16266
estauranVBar
9/23/16    Debit Card Purchase 09/20 08:00p #3365     AHSP CAFE   60033446 LOS ANGELES CA 16266             21.42                      25,791.43
estauranVBar
9/23/16    Debit Card Purchase 09/19 10:44p #3365     ROSSINI ' S RESTAURAN     NEW YOR K     NY 16266     35.49                       25,755.94
estauranVBar
9/23/1 6   Debit Card Purchase 09/20 10:30a #3365     OTG JFK T5 VENTURE, LL JAMAICA         NY 16266      55.73                       25,700.21
estauranVBar
9/23/1 6   Debit Card Purchase 09/20 09:34a #3365     NYC-TAXI         NEWYORK        NY16266              70.01                       25,630.20
isc Transportation
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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itigold Account   42002622498
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ontinued   Date        Descrip_tion                                                                                Amount Subtracted     Amount Added       Balance
9/23/16    Debit Card Purchase 09/21 12:15a #3365      BANZAI SUSHI          CALABASAS     CA 16266               83.85                         25,546.35
estauranVBar
9/23/16    Cash Withdrawal 09/22 11 :35p #3365                                                                  103.00                         25,443.35
on Citi ATM ELJCAMINO-FC D DRIVE WOODLAND HILLCAUS051
9/23/16    Debit Card Purchase 09/20 10:58a #3365      JETBLUE 27906165351805 08005382583 UT 16266              499.00                         24,944.35
irlines & Aire.arts
9/23/16    Check# 240                                                                                           354.00                         24,590.35
9/26/16    De_e_osit Teller                                                                                                     400.00         24,990.35
9/26/16    ACH Electronic Credit CITICARDS      PAYMENT                                                                       2,151.78         27,142.13
9/26/16    Debit PIN Purchase 7-ELEVEN            LOS ANGELES CAUS05155                                           4.96                         27,137.17
9/26/16    Debit PIN Purchase SHELL Service Station AGOURA      CAUS00155                                        20.00                         27,117.17
9/26/16    Debit Pl N Purchase GELSON'S MARKET         CALABASAS CAUS02154                                       28.21                         27,088.96
9/26/16    Debit PIN Purchase SHELL Service Station AGOURA      CAUS02155                                        37.31                         27,051.65
9/26/16    Debit PIN Purchase SHELL Service Station AGOURA      CAUS00155                                        57.51                         26,994.14
9/26/16    Transfer to Bankcard 09/24 10:33a #3365 ONLINE                 Reference# 0011 oo                    699.90                         26,294.24
9/26/16    Cash Withdrawal 09/26 05:28_e_ #3365 Teller                                                          723.00                         25,571.24
9/26/16    Debit Card Purchase 09/21 04:19p #3365 STARBUCKS STORE 05858 CALABASAS                    CA 16267    12.15                         25,559.09
estauranVBar
9/26/16    Debit Card Purchase 09/21 05:09p #3365      HUGO$ AGOURA HILLS         AGOURA HILLS CA 16267           52.24                        25,506.85
estauranVBar
9/26/16    Debit Card Purchase 09/21 07:25p #3365      SELECT COMFORT 100        THOUSAND OAKS CA 16267          128.99                        25,377.86
pecialty Retail stores
9/26/16    Debit Card Purchase 09/21 05:11 p #3365     GUITARCENTER.COM INTER 877-687-4242 CA 16267             306.39                         25,071.47
pecialty Retail stores
9/26/16    Debit Card Purchase 09/22 01 :48p #3365     DW DRUMS              OXNARD       CA 16267              333.71                         24,737.76
pecialty Retail stores
9/27/16    Debit PIN Purchase CALABASAS UNION     CALABASAS CAUS00155                                             28.80                        24,708.96
9/27/16    Debit Card Purchase 09/22 03:36p #3365 STARBUCKS STORE 05858             CALABASAS        CA 16268      7.70                        24,701.26
estauranVBar
9/27/16    Debit Card Purchase 09/22 09:40p #3365      MEDITERRANEAN PITA G CALABASAS            CA 16270         14.15                        24,687.11
estauranVBar
9/27/16    Debit Card Purchase 09/24 11 :48a #3365     COFFEE BEAN STORE         WOODLAND HILL CA 16270           24.84                        24,662.27
estauranVBar
9/27/16    Debit Card Purchase 09/21 11 :41 p #3365    CA SECRETARY OF STATE 916-6533775 CA 16268                 25.00                        24,637.27
pecialty Retail stores
9/27/16    Debit Card Purchase 09/22 09:34p #3365      GNC #01651           CALABASAS     CA 16268                39.23                        24,598.04
ood & BeveraQes
9/27/16    Debit Card Purchase 09/23 06:05p #3365                                                                 45.00                        24,553.04
CHROEDER AND SCHROEDE AGOURA HILLS CA 16270
edical Services
9/27/16    Debit Card Purchase 09/22 02:56p #3365      AGOURA    s   FAMOUS DELI & AGOURA HILLS CA 16268          58.01                        24,495.03
estauranVBar
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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itigold Account   42002622498
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ontinued   Date        Descrigtion                                                                                             Amount Subtracted    Amount Added       Balance
9/27/16    Debit Card Purchase 09/23 06:56p #3365                    BLUE APRON ORDER        8882784349    NY 16268           59.94                        24,435.09
ood & BeveraQes
9/27/16    Debit Card Purchase 09/23 04:29p #3365                    VIAALLORO         BEVERLY HILLS CA 16270                 68.75                       24,366.34
estauranVBar
9/27/16    Debit Card Purchase 09/23 08:13p #3365                    HOOTERS OF THOUSAND OA VALENCIA            CA 16270      74.04                       24,292.30
estauranVBar
9/27/16    Debit Card Purchase 09/23 12:33a #3365                    SAGEBRUSH CANTINA        CALABASAS     CA 16268        112.43                        24,179.87
estauranVBar
9/27/16    Debit Card Purchase 09/24 01 :28p #3365                   SPIRIT DELI LIQUOR     LOS ANGELES CA 16270            200.35                        23,979.52
ood & BeveraQes
9/27/16    Debit Card Purchase 09/23 03:09p #3365                    GUITARCENTER.COM INTER 877-687-4242 CA 16270           394.59                        23,584.93
pecialty Retail stores
9/28/16    Debit PIN Purchase SHELL Service Station CALABASAS                 CAUS00155                                      50.87                        23,534.06
9/28/16    Debit Card Purchase 09/25 05 :53p #3365                                                                           35.07                        23,498.99
OWNTOWN STANDARD F& LOS ANGE=LES CA 16271
estau ranVBar
9/28/16    Debit Card Purchase 09/26 06:08p #3365                    TMOBILE*POSTPAID IVR 800-937-8997 WA 16271             267.18                        23,231.81
hones, Cable & Utilities
9/28/16    Debit Card Purchase 09/26 12:22a #3365                                                                           517.87                        22,713.94
OWNTOWN STANDARD F& LOS ANGELES CA 16271
estauran VBar
9/29/16    Debit PIN Purchase CHEVRON/WOODLAND HILLS WOODLAND HILLCAUS00155                                                   25.00                       22,688 .94
9/29/16    Debit Card Purchase 09/27 01 :17a #3365 76 - CALABASAS UNION C CALABASAS                           CA 16272         8.96                       22,679.98
utos {rental , service, gas)
9/29/16    Debit Card Purchase 09/27 01 :17a #3365                   76 - CALABASAS UNION C CALABASAS         CA 16272        39.01                       22,640.97
utos {rental, service, gas)
9/29/16    Cash Withdrawal 04:54_e #3365 Non Citi ATM 1915 N BRONSON AVE                      LOS ANGELES CAUS021            62.00                        22,578.97
9/29/16    Debit Card Purchase 09/27 12:34a #3365 SAGEBRUSH CANTINA                           CALABASAS     CA 16272        121.64                        22,457.33
estauranVBar
9/30/16    De_eosit Teller                                                                                                                 892.16         23,349.49
9/30/16    Debit PIN Purchase               RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                        3.60                      23,345.89
9/30/16    Debit PIN Purchase               CA OMV THOUSAND OAKS FOTHOUSAND OAKSCAUS80193                                      20.00                      23,325.89
9/30/16    Debit PIN Purchase               EMBASSY LIQUOR         WOODLAND HILLCAUS05154                                      22.07                      23,303.82
9/30/16    Debit PIN Purchase               SUNSET E &   s   1   LOS ANGELES CAUS00155                                         33.21                      23,270.61
9/30/16    Debit PIN Purchase               CA OMV THOUSAND OAKS FOTHOUSAND OAKSCAUS80193                                      68.00                      23,202.61
9/30/16    Debit PIN Purchase               CA OMV THOUSAND OAKS FOTHOUSAND OAKSCAUS80193                                    599.00                       22,603.61
9/30/16    Cash Withdrawal 09/30 02:50_e #3365 Teller                                                                      5,000.00                       17,603.61
9/30/16    Debit Card Purchase 09/27 03:1Op #3365 LA VIDA LIQUOR                           HOLLYWOOD      CA 16273             9.75                       17,593.86
ood & BeveraQes
9/30/1 6   Debit Card Purchase 09/27 11 :38a #3365                                                                            14.40                       17,579.46
TARBUCKS STORE 11603 WOODLAND HILL CA 16273
estauranVBar
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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itigold Account    42002622498
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igh Interest Checking 42002622498
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ontinued            Date       Descrip_tion                                                                              Amount Subtracted     Amount Added             Balance
9/30/16   Debit Card Purchase 09/28 12:32g #3365                                                                19.11                           17,560.35
LU JAM CAFE MULHOLLAN WOODLAN      HILL CA 16273
estauranVBar
9/30/16   Debit Card Purchase 09/27 #3365     EREWHON MARKETS       CALABASAS   CA 16273                        41.80                           17,518.55
estauranVBar
9/30/16   Debit Card Purchase 09/28 12:31g #3365                                                                68.69                           17,449.86
LU JAM CAFE MULHOLLAN WOODLAN      HILL CA 16273
estauranVBar
9/30/16      Interest for 30 days, Annual Percentage Yield Earned 0.03%                                                             0.76        17,450.62
otal Subtracted/Added                                                                         60,346.02           16,899.87
9/30/16 Closing Balance                                                                                                                         17,450.62
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.             I'"'     . .... ,
t.·• ,
hankYou®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                         600
otal Points forwarded to Citi® ThankYou® Rewards                                                    600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®            Citibank® Savings Plus 42002622506
avings Plus
ccount Activity     Date        Descrip_tion                                                                                   Amount Subtracted     Amount Added       Balance
9/01/16     Opening Balance                                                                                                                               39.66
9/30/16     Closing Balance                                                                                                                               39.66
                                                                                                                                                                                                           Case 1:17-ap-01099-VK




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                                                                                                                                                                                  Exhibit GGG pt. 1 Page 157 of 200
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itigold Account        42002622498
ITIGOLD SERVICES
O Box6201
ioux Falls, SD 57117-6201
or banking call: Citi9old Services at (888) 248-4465*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                             Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ou can help those impacted by Hurricane Matthew by making a donation to the
merican Red Cross. Many people need support during this difficult time. Visit
hankyou.com to use your points to make a donation today or donate directly to
ttp://www.redcross.org/cm/citigroup-pub
itigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                           Last Period            This Period   I      I Earnings Summary                                 This Period   This Vear
itibank Accounts                                                                                          Citibank Accounts
hecking                                                                                                   Checking
hecking                                                   17,450.62               1,836.41                Checking                                             0.12       7.77
avin s                                                                                                    Savings
nsured Money Market Accounts                                  39.66                  39.66                Insured Money Market Accounts                        0.00       0.00
itigold Relationship Total                               $17,490.28               $1,876.07               Citigold Relationship Total                          $0.12      $7.77
 To ensure quality service, calls are randomly monitored and may be recorded .
essag~s From Cltlgold
ffective December 5, 2016, the cut-off time to place a foreign currency order for next business day delivery will be 3pm Central Time. In addition, the
ee for delivery of foreign currency directly to your address will increase from $5 to $10. Please refer to your Client Manual and Marketplace Addendum
or more information on the foreign currency exchange service.
                                                                                                                                                                                                             Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
itigold Account    42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates, rebates of ATM surcharges for non-Citibank ATM transactions and monthly service fee for this statement period, and
he transaction limits and fee waivers that apply during the next statement period, Citibank considers your average balance during the month
f September in all your qualifying accounts that you asked us to combine. If you have a Citibank secured credit card , then Citibank will also
nclude the balance in your Collateral Holding Account or your Certificate of Deposit that secures your Citibank credit card. These balances
ay be in accounts that are reported on other statements.
onthly Service charges are waived for the following balance levels.
 $50,000 for deposits (checking, savings , money markets, CDs) and Retirement Accounts
 $100,000 for deposits, Retirement Accounts, loans (except mortgage from CitiMortgage), credit cards and investments
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                        Your Combined Balance Range
25 000-$49 999
ates                                                              Preferred
onthly Service Charge                                           $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citigold statement.
hecking
hecking      Citigold Interest Checking 42002622498
ctivity
ate        Descrigtion                                                                                    Amount Subtracted      Amount Added           Balance
0/01/16    Opening Balance                                                                                                                         17,450.62
0/03/16    Non-Citibank ATM Fee Refund                                                                                                  11 .00     17,461.62
0/03/16    Debit PIN Purchase ?-ELEVEN           AGOURA HILLS CAUS05155                                                 2.50                       17,459.12
0/03/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                              8.27                       17,450.85
0/03/16    Debit PIN Purchase TIC TOC CLEANERS        AGOURA HILLS CAUS05172                                           24.75                       17,426.10
0/03/16    Debit PIN Purchase ALBERT N. GHIAM        CALABASAS CAUS00155                                               31.00                       17,395.10
0/03/16    Debit PIN Purchase SHELL Service Station CANOGA PARK CAUS00155                                              56.60                       17,338.50
0/03/16    Debit PIN Purchase GNC #01591 GNC 01591573AGOURA HILLS CAUS05154                                            69.73                       17,268.77
0/03/16    Cash Withdrawal 10/03 06:07p_ #3365 Teller                                                                 128.63                       17,140.14
0/03/16    Debit PIN Purchase TJ MAXX # N RANCH GATE THOUSAND OAKSCAUS05156                                           181.42                       16,958.72
0/03/16    Cash Withdrawal 10/03 06:15p_ #3365 Teller                                                              1,000.00                        15,958.72
0/03/16    Debit Card Purchase 09/30 12:57a #3365 DV                LOS ANGELES CA 16274                              246.01                       15,712.71
estauranVBar
0/03/16    Debit Card Purchase 09/28 #3365        GUITARCENTER.COM INTER 877-687-4242 CA 16274                       283.39                        15,429.32
pecialty Retail stores
0/03/16    Cash Withdrawal 10/02 01 :39p #3365        ATM 5683 N LAKE LINDERO   AGOURA HILLSCAUS021                  400.00                        15,029.32
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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itigold Interest Checking 42002622498
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ontinued   Date         Descri2_tion                                                                  Amount Subtracted   Amount Added        Balance
0/03/16    Check# 436                                                                                90.00                        14,939.32
0/04/16    Debit PIN Purchase SHELL Service Station CALABASAS     CAUS00155                          23.32                        14,916.00
0/04/16    Debit PIN Purchase THEUPSSTORE#1093          CALABASAS     CAUS02173                      43.96                        14,872.04
0/04/16    Debit PIN Purchase GAMESTOP & MOVIE 19203 TARZANA           CAUS05179                     92.63                        14,779.41
0/04/16    Transfer to Bankcard 12:30_1)_ #3365    ONLINE            Reference# 001736             103.48                         14,675.93
0/04/16    Debit PIN Purchase CVS/PHARM 09627--22050 Woodland HillCAUS05159                        121 .78                        14,554.15
0/04/16    Debit Card Purchase 09/30 04:50p #3365 LA CITY PARKING METER LOS ANGELES CA 16275          1.00                        14,553.15
utos (rental, service, gas)
0/04/16    Debit Card Purchase 09/30 01 :57p #3365                                                   10.95                       14,542.20
TARBUCKS STORE 11603 WOODLAND HILL CA 16277
estauran1/Bar
0/04/16    Debit Card Purchase 10/02 01 :33a #3365 EDWARDS CALABASAS STDM CALABASAS CA 16277         11.17                       14,531.03
ecreational Services
0/04/16    Debit Card Purchase 09/30 12:13p #3365 COFFEE BEAN STORE       WOODLAND HILL CA 16277     13.32                       14,517.71
estauran1/Bar
0/04/16    Debit Card Purchase 09/29 04:25p #3365                                                    15.50                       14,502.21
HE OAKS GOURMET MARKE LOS ANGf::LES CA 16275
ood & BeveraQes
0/04/16    Debit Card Purchase 10/02 01 :18a #3365 EDWARDS CALABASAS STDM CALABASAS CA 16277         17.81                       14,484.40
ecreational Services
0/04/16    Debit Card Purchase 09/29 04:29p #3365                                                    21.41                       14,462.99
HE OAKS GOURMET MARKE LOS ANGf::LES CA 16275
ood & BeveraQes
0/04/16    Debit Card Purchase 09/30 05:12p #3365 RALPHS FUEL#1081       WOODLAND HILL CA 16275      30.00                       14,432.99
utos (rental, service, gas)
0/04/16    Debit Card Purchase 09/29 02:52p #3365                                                    40.60                       14,392.39
WEETGREEN HOLLYWOOD LOS ANG"ELES CA 16275
estauran1/Bar
0/04/16    Debit Card Purchase 10/02 01 :13a #3365 EDWARDS CALABASAS STDM CALABASAS CA 16277         57.00                       14,335.39
ecreational Services
0/04/16    Debit Card Purchase 09/30 02:56a #3365 BLUE APRON ORDER        8882784349 NY 16275        59.94                       14,275.45
ood & Beverages
0/04/16    Debit Card Purchase 10/02 01 :57p #3365 DIY HOME CENTER #13 AG AGOURA       CA 16277      67.42                       14,208.03
pecialty Retail stores
0/04/16    Debit Card Purchase 10/02 01 :02a #3365 BANZAI SUSHI       CALABASAS CA 16277           115.06                        14,092.97
estauran1/Bar
0/04/16    Debit Card Purchase 09/30 03:50p #3365 KS JEWELERS         AGOURA HILLS CA 16275        131.00                        13,961.97
e.ecialty Retail stores
0/04/16    Debit Card Purchase 09/30 05:03p #3365                                                  425 .05                       13,536.92
HCAMERA&TELESCOPE WOODLAND HILL CA 16275
pecialty Retail stores
0/05/16    Debit Card Purchase 10/03 02:23p #3365 LA CITY PARKING METER LOS ANGELES CA 16278          2 .00                      13,534.92
utos (rental, service, gas)
0/05/16    Debit Card Purchase 10/02 03:07p #3365 LOVI s DELICATESSEN CALABASAS CA 16278             75.11                       13,459 .81
estauran1/Bar
                                                                                                                                                                                 Case 1:17-ap-01099-VK




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0/05/16    Check# 437                                                                                                   200.00                          13,259.81
0/06/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                                2.40                          13,257.41
0/06/16    Debit PIN Purchase SHELL Service Station CANOGA PARK CAUS05155                                                26.14                          13,231.27
0/06/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                               76.84                          13,154.43
0/06/16    Cash Withdrawal 10/06 03:29_e_ #3365 Teller                                                                1,000.00                          12,154.43
0/06/16    Debit Card Purchase 10/04 12:31 a #3365 TACO BELL #016639 WOODLAND HILL CA 16279                               6.42                          12,148.01
estauranVBar
0/06/16    Debit Card Purchase 10/03 05:35p #3365             STARBUCKS STORE 05858 CALABASAS              CA 16279       20.75                        12,127.26
estauranVBar
0/06/16    Debit Card Purchase 10/03 02:57p #3365             FRESH T-PHO     so   1   RESEDA         CA 16279            38.16                        12,089.10
ood & Bevera.ies
0/06/16    Debit Card Purchase 10/03 11 :40p #3365            Coral Tree Cafe - Enci Encino     CA 16279                  45.50                        12,043.60
estauranVBar
0/06/16    Debit Card Purchase 10/04 01 :37p #3365            CHARTER COMMUNICATIONS 888-438-2427 MO 16279                73.22                        11,970.38
hones, Cable & Utilities
0/06/16    Debit Card Purchase 10/04 02:39p #3365                                                                       110.92                         11,859.46
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16279
estauranVBar
0/06/16    Debit Card Purchase 10/03 07:19p #3365             THE FRAME GALLERY          AGOURA HILLS CA 16279          359.19                         11,500.27
pecialty Retail stores
0/06/16    Debit Card Purchase 10/04 01 :34p #3365            NATL GEN INS*NPS41       800-462-2123 NY 16279            550.34                         10,949.93
isc Business Services
0/06/16    Debit Card Purchase 10/04 07:39p #3365             FGI INSURANCE           08183409991    CA 16279         2,850.01                          8,099.92
isc Business Services
0/06/16    Check # 1234                                                                                                 581 .55                         7,518.37
0/07/16    Debit PIN Purchase ARC0#42766        HOLLYWOOD CAUS00155                                                      20.35                          7,498.02
0/07/16    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura CAUS05159                                                     59.93                          7,438.09
0/07/16    Transfer to Bankcard 02:34_e_ #3365 ONLINE        Reference# 004267                                          158.90                          7,279.19
0/07/16    Debit Card Purchase 10/05 01 :36p #3365 MCDONALD'S F17114 WOODLAND HILL CA 16280                              13.67                          7,265.52
estauranVBar
0/07/16    Debit Card Purchase 10/05 11 :52a #3365            BOBBYS COFFEE SHOP          WOODLAND HILL CA 16280          15.24                         7,250.28
estauranVBar
0/07/16    Debit Card Purchase 10/04 08:15p #3365             TOBACCO ROYALE            CALABASAS       CA 16280          38.55                         7,211.73
pecialty Retail stores
0/07/16    Debit Card Purchase 10/04 06:51 p #3365            FAT BURGER #116          WOODLAND HILL CA 16280             47.69                         7,164.04
estauranVBar
0/07/16    Cash Withdrawal 06:31 _e_ #3365 Non Citi ATM AGOURA-HILLSB AGOURA                         CAUS051             103.00                         7,061.04
0/07/16    Debit Card Purchase 10/04 #3365 GUITARCENTER.COM INTER 877-687-4242                      CA 16280            365.15                          6,695.89
pecialty Retail stores
0/11 /16   De_e_osit Teller                                                                                                            135.99           6,831.88
0/11 /16   Debit PIN Purchase          GELSON'S MARKET      CALABASAS       CAUS02154                                     17.65                         6,814.23
0/11 /16   Cash Withdrawal 10/11 06:59p #3365            Teller                                                           25.00                         6,789.23
                                                                                                                                                                                                       Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                               Amount Subtracted   Amount Added         Balance
0/11/16    Debit PIN Purchase GELSON'S MARKET        CALABASAS CAUS02154                                        29.06                          6,760.17
0/11/16    Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                         30.00                          6,730.17
0/11 /16   Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                         37.89                          6,692.28
0/11/16    Debit PIN Purchase EREWHON NATURAL FOODS MCALABASAS CAUS02154                                        76.96                          6,615.32
0/11 /16   Debit PIN Purchase RITE AID STORE - 5561 WOODLAND HILLCAUS02159                                      89.87                          6,525.45
0/11/16    Debit PIN Purchase GELSON'S MARKET        CALABASAS CAUS02154                                       215.72                          6,309.73
0/11 /16   Debit PIN Purchase GELSON'S MARKET        CALABASAS CAUS02154                                       330.53                          5,979.20
0/11 /16   Cash Withdrawal 10/08 03:40_e_ #3365 Teller                                                       5,125.86                            853.34
0/11 /16   Debit Card Purchase 10/06 01 :34p #3365 ROYAL HILLS PHARMACY WEST HILLS                CA 16281       6.14                            847.20
ood & Beverages
0/11 /16   Debit Card Purchase 10/05 07:47p #3365      JOHNNY ROCKETS           CALABASAS       CA 16281         18.51                            828.69
estauranVBar
0/11 /16   Debit Card Purchase 10/05 03:59p #3365      TOBACCO ROYALE           CALABASAS       CA 16281         40.22                            788.47
pecialty Retail stores
0/12/16    Debit PIN Purchase SHELL Service Station CALABASAS      CAUS02155                                     19.41                            769.06
0/12/16    Debit PIN Purchase SHELL Service Station CALABASAS      CAUS00155                                     46.50                            722.56
0/12/16    Debit Card Purchase 10/07 01 :08a #3365                                                                3.00                            719.56
INERAMADOME GRALA AD HOLLYWOOD       CA 16282
utos (rental, service, gas)
0/1 2/16   Debit Card Purchase 10/09 02:43p #3365                                                                 4.75                            714.81
TARBUCKS STORE 11603 WOODLAND HILL CA 16285
estauranVBar
0/12/16    Debit Card Purchase 10/09 01 :34p #3365                                                               10.45                            704.36
TARBUCKS STORE 11603 WOODLAND HILL CA 16285
estauranVBar
0/12/16    Debit Card Purchase 10/07 07:15p #3365      AGOURA    s FAMOUS DELI     & AGOURA HILLS CA 16284       15.63                            688.73
estauranVBar
0/12/16    Debit Card Purchase 10/09 02:35p #3365                                                                18.90                            669.83
TARBUCKS STORE 11603 WOODLAND HILL CA 16285
estauranVBar
0/12/16    Debit Card Purchase 10/07 04:05p #3365      STARBUCKS STORE 06729 LOS ANGELES CA 16284                19.30                            650.53
estauranVBar
0/12/16    Debit Card Purchase 10/10 03:09p #3365      CHIPOTLE 0227       WOODLAND HILL CA 16285                23.76                            626.77
estauranVBar
0/12/16    Debit Card Purchase 10/06 10:37p #3365      YOGIS GRILL WOODLAND WOODLAND HILL CA 16282              33.24                             593.53
estauranVBar
0/12/16    Debit Card Purchase 10/07 06:55p #3365      SWEET XO AGOURA HI          AGOURA HILLS CA 16284        37.06                             556.47
ood & Beverages
0/1 2/16   Debit Card Purchase 10/08 04:44p #3365      YOGIS GRILL WOODLAND WOODLAND HILL CA 16284               45.75                            510.72
estauran VBar
0/12/16    Debit Card Purchase 10/07 01 :56p #3365     CHOCOLATINE           THOUSAND OAKS CA 16282             57.85                             452.87
estauran VBar
0/12/16    Debit Card Purchase 10/07 02:42a #3365      BLUE APRON ORDER            8882784349   NY 16282        59.94                             392.93
ood & Beverages
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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0/12/16    Cash Withdrawal 08:08p_ #3365 Non Citi ATM 22295 MULHOLLAND CALABASAS CAUS801                            62.00                                 330.93
0/12/16    Debit Card Purchase 10/09 08:32p #3365 ASPCA POISON CONTROL 8006280028 NY 16285                          65.00                                 265.93
isc Business Services
0/13/16    Debit Card Purchase 10/11 06:40p #3365         LOVES PETS           AGOURA HILLS CA 16286                52.28                                 213.65
pecialty Retail stores
0/13/16    Debit Card Purchase 10/10 01 :1 Op #3365       GUITARCENTER.COM INTER 877-687-4242 CA 16286              86.11                                 127.54
pecialty Retail stores
0/14/16    Transfer From Checking_ 10:58a #3365 ONLINE                     Reference# 001409                                     120.00                   247.54
0/14/16    Debit Card Purchase 10/11 09:40p #3365 Deja Vu        Liquor      Woodland Hill CA 16287                  7.35                                 240.19
ood & BeveraQes
0/17/16    De_e_osit Teller                                                                                                     1,260.00            1,500.19
0/17/16    Debit PIN Purchase CVS/PHARMACY #09 09751-Agoura       CAUS05159                                          3.26                           1,496.93
0/17/16    Debit PIN Purchase SHELL Service Station WESTLAKE VILLCAUS00155                                          18.31                         "1 ,478.62
0/17/16    Debit PIN Purchase CHEVRON/OLDFIELD GAS, !WOODLAND HILLCAUS00155                                         27.31                           1,451.31
0/17/16    Debit PIN Purchase CHEVRON/OLDFIELD GAS, !WOODLAND HILLCAUS00155                                         34.35                           1,416.96
0/17/16    Debit Pl N Purchase THE UPS STORE #1093 CALABASAS CAUS02173                                              45.00                           1,371.96
0/17/16    Debit PIN Purchase CHEVRON/OLDFIELD GAS, !WOODLAND HILLCAUS02155                                         69.57                           1,302.39
0/17/16    Debit Card Purchase 10/12 06:27p #3365                                                                   45.00                           1,257.39
CHROEDER AND SCH ROEDE AGOURA HILLS CA 16288
edical Services
0/17/16    Check # 438                                                                                              90.00                          1,167.39
0/18/16    Transfer From Checking_03:481)_ #3365 ONLINE         Reference # 000951                                               100.00            1,267.39
0/18/16    Debit PIN Purchase GELSON'S MARKET      CALABASAS CAUS02154                                             208.00                          1,059.39
0/18/16    Debit Card Purchase 10/14 11 :59a #3365 FEDEXOFFICE 00005827 WOODLAND HILL CA 16289                       2.83                          1,056.56
isc Business Services
0/18/16    Debit Card Purchase 10/16 03:17a #3365         TACO BELL #016639      WOODLAND HILL CA 16291             15.99                          1,040.57
estauranVBar
0/18/16    Debit Card Purchase 10/16 06:28p #3365         BAJA GRILL         WOODLAND HLS CA 16291                  17.99                          1,022.58
estauranVBar
0/18/16    Debit Card Purchase 10/15 07:06p #3365         PF CHANGS #4200        WOODLAND HILL CA 16291             31.30                                 991.28
estauranVBar
0/18/16    Debit Card Purchase 10/14 01 :44a #3365        BLUE APRON ORDER          8882784349   NY 16289           59.94                                 931.34
ood & BeveraQes
0/19/16    De_e_osit 01 :27a #3365    Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                   800.00          1,731 .34
0/19/16    Deposit 01 :30a #3365      Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                 1,200.00          2,931.34
0/19/16    De_e_osit 01 :28a #3365    Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                 1,350.00          4,281.34
0/19/16    De_e_osit 01 :29a #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                                    1,600.00          5,881.34
0/19/16    Debit Card Purchase 10/16 09:19p #3365 MENCHIE'S FROZEN YOGUR CALABASAS                      CA 16292     4.72                          5,876.62
estauranVBar
0/19/16    Debit Card Purchase 10/16 09: 14p #3365        STARBUCKS STORE 05636 CALABASAS             CA 16292      11.25                          5,865.37
estauranVBar
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0/19/16    Debit Card Purchase 10/17 04:17p #3365             !TALIA DELI & BAKE      AGOURA HILLS CA 16292                  11 .96                         5,853.41
estaurant/Bar
0/19/16    Debit Card Purchase 10/16 06:44p #3365                                                                            31.11                         5,822.30
MC PROMENADE 16 #0202 WOODLAND HILL CA 16292
ecreational Services
0/19/16    Debit Card Purchase 10/16 06:24p #3365                                                                            60.95                         5,761 .35
MC PROMENADE 16 #0202 WOODLAND HILL CA 16292
ecreational Services
0/19/16    Debit Card Purchase 10/15 07:48p #3365                                                                            96.00                         5,665.35
ONEJO RECREATION & PA THOUSAND OAKS CA 16292
pecialty Retail stores
0/20/16    Dee_osit Teller                                                                                                                 64.10           5,729.45
0/20/16    Dee_osit Teller                                                                                                              1,500.00           7,229.45
0/20/16    Dee_osit Teller                                                                                                              5,150.03          12,379.48
0/20/16    ACH Electronic Debit AMERICAN EXPR ACH PMT                                                                      758.67                         11 ,620.81
0/20/16    Debit PIN Purchase SHELL Service Station WOODLAND HILLCAUS00155                                                  56.01                         11 ,564.80
0/20/16    Cash Withdrawal 10/20 02:38p_ #3365 Teller                                                                      100.00                         11,464.80
0/20/16    Teller Transfer Payment                                                                                         846.75                         10,618.05
0/20/16    Teller Transfer Payment                                                                                       1,399.68                          9,218.37
0/20/16    Teller Transfer Payment                                                                                       2,885.38                          6,332.99
0/20/16    Debit Card Purchase 10/17 12:26p #3365 STARBUCKS STORE 05858                        CALABASAS      CA 16293      23.20                          6,309.79
estaurant/Bar
-
0/20/16    Debit Card Purchase 10/17 12:12p #3365             STARBUCKS STORE 05858 CALABASAS                 CA 16293       23 .75                        6,286.04
estaurant/Bar
0/20/16    Debit Card Purchase 10/17 03:05p #3365             Coral Tree Cafe - Enci Encino       CA 16293                   67 .51                        6,218.53
estaurant/Bar
0/20/16    Debit Card Purchase 10/17 02:02p #3365                                                                          102.65                          6,115.88
TARBUCKS STORE 05445 THOUSAND OAKS CA 16293
estaurant/Bar
0/21 /16   Debit Card Purchase 10/19 01 :30p #3365            COFFEE BEAN STORE           TARZANA        CA 16294            7.78                          6,108.10
estaurant/Bar
-
0/21 /16   Debit Card Purchase 10/18 12:11 p #3365            Coral Tree Cafe - Enci Encino       CA 16294                   26.16                         6,081 .94
estaurant/Bar
0/21/16    Debit Card Purchase 10/19 01 :18p #3365            CJCJ ' S CAFE        TARZANA        CA 16294                   86.16                         5,995.78
estaurant/Bar
-
0/24/16    Debit PIN       Purchase   RESEDA PETROL IN      LOS ANGELES CAUS00155                                            14.77                         5,981.01
0/24/16    Debit PIN       Purchase   RITE AID STORE - 5561 WOODLAND HILLCAUS02159                                           15.60                         5,965.41
0/24/16    Debit PIN       Purchase   CH EVRON/BHUPINDER    s. MAWOODLAND HILLCAUS00155                                      24.02                         5,941 .39
0/24/16    Debit PIN       Purchase   CHEVRON/BHUPINDER     s. MAWOODLAND HILLCAUS02155                                      26.32                         5,915.07
0/24/16    Debit PIN       Purchase   SHELL Service Station AGOURA     CAUS00155                                             26.50                         5,888.57
0/24/16    Debit PIN       Purchase   SHELL Service Station ENCINO    CAUS00155                                              39.50                         5,849.07
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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0/24/16    Debit PIN Purchase Erewhon Natural 26767 ACALABASAS CAUS02154                                           70.00                           5,779.07
0/24/16    Debit PIN Purchase PLANET BEAUTY CHINO HI CHINO HILLS CAUS05159                                       112.27                            5,666.80
0/24/16    Debit PIN Purchase PETCO 552           WOODLAND HILLCAUS05159                                         117.62                            5,549.18
0/24/16    Debit Card Purchase 10/20 03:05p #3365 CASA ESCOBEDO            AGOURA HILLS       CA 16295            38.52                            5,510.66
estaurant/Bar
0/24/16    Debit Card Purchase 10/19 08:00p #3365      JAVAN RESTAURANT         LOS ANGELES CA 16295               69.76                          5,440.90
estaurant/Bar
0/24/16    Cash Withdrawal 03:21 _I)_ #3365 Non Citi ATM *CHILDREN$ HOSPITAL LA LOS ANGELES CAUS051              203.00                           5,237.90
0/25/16    Debit Card Purchase Return 10/22 #3365 PETCO 552 63505523 WOODLAND HILL CA 16298                                      117.44           5,355.34
pecialty Retail stores
0/25/16    Debit PIN Purchase THE UPS STORE #1093     CALABASAS    CAUS02173                                       40.00                          5,315.34
0/25/16    Debit Card Purchase 10/22 05:27p #3365      COFFEE BEAN STORE        CALABASAS      CA 16298             8.28                          5,307.Qp
estaurant/Bar
0/25/16    Debit Card Purchase 10/21 10:44p #3365      EDWARDS CALABASAS STDM CALABASAS               CA 16296     10.08                          5,296.98
ecreational Services
0/25/16    Debit Card Purchase 10/22 06:32p #3365      FEDEXOFFICE 00025015 WOODLAND HILL CA 16298                 10.82                          5,286.16
isc Business Services
0/25/16    Debit Card Purchase 10/23 12: 13a #3365     BEN & JERRY'S - SC     UNIVERSAL CTY CA 16298               11.74                          5,274.42
estaurant/Bar
0/25/16    Debit Card Purchase 10/22 10:57p #3365      USH PARKING RC         UNIVERSAL CTY CA 16298               18.00                          5,256.42
utos (rental, service, gas)
0/25/16    Debit Card Purchase 10/22 07:01 p #3365     FAT BURGER #116        WOODLAND HILL CA 16298               20.17                          5,236.25
estaurant/Bar
0/25/16    Debit Card Purchase 10/22 05:04p #3365      HOME CNSGNMNT CTR# 17 CALABASAS             CA 16298        20.71                          5,215.54
pecialty Retail stores
0/25/16    Debit Card Purchase 10/22 10:04p #3365      POQUITO MAS -    so    SHERMAN OAKS CA 16298                40.00                          5,175.54
estaurant/Bar
0/25/16    Debit Card Purchase 10/21 08:58p #3365      EDWARDS CALABASAS STDM CALABASAS               CA 16296     45.00                          5,130.54
ecreational Services
0/25/16    Debit Card Purchase 10/21 02:39a #3365      SR VAN NUYS           VAN NUYS     CA 16296                 56.00                          5,074.54
estaurant/Bar
0/25/16    Debit Card Purchase 10/21 01 :18a #3365     BLUE APRON ORDER         8882784349    NY 16296             59.94                          5,014.60
ood & Beverages
0/25/16    Debit Card Purchase 10/21 10:06p #3365      ROSTI TUSCAN KITCHEN - CALABASAS         CA 16298           87.34                          4,927.26
estaurant/Bar
0/25/16    Debit Card Purchase 10/22 06:21 p #3365     TMOBILE*POSTPAID IVR 800-937-8997 WA 16298                 310.57                          4,616.69
hones, Cable & Utilities
0/25/16    Debit Card Purchase 10/22 06: 1Op #3365     DAISY DUKES           CALABASAS    TX 16298                335.72                          4,280.97
e_ecialty Retail stores
0/25/16    Debit Card Purchase 10/20 07:37p #3365      FOREVER 21.COM         08009661355 CA 16296                402.48                          3,878.49
pecialty Retail stores
0/25/16    Debit Card Purchase 10/23 07:56a #3365      FOREVER 21.COM         08009661355 CA 16298                478.51                          3,399.98
e_ecialty Retail stores
0/26/16    Dep_osit     Teller                                                                                                 4,044.26           7,444.24
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0/26/16     Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                      24.50                            7,419.74
0/26/16     Cash Withdrawal 10/26 04:46_e_ #3365 Teller                                                         276.88                            7,142.86
0/26/16     Cash Withdrawal 10/26 04:45_e_ #3365 Teller                                                       4,000.00                            3,142.86
0/26/16     Debit Card Purchase 10/24 01 :46p #3365 CHILDREN'S HOSPITAL LO          LOS ANGELES CA 16299         15.54                            3,127.32
estaurant/Bar
0/26/16     Cash Withdrawal 09:38_e_ #3365 Non Citi ATM CALABASAS       RD     CALABASAS       CAUS051            83.00                          3,044.32
0/27/16     Debit Card Purchase Return 10/25 #3365 DAISY DUKES               CALABASAS       CA 16300                             7.70           3,052.02
pecialty Retail stores
0/27/16     Debit Card Purchase 10/24 04:51 p #3365   PHO    so   1 RESTAURANT     RESEDA       CA 16300          40.26                          3,011 .76
estaurant/Bar
0/27/16     Debit Card Purchase 10/24 06:42p #3365    TOBACCO ROYA LE             CALABASAS     CA 16300          74.24                          2,937.52
pecialty Retail sto res
0/28/16     ACH Electronic Credit ASCAP        DOMPB ROYL                                                                         0.00           2,937 .52
0/28/16     Debit PIN Purchase SHELL Service Station AGOURA CAUS00155                                            56.50                           2,881.02
0/28/16     Debit PIN Purchase 928-1708-BEVERLY DRIVE LOS ANGELES CAUS02159                                     140.61                           2,740.41
0/28/16     Debit Card Purchase 10/26 04:23p #3365 DIV HOME CENTER #13 AG AGOURA                 CA 16301        95.14                           2,645.27
p_ecialty Retail stores
0/31 /16    De_e_osit Teller                                                                                                    250.00           2,895.27
0/31/16     Debit PIN Purchase GELSON'S MARKET     CALABASAS CAUS05154                                            59.18                          2,836.09
0/31 /16    Debit Card Purchase 10/26 01 :38p #3365 STARBUCKS STORE 05636           CALABASAS      CA 16302        7.20                          2,828.89
estaurant/Bar
0/31 /16    Debit Card Purchase 10/26 01 :40p #3365   CORNER BAKERY 0128           CALABASAS      CA 16302        10.34                          2,818.55
estaurant/Bar
0/31/16     Debit Card Purchase 10/26 01 :55p #3365   CO RNER BAKERY 0128          CALABASAS      CA 16302        17.74                          2,800.81
estaurant/Bar
0/31/16     Debit Card Purchase 10/26 03:01 p #3365   FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16302                18.28                          2,782.53
estaurant/Bar
0/31 /16    Debit Card Purchase 10/26 02:05p #3365    STARBUCKS STORE 05636 CALABASAS              CA 16302       20.00                          2,762.53
estaurant/Bar
0/31 /16    Debit Card Purchase 10/27 04:59p #3365    9021 PHO SUNSET          LOS ANGELES CA 16302               95.21                          2,667.32
estaurant/Bar
0/31/16     Debit Card Purchase 10/26 02:53p #3365                                                              115.54                           2,551 .78
OUR SEASONS WLAKE SPA WESTLAK!: VILL CA 16302
isc Personal Services
0/31 /1 6   Debit Card Purchase 10/26 10:41 p #3365   BANZAI SUSHI           CALABASAS       CA 16302           115.78                           2,436.00
estaurant/Bar
0/31 /16    Debit Card Purchase 10/27 03:26a #3365    FOREVER 21.COM            08009661 355 CA 16302           177.87                           2,258.13
pecialty Retail stores
0/31/16     Debit Card Purchase 10/26 09:44p #3365    DAISY DU KES           CALABASAS       CA 16302           421.84                           1,836.29
pecialty Retail stores
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itigold Interest Checking 42002622498
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ctivity
ontinued             Date           Descrigtion                                                                          Amount Subtracted      Amount Added           Balance
0/31/16      Interest for 31 days, Annual Percentage Y ield Earned 0.03%                                                            0.12            1,836.41
otal Subtracted/Added                                                                         33,324.85           17,710.64
0/31/16 Closing Balance                                                                                                                             1,836.41
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid                  Check       Date            Amount       Check     Date        Amount        Check    Date            Amount       Check        Date          Amount
36         10103           90.00         437      10105           200.00        438  10117              90.00       1234*       10106            581 .55
 indicates gap in check number sequence                       Number Checks Paid : 4            Totaling : $961 .55
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                        600
otal Points forwarded to Citi® ThankYou® Rewards                                                   600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®             Citibank® Savings Plus 42002622506
avings Plus
ccount Activity      Date           Descrigtion                                                                                  Amount Subtracted      Amount Added   Balance
0/01/16          Opening Balance                                                                                                                         39.66
0/31 /16         Closing Balance                                                                                                                         39.66
                                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                                   Exhibit GGG pt. 1 Page 167 of 200
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iti Priority Account 42002622498
ITI PRIORITY SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi Priority Services at (888) 275-2484*
or speech and hearing impaired customers only: TIY 800-788-6775.
OBIN C DIMAGGIO                                                                       Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
iti Priority is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                                            This Period   I     I Earnings Summary                               This Year
itibank Accounts                                                                                  Citibank Accounts
hecking                                                                                           Checking
hecking                                                                    25,337.65              Checking                                          7.89
avin s                                                                                            Savings
nsured Monel' Market Accounts                                                  39 .66             Insured Monel' Market Accounts                   0.00
iti Priority Relationship Total                                            $25,377.31             Citi Priority Relationship Total                  $7.89
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltl Priority
mportant Note: As outlined in the Marketplace Addendum, certain Citi Personal Wealth Management retirement accounts are excluded from combined
verage monthly balances. We have recently made systemic changes to reinforce this exclusion. As a result, you may notice that the combined
verage monthly balance range shown on your statement beginning in November 2016 may be different than the combined average monthly balance
ange shown on your previous statement. If you have questions or need a copy of the Marketplace Addendum , please contact us at the numbers
rovided at the end of this statement.
                                                                                                                                                                                      Case 1:17-ap-01099-VK




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                                                                                                                                                             Exhibit GGG pt. 1 Page 168 of 200
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OBIN C DIMAGGIO
iti Priority Account 42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates and monthly service fee for this statement period, and the transaction limits and fee waivers that apply during the next
tatement period, Citibank considers your average balance during the month of October in all your qualifying accounts that you asked us to
ombine. If you have a Citibank secured credit card, then Citibank will also include the balance in your Collateral Holding Account or your
ertificate of Deposit that secures your Citibank credit card . These balances may be in accounts that are reported on other statements.
onthly Service fees are waived with $50,000 in balances from deposits, Retirement Accounts and investments.
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                    Your Combined Balance Range
6 000-$9 999
ates                                                          Standard
onthly Service Fee                                             $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your.next Citi Priority statement. .                               ·· · '.i
hecking_
hecking       Interest Checking 42002622498
ctivity
ate          Descri_E>_tion                                                                                  Amount Subtracted   Amount Added          Balance
1/01/16      Opening Balance                                                                                                                       1,836.41
1/01/16      Debit Card Purchase Return 10/28 #3365        DIY HOME CENTER #13 AG AGOURA        CA 16303                                12.36      1,848.77
pecialty Retail stores
1 /01 /16    Debit Card Purchase 10/27 03:28p #3365        COFFEE BEAN STORE     LOS ANGELES CA 16303                     5.99                     1,842.78
estauranVBar
1 /01 /16    Debit Card Purchase 10/29 02:04p #3365        STARBUCKS STORE 00635 AGOURA         CA 16305                  6.70                     1,836.08
estauranVBar
1 /01/16     Debit Card Purchase 10/29 05:58p #3365                                                                       9.45                     1,826.63
TARBUCKS STORE 18869 WOODLAND HILL CA 16305
estauranVBar
1 /01 /16    Debit Card Purchase 10/27 06:49p #3365                                                                     13.30                      1,813.33
TARBUCKS STORE 11603 WOODLAND HILL CA 16303
estauranVBar
1 /01 /16    Debit Card Purchase 10/25 #3365        FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16303                        25.94                      1,787.39
estauranVBar
1/01/16      Debit Card Purchase 10/29 02:20p #3365        CASA ESCOBEDO        AGOURA HILLS CA 16305                   25.98                      1,761.41
estauranVBar
1 /01 /16    Debit Card Purchase 10/28 10:23p #3365        EDWARDS CALABASAS STDM CALABASAS         CA 16303            27.79                      1,733.62
ecreational Services
1 /01 /16    Debit Card Purchase 10/28 04:32p #3365        NESPRESSO USA INC     BEVERLY HILLS CA 16305                 32.34                      1,701.28
ood & Beverar:ies
1 /01 /16    Debit Card Purchase 10/28 02:51 p #3365       BOBBYS COFFEE SHOP     WOODLAND HILL CA 16303                33.31                      1,667.97
estauranVBar
1 /01 /16    Debit Card Purchase 10/28 01 :31 a #3365      BLUE APRON ORDER      8882784349   NY 16303                  59.94                      1,608.03
ood & Beverar:ies
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                   Exhibit GGG pt. 1 Page 169 of 200
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ontinued   Date        Descrip_tion                                                                              Amount Subtracted     Amount Added         Balance
1/01/16    Debit Card Purchase 10/28 07:49p #3365           FANDANGO .COM       FANDANGO.COM CA 16303           66.00                          1,542.03
ecreational Services
1/01/16    Debit Card Purchase 10/28 03:55p #3365           NESPRESSO USA INC    BEVERLY HILLS CA 16305       97.00                           1,445.03
ood & BeveraQes
1/01/16    Cash Withdrawal 12:59a #3365 Non Citi ATM 467 N. MOORPARK RD THOUSAND OAKSCAUS021                 103.50                           1,341.53
1 /02/16   Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                    10.89                           1,330.64
1 /02/16   Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                    21.02                           1,309.62
1/02/16    Debit PIN Purchase CHEVRON/ REGENT PROPERTYWOODLAND HILLCAUS00155                                  29.00                           1,280.62
1/02/16    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS02155                                   37.70                           1,242.92
1/02/16    Debit PIN Purchase POSTAL ANNEX #170 AGOURA HILLS CAUS02194                                       306.00                             936.92
1/02/16    Debit Card Purchase 10/31 10:31 p #3365 EDWARDS CALABASAS STDM CALABASAS CA 16306                   5.79                             931.13
ecreational Services
1/02/16    Debit Card Purchase 10/31 05:01 p #3365          JAMBA JUICE 1513 QSR WOODLAND HILL CA 16306       25.00                                906.13
estaurant/Bar
1 /02/16   Debit Card Purchase 10/31 06:57p #3365           FANDANGO .COM       FANDANGO.COM CA 16306         33.00                                873.13
ecreational Services
1/03/16    Debit PIN Purchase GELSON'S MARKET      CALABASAS CAUS05154                                        19.62                                853.51
1 /03/16   Debit Card Purchase 11 /02 12:31 a #3365 COMEDY CLUB LOSANGELES 323-651 -2583         CA 16307     33.00                                820.51
estaurant/Bar
1 /03/16   Debit Card Purchase 10/31 07:16p #3365           FOREVER 21 .COM     08009661355 CA 16307         151.29                                669.22
pecialty Retail stores
1 /03/16   Check # 346                                                                                        90.00                             579.22
1/04/16    Cash Withdrawal 01 :11 p #3365 Non Citi ATM 2 DOLE DR       WESTLAKE VILLCAUS021                   83.25                             495.97
1 /07/16   Dep_osit Teller                                                                                                  8,000.00          8,495.97
1/07/16    Debit PIN Purchase SHELL Service Station AGOURA     CAUS02155                                        7.29                          8,488.68
1/07/16    Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                        29.40                          8,459.28
1/07/16    Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                        35.97                          8,423.31
1/07/16    Debit PIN Purchase JOURNEYS #0479          CANOGA PARK CAUS02156                                    59.94                          8,363.37
1/07/16    Cash Withdrawal 11/07 03:11 _I)_ #3365 Teller                                                      591.61                          7,771.76
1/07/16    Cash Withdrawal 11/07 03:20p #3365 Teller                                                        3,459.88                          4,311.88
1/07/16    Debit Card Purchase 11/03 05:04p #3365 VIKTOR BENES           CALABASAS CA 16309                     7.95                          4,303.93
estaurant/Bar
1/07/16    Debit Card Purchase 11/02 04:59p #3365                                                               13.95                         4,289.98
TARBUCKS STORE 00585 WOODLAND HILL CA 16309
estaurant/Bar
1/07/16    Debit Card Purchase 11/03 02:1 Op #3365          BOBBYS COFFEE SHOP    WOODLAND HILL CA 16309      25.05                           4,264.93
estaurant/Bar
1/07/16    Debit Card Purchase 11/02 09:47p #3365           SAGEBRUSH CANTINA     CALABASAS    CA 16309       88.36                           4,176.57
estaurant/Bar
1/08/16    ACH Electronic Debit      BARCLAYCARD   us    CREDITCARD 412053700                                782.01                           3,394.56
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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ontinued   Date         Descrip_tion                                                                             Amount Subtracted     Amount Added        Balance
1/08/16    Debit PIN Purchase DELKIND INC     AGOURA HILLS CAUS05155                                            18.28                          3,376.28
1/08/16    Debit PIN Purchase DELKIND INC     AGOURA HILLS CAUS00155                                            20.00                          3,356.28
1/08/16    Debit PIN Purchase GELSON'S MARKET     CALABASAS CAUS05154                                           21.18                          3,335.10
1 /08/16   Debit PIN Purchase ARCO #42505      WOODLAND HILLCAUS00155                                           24.25                          3,310.85
1/08/16    Debit Card Purchase 11/04 05:56p #3365 CHICK-FIL-A #03175 THOUSAND OAKS CA 16312                     15.22                          3,295.63
estaurant/Bar
1/08/16    Debit Card Purchase 11/06 08:06p #3365       IN-N-OUT BURGER #206 CANOGA PARK CA 16312               15.37                         3,280.26
estaurant/Bar
1 /08/16   Debit Card Purchase 11 /04 02:57p #3365      BLUE APRON ORDER         8882784349   NY 1631 O         59.94                          3,220.32
ood & BeveraQes
1 /08/16   Debit Card Purchase 11 /05 12:08a #3365      FARFALLA - WESTLAKE      WESTLAKE VILL CA 16312         95.77                          3,124.55
estaurant/Bar
1/09/16    ACH Electronic Debit DISCOVER     PHONE PAY                                                        267.30                           2,857.25
1 /09/16   Debit PIN Purchase CARLSONS LIQUOR      WOODLAND HILLCAUS02159                                      19.15                           2,838.10
1/10/16    Debit Card Purchase 11/08 04:02p #3365 COFFEE BEAN STORE WOODLAND                  HILL CA 16314    12.35                           2,825.75
estaurant/Bar
1/10/16    Debit Card Purchase 11 /07 06:57p #3365      SUR LA TABLE 142       WOODLAND HILL CA 16314           17.44                          2,808.31
e_ecialty Retail stores
1/10/16    Debit Card Purchase 11 /07 06:55p #3365      SUR LA TABLE 142       WOODLAND HILL CA 16314           18.53                          2,789.78
pecialty Retail stores
1/10/16    Debit Card Purchase 11/07 04:11 p #3365      GUITARCENTER.COM INTER 877-687-4242 CA 16314            82.84                          2,706.94
pecialty Retail stores
1/10/16    Debit Card Purchase 11 /07 09:09p #3365      IN *ODE RY NA, INC.   781-3194441   MA 16314           385.00                          2,321.94
pecialty Retail stores
1 /14/16   Debit Card Purchase Return 11 /08 #3365      BLUE APRON ORDER         8882784349   NY 16315                         59.94           2,381.88
ood & BeveraQes
1 /14/16   Credit    THE HOME DEPOT #1070 WEST HILLS CAUS05152                                                                234.98           2,616.86
1/14/16    Deeosit Teller                                                                                                  12,000.00          14,616.86
1 /14/16   Debit PIN Purchase SHELL Service Station AGOURA CAUS05155                                             4.41                         14,612.45
1/14/16    Debit PIN Purchase SHELL Service Station AGOURA CAUS00155                                            27.50                         14,584.95
1 /14/16   Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                             35.07                         14,549.88
1 /14/16   Debit PIN Purchase COST PLUS WORLD MKT 38 WEST HILLS CAUS02153                                       63.47                         14,486.41
1/14/16    Debit PIN Purchase COST PLUS WLD #77 WESTLAKE VILLCAUS02153                                         155.11                         14,331 .30
1/14/16    Debit PIN Purchase TJ MAXX # N RANCH GATE THOUSAND OAKSCAUS05156                                    166.41                         14,164.89
1 /14/16   Debit Card Purchase 11 /08 05:00p #3365                                                               2.50                         14,162.39
TARBUCKS STORE 11603 WOODLAND HILL CA 16315
estaurant/Bar
1 /14/16   Debit Card Purchase 11 /09 01 :1 Op #3365    CARLAS CAFE           STUDIO CITY CA 16315              12.54                         14,149.85
estaurant/Bar
1 /14/16   Debit Card Purchase 11 /09 03:26p #3365      !TALIA DELI & BAKE    AGOURA HILLS CA 16315             49.46                         14,100.39
estaurant/Bar
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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ontinued   Date        Descrip_tion                                                                                   Amount Subtracted    Amount Added       Balance
1/14/16    Debit Card Purchase 11/08 02:02p #3365      GUITARCENTER.COM INTER 877-687-4242 CA 16315                  54.46                        14,045.93
pecialty Retail stores
1/14/16    Check# 551                                                                                                90.00                       13,955.93
1 /15/16   Debit Card Purchase 11 /12 03:04p #3365     STARBUCKS STORE 05858 CALABASAS               CA 16319         5.30                       13,950.63
estaurant/Bar
1 /15/16   Debit Card Purchase 11/10 08:56p #3365      EDWARDS CALABASAS STDM CALABASAS                 CA 16316      6.00                       13,944.63
ecreational Services
1/15/16    Debit Card Purchase 11/10 02:41 p #3365     COFFEE BEAN STORE          CALABASAS      CA 16317            12.15                       13,932.48
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /09 07:56p #3365                                                                   12.45                       13,920.03
TARBUCKS STORE 11603 WOODLAND HILL CA 16316
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /10 02:28p #3365     PARKWAY CLEANERS           CALABASAS      CA 16316            14.25                       13,905.78
isc Personal Services
1 /15/16   Debit Card Purchase 11/12 01 :45p #3365     SABZEE MAR KET          ENCINO       CA 16319                 23.48                       13,882.30
ood & Beverag es
1 /15/16   Debit Card Purchase 11/11 03:47p #3365      POQUITO MAS         QPS WOODLAND HI LL CA 16317               31.28                       13,851.02
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /12 09:09p #3365     CALIFORNIA PITA        WOODLAND HILL CA 16319                 44.23                       13,806.79
estaurant/Bar
1/15/16    Debit Card Purchase 11 / 11 06:50p #3365                                                                  45.00                       13,761.79
CHROEDER AND SCHROEDE AGOURA HILLS CA 16319
edical Services                                                                                                                            ..~·.:
1/15/16    Debit Card Purchase 11 /12 01 :03p #3365    Coral Tree Cafe - Enci Encino    CA 16319                     47.95                       13,713.84
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /11 02:43a #3365     BLUE APRON ORDER          8882784349    NY 16317              59.94                       13,653.90
ood & BeveraQes
1/15/16    Debit Card Purchase 11/07 #3365    FOUR SEASONS WLAKE SPA WESTLAKE VILL CA 16316                          87.75                       13,566.15
isc Personal Services
1 /15/16   Debit Card Purchase 11/10 02:17p #3365      LOVI   s DELICATESSEN     CALABASAS       CA 16317          107.96                        13,458.19
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /09 03:46p #3365     SMILE BRILLIANT VENTUR SAINT LOUIS MO 16316                 159.00                        13,299.19
pecialty Retail stores
1 /15/16   Debit Card Purchase 11 /1010:02p#3365       TOSCANOVA - CALABASAS CALABASAS               CA1631 6      163.34                        13,135.85
estaurant/Bar
1 /15/16   Debit Card Purchase 11 /09 10:56p #3365     WHITE HARTE PUB          WOODLAND HILL CA 16316             165.71                        12,970.14
estaurant/Bar
1 /16/16   Debit Card Purchase Return 11 /13 #3365                                                                                 67.22         13,037.36
ED BATH & BEYOND #138 THOUSAND OAKS CA 16320
pecialty Retail stores
1 /16/16   Debit   PIN Purchase ADOBE PETROLEUM       AGOURA     CAUS02155                                           13.68                       13,023.68
1 /16/16   Debit   PIN Purchase ARCO #42505        WOODLAND HILLCAUS00155                                            35.35                       12,988.33
1 /16/16   Debit   PIN Purchase POSTAL ANNEX #170 AGOURA HILLS CAUS02194                                             95.00                       12,893.33
1 /16/16   Debit   Card Purchase 11 /14 04:54p #3365 MEDALLION PHARMACY            WEST HILLS       CA 16320          7.25                       12,886.08
ood & BeveraQes
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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1/16/16    Debit Card Purchase 11 /13 08:01 p #3365   THAICHABA          WOODLAND HILL CA 16320            41.94                           12,844.14
estauranVBar
1 /16/16   Debit Card Purchase 11/13 11 :20p #3365    TAVERN 101 BAR AND GRI AGOURA HILLS CA 16320         51.69                          12,792.45
estauranVBar
1 /16/16   Debit Card Purchase 11 /14 10:58p #3365    RELAX ISLAND INC      WOODLAND HILL CA 16320       130.00                           12,662.45
isc Personal Services
1/17/16    Debit Card Purchase 11/14 #3365   STARBUCKS STORE 11603 WOODLAND HILL CA 16321                   9.20                          12,653.25
estauranVBar
1 /17/16   Debit Card Purchase 11 /14 02:47p #3365    YOGIS GRILL WOODLAND WOODLAND HILL CA 16321          31 .31                         12,621.94
estauranVBar
1/17/16    Debit Card Purchase 11/14 08:53p #3365     WHITE HARTE PUB        WOODLAND HILL CA 16321        32.00                          12,589.94
estauranVBar
1 /17/16   Debit Card Purchase 11 /14 11 :43a #3365                                                        36.65                          12,553.29
TARBUCKS STORE 11603 WOODLAND HILL CA 16321
estauranVBar
- ··   ~   ,.<~
· --~
1/17/16    Debit Card Purchase 11/14 09:04p #3365     WHITE HARTE PUB        WOODLAND HILL CA 16321        51.61                          12,501.68
estauranVBar
1/17/16    Debit Card Purchase 11/15 12:29g #3365                                                          61.48                          12,440.20
LU JAM CAFE MULHOLLAN WOODLAN    HILL CA 16321
estauranVBar
1 /17/16   Debit Card Purchase 11 /15 04:48p #3365                                                         95.65                          12,344.55
ENDER GREENS HOLLYWOO HOLLYWOOD       CA 16321
estauranVBar
1/17/16    Debit Card Purchase 11 /15 11 :15p #3365   LALAS ARGENTINE GRILL LOS ANGELES CA 16321          202.35                          12,142.20
estauranVBar
1/17/16    Debit Card Purchase 11 /14 08:34p #3365    WHITE HARTE PUB        WOODLAND HILL CA 16321       204.24                          11,937.96
estauranVBar
1/17/16    Debit Card Purchase 11/15 05:45a #3365     DUNNETT CLASSIC DRUMS DELTA           CAN16321      376.77                          11 ,561.19
pecialty Retail stores
1/18/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                 139.41                         11,421.78
1/18/16    Cash Withdrawal 11 /18 04:30£)_ #3365 Teller                                                    321.09                         11,100.69
1/18/16    Cash Withdrawal 11 /18 04:28p #3365 Teller                                                      504.77                         10,595.92
1 /18/16   Cash Withdrawal 11 /18 04:24p #3365 Teller                                                      669.21                          9,926.71
1/18/16    Cash Withdrawal 11 /18 04:22p #3365 Teller                                                      800.00                          9,126.71
1/18/16    Cash Withdrawal 11 /18 04:26p #3365 Teller                                                    1,174.45                          7,952.26
1 /18/16   Debit Card Purchase 11 /15 08:56p #3365 COFFEE COMMISSARY           LOS ANGELES CA 16322         10.00                          7,942.26
estauranVBar
1/18/16    Debit Card Purchase 11 /15 04:21 p #3365   STARBUCKS STORE 05461 LOS ANGELES CA 16322           24.85                              7,917.41
estauranVBar
1 /18/16   Debit Card Purchase 11 /16 05:32p #3365    MENDOCINO FARMS         w HOLLYWOOD     CA 16322     27.90                              7,889.51
estauranVBar
1 /18/16   Debit Card Purchase 11/16 12:58p #3365     CHOCOLATINE          THOUSAND OAKS CA 16322          28.55                              7,860.96
estauranVBar
1 /18/16   Debit Card Purchase 11/16 01 :46p #3365    SP* BEAUTYHABIT       8187072555   CA 16322         102.13                              7,758.83
pecialty Retail stores
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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ovember 1 - November 30, 2016                 Page 7 of 12
OBIN C DIMAGGIO
iti Priority Account 42002622498
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nterest Checking 42002622498
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ctivity
ontinued   Date         Descrip_tion                                                                                  Amount Subtracted     Amount Added       Balance
1 /18/16    Debit Card Purchase 11 /16 05:05p #3365     GUITAR CENTER #11 o     W HOLLYWOOD CA 16322               332.45                           7,426.38
pecialty Retail stores
1/21/16     ACH Electronic Debit BARCLAYCARD us CREDITCARD 414624910                                             1,328.73                          6,097.65
1 /21 /16   Debit PIN Purchase EASTERN OIL IN   WOODLAND HILLCAUS00155                                              25.50                          6,072.15
1 /21 /16   Debit PIN Purchase EASTERN OIL IN   WOODLAND HILLCAUS00155                                              40.61                          6,031.54
1 /21 /16   Debit PIN Purchase GELSON'S MARKET     CALABASAS CAUS05154                                             356.57                          5,674.97
1/21/16     Debit Card Purchase 11/16 09:38p #3365 GELSON'S MARKETS #1           HOLLYWOOD         CA 16323          9.79                          5,665.18
ood & Beverages
1 /21 /16   Debit Card Purchase 11 /17 11 :05p #3365    RITE AID STORE - 5438 HOLLYWOOD          CA 16323            41.50                         5,623.68
ood & Beverages
1 /21 /16   Debit Card Purchase 11 /17 06:50p #3365     THE WAFFLE           HOLLYWOOD        CA 16323               45.51                         5,578.17
estaurant/Bar
1/21/16     Debit Card Purchase 11/17 02:51 p #3365     GIGI ' S CAFE       TARZANA    CA 16323                      62.21                         5,515.96
estaurant/Bar
1 /21 /16   Debit Card Purchase 11 /17 12:58a #3365     DV               LOS ANGELES CA 16323                      251.51                          5,264.45
estaurant/Bar
1/21/16     Check#4818                                                                                             315.64                          4,948.81
1 /22/16    Deposit 02:02p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                                      2,000.00          6,948.81
1/22/16     ACH Electronic Debit COMENITY PAY OH PHONE PYMT                                                      2,699.04                          4,249.77
~/22/16     Debit PIN Purchase #06335ALBERTSONS CALABASAS CAUS05154                                                 14.15                          4,235.62
1 /22/16    Debit PIN Purchase MALIBU LIQUOR & CIGAR CALABASAS CAUS05159                                           166.35                          4,069.27
1/22/16     Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                               196.04                          3,873.23
1/22/16     Debit Card Purchase 11/17 02:08p #3365 81161 -TARZANA MEDICA TARZANA                CA 16324             3.00                          3,870.23
utos _(rental , service , gas·
1/22/16     Debit Card Purchase 11/17 07:35p #3365      GELSON'S MARKETS #1      HOLLYWOOD         CA 16324           4.89                         3,865.34
ood & Beverages
1/22/16     Debit Card Purchase 11/17 06:20p #3365      STARBUCKS STORE 05461 LOS ANGELES CA 16324                    9.30                         3,856.04
estaurant/Bar
1 /22/16    Debit Card Purchase 11 /18 10:35p #3365     EDWARDS CALABASAS STDM CALABASAS              CA 16324       13.82                         3,842.22
ecreational Services
1 /22/16    Debit Card Purchase 11 /18 09:21 p #3365    EDWARDS CALABASAS STDM CALABASAS              CA 16324       16.50                         3,825.72
ecreational Services
1 /22/16    Debit Card Purchase 11 /18 04:03p #3365     CHOCOLATINE           THOUSAND OAKS CA 16324                 32.40                         3,793.32
estaurant/Bar
1/22/16     Debit Card Purchase 11 /17 11 :20p #3365    STELLA BARRA PIZZERIA LOS ANGELES           CA 16324         51.34                         3,741.98
estaurant/Bar
1/22/16     Debit Card Purchase 11 /18 02:32a #3365     BLUE APRON ORDER         8882784349    NY 16324              59.94                         3,682.04
ood & Beverages
1/22/16     Debit Card Purchase 11/19 09:24p #3365      THAI CHABA          WOODLAND HILL CA 16326                 121.03                          3,561.01
estaurant/Bar
1/22/16     Debit Card Purchase 11 /18 10:20p #3365     TOSCANOVA- CALABASAS CALABASAS              CA 16324       165.52                          3,395.49
estaurant/Bar
                                                                                                                                                                                                  Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
iti Priority Account 42002622498
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ontinued   Date        Descrigtion                                                                             Amount Subtracted     Amount Added        Balance
1/22/16    Debit Card Purchase 11 /18 05:45p #3365     TOBACCO ROYALE          CALABASAS     CA 16326       230.00                           3,165.49
pecialty Retail stores
1/22/16    Debit Card Purchase 11/18 07:1Op #3365      TMOBILE*POSTPAID IVR 800-937-8997 WA 16326           236.89                          2,928.60
hones, Cable & Utilities
1/23/16    Debit Card Purchase 11/20 09:45p #3365      SAGEBRUSH CANTINA        CALABASAS      CA 16327       87.47                         2,841.13
estauranVBar
1/23/16    Debit Card Purchase 11/21 11 :06a #3365     TOUCH OF MODERN          4152300750   CA 16327       336.92                          2,504.21
pecialty Retail stores
1 /25/16   Transfer to Bankcard 05:57_e_ #3365 ONLINE         Reference # 001864                              8.00                          2,496.21
1 /25/16   Debit PIN Purchase GELSON'S MARKET      CALABASAS CAUS05154                                      164.44                          2,331.77
1/25/16    Debit Card Purchase 11/21 12:34p #3365 STARBUCKS STORE 05759 WEST HILLS             CA 16328      26.00                          2,305.77
estauranVBar
1 /25/16   Debit Card Purchase 11 /22 01 :02p #3365    ANIMAL CLINIC OF THE    o THOUSAND OAKS CA 16328       27.00                       2,278.7J
isc Business Services                                                                                                          .J,;.or-- ',! ,t
.
1 /25/16   Debit Card Purchase 11 /22 12:40p #3365     CHOCOLATINE        THOUSAND OAKS CA 16328              29.65                          2,249.12
estauranVBar
1 /25/16   Debit Card Purchase 11 /22 06:46p #3365     ALIGNMENTS PLUS LLC      THOUSAND OAKS CA 16328      110.95                           2,138.17
utos (rental, service, gas)
1 /25/16   Check # 583                                                                                        90.00                          2,048.17
1 /28/16   Debit Card Purchase Return 11 /23 #3365     USC UNV HOSP 25094038 LOS ANGELES CA 16330                            20.52           2,068.69
estauranVBar
1 /28/16   De_e__osit 11/26 04:02p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                         100.00           2,168.69
1/28/16    De_e_osit Teller                                                                                                 168.00           2,336.69
1/28/16    Deposit 11/26 04:02p #3365 Citibank ATM 5837 KNAN RD, AGOURA HLLS, CA                                          1,900.00           4,236.69
1/28/16    Debit PIN Purchase BESTBUY#112             THOUSANDOAKSCAUS05157                                   5.32                           4,231 .37
1/28/16    Debit PIN Purchase ARCO #67008           WOODLAND HILLCAUS05155                                    9.51                           4,221.86
1/28/16    Debit PIN Purchase INTUIT PAYME*IN *INTER WOODLAND HILLCAUS02159                                  20.60                           4,201.26
1/28/16    Debit PIN Purchase ARCO #42958           THOUSAND OAKSCAUS00155                                   30.35                           4,170.91
1 /28/16   Debit PIN Purchase ARCO #67008           WOODLAND HILLCAUS00155                                   37.60                           4,133.31
1 /28/16   Debit PIN Purchase INTUIT PAYME*IN *INTER WOODLAND HILLCAUS02159                                  38.15                           4,095.16
1/28/16    Debit PIN Purchase GELSON'S MARKET            CALABASAS CAUS05154                                 80.17                           4,014.99
1/28/16    Debit PIN Purchase RITE AID STORE -5539 AGOURA HILLS CAUS02159                                    86.04                           3,928.95
1 /28/16   Debit PIN Purchase CVS/PHARM 09751--5623 Agoura         CAUS05159                                111.09                           3,817.86
1/28/16    Debit PIN Purchase ROSS STORES #16           THOUSAND OAKSCAUS02153                              112.82                           3,705 .04
1 /28/16   Debit PIN Purchase CVS/PHARM 09751--5623 Agoura         CAUS05159                                227.46                           3,477.58
1 /28/16   Cash Withdrawal 11 /28 03:38_e_ #3365 Teller                                                     300.00                           3,177.58
1 /28/16   Debit Card Purchase 11 /23 10:59a #3365 USC UNV HOSP 25094038 LOS ANGELES             CA 16330     8.21                           3,169.37
estauranVBar
1/28/16    Debit Card Purchase 11/23 01 :42p #3365     USC UNIVERSITY HOSPITA LOS ANGELES CA 16329             9.76                          3,159.61
chools/Education, Dav Care
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                   Exhibit GGG pt. 1 Page 175 of 200
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ontinued   Date         Descrip_tion                                                                       Amount Subtracted   Amount Added        Balance
1/28/16    Debit Card Purchase 11/24 05:32p #3365       VIKTOR BENES         CALABASAS      CA 16330      12.00                         3,147.61
estauranVBar
1 /28/16   Debit Card Purchase 11 /23 09:58p #3365      USCUH PARKING         LOS ANGELES CA 16329        12.00                        3,135.61
utos (rental, service, gas)
1/28/16    Debit Card Purchase 11/23 08:31 p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 16330        20.52                        3,115.09
estauranVBar
1 /28/16   Debit Card Purchase 11 /23 08:33p #3365      USC UNV HOSP 25094038 LOS ANGELES CA 16330        25.53                        3,089 .56
estauranVBar
1 /28/16   Debit Card Purchase 11 /23 10:41 a #3365     USC UNV HOSP 25094038 LOS ANGELES CA 16330        33.03                        3,056.53
estauranVBar
1 /28/16   Debit Card Purchase 11 /23 09:21 p #3365                                                       49.63                        3,006.90
se MED PLAZA PHARMACY LOS ANGE:LES CA 16329
ood & BeveraQes
1/28/16    Debit Card Purchase 11/22 01 :52p #3365      POSTALANNEX#170        AGOURA HILLS CA 16329      52.33                        2,954.57
p_ecialty Retail sto res
1 /29/16   Debit PIN Purchase MALIBU LIQUOR & CIGAR CALABASAS CAUS05159                                   15.55                        2,939.02
1/29/16    Debit PIN Purchase ROSS STORES #540     WEST HILLS CAUS02153                                   86.94                        2,852.08
1/29/16    Debit Card Purchase 11/26 07:36p #3365 TOUCH OF MODERN       4152300750           CA 16333     20.21                        2,831.87
pecialty Retail stores
1 /29/16   Debit Card Purchase 11 /26 04:08p #3365      RITE AID STORE· 5539 AGOURA HILLS CA 16333        24.50                        2,807.37
ood & BeveraQes
1/29/16    Debit Card Purchase 11 /24 09 :41 p #3365    CARL'S JR 1100069 QPS THOUSAND OAKS CA 16331      33.03                        2,774.34
estauranVBar
1/29/16    Debit Card Purchase 11 /26 07:38p #3365      TOUCH OF MODERN        4152300750    CA 16333     42.79                        2,731.55
pecialty Retail stores
1 /29/16   Debit Card Purchase 11 /27 07:12p #3365      POQUITO MAS      QPS WOODLAND HILL CA 16333       43.06                        2,688.49
estauranVBar
1/29/1 6   Debit Card Purchase 11/25 05:40p #3365       TOUCH OF MODERN        4152300750    CA 1633 1    75.24                        2,613 .25
pecialty Retail stores
1/29/16    Debit Card Purchase 11 /25 05:31 p #3365     TOUCH OF MODERN        4152300750    CA 16331     80.68                        2,532.57
pecialty Retail stores
1/29/16    Debit Card Purchase 11/26 04:56p #3365       \TALIA DELI & BAKE   AGOURA HILLS CA 16333        81 .83                       2,450.74
estauranVBar
1/29/16    Debit Card Purchase 11/25 04:28p #3365       TOUCH OF MODERN        4152300750    CA 16331    111 .62                       2,339.12
p_ecialty Retail stores
1 /29/16   Debit Card Purchase 11/25 07:43p #3365       TOUCH OF MODERN        4152300750    CA 16333    369.28                         1,969.84
pecialty Retail stores
1 /29/16   Debit Card Purchase 11 /25 01 :01 p #3365    TOUCH OF MODERN        4152300750     CA 16331   444.53                         1,525.31
pecialty Retail stores
1/29/16    Check# 584                                                                                    100.00                        1,425.31
1/30/16    De_e_osit Teller                                                                                           24,700.00       26,125.31
1/30/16    Debit PIN Purchase GELSON'S MARKET      CALABASAS CAUS05154                                    68.13                       26,057.18
1 /30/16   Debit Card Purchase 11 /28 04:00p #3365 NEFTIN VOLKSWAGEN            THOUSAND OAKS CA 16334    18.14                       26,039.04
utos (rental , service, gas)
                                                                                                                                                                                      Case 1:17-ap-01099-VK




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                                                                                                                                                             Exhibit GGG pt. 1 Page 176 of 200
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ctivity
ontinued      Date            Descrip_tion                                                                                             Amount Subtracted   Amount Added     Balance
1/30/16       Debit Card Purchase 11 /28 06:27p #3365         TOUCH OF MODERN        4152300750    CA 16334                        20.21                        26,018.83
p_ecialty Retail stores
1/30/16       Debit Card Purchase 11/26 06:37p #3365          TOBACCO ROYALE        CALABASAS      CA 16334                        43.00                       25,975.83
pecialty Retail stores
1 /30/16      Debit Card Purchase 11 /27 11 :48p #3365        TOUCH OF MODERN        4152300750    CA 16334                        55.84                       25,919.99
pecialty Retail stores
1/30/16       Debit Card Purchase 11/28 04:23p #3365                                                                                  58.15                    25,861 .84
IV HOME CENTER #04 TO THOUSAND OAKS CA 16334
pecialty Retail stores
1 /30/16      Debit Card Purchase 11 /28 12:00p #3365         TOUCH OF MODERN        4152300750    CA 16334                       162.24                       25,699.60
pecialty Retail stores
1 /30/16      Debit Card Purchase 11 /28 03:57p #3365         NEFTIN VOLKSWAGEN       THOUSAND OAKS CA 16334                      172.07                       25,527.53
uto s (rental, service, gas)
1 /30/16      Debit Card Purchase 11 /26 05:27p #3365         TOBACCO ROYALE        CALABASAS      CA 16334                       190.00                       25 ,337.53
 ~ Retail stores
1/ 30/16    Interest for 30 days, Annual Percentage Yield Earned 0.03%                                                                 0.12                    25,337.65
otal Subtracted/Added                                                                           25,761.90            49,263.1 4
1 /30/16 Closing Balance                                                                                                                                       25,337.65
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid            Check        Date                  Amount    Check       Date            Amount         Check           Date           Amount        Check    Date       Amount
46         11[ 03                  90.00     551 *     11[ 14            90.00            583*        11[ 25            90.00          584     11[ 29          100.00
818*        11[ 21                 315.64
 indicates gap in check number sequence                            Number Checks Paid : 5                         Totaling: $685.64
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                               600
otal Points forwarded to Citi® ThankYou® Rewards                                                          600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com . Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
                                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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                                                                                                                                                                                        Exhibit GGG pt. 1 Page 177 of 200
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OBIN C DIMAGGIO
iti Priority Account 42002622498
avings
itibank®          Citibank® Savings Plus 42002622506
avings Plus
ccount Activity   Date       Descrip_tion                  Amount Subtracted   Amount Added   Balance
1/01/16   O~Balance                                                               39.66
1/30/16   Closing Balance                                                         39.66




                                                                                                                                 Case 1:17-ap-01099-VK




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                                                                                                        Exhibit GGG pt. 1 Page 178 of 200
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iti Priority Account 42002622498
ITI PRIORITY SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi Priority Services at (888) 275-2484*
or speech and hearing impaired customers only: TTY 800-788-6775 .
ebsite: www.citibank.com
OBIN C DIMAGGIO
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
iti Priority is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes .
alue of Accounts                                         Last Period            This Period   I       I Earnings Summary                           This Period    This Yea.r   I
itibank Accounts                                                                                        Citibank Accounts
hecking                                                                                                 Checking
hecking                                                 25,337.65               4,650 .27               Checking                                           0.08      7.97
avin s                                                                                                  Savings
nsured Money Market Accounts                               39.66                  39.66                 Insured Money Market Accounts                 0.00          0.00
iti Priority Relationship Total                         $25,377.31              $4,689.93               Citi Priority Relationship Total               $0.08         $7.97
 To ensure quality service, calls are randomly monitored and may be recorded.
essages From Cltl Priority
ffective February 1, 2017, Citibank will no longer issue counter checks. We will continue to offer pre-printed checks and bill payment services.                                                            Case 1:17-ap-01099-VK




            EX. GGG - 178
                                                                                                                                                                                   Exhibit GGG pt. 1 Page 179 of 200
                                                                                                                                                                                   Doc 50-2 Filed 07/23/18 Entered 07/23/18 17:02:08
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OBIN C DIMAGGIO
iti Priority Account 42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates and monthly service fee for this statement period , and the transaction limits and fee waivers that apply during the next
tatement period, Citibank considers your average balance during the month of November in all your qualifying accounts that you asked us to
ombine. If you have a Citibank secured credit card, then Citibank will also include the balance in your Collateral Holding Account or your
ertificate of Deposit that secures your Citibank credit card. These balances may be in accounts that are reported on other statements.
onthly Service fees are waived with $50,000 in balances from deposits, Retirement Accounts and investments.
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                         Your Combined Balance Range
6 000-$9,999
ates                                                               Standard
onthly Service Fee                                                $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citi Priority statement.
·    ' ·-
hecking
hecking      Interest Checking 42002622498
ctivity
ate        Descrip_tion                                                                                      Amount Subtracted   Amount Added           Balance
2/01/16    Opening Balance                                                                                                                         25,337.65
2/01/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                               9.54                      25,328.11
2/01/16    Debit PIN Purchase DIAR MARKET INC       THOUSAND OAKSCAUS05154                                              24.05                      25,304.06
2/01/16    Debit Card Purchase 11/28 02:49p #3365 STARBUCKS STORE 00635              AGOURA      CA 16335               12.65                      25,291.41
estaurant/Bar
2/01 /16   Cash Withdrawal 05:34_1)_ #3365 Non Citi ATM 22748 VENTURA BLVD        WOODLAND HILLCAUS021                302.99                       24,988.42
2/01 /16   Debit Card Purchase 11 /28 02:03p #3365 CANYON MEDICAL CENT               Newbury Park CA 16335            392.00                       24,596.42
edical Services
2/02/16    Debit Card Purchase 11 /29 03:37p #3365        YOGIS GRILL WOODLAND WOODLAND HILL CA 16336                   12.06                      24,584.36
estaurant/Bar
2/02/16    Debit Card Purchase 11 /29 03:24p #3365        YOGIS GRILL WOODLAND WOODLAND HILL CA 16336                   24.24                      24,560.12
estaurant/Bar
2/02/16    Debit Card Purchase 11 /28 #3365        WHITE HARTE PUB      WOODLAND HILL CA 16336                          66.87                      24,493.25
estaurant/Bar
2/02/16    Debit Card Purchase 11 /29 01 :55p #3365       STARBUCKS STORE 05858 CALABASAS          CA 16336           200.00                       24,293.25
estaurant/Bar
2/05/16    Debit   PIN Purchase     EMBASSY LIQUOR      WOODLAND HILLCAUS05154                                           4.33                      24,288.92
2/05/16    Debit   PIN Purchase     CHEVRON/ REGENT PROPERTYWOODLAND HILLCAUS00155                                      13.00                      24,275.92
2/05/16    Debit   PIN Purchase     PETSMART#0103      WESTLAKEVILLCAUS05153                                            26.14                      24,249.78
2/05/16    Debit   PIN Purchase     EMBASSY LIQUOR      WOODLAND HILLCAUS05154                                          27.42                      24,222.36
2/05/16    Debit   PIN Purchase     614-1812-CALABASAS 479 CALABASAS    CAUS02159                                       33.79                      24,188.57
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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                                                                                                                                                                  Exhibit GGG pt. 1 Page 180 of 200
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OBIN C DIMAGGIO
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ctivity
ontinued   Date        Descrip_tion                                                                                Amount Subtracted     Amount Added        Balance
2/05/16    Debit PIN Purchase    RADIOSHACK COR        WOODLAND HILLCAUS02157                                     37.75                         24,150.82
2/05/16    Debit PIN Purchase DELKIND INC       AGOURA HILLS CAUS00155                                            56.99                         24,093.83
2/05/16    Debit PIN Purchase BEDBATH &BEYOND# 6530 CaWOODLAND HILLCAUS05157                                     58.76                          24,035.07
2/05/16    Debit PIN Purchase EMBASSY LIQUOR        WOODLAND HILLCAUS05154                                      122.38                          23,912.69
2/05/16    Transfer to Bankcard 12/03 03:24e_ #3365 ONLINE             Reference # 005007                       152.92                          23,759.77
2/05/16    Debit PIN Purchase PETSMART # 0103      WESTLAKE VI LLCAUS05153                                      157.54                          23,602.23
2/05/16    Debit PIN Purchase BEDBATH&BEYOND# 121 SOUTHOUSAND OAKSCAUS05157                                     181.01                          23,421.22
2/05/16    Debit PIN Purchase THE HOME DEPOT #1070 WEST HILLS CAUS05152                                         257.46                          23 ,163.76
2/05/16    Debit Card Purchase 11 /30 07:22p #3365                                                                2.75                          23,161 .01
TARBUCKS STORE 11603 WOODLAND HILL CA 16337
estaurant/Bar
2/05/16    Debit Card Purchase 11 /30 07:33p #3365        YOGIS GRILL WOODLAND WOODLAND HILL CA 16337              21.64                       23,139.37
estaurant/Bar
2/05/16    Debit Card Purchase 11 /30 07:03p #3365                                                                 31.61                       23 ,107.76
OUR SEASONS WLAKE SPA WESTLAKI:: VILL CA 16337
isc Personal Services
2/05/16    Debit Card Purchase 12/01 08:31 p #3365        LAL MIRCH         AGOURA HILLS CA 16337                  40.97                       23,066.79
estaurant/Bar
2/05/16    Cash Withdrawal 07:17_e_ #3365 Non Citi ATM    5314 TOPANGA CANYO      WOODLAND HILLCAUS021             62.25                       23,004.54
2/05/16    Debit Card Purchase 12/01 05:04p #3365                                                                  72.00                       22,932.54
OTAL MEDICAL CONSULT WOODLAND HILL CA 16337
edical Services
2/05/16    Cash Withdrawal 12/04 05:44p #3365                                                                   202.99                         22,729.55
on Citi ATM 22748 VENTURA BLVD   WOODLAND HILLCAUS021
2/05/16    Debit Card Purchase 11 /30 05:29p #3365        BLUE SKY TOURS       800-6782787 WI 16337             275.78                         22,453.77
isc Transportation
2/05/16    Debit Card Purchase 11/30 #3365      DELTA 00678916347023 MILWAUKEE        WI 16337                 3,499.56                         18,954.21
irlines & Airports
2/05/16    Debit Card Purchase 11/30 07:33p #3365         DELTA 00678916347001 MILWAUKEE          WI 16337     3,499.56                         15,454.65
irlines & Airports
2/05/16    Debit Card Purchase 11/30 #3365      DELTA 00678916347012 MILWAUKEE        WI 16337                 3,499.56                         11,955.09
irlines & Airports
2/05/16    Debit Card Purchase 11 /30 04:41 p #3365       TRAVELIN WITH THERESA 714-846-3400 CA 16337         10,918.00                          1,037.09
isc Transportation
2/05/16    Check # 585                                                                                             90.00                           947.09
2/06/16    Transfer From Checking_ 04:~J)_ #3365 ONLINE         Reference # 001117                                              200.00           1,147.09
2/06/16    Debit PIN Purchase GELSON'S MARKET      CALABASAS CAUS05154                                             70.57                         1,076.52
2/06/16    Debit Card Purchase 12/02 03:43p #3365 STARBUC KS STORE 05654 BURBANK                   CA 16340         6.05                         1,070.47
estaurant/Bar
2/06/16    Debit Card Purchase 12/01 01 :08p #3365                                                                  6.45                         1,064.02
TARBUCKS STORE 11603 WOODLAND HILL CA 16338
estaurant/Bar
                                                                                                                                                                                                Case 1:17-ap-01099-VK




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ontinued   Date        Descrigtion                                                                         Amount Subtracted     Amount Added           Balance
2/06/16    Debit Card Purchase 12/02 11 :OOp #3365 EDWARDS CALABASAS STDM CALABASAS CA 16338              13.82                           1,050.20
ecreational Services
2/06/16    Debit Card Purchase 12/02 03:38p #3365 TOGO'S - BURBANK     BURBANK    CA 16340                33.56                            1,016.64
estauranVBar
2/06/16    Debit Card Purchase 12/01 12:56p #3365                                                         33.83                               982.81
TARBUCKS STORE 11603 WOODLAND HILL CA 16338
estauranVBar
2/06/16    Debit Card Purchase 12/01 06:33p #3365 TOBACCO ROYALE        CALABASAS CA 16338                39.11                               943.70
pecialty Retail stores
2/06/16    Debit Card Purchase 12/01 07:46p #3365 HEALING TREE       THOUSAND QA CA 16338                 43.06                               900.64
ood & BeveraQes
2/06/16    Debit Card Purchase 12/02 09:47p #3365 FANDANGO.COM         FANDANGO.COM CA 16338              49.50                               851 .14
ecreational Services
2/06/16    Debit Card Purch?Se 12/02 09:55p #3365 THAI CHABA        WOODLAND HILL CA 16340                53.47
estauranVBar                                                                                                                     .797.67

2/06/16    Debit Card Purchase 12/03 10:21 p #3365 GRILL CONCEPTS - P WESTLAKE VILL CA 16340              82.52                               715.15
estauranVBar
2/06/16    Debit Card Purchase 12/01 06:38p #3365 TOBACCO ROYALE         CALABASAS CA 16338              124.00                               591.15
p_ecialty Retail stores
2/07/16    Debit Card Purchase 12/05 02:49p #3365                                                         10.80                               580.35
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16341
estauranVBar
2/07/16    Debit Card Purchase 12/04 09:46p #3365 GUIDO'S PIZZA & PAST WOODLAND HILL CA 16341             38.00                               542.35
estauranVBar
2/07/16    Cash Withdrawal 06:37_e_ #3365 Non Citi ATM 2 DOLE DR         WESTLAKE VILLCAUS021             43.25                               499.10
2/07/16    Debit Card Purchase 12/05 02:35p #3365                                                         58.35                               440.75
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16341
estauranVBar
2/07/16    Debit Card Purchase 12/03 08:11 p #3365 TOBACCO ROYALE     CALABASAS CA 16341                  63.00                               377.75
pecialty Retail stores
2/07/16    Debit Card Purchase 12/05 03:45p #3365 LOVES PETS       AGOURA HILL CA 16341                   70.80                               306.95
pecialty Retail stores
2/08/16    Deposit 01 :45p #3365 Citibank ATM 4809COMMONS WY, CALABASAS, CA                                           1,500.00             1,806.95
2/08/16    Debit PIN Purchase RALPHS     5727 KANAN R AGOURA        CAUS05154                              5.88                            1,801.07
2/08/16    Debit PIN Purchase SHELL Service Station WOODLAND HILLCAUS02155                                10.00                            1,791.07
2/08/16    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura     CAUS05159                                  15.25                            1,775.82
2/08/16    Debit PIN Purchase SHELL Service Station AGOURA     CAUS00155                                  21.50                            1,754.32
2/08/16    Debit PIN Purchase RADIOSHACK COR        AGOURA       CAUS02157                                37.03                            1,717.29
2/08/16    Debit PIN Purchase BIG 5 SPORTING GOODS 1 THOUSAND OAKSCAUS05159                               77.11                            1,640.18
2/08/16    Debit Card Purchase 12/06 05:04p #3365 TOUCH OF MODERN               4152300750    CA 16342    19.13                            1,621.05
pecialty Retail stores
2/08/16    Debit Card Purchase 12/05 06:51 p #3365                                                        22.40                            1,598.65
TARBUCKS STORE 11603 WOODLAND HILL CA 16342
estauranVBar
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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ontinued   Date        Descrigtion                                                                       Amount Subtracted     Amount Added          Balance
2/08/16    Debit Card Purchase 12/05 06:47p #3365    YOGIS GRILL WOODLAND WOODLAND HILL CA 16342        29.66                           1,568.99
estauranVBar
2/08/16    Debit Card Purchase 12/06 05:02p #3365    TOUCH OF MODERN         4152300750   CA 16342      42.79                          1,526.20
pecialty Retail stores
2/08/16    Debit Card Purchase 12/05 04:53p #3365    KING 'S FISH HOUSE    CALABASAS      CA 16342      49.51                          1,476.69
estauranVBar
2/08/16    Check # 311                                                                                  90.00                          1,386.69
2/09/16    Debit PIN Purchase MICHAELS STORES INC982 WESTLAKE VILLCAUS05159                             75.57                          1,311 .12
2/12/16    Credit RADIOSHAC K COR    AGOURA        CAUS02157                                                           87.19           1,398.31
2/12/16    Debit PIN Purchase POSTAL ANNEX #170 AGOURA HILLS CAUS02194                                   8.75                          1,389.56
2/12/16    Debit PIN Purchase FRANKLIN$ HARDWARE WOODLAND HILLCAUS05152                                  8.99                          1,380.57
2/12/16    Debit PIN Purchase RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                             18.33                          1,362.24
2/12/16    Debit PIN Purchase SHELL Service Station AGOURA   CAUS00155                                  30.00                          1,332.24
2/12/16    Debit PIN Purchase EMBASSY LIQUOR         WOODLAND HILLCAUS05154                             55.66                          1,276.58
2/12/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                              74.07                          1,202.51
2/12/16    Debit PIN Purchase RADIOSHACK COR         AGOURA   CAUS02157                                 87.19                          1,115.32
2/12/16    Debit PIN Purchase FRAN KLIN$ HARDWARE WOODLAND HILLCAUS05152                               128.49                            986.83
2/12/16    Debit Card Purchase 12/08 01 :59p #3365 COFFEE BEAN STORE CALABASAS             CA 16344      6.06                            980. 77
estauran VBar
2/12/16    Debit Card Purchase 12/08 02: 15p #3365   COFFEE BEAN STORE       CALABASAS     CA 16344       6.12                             974.65
estauranVBar
2/12/16    Debit Card Purchase 12/08 07:38p #3365    ITALIA DELI & BAKE    AGOURA HILLS CA 16344        83.25                              891.40
estauran VBar
2/12/16    Debit Card Purchase 12/08 01 :55p #3365   TOUCH OF MODERN         4152300750   CA 16344     102.43                              788 .97
pecialty Retail stores
2/13/16    Debit Card Purchase 12/11 03:11 p #3365   COFFEE BEAN STORE       CALABASAS     CA 16347       4.48                             784.49
estauranVBar
2/13/16    Debit Card Purchase 12/09 03:46p #3365    STARBUC KS STORE 05628 OAK PAR K       CA 16347      9.25                             775 .24
estauranVBar
2/13/16    Debit Card Purchase 12/11 06:28p #3365    TOUCH OF MODERN         4152300750   CA 16347      11 .50                             763 .74
pecialty Retail stores
2/13/16    Debit Card Purchase 12/11 03:39p #3365    COFFEE BEAN STORE       CALABASAS     CA 16347     11 .76                             751.98
estauranVBar
2/13/16    Debit Card Purchase 12/09 05:35p #3365    TOUCH OF MODERN         4152300750   CA 16345      14.81                              737.17
pecialty Retail stores
2/13/16    Debit Card Purchase 12/10 05 :42p #3365   STARBUCKS STORE 00635 AGOURA           CA 16347    19.55                              717.62
estauranVBar
2/13/16    Debit Card Purchase 12/08 04:32p #3365    YOGIS GRILL WOODLAND WOODLAND HILL CA 16345        31.30                              686.32
estauranVBar
2/13/16    Debit Card Purchase 12/10 09:00p #3365    YOGIS GRILL WOODLAND WOODLAND HILL CA 16347        44.90                              641 .42
estauranVBar
                                                                                                                                                                                        Case 1:17-ap-01099-VK




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2/13/16    Debit Card Purchase 12/09 07:17p #3365                 FANDANGO.COM           FANDANGO.COM CA 16345            49.50                                591.92
ecreational Services
2/13/16    Debit Card Purchase 12/09 02: 13a #3365                BLUE APRON ORDER        8882784349   NY 16345           59.94                                531.98
ood & Beverages
2/13/16    Debit Card Purchase 12/09 10:17p #3365                 OLIO E LIMONE RESTORAN WLV           CA 16347         166.77                                 365.21
estaurant/Bar
2/14/16    Deposit 06: 13p #3365 Citibank ATM 16601 VENTURA BV, ENCINO, CA                                                           3,900.00            4,265.21
2/14/16    Debit Card Purchase 12/12 05:40p #3365 TOUCH OF MODERN                         4152300750   CA 16348            6.74                          4,258.47
pecialty Retail stores
2/14/16    Debit Card Purchase 12/11 10:05p #3365                 THAI CHABA          WOODLAND HILL CA 16348              41.77                          4,216.70
estaurant/Bar
2/14/16    Debit Card Purchase 12/11 03:33p #3365                 PLANET BEAUTY CALAB      CALABASAS     CA 16348         77.39                          4,139.31
pecialty Retail stores
2/14/16    Debit Card Purchase 12/12 03:12p #3365                 CHOCOLATINE           THOUSAND OAKS CA 16348          104.45                          - 4,034.86
estauran t/Bar                                                                                                                                   ,. '
) '
2/15/16    Debit PIN Purchase CHEVRON/G&W VENTURES INCALABASAS CAUS02155                                                 10.55                           4,024.31
2/15/16    Debit PIN Purchase CHEVRON/G&W VENTURES INCALABASAS CAUS00155                                                 23.00                           4,001 .31
2/15/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                               40.12                           3,961 .19
2/15/16    Transfer to Bankcard 01 :30_1)_ #3365 ONLINE         Reference# 003931                                     2,231 .00                          1,730.19
2/16/16    Transfer From Checkin_g_12:15p #3365 ONLINE             Reference# 004785                                                   100.00            1,830.19
2/16/16    Debit Card Purchase 12/13 04:27p #3365 BAJA FRESH 89         WEST HILLS                 CA 16350               30.23                          1,799.96
estaurant/Bar
2/16/16    Debit Card Purchase 12/14 07:26p #3365                 WESTLAKE AH #958       WESTLAKE VILL CA 16350           54.00                          1,745.96
isc Business Services
2/16/16    Check# 313                                                                                                     90.00                          1,655.96
2/19/16    Dep_osit Teller                                                                                                           5,000.00            6,655.96
2/19/16    Debit PIN Purchase RITE AID STORE - 6327 CALABASAS CAUS02159                                                   20.69                          6,635.27
2/19/16    Debit PIN Purchase GELSON'S MARKET       CALABASAS CAUS05154                                                 400.80                           6,234.47
2/19/16    Debit Card Purchase 12/14 1O:OOp #3365 FOUR SEASONS WLAKE FB                      WESTLAKE VILL CA 16351      42.89                           6,191.58
estaurant/Bar
2/19/16    Debit Card Purchase 12/15 02:46p #3365                 JINKYS KANAN CAFE       AGOURA HILLS CA 16351           50.36                          6,141.22
estaurant/Bar
2/19/16    Debit Card Purchase 12/14 11 :05p #3365                AZURE RESTAURANT         WOODLAND HILL CA 16351         73.67                          6,067.55
estaurant/Bar
2/19/16    Debit Card Purchase 12/14 08: 15p #3365                FOUR SEASONS WLAKE FB WESTLAKE VILL CA 16351           149.33                          5,918.22
estaurant/Bar
2/19/16    Debit Card Purchase 12/15 03:09p #3365                 IMPORT AUTO CLINIC      THOUSAND OAKS CA 16351       1,159.53                          4,758.69
utos {rental, service, gas)
2/20/16    Debit PIN Purchase             SHELL Service Station WOODLAND HILLCAUS02155                                    10.00                          4,748.69
2/20/16    Debit PIN Purchase             CVS/ PHARM 09751 --5623 Agoura   CAUS05159                                      15.03                          4,733.66
2/20/16    Debit PIN Purchase             SHELL Service Station WOODLAND HILLCAUS00155                                    31.51                          4,702.15
                                                                                                                                                                                                           Case 1:17-ap-01099-VK




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2/20/16    Transfer to Bankcard 08:1 Op_ #3365 ONLINE       Reference # 005105                          1,492.12                            3,210.03
2/20/16    Debit Card Purchase 12/16 06:50p #3365 STARBUCKS STORE 05858 CALABASAS            CA 16354        1.50                           3,208.53
estauranVBar
2/20/16    Debit Card Purchase 12/16 04:45p #3365     STARBUCKS STORE 05549 LOS ANGELES CA 16354             5.25                          3,203.28
estauranVBar
2/20/16    Debit Card Purchase 12/16 06:13p #3365     JACK IN THE BOX #31 OPS CALABASAS     CA 16352         5.66                          3,197.62
estauranVBar
2/20/16    Debit Card Purchase 12/16 06:32p #3365     STARBUCKS STORE 05858 CALABASAS        CA 16354        8.45                          3,189.17
estauran VBar
2/20/16    Debit Card Purchase 12/17 09:56a #3365     TOUCH OF MODERN      4152300750     CA 16354           9.01                          3,180.16
pecialty Retail stores
2/20/16    Debit Card Purchase 12/16 02:12p #3365     TARZANA CARE PHARMACY TARZANA          CA 16354       11.50                          3,168.66
ood & Bevera,:ies
2/20/16    Debit Card Purchase 12/16 06:34a #3365     BLUE APRON ORDER      8882784349    NY 16352         59.94                           3,108.72
ood & Bevera,:ies
2/20/16    Cash Withdrawal 06:55!)_ #3365 Non Citi ATM 23201 VENTURA BLVD WOODLAND HILLCAUS051            202.45                           2,906.27
2/20/16    Cash Withdrawal 06:56!)_ #3365 Non Citi ATM 23201 VENTURA BLVD WOODLAND HILLCAUS051            202.45                           2,703.82
2/21 /16   Transfer to Bankcard 11 :50a #3365 ONLI NE             Reference # 005634                        8.00                           2,695.82
2/22/16    Dep_osit Teller                                                                                              1,500.00           4,195.82
2/22/16    Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                        12.88                           4,182.94.
2/22/16    Debit PIN Purchase THE UPS STORE #1093 26 CALABASAS CAUS02173                                   49.84                           4,133.10
2/22/16    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura      CAUS05159                                 200.00                           3,933.10
2/22/16    Debit Card Purchase 12/19 03:01 p #3365 STARBUC KS STORE 05636 CALABASAS CA 16356                5.50                           3,927.60
estauranVBar
2/22/16    Debit Card Purchase 12/19 05:14p #3365     YOGIS GRILL WOODLAND WOODLAND HILL CA 16356           17.71                          3,909.89
estauranVBar
2/22/16    Debit Card Purchase 12/20 02:06p #3365                                                           65.02                          3,844.87
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16356
estauranVBar
2/22/16    Debit Card Purchase 12/20 04:42p #3365                                                           86.07                          3,758.80
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16356
estauranVBar
2/22/16    Debit Card Purchase 12/19 04:30p #3365     KING'S FISH HOUSE   CALABASAS       CA 16356          91 .52                         3,667.28
estauranVBar
2/22/16    Debit Card Purchase 12/20 05:58p #3365     TMOBILE*POSTPAID IVR 800-937-8997 WA 16356          241 .22                          3,426.06
hones , Cable & Utilities
2/22/16    Cash Withdrawal 12:45a #3365   Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                      400.00                           3,026.06
2/23/16    Dep_osit Teller                                                                                              1,300.00           4,326.06
2/23/16    Debit PIN Purchase RADIOSHACK COR        WOODLAND HILLCAUS02157                                 22.33                           4,303.73
2/23/16    Cash Withdrawal 12/23 07:34p #3365   Teller                                                    300.00                           4,003.73
2/23/16    Cash Withdrawal 12/23 07:33p #3365   Teller                                                    400.00                           3,603.73
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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ontinued   Date        Descrigtion                                                                            Amount Subtracted   Amount Added          Balance
2/23/16    Debit Card Purchase 12/21 01 :33p #3365    COFFEE BEAN STORE       LOS ANGELES CA 16357            6.82                         3,596.91
estauranVBar
2/23/16    Debit Card Purchase 12/21 03:33p #3365     FANDANGO .COM         FANDANGO.COM CA 16357            46.47                        3,550.44
ecreational Services
2/23/16    Debit Card Purchase 12/20 08:16p #3365     TOUCH OF MODERN        4152300750   CA 16357           91.77                        3,458.67
pecialty Retail stores
2/23/16    Debit Card Purchase 12/20 06:50p #3365 CITIBANK, N.A.        SIOUX FALLS SD 16357               1,295.19                       2,163.48
2/27/16    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS00155                                   15.50                       2,147.98
2/27/16    Debit PIN Purchase OREILLY AUTO #4        THOUSAND OAKSCAUS05155                                   23.62                       2,124.36
2/27/16    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS02155                                   23.77                       2,100.59
2/27/16    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                     33 .71                      2,066.88
2/27/16    Debit PIN Purchase USA 63221           WOODLAND HILLCAUS00155                                      42.80                       2,024.08
2/27/16    Debit PIN Purchase SHELL Service Station AGOURA     CAUS00155                                      44.00                       1,980.08
2/27/16    Debit PIN Purchase GELSON'SMARKET          CALABASAS CAUS05154                                    130.98                       1,849.10
2/27/16    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                   289.33                       1,559.77
2/28/16    Debit Card Purchase 12/25 07:16p #3365 EDWARDS CALABASAS STDM CALABASAS              CA 16361      42.00                       1,517.77
ecreational Services
2/28/16    Debit Card Purchase 12/22 07:36p #3365     MEDITERRANEAN PITA G CALABASAS         CA 16361        51.18                        1,466.59
estauran VBar
2/28/16    Debit Card Purchase 12/23 08:59p #3365     BARONES THE PIZZERIA E WOODLAND HILL CA 16361          54.02                        1,412.57
estauranVBar
2/28/16    Debit Card Purchase 12/24 09:07p #3365     SHALIMAR CUISINE INDIA WOODLAND HILL CA 16361          57 .71                       1,354.86
estauranVBar
2/28/16    Debit Card Purchase 12/24 02:31 a #3365    BLUE APRON ORDER       8882784349   NY 16361           59.94                        1,294.92
ood & Beverages
2/28/16    Debit Card Purchase 12/25 01 :45p #3365    FANDANGO .COM         FANDANGO .COM CA 16361           95.50                        1,199.42
ecreational Services
2/28/16    Debit Card Purchase 12/24 03:58p #3365     CHOCOLATINE          THOUSAND OAKS CA 16361           144.75                        1,054.67
estauranVBar
2/28/16    Debit Card Purchase 12/26 12:43a #3365     YAMATO - AGOURA HILLS AGOURA HILLS CA 16362           383.06                            671 .61
estauranVBar
2/29/16    Debit Card Purchase 12/26 12:52p #3365     STARBUCKS STORE 05549 LOS ANGELES CA 16363             11.00                            660.61
estauranVBar
2/29/16    Debit Card Purchase 12/26 12:47p #3365     BEVERLY GLEN DELI      LOS ANGELES CA 16363            17.75                            642.86
estauranVBar
2/29/16    Debit Card Purchase 12/27 12:22p #3365     FEDEXOFFICE 00005827 WOODLAND HILL CA 16363            24.20                            618.66
isc Business Services
2/29/16    Debit Card Purchase 12/26 10:18p #3365     WHITE HARTE PUB       WOODLAND HILL CA 16363           52.00                            566.66
estauranVBar
2/29/16    Debit Card Purchase 12/27 05:58p #3365     CHOCOLATINE          THOUSAND OAKS CA 16363            53.25                            513.41
estauranVBar
2/29/16    Debit Card Purchase 12/26 09:54p #3365     WHITE HARTE PUB       WOODLAND HILL CA 16363           54.00                            459.41
estauranVBar
                                                                                                                                                                                           Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
iti Priority Account 42002622498
hecking     Continued
nterest Checking 42002622498
hecking
ctivity
ontinued      Date       Descrip_tion                                                                              Amount Subtracted     Amount Added         Balance
2/29/16   Debit Card Purchase 12/27 12:50p #3365                                                                60.96                                398.45
LU JAM CAFE MULHOLLAN WOODLAND HILL CA 16363
estauranVBar
2/29/16   Debit Card Purchase 12/27 05:36p #3365        FANDANGO .COM     FANDANGO .COM CA 16363                66.00                                332.45
ecreational Services
2/29/16   Debit Card Purchase 12/26 10:43p #3365        WHITE HARTE PUB   WOODLAND HILL CA 16363               184.62                                147.83
estauranVBar
2/30/16   Dep_osit Teller                                                                                                      5,000.00          5,147.83
2/30/16   Debit PIN Purchase SHELL Service Station WOODLAND HILLCAUS00155                                       21 .60                           5,126.23
 -
2/30/16   Debit PIN Purchase CVS/PHARMACY #09 09751-Agoura      CAUS05159                                      227.46                            4,898.77
-
2/30/16   Debit Card Purchase 12/27 10:29a #3365                                                                11.30                            4,887.47
TARBUCKS STORE 11603 WOODLAND HILL CA 16364
estauranVBar
2/30/16   Debit Card Purchase 12/27 04:51 p #3365       TOBACCO ROYALE    CALABASAS    CA 16364                 12.28                            4,875.19
pecialty Retail stores
 -
2/30/16   Debit Card Purchase 12/27 02:44p #3365                                                                25.00                            4,850.19
TARBUCKS STORE 11603 WOODLAND HILL CA 16364
estau ranVBar
-
2/30/16      Cash Withdrawal 05:17p_ #3365 ATM 5623 KANAN RD            AGOURA HILLS CAUS021                    200.00                           4,650.19
2/30/16      Interest for 31 days, Annual Percentage Yield Earned 0.03%                                                             0.08         4,650.27
otal Subtracted/Added                                                                          39,274.65          18,587.27
2/31 /16 Closing Balance                                                                                                                         4,650.27
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                   600
otal Points forwarded to Citi® ThankYou® Rewards                                              600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
iti Priority Account 42002622498
avings
itibank®          Citibank® Savings Plus 42002622506
avings Plus
ccount Activity   Date       Descrigtion                   Amount Subtracted   Amount Added   Balance
2/01/16   O~Balance                                                                39.66
2/31/16   Closing Balance                                                          39.66
.. . .
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                                                                                                        Exhibit GGG pt. 1 Page 188 of 200
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iti Priority Account   42002622498
ITI PRIORITY SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi Priority Services at (888) 275-2484*
or speech and hearing impaired customers only: TTY 800-788-6775.
OBIN C DIMAGGIO                                                                    Website: www.citibank.com
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
hare the benefits of Citi.
efer Friends and Family and Earn Cash Rewards
alk with your Personal Banker about how to earn a cash bonus with our Member-Get-
ember program when your first referral opens an eligible Citibank checking account.
iti Priority is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
 Value of Accounts                                     Last Period          This Period   I    I Earnings Summary                    This Period   This~
itibank Accounts                                                                                Citibank Accounts
hecking                                                                                         Checking
hecking                                               4,650.27               682.47             Checking                                 0.06       0.06
avings                                                                                          Savings
nsured Money Market Accounts                            39.66                39.66              Insured Money Market Accounts           0.00       0.00
iti Priority Relationship Total                       $4,689.93              $722.13            Citi Priority Relationship Total         $0.06      $0.06
 To ensure quality service, calls are randomly monitored and may be recorded .
essages From Cltl Priority
ffective March 1, 2017, when you place a stop payment order on a check, you should also place an electronic
ransaction (ACH) stop payment if you believe the payee may convert the check to an ACH. There is no fee for the
econd stop payment. Your placement of a stop payment as an ACH will aid in preventing payment of such converted
ransactions. This replaces the information in the "Stop Payment Orders (Checks)" section of your Client Manual which
rovides that an automatic stop payment will be placed in this situation .
                                                                                                                                                                                     Case 1:17-ap-01099-VK




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                                                                                                                                                            Exhibit GGG pt. 1 Page 189 of 200
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OBIN C DIMAGGIO
iti Priority Account 42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates and monthly service fee for this statement period, and the transaction limits and fee waivers that apply during the next
tatement period, Citibank considers your average balance during the month of December in all your qualifying accounts that you asked us to
ombine. If you have a Citibank secured credit card, then Citibank will also include the balance in your Collateral Holding Account or your
ertificate of Deposit that secures your Citibank credit card. These balances may be in accounts that are reported on other statements.
onthly Service fees are waived with $50,000 in balances from deposits, Retirement Accounts and investments.
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                     Your Combined Balance Range
6 000-$9 999
ates                                                            Standard
onthly Service Fee                                              $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citi Priority statement.                              --:•.:
hecking
hecking      Interest Checking 42002622498
ctivity
ate        Descrigtion                                                                                    Amount Subtracted      Amount Added       Balance
1/01/17    Opening Balance                                                                                                                         4,650.27
1/03/17    ACH Electronic Credit ASCAP        DOMWR ROYL                                                                               949.63      5,599.90
1/03/17    Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                              39.25                         5,560.65
1/03/17    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                           117.68                         5,442.97
1/03/17    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                          119.38                         5,323.59
1/03/17    Debit PIN Purchase WAL-MART Wal-Mart Sto WEST HILLS CAUS05153                                            238.94                         5,084.65
1/03/17    Transfer to Bankcard 06:55_e_ #3365 ONLINE             Reference# 001571                               2,275.88                         2,808.77
1/03/17    Cash Withdrawal 08:29_e_ #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                                500.00                         2,308.77
1/03/17    Check# 553                                                                                                90.00                         2,218.77
1/04/17    Debit PIN Purchase RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                                          25.00                         2,193.77
1/04/17    Debit PIN Purchase RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                                          42.25                         2,151.52
1/04/17    Debit Card Purchase 12/30 05:41 p #3365 LA CITY PARKING METER LOS ANGELES         CA 16366                 1.25                         2,150.27
utos {rental, service, gas)
1/04/17    Debit Card Purchase 12/29 05:13p #3365       TOBACCO ROYALE         CALABASAS  CA 16366                       8.69                      2,141.58
_e_ecialtv Retail stores
1/04/17    Debit Card Purchase 12/29 04:38p #3365       STARBUCKS STORE 05858 CALABASAS      CA 16366                    8.70                      2,132.88
estauranVBar
1/04/17    Debit Card Purchase 12/30 01 :30p #3365      STARBUCKS STORE 05636 CALABASAS      CA 17002                   12.00                      2,120.88
estauranVBar
1/04/17    Debit Card Purchase 12/30 01 :OOp #3365      CORNER BAKERY 0128      CALABASAS  CA 17002                     22.51                      2,098.37
estauranVBar
                                                                                                                                                                                       Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
iti Priority Account 42002622498
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nterest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                         Amount Subtracted     Amount Added           Balance
1/04/17    Debit Card Purchase 01/02 03:34p #3365      BOBBYS COFFEE SHOP        WOODLAND HILL CA 17003    39.84                              2,058.53
estaurant/Bar
1/04/17    Debit Card Purchase 12/31 01 :52p #3365     HUGOS AGOURA HILLS       AGOURA HILLS CA 17002      55.24                             2,003.29
estaurant/Bar
1/04/17    Debit Card Purchase 12/31 03:08a #3365      BLUE APRON ORDER         8882784349   NY 17002      59.94                             1,943.35
ood & Beverages
1/04/17    Debit Card Purchase 12/31 01 :03p #3365                                                         93.80                             1,849.55
NTERPRISE RENT-A-CAR THOUSAND OAKS CA 17002
utos (rental , service, gas)
1/04/17    Debit Card Purchase 12/30 04:34p #3365      FIRST NISSAN         SIMI VALLEY CA 17002          335.79                             1,513.76
utos (rental, service, gas)
1/05/17    ACH Electronic Debit BARCLAYCARD us CREDITCARD 424755419                                         2.99                             1,510.77
1/05/17    Debit PIN Purchase ABC PHARMACY OF BH BEVERLY HILLSCAUS05159                                    10.98                             1,499.79
1/05/17    Debit PIN Purchase THE UPS STORE #1093 26 CALABASAS CAUS02173                                   41.00                             1,458.79
1/05/17    Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                 44.76                             1,414.03
1/05/17    Debit Card Purchase 01/03 12:24g #3365                                                          56.44                             1,357.59
LU JAM CAFE MULHOLLAN WOODLAN    HILL CA 17004
estaurant/Bar
1 /06/17   Debit   PIN Purchase Erewhon Natural 26767 ACALABASAS CAUS02154                                 20.40                             1,337.19
1 /06/17   Debit   PIN Purchase Erewhon Natural 26767 ACALABASAS CAUS02154                                 45.93                             1,291.26
1 /06/17   Debit   PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                      59.78                             1,231.48
1/06/17    Debit   Card Purchase 01/03 01 :03p #3365 STARBUCKS STORE 05549        LOS ANGELES CA 17005      5.50                             1,225.98
estaurant/Bar
1/06/17    Debit Card Purchase 01/04 03:03p #3365      COFFEE BEAN STORE        CALABASAS     CA 17005     10.47                             1,215.51
estaurant/Bar
1 /06/17   Debit Card Purchase 01 /03 12:56p #3365     BEL AIR POSTAL CENTER LOS ANGELES CA 17005          12.00                             1,203.51
isc Business Services
1 /06/17   Debit Card Purchase 01 /03 03:39p #3365     GUITARCENTER.COM INTER 877-687-4242 CA 17005        46.22                             1,157.29
pecialty Retail stores
1 /06/17   Debit Card Purchase 01 /04 04:58p #3365     MARMALADE CAFE #15       CALABASAS     CA 17005     72.50                             1,084.79
estaurant/Bar
1 /06/17   Debit Card Purchase 01 /03 09:58p #3365     FOUR SEASONS WLAKE FB WESTLAKE VILL CA 17005       315.33                              769.46
estaurant/Bar
1 /09/17   Transfer From Checkin_g_07:45p #3365 ONLINE            Reference # 0004 76                                    200.00               969.46
1 /09/17   ACH Electronic Debit Charter     Check Pmt 0000000556                                          136.61                              832.85
1/09/17    ACH Electronic Debit SHELL PAYMENT CHECK PYMT 0000000554                                       150.00                              682.85
1 /09/17   Debit Card Purchase 01 /04 07:01 p #3365                                                        11 .50                             671.35
TARBUCKS STORE 11603 WOODLAND HILL CA 17006
estaurant/Bar
1 /09/17   Debit Card Purchase 01 /05 05:19p #3365     ITALIA DELI & BAKE    AGOURA HILLS CA 17006         37.43                              633.92
estaurant/Bar
1/09/17    Debit Card Purchase 01/05 05:04p #3365      LOVES PETS           AGOURA HILL CA 17006           49.99                              583.93
pecialty Retail stores
                                                                                                                                                                                            Case 1:17-ap-01099-VK




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                                                                                                                                                                   Exhibit GGG pt. 1 Page 191 of 200
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OBIN C DIMAGGIO
iti Priority Account 42002622498
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nterest Checking 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                                         Amount Subtracted   Amount Added           Balance
1/10/17    Dee_osit Teller                                                                                                             5,700.00             6,283.93
1/10/17    Transfer to Checking 09:46p #3365 ONLINE          Reference# 001187                                           200.00                             6,083.93
1/10/17    Debit Card Purchase 01/05 04:21 p #3365 TOBACCO ROYALE         CALABASAS                      CA 17007         12.28                             6,071.65
pecialty Retail stores
1/10/17    Debit Card Purchase 01/06 02:13p #3365                                                                          45.00                           6,026.65
CHROEDER AND SCH ROEDE AGOURA HILLS CA 17009
edical Services
1/10/17    Debit Card Purchase 01/06 03 :12a #3365               BLUE APRON ORDER          8882784349   NY 17007           59.94                           5,966.71
ood & BeveraQes
1/10/17    Debit Card Purchase 01/06 04:02p #3365                STARBUCKS STORE 05858 CALABASAS              CA 17009   112.75                            5,853.96
estauranVBar
1/10/17    Debit Card Purchase 01 /06 03:46p #3365               HOME CNSGNMNT CTR# 17 CALABASAS              CA 17007   117.45                            5,736.51
pecialty Retail stores
1/10/17    Cash Withdrawal 06:161)_ #3365             Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                         200.00                            5,536.51
1/10/17    Check # 557                                                                                                    90.00                            5,446.51
1 /12/17   Dep_osit Teller                                                                                                               20.93             5,467.44
1 /12/17   Dep_osit Teller                                                                                                            1,000.00             6,467.44
1 /12/17   Debit PIN Purchase INTUIT PAYME*IN *INTER WOODLAND HILLCAUS02159                                                34.88                           6,432.56
1/12/17    Debit PIN Purchase CD TRADER            TARZANA   CAUS02157                                                     49.98                           6,382.58
1/12/17    Cash Withdrawal 01/12 05:34_1)_ #3365 Teller                                                                    69.97                           6,312.61
1/12/17    Cash Withdrawal 01/12 05:27p #3365 Teller                                                                      649.85                           5,662.76
1 /13/17   Debit PIN Purchase PETRO ONTARIO          ONTARIO    CAUS02155                                                  23.69                           5,639.07
1/13/17    Debit PIN Purchase SHELL Service Station ONTARIO CAUS00155                                                      49.80                           5,589.27
1 /13/17   Debit PIN Purchase CVS/PHARM 09613--23357 Woodland Hi11CAUS05159                                               127.79                           5,461.48
1 /13/17   Transfer to Bankcard 10:39a #3365 ONLINE                             Reference# 001132                        1,938.13                          3,523.35
1/13/17    Debit Card Purchase 01/10 12:40p #3365 81161                - TARZANA MEDICA TARZANA          CA 17012            2.00                          3,521.35
utos (rental, service, gas}
1/13/17    Debit Card Purchase 01/10 07:26p #3365                MCDONALD'S F3997         AGOURA HILLS CA 17012             9.42                           3,511 .93
estauranVBar
1/17/17    Debit PIN Purchase CHEVRON/TJE , INC. LAS VEGAS NVUS00155                                                       30.50                           3,481.43
1 /17/17   Debit PIN Purchase RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                                 36.93                           3,444.50
1/17/17    Cash Withdrawal 01/14 03:03a #3365                                                                              46.99                           3,397.51
on Citi ATM NRCCFL06FLV06 FOOD CO LAS VEGAS             NVUS021

1/17/17    DebitCardPurchase01/1201 :31p#3365                  CICl'SCAFE         TARZANA          CA17013                 70.63                           3,326.88
estauranVBar
1 /18/17   Debit PIN Purchase             GOLDEN CAR WASH 7601 R RES EDA      CAUS02175                                    14.97                           3,311.91
1 /18/17   Debit PIN Purchase             RALPHS 21940 VENTURA BLWOODLAND HILLCAUS00155                                    16.75                           3,295.16
1 /18/17   Debit PIN Purchase             GOLDEN CAR WASH 7601 R RESEDA       CAUS02175                                    47.00                           3,248.16
                                                                                                                                                                                                          Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
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ontinued   Date        Descrip_tion                                                                                Amount Subtracted   Amount Added              Balance
1/18/17    Debit Card Purchase 01 /16 09:05p #3365    EDWARDS CALABASAS STDM CALABASAS               CA 17017      3.00                            3,245.16
ecreational Services
1/18/17    Debit Card Purchase 01/12 05:17p #3365     POSTAL ANNEX # 170     AGOURA HILLS CA 17014                 8.16                           3,237.00
isc Transportation
1/18/17    Debit Card Purchase 01/12 07:49p #3365                                                                  8.75                           3,228.25
TARBUCKS STORE 11603 WOODLAND HILL CA 17014
estaurant/Bar
1/18/17    Debit Card Purchase 01/15 03:09p #3365     LOBBY EMPERORS ESSENTL LAS VEGAS              NV 17017     10.90                            3,217.35
pecialty Retail stores
1/18/17    Debit Card Purchase 01/14 10:48p #3365     WEEDSB, LLC . TAXI    LAS VEGAS       NV 17016             13.20                            3,204.15
isc Transportation
1/18/17    Debit Card Purchase 01/14 07:20p #3365     LOBBY EMPERORS ESSENTL LAS VEGAS              NV 17016     14.05                            3,190.10
pecialty Retail stores
1/18/17    Debit Card Purchase 01/14 04:01 a #3365    Tl STARBUCKS II      LAS VEGAS     NV 17016                15.25                            3,174.85
estaurant/Bar
1/18/17    Debit Card Purchase 01/14 09:15p #3365     LOBBY EMPERORS ESSENTL LAS VEGAS              NV 17016     19.46                            3,155.39
pecialty Retail stores
1/18/17    Debit Card Purchase 01/15 06:52p #3365     EXPRESS GAS AND FOOD YERMO              CA 17017           20.27                            3,135.12
utos (rental, service, gas)
1/18/17    Debit Card Purchase 01/15 03:05p #3365     BRIOCHE BY GUY SAVOY LAS VEGAS           NV 17017          21.46                            3,113.66
estaurant/Bar
1/18/17    Debit Card Purchase 01 /16 10:20p #3365    EDWARDS CALABASAS STDM CALABASAS               CA 17017    21.79                            3,o9J .!F '.
ecreational Services
1 /18/17   Debit Card Purchase 01 /15 06:41 p #3365   EXPRESS GAS AND FOOD YERMO              CA 17017           22.00                            3,069.87
utos (rental, service, gas)
1/18/17    Debit Card Purchase 01/14 04:30a #3365     CIGAR BAR         LAS VEGAS       NV 17016                 29.20                            3,040.67
estaurant/Bar
1 /18/17   Debit Card Purchase 01/13 12:34p #3365     COFFEE BEAN STORE       CALABASAS       CA 17014           32.34                            3,008.33
estaurant/Bar
1/18/17    Debit Card Purchase 01/13 12:30p #3365     PARKWAY CLEANERS        CALABASAS        CA 17014          32.85                            2,975.48
isc Personal Services
1/18/17    Debit Card Purchase 01 /15 06:45p #3365    CALI BURGER          YERMO        CA 17017                 36.52                            2,938.96
estauran t/Bar
1/18/17    Debit Card Purchase 01 /14 11 :29p #3365   VENETIAN THEATRE BAR LAS VEGAS           NV 17016          37.40                            2,901.56
estaurant/Bar
1/18/17    Debit Card Pu rchase 01/14 03:31a #3365    FLV WINE AND SPIRITS# LAS VEGAS         NV 17016           37.49                            2,864.07
pecialty Retail stores
1 /18/17   Debit Card Purchase 01/12 07:43p #3365     YOGIS GRILL WOODLAND WOODLAND HILL CA 17014                45.45                            2,818.62
estaurant/Bar
1/18/17    Debit Card Purchase 01 /15 10:47p #3365    SHANGHAI BISTRO       WOODLAND HILL CA 17016               54.93                            2,763.69
estaurant/Bar
1/18/17    Debit Card Purchase 01 /14 07:15p #3365    BRIOCHE BY GUY SAVOY LAS VEGAS           NV 17016          59.43                            2,704.26
estaurant/Bar
1/18/17    Debit Card Purchase 01 /13 02:58a #3365    BLUE APRON ORDER        8882784349     NY 17014            59.94                            2,644.32
ood & Beveraqes
1 /18/17   Debit Card Purchase 01 /15 02:56a #3365    GRAND LUX CAFE VENETIA LAS VEGAS           NV 17016       139.02                            2,505.30
estauran t/Bar
                                                                                                                                                                                                    Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
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ontinued   Date        Descrigtion                                                                              Amount Subtracted   Amount Added           Balance
1/18/17    Debit Card Purchase 01/16 04:27p #3365        CHOCOLATINE         THOUSAND OAKS CA 17017          144.55                             2,360.75
estauranVBar
1 /18/17   Debit Card Purchase 01/16 03:14p #3365                                                            169.31                            2,191.44
NTERPRISE RENT-A-CAR THOUSAND OAKS CA 17017
utos (rental, service, gas)
1 /18/17   Debit Card Purchase 01 /14 01 :42a #3365      TREVI LAS VEGAS         LAS VEGAS      NV 17016     188.44                            2,003.00
estauranVBar
1/18/17    Debit Card Purchase 01/13 10:15a #3365        TOUCH OF MODERN          4152300750      CA 17014   308.79                            1,694.21
pecialty Retail stores
1 /19/17   Debit   PIN Purchase ARCO #63324       SAN BERNARDINCAUS02155                                       10.31                           1,683.90
1/19/17    Debit   PIN Purchase STATERBROS036       SAN BERNARDINCAUS05054                                     19.59                           1,664.31
1/19/17    Debit   PIN Purchase STATERBROS036       SAN BERNARDINCAUS05054                                     21.58                           1,642.73
1/19/17    Debit   Card Purchase 01/16 05:26p #3365 8173 GREAT CLIPS AT TW AGOURA
isc Personal Services
A 17018               27.00                             1,?15-?_;3
1/19/17    Debit Card Purchase 01 /17 12:04p #3365       TOUCH OF MODERN          4152300750      CA 17018   102.43                            1,513.30
pecialty Retail stores
1/20/17    Debit Card Purchase 01/19 02:07a #3365        CHEVRON 0356005         SAN BERNARDIN CA 17019        16.50                           1,496.80
utos (rental , service, gas)
1/20/17    Debit Card Purchase 01/19 12:53a #3365        IN-N-OUT BURGER #111       LOS ANGELES CA 17019       20.39                           1,476.41
estauranVBar
1/20/17    Debit Card Purchase 01/18 03:50p #3365        GIGI ' S CAFE      TARZANA      CA 17019              88.08                           1,388.33
estauranVBar
1/23/17    Debit PIN Purchase SUPER SVC CENTER           CANOGA PARK CAUS00155                                 40.01                           1,348.32
1 /23/17   Debit PIN Purchase SHELL Service Station    CALABASAS     CAUS00155                                 50.50                           1,297.82
1 /23/17   Cash Withdrawal 01 /21 03:21 p #3365                                                               103.00                           1,194.82
on Clti ATM *EL CAMINO CENTER   WOODLAND HILLCAUS051
1 /24/17   Debit PIN Purchase RALPHS 4754 COMMONS CALABASAS CAUS05154                                          30.19                           1,164.63
1/24/17    Debit Card Purchase 01/20 03:27a #3365 BLUE APRON ORDER 8882784349                     NY 17021     59.94                           1,104.69
ood & Beverages
1 /25/17   Cash Withdrawal 06:27_e_ #3365 Non Clti ATM 22455 VENTURA BLVD           WOODLAND HILLCAUS021      202.50                             902.19
1/26/17    Debit PIN Purchase CVS/PHARM 09751--5623 Agoura       CAUS05159                                     16.08                             886.11
1/26/17    Debit Card Purchase 01/23 06:51 p #3365                                                              8.40                             877.71
TARBUCKS STORE 18869 WOODLAND HILL CA 17025
estauranVBar
1/26/17    Debit Card Purchase 01/23 04:21 p #3365                                                             14.00                             863.71
TARBUCKS STORE 11603 WOODLAND HILL CA 17025
estauranVBar
1/27/17    De_e_osit Teller                                                                                                 1,000.00           1,863.71
1/27/17    Debit PIN Purchase RALPHS 5727 KANAN R AGOURA      CAUS05154                                        28.19                           1,835.52
1/27/17    Debit Card Purchase 01/25 11 :36a #3365 TOUCH OF MODERN                4152300750      CA 17026     56.93                           1,778.59
pecialty Retail stores
1/27/17    Debit Card Purchase 01/25 11 :33a #3365       TOUCH OF MODERN          4152300750      CA 17026    109.23                           1,669.36
pecialty Retail stores
                                                                                                                                                                                              Case 1:17-ap-01099-VK




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OBIN C DIMAGGIO
iti Priority Account 42002622498
hecking       Continued
nterest Checking 42002622498
hecking
ctivity
ontinued       Date           Descrip_tion                                                                                                      Amount Subtracted       Amount Added              Balance
1/30/17        Debit PIN Purchase            RITE AID STORE - 5539 AGOURA HILLS CAUS02159                                                        7.82                                 1,661.54
1/30/17        Debit PIN Purchase           CHEVRON/WHIT-SHERM , INCNORTH HOLLYWOCAUS02155                                                  37.95                                     1,623.59
1 /30/17       Debit PIN Purchase CD TRADER        TARZANA CAUS02157                                                                        61.91                                     1,561.68
1 /30/17       Debit PIN Purchase #06335 ALBERTSONS CALABASAS CAUS05154                                                                    129.50                                     1,432.18
1 /30/17       Debit Card Purchase 01/25 07:22p #3365 TOBACCO ROYALE     CALABASAS                            CA 17027                          10.00                                 1,422.18
pecialty Retail stores
1 /30/17       Cash Withdrawal 04:201)_ #3365 Non Citi ATM 7214 WHITSETT AVE.               NORTH HOLLYWOCAUS051                            63.00                                     1,359.18
1 /30/17       Cash Withdrawal 01 /28 06:41 p #3365                                                                                        102.50                                     1,256.68
on Citi ATM 12500 VENTURA BLVD         STUDIO CITY CAUS021
1 /30/17       Check # 41 02                                                                                                                    83.78                                 1,172.90
1 /30/17       Check # 558                                                                                                                      90.00                                 1,082.90
1/31/17        Debit Card Purchase 01/28 12:49a #3365                PICK UP STIX 703 CALAB CALABASAS           CA 17030                        11 .72                                1,071 .18
estaurant/Bar
1 /31/17       Debit Card Purchase 01 /27 04:44p #3365               BEANSCENE CAFE WINE BA OAK PARK               CA 17028                     24.68                                 1,046.50
estaurant/Bar
1/31 /17       Debit Card Purchase 01/27 10:45p #3365                EDWARDS CALABASAS STDM CALABASAS                CA 17028                   28.35                                 1,018.15
ecreational Services
1/31/17        Debit Card Purchase 01 /27 07:13p #3365               FANDANGO.COM          FANDANGO .COM CA 17028                               49.50                                  968.65
ecreational Services
1 /31/17       Debit Card Purchase 01/27 03:22a #3365                BLUE APRON ORD ER        8882784349      NY 17028                          59 .94                                 908.71
ood & Beverages
1 /31 /17      Debit Card Purchase 01 /27 06:52p #3365               SP * BEAUTYHABIT      8187072555       CA 17028                       226.30                                      682.41
pecialty Retail stores
1 /31 /17      Interest for 31 days, Annual Percentage Yield       Earned 0.03%                                                                                      0.06              682.47
otal Subtracted/Added                                                                                                    12,838.42                8,870.62
1/31/17        Closing Balance                                                                                                                                                         682.47
ll transaction times and dates reflected are based on Eastern Time.
ransactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
hecks Paid            Check        Date                  Amoun t         Check        Date               Amount          Check           Date          Amoun t          Check        Date          Amount
53         01 [03                 90.00            557*      01110              90.00              558          01 /30           90.00           4102*        01 /30              83.78
 indicates gap in check number sequence                                  Number Checks Paid: 4                              Totaling: $353.78
                                                                                                                                                                                                                                     Case 1:17-ap-01099-VK




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                                                                                                                                                                                                            Exhibit GGG pt. 1 Page 195 of 200
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iti Priority Account 42002622498
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hankYou ®
hankYou® Points Summary
ummary
oints from checking account and other products and services                                      600
otal Points forwarded to Citi® ThankYou® Rewards                                                 600
o to thankyou.com to review your point balance and redeem!
his summary includes only points awarded for the Citibank checking account relationship and may not reflect any bonus
oints received through a promotional offer. You can obtain updated point information by accessing your ThankYou Member
ccount at www.thankyou.com. Please refer to the Citibank Program ThankYou Rewards Terms and Conditions provided to
he primary (first) signer of the checking account upon enrollment of your Citibank checking account and the Terms and
onditions of ThankYou Rewards for important details.
avings
itibank®           Citibank® Savings Plus 42002622506
avings Plus
ccount Activity    Date        DescriEtion                                                                               Amount Subtracted   Amount Added   Balance
1/01/17     Opening Balance                                                                                                                    39.66
1/31/17     Closing Balance                                                                                                                    39.66
                                                                                                                                                                                               Case 1:17-ap-01099-VK




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iti Priority Account   42002622498
ITI PRIORITY SERVICES
O Box 769007
an Antonio, Texas 78245
or banking call: Citi Priority Services at (888) 275-2484*
or speech and hearing impaired customers only: TTY 800-788-6775.
ebsite: www.citibank.com
OBIN C DIMAGGIO
737 KANAN RD. SUITE 117
GOURA HILLS CA       91301-1601
ax Statements are now available online if you earned $10 or more in interest. Look for
he View Tax Documents tab under the Account Management section at citi.com.
iti Priority is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.
alue of Accounts                                      Last Period           This Period  I    I Earnings Summary                     This Period   This Year   I
itibank Accounts                                                                                Citibank Accounts
hecking                                                                                         Checking
hecking                                                 682.47              1,236.66            Checking                                  0.04        0.10
avin s                                                                                          Savings
nsured Money Market Accounts                            39.66                 39.66             Insured Money Market Accounts            0.00       0.00
iti Priority Relationship Total                         $722.13             $1,276.32           Citi Priority Relationship Total          $0.04      $0.10
 To ensure quality service, calls are randomly monitored and may be recorded.                                                                                                               Case 1:17-ap-01099-VK




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                                                                                                                                                                   Exhibit GGG pt. 1 Page 197 of 200
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OBIN C DIMAGGIO
iti Priority Account 42002622498
ees & Rates Detail
itibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
etermining your rates and monthly service fee for this statement period , and the transaction limits and fee waivers that apply during the next
tatement period, Citibank considers your average balance during the month of January in all your qualifying accounts that you asked us to
ombine. If you have a Citibank secured credit card, then Citibank will also include the balance in your Collateral Holding Account or your
ertificate of Deposit that secures your Citibank credit card. These balances may be in accounts that are reported on other statements.
onthly Service fees are waived with $50,000 in balances from deposits, Retirement Accounts and investments.
lease refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
harges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
o the phone number on page 1.
ates and Charges                                          Your Combined Balance Range
1 500-$5 999
ates                                                                Standard
onthly Service Fee                                                  $30.00(Waived)
ll fees assessed for this statement period will appear as charges to your account on your next Citi ~riority statement.
's!o'L,·.
hecking
hecking     Interest Checking 42002622498
ctivity
ate          Descrigtion                                                                                      Amount Subtracted   Amount Added         Balance
2/01/17      O~Balance                                                                                                                                  682.47
2/01/17      Debit PIN Purchase BHUPINDER S MAC     TARZANA     CAUS00155                                                 19.50                         662.97
2/01/17      Debit Card Purchase 01/30 02:03p #3365 CICl' S CAFE      TARZANA             CA 17031                        51 .28                        611.69
estauranVBar
2/02/17      Dep_osit Teller                                                                                                            662.59      1,274.28
2/02/17      Dep_osit Teller                                                                                                         11,000.00     12,274.28
2/02/17      Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                                 7.50                     12,266.78
2/02/17      Cash Withdrawal 02/02 04:02_1)_ Teller                                                                      25.00                     12,241.78
2/02/17      Debit PIN Purchase EMBASSY LIQUOR          WOODLAND HILLCAUS05154                                           75.02                     12,166.76
2/02/17      Cash Withdrawal 02/02 04:06p Teller                                                                     1,400.00                      10,766.76
2/02/17      Cash Withdrawal 02/02 03:55JJ_ #3365 Teller                                                             3,604.24                       7,162.52
2/02/17      Cash Withdrawal 02/02 03:59_1)_ Teller                                                                  3,709.95                       3,452.57
2/02/17      Debit Card Purchase 01/31 09:56p #3365 LOVEBUG PIZZA LLC WOODLAND HILL CA 17032                             33.97                      3,418.60
estauranVBar
2/02/17      Debit Card Purchase 01/30 09:20p #3365         WHITE HARTE PUB      WOODLAND HILL CA 17032                   41 .33                      3,377.27
estauranVBar
2/02/17      Debit Card Purchase 01/31 12:52a #3365         TOUCH OF MODERN        4152300750   CA 17032                  91 .55                      3,285.72
pecialty Retail stores
2/02/17      Cash Withdrawal 02:11 _I)_ #3365    Citibank ATM 22000 VNTURA. WDLAND HLLS, CA                             300.00                        2,985.72
2/02/17      Check# 555                                                                                                  50.00                        2,935.72
                                                                                                                                                                                          Case 1:17-ap-01099-VK




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iti Priority Account 42002622498
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nterest Checking 42002622498
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ctivity
ontinued   Date        Descrigtion                                                                                            Amount Subtracted    Amount Added           Balance
2/03/17    ACH Electronic Debit BARCLAYCARD us CREDITCARD 431430224                                                        848.71                              2,087.01
2/03/17    Debit PIN Purchase SHELL Service Station CALABASAS CAUS00155                                                     44.00                              2,043.01
2/03/17    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                                  129.26                              1,913.75
2/03/17    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                                  152.62                              1,761.13
2/03/17    Debit Card Purchase 01/31 01 :29p #3365 STARBUCKS STORE 05549                 LOS ANGELES CA 17033                2.75                              1,758.38
estaurant/Bar
2/03/17    Debit Card Purchase 02/01 03:25p #3365            COFFEE BEAN STORE         TARZANA        CA 17033              10.29                             1,748.09
estaurant/Bar
2/03/17    Debit Card Purchase 02/01 04:02p #3365            76 - BHUPINDER   s MAC   TARZANA         CA 17033              26.00                             1,722.09
utos (rental, service, gas)
2/06/17    Debit PIN Purchase SHELL Service Station WOODLAND HILLCAUS02155                                                  17.74                             1,704.35
2/06/17    Debit PIN Purchase THE UPS STORE #1093 26 CALABASAS CAUS02173                                                    43.44                             1,660.91
2/06/17    Cash Withdrawal 02/04 06:08p #3365                                                                              202.25                             1,458.66
on Citi ATM 22330 VENTURA BLVD        WOODLAND HILLCAUS021
2/06/17    Check# 241                                                                                                       90.00                             1,368.66
2/07/17    Transfer From Checking_ 05:30p #3365 ONLINE          Reference# 003609                                                         200.00              1,568.66
2/07/17    Debit Card Purchase 02/04 12:32p #3365 NATS ON VENTURA      WOODLANDHILLS CA 17037                               29.09                             1,539.57
estaurant/Bar
2/07/17    Debit Card Purchase 02/04 12:45p #3365            COFFEE BEAN STORE         WOODLAND HILL CA 17037               44.77                             1,494.80
estaurant/Bar
2/07/17    Debit Card Purchase 02/05 09:39p #3365             EDWARDS CALABASAS STDM CALABASAS                  CA 17037    45.00                             1,449.80
ecreational Services
2/07/17    Debit Card Purchase 02/02 05:03p #3365            YOGIS GRILL WOODLAND WOODLAND HILL CA 17035                    52.41                             1,397.39
estaurant/Bar
2/07/17    Debit Card Purchase 02/03 03:09a #3365            BLUE APRON ORDER          8882784349     NY 17035              59.94                             1,337.45
ood & Beverages
2/07/17    Debit Card Purchase 02/05 10:38p #3365            TOSCANOVA- CALABASAS CALABASAS                CA 17037        205.95                             1,131 .50
estaurant/Bar
2/07/17    Debit Card Purchase 02/05 03:43a #3365                                                                          234.06                               897.44
ANCHOS RESTAURANT             MANHATTAN BEA CA 17037
estaurant/Bar
2/07/17    Debit Card Purchase 02/05 02:23a #3365                                                                          395.98                              501.46
ANCHOS RESTAURANT             MANHATTAN BEA CA 17037
estaurant/Bar
2/08/17    Debit Card Purchase Return 02/06 #3365            SEPHORA 614          CALABASAS         CA 17038                              192.49                693.95
pecialty Retail stores
2/08/17    Debit Card Purchase 02/06 03:24p #3365             PARKWAY CLEANERS         CALABASAS         CA 17038           70.25                               623.70
isc Personal Services
2/08/17    Cash Withdrawal 01 :59p_ #3365 Non Citi ATM 7208         RESEDA BLVD       RESEDA        CAUS021                142.95                              480.75
2/08/17    Check # 373                                                                                                      68.00                              412.75
2/09/17    Transfer From Checking_ 07:311)_ #3365 ONLINE                      Reference # 00051 8                                         150.00               562.75
2/09/17    Transfer to Checking_ 11 :24a #3365 ONLINE                    Reference # 000217                                200 .00                             362.75
                                                                                                                                                                                                             Case 1:17-ap-01099-VK




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iti Priority Account 42002622498
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ctivity
ontinued   Date        Descrip_tion                                                                              Amount Subtracted   Amount Added             Balance
2/10/17    De!)_osit Teller                                                                                                 5,000.00            5,362.75
2/10/17    Transfer to Checking 02:31 p #3365 ONLINE               Reference # 000580                         150.00                            5,212.75
2/13/17    ACH Electronic Credit ASCAP          INTWR ROYL                                                                    136.59            5,349.34
2/13/17    Fee for International Funds Transfer                                                                25.00                            5,324.34
2/13/17    ACH Electronic Debit Charter     Check Pmt 0000000375                                              136.61                            5,187.73
2/13/17    Debit PIN Purchase SHELL Service Station CALABASAS CAUS05155                                        10.00                            5,177.73
2/13/17    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS00155                                    15.00                            5,162.73
2/13/17    Transfer to Bankcard 02/11 03:42e #3365 ONLINE                  Reference # 000417                  23.47                            5,139.26
2/13/17    Debit PIN Purchase CHEVRON/REGENT PROPERTYWOODLAND HILLCAUS00155                                    23.50                            5,115.76
2/13/17    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                      31.66                          . 5,084.10
2/13/17    Debit PIN Purchase CHEVRON/G&W VENTURES INCALABASAS CAUS00155                                       39.40               :1.)
:C>44.1o
2/13/17    Debit PIN Purchase CVS/ PHARM 09751--5623 Agoura      CAUS05159                                     44.02                              5,000.68
2/13/17    Debit PIN Purchase GELSON'S MARKET         CALABASAS CAUS05154                                      64.61                              4,936.07
2/13/17    Transfer to Bankcard 02/11 03:43!)_ #3365 ONLINE                Reference# 000419                  180.00                              4,756.07
2/13/17    Outgoing lnt'I Wire Transfer CBOL WIRE TO MLLE CONS VALERIE #FR76171060001                         651 .12                             4,104.95
2/13/17    Debit Card Purchase 02/09 07:48p #3365 SQ *TOBACCO HOUSE LOS ANGELES                    CA 17041     6.00                              4,098 .95
ood & BeveraQes
2/13/17    Debit Card Purchase 02/09 02:54p #3365       DOUGHNUT HOUSE        co     LOS ANGELES CA 17041        9.75                             4,089.20
ood & BeveraQes
2/13/17    Debit Card Purchase 02/09 06:36p #3365       FANDANGO.COM               FANDANGO.COM CA 17041        49.50                             4,039.70
ecreational Services
2/13/17    Cash Withdrawal 01 : 18e #3365 Citibank ATM 22000 VNTURA, WDLAND HLLS, CA                           400.00                             3,639.70
2/14/17    Debit Card Purchase 02/10 02:30p #3365 CLEMENTINE - ENSLEY LOS ANGELES                  CA 17044     25.87                             3,613.83
estauranVBar
2/14/17    Debit Card Purchase 02/1 O 12:46p #3365                                                              27.05                             3,586.78
TARBUCKS STORE 11603 WOODLAND HILL CA 17044
estauranVBar
2/14/17    Debit Card Purchase 02/11 01 :29a #3365      HOLLYWOOD ST1452            CARSON       CA 17042       27.68                             3,559.10
pecialty Retail stores
2/14/17    Debit Card Purchase 02/10 08:15p #3365       FOUR SEASONS WLAKE FB WESTLAKE VILL CA 17044            35.45                             3,523.65
estauranVBar
2/14/17    Debit Card Purchase 02/11 10:40p #3365       PHO   so    1 RESTAURANT     RESEDA      CA 17044       48.35                             3,475.30
estauranVBar
2/14/17    Debit Card Purchase 02/11 02:26p #3365       LOVES PETS            AGOURA HILL CA 17044              57.59                             3,417.71
pecialty Retail stores
2/14/17    Debit Card Purchase 02/11 02:37p #3365       ITALIA DELI & BAKE     AGOURA HILLS CA 17044            61.49                             3,356.22
estauranVBar
2/14/17    Debit Card Purchase 02/12 11 :04a #3365      TOUCH OF MODERN             4152300750   CA 17044       87.18                             3,269.04
pecialty Retail stores
2/14/17    Debit Card Purchase 02/11 03:58p #3365       TOUCH OF MODERN             4152300750   CA 17044      165.03                             3,104.01
pecialty Retail stores
                                                                                                                                                                                                 Case 1:17-ap-01099-VK




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